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 „o„CI.A,IoNPETI,IoNFORoaMAGEsANoI.,UNC,IVEaELIEF                                                 19022575948

                                               24TH JUDICIAL DISTRICT COURT
                                                   PARISH OF JEFFERSON
                                                    STATE OF LOUISIANA

 CHARLES LEE ANDERSON, ASHLEY AUGUSTINE, ,
 BYRON BARKER, KIMBERLY BARKER, TERRELL                                         Case: 792-502 Div: "O”
 RODRIGUE, DIONNE BARNES                                                        P 1 CHARLES LEE
   versus                                                                       ANDERSON
 LOUISIANA REGIONAL LANDFILL COMPANY

 To: WASTE CONNECTIONS US INC
 Through its Agent for Service of Process:
 CORPORATION SERVICE COMPANY                                                    **THROUGH LONG ARM STATUTE**
 251 LITTLE FALLS DRIVE
 WILMINGTON, DE 19808


PARISH OF JEFFERSON

You are hereby summoned to comply with the demand contained in the PETITION of which a
true and correct copy accompanies this citation, or make an appearance either by filing a
pleading or otherwise, in the 24th Judicial District Court in and for the Parish of Jefferson, State
of Louisiana, within THIRTY (30) CALENDAR days after the return of service hereof, under
penalty of default.


This service was requested by attorney S ELIZA JAMES and was issued by the Clerk of Court
on the 25th day of February, 2019.


                                                   /s/ Joann M Gasper
                                                   Joann M Gasper, Deputy Clerk of Court for
                                                   Jon A. Gegenheimer, Clerk of Court



                                                     SERVICE INFORMATION

 (101) CITATION: PETITION rOR DAMAGES AND INJUNCTIVE RELIEF;                                      190225-7594-8
Received:                Senred:                     Returned:

Service was made:
         _ Personal                        _ Domicilary

Unable to serve:
          _ Not at this address            _ Numerous attempts          times
          _ Vacant                         _ Received too late to senre
          _ Moved                          _ No longer works at this address
          _ No such address                _ Need apartment / building number
              Other

Service: $                  Mileage: $                      Total: $

Completed by:                                                            #
                          Deputy Sheriff
Parish of:




                              Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna LA 70053
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    „o„CI,A,IoNPE,InoNFORoAMAGEsalloIN,UNC,IVERELIEF                                                                190225-75948
                                                     24TH JUDICIAL DISTRICT COURT
                                                         PARISH OF JEFFERSON
                                                          STATE OF LOUISIANA

   CHARLES LEE ANDERSON, ASHLEY AUGUSTINE,
   BYRON BARKER, KIMBERLY BARKER, TERRELL                                           Case: 792-502 Div: "O"
   RODRIGUE, DIONNE BARNES                                                          P 1 CHARLES LEE
     versus                                                                         ANDERSON
   LOUISIANA REGIONAL LANDFILL COMPANY

   To: WASTE CONNECTIONS US INC
   Through its Agent for Service of Process:
   CORPORATION SERVICE COMPANY                                                      **THROUGH LONG ARM STATUTE**
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                                                                                                      "       "~'- t ~..i'   • :t~.' 4;!r''r"~,~(~i`s .i

                                                       /s/ Joann M Gasper                    ~ ~ ~ ,~,~ ~, . •..                   :.~               ~;
                                                       Joann M Gasper, Deputy Clerk of Court:for.;
                                                       Jon A. Gegenheimer, Clerk of Court                                          ~..



                                                        SERVICE INFORMATION

    (101) CITATION: PETITIQN.'FOR DAMAGES AND INJUNCTIVE RELIEF;                                                     190225-7594-8

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            _ Vacant                          _ Received too late to serve
            _ Moved                           _ No longer works at tfiis address                          !
            _ No such address                 _ Need apartment / building number
                Other

  Senrice: $                   Mileage: $                       Total: $

   Completed by:                                                             #
                             Deputy Sherift
   Parish of:


                                                                                                 "s




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                                 Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna LA 70053
   Page 1 of 1
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                                                           J E FFTEIRS 0 N PA. R G' H.. LA




       24M.JUDICLALDIS.TRI
                        . CTCOUATFOR'THEP                      01919IFFERSON

                               STATE OF LOUISIANA.

           NO'--A ~                                                 DWISION
        CHARLES:LEE ANI)ERSON,- ASHtLEYAUGUSTINE;::B-YRON,BARKER;
     MMERLY BARTak Individually afid,on Behalfof Her Mnor Child,TERRELL
   RODRIGUE.- DIONNE BARNES;JAMES C. BARNE% Jr.; JAMIES.C. BARNES.M;
  JAYLN BARNES; DEBRA BROWN MCHAEL BROWN`JEFF:CARTER;.- CALVIN
  CARTER; DOLLY CROSLEY;LEKESHA DAVIS Individually And On BehaltOf Her
Mnor Chfld, SPI-YNA JOHNSOMTAUL DAVIS,Jr.; EDNA DOBSON; GLEN DUBONE;
    CHERYL PUFRENE;`BETTY DUMAS: PA-7wCE,DUNBAR,-BETTY FIERRELL
   Individually And On B'ehalt Of Her Minor Chffd, SHAWNDIA  -     FERRELL;
                                                                          I BRENDA
   FERRELL, LAWRENCE FERRE LL-- RANDY.FRICKE-Y; LINDA FIUC KEY 116 Her
         Individual C, spacity.. And:As T be Piwient OfHer Minor CUd, PRUDENCE
 CAMARDELLA; RICIMY FIUCKEY; SANDRA GAANERI In Her Indw                 iidualCapacity
       Apd:,Qn Behalf OfHer Alkor Children,, DEWM SOLOMON and DEWIGHT
       SOLOMON; CLAUIDETTA GOLSTON; ALVIN GORDON, Jr.; GABRIELLE
 GORDON, Individually And On, Behsdf OfHer Minor-Chfld- GAVIN GORDON;DILISA
      GREEN; ETHEL GREEN;:TELTON GREEN: DANIEL GUELBEA. U -FELTON
  QUILBEAUt'.Cx             GUILIREAU; SHEILA,GUILBEAU;, CALISA HAMMOND,,%
  Her Individual. Cavacity And On Behalf OfHer Minor Chfld NEIRACLE HAMMOND;
ALFRXDA HARD&;BRENDAMARRIS; AUCHAELHARRIS, Sr.; AMBER HYBART9
 In Her. Individual:Capg;ity And, As Paront0f Her Mpor. Children- ABIGAIL ItYBART,
AUBREE HYBART9 DECAL HYYBART,, and JAXON HYBART,-NICHOLAS HYBART;,
   TEDRICKjACKSQN; JESSEKOEHL.- KATIE KOEHL;SHELET11A.LEBRANCH,
     individually and on behalfof:her minor -chgdren, MARCUS IAWUX,ARM[AN
'NUNNERY9,. DIMEE LEBRANCH and C1.11EVRONE WILLIAM[St-MICHELLE LEE,In
    Her Individual Capacity And On,Behalf OfHer Muor Chddren KARLIE. WELLS
     JACAYLA laiii(and JYIA KELLY; LEO-LESTRIICIC; TUSCANOW LEWIS;
    CLUtRA MAGEE,IndividusPy Ajid On Behalf OfHer Mnor Chil.dren, RONKIEA
     JOEINSION, and MELVIN MCCLHUON;LATOYA, MIANSON,: In. HerIndividual
  CaPacitY And OnAehaltOf HerM[inorChild,, ICIARA GIBSON;-1%HCHE-LLE:MEYER,-
  CHANCE PALAZZOLO; BERTHA RXED;BRADY REED; WILLIS IMED; VERNA
    REED;: WILLIS.REE11), Jr.; BARBARA RIDGLEY,-XINDY BERTUCCI.RIGNEY,
     ludividually'And 0-a Behidf OfHer MaorChildren,-GRAHAM RIGNEV, GABE.
     RIGNEY and GRANT RIGNEYV; WILLUMDUFRENYSTANLE ;,CARROLL
    THIBODEAUX,Jr.,,In His.11ndivOnal: Cppacity- And.As ParentOf Elis Nflnor Child,,
     AIDAN-STEFFENS; DEBORAH URSIN,-. MONTERIO VAUGHN; and KERNER
                                        VVEATHERSBY.
                                      VERSUS
LOUISIANA, REGIONAL LANDFILL COMPANY(LRLC~ f/k/a IESILA LANDFILL
  CORPORATION;, WASTE: CONNECTIONS BAYOU, INC.9, Vk/a/ PROGRESSIVE
WASTE SOLUTIONS OF LA, INC, WASTE CONNECTIONS US,INC; APTIM CORP;,
 PARISH. OF JEFTE,RSON;ABC CORP; DEYCORP GHI CORP;JIKL.CO1W,-.,aud,
                             MNO,CORP.


FILED:
                                                    DEPUTY CLERK-




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                  UT—JIMFORDAMA-GES-AVINJUNCTIVER,ELIEF.

        TWs action Anises from the conlinuing significant and unabated harm oipffered by. each 6t

the named Petitioners as a re
                            .sult-of the ongoing,— andiadinitted — failure of each of.theDefendants

to: ensure tha the design, Qperation and maintenance -of the, JeffirsbwPanish
                                                                            i 1andfill(the"J.P.

Landfill")..complies With Applicable envirormenW lamig aiid adequately protects Petitioners'

human health and environment At all relevant timesi the-J.P. Landfill"Andhas.persistently emitted

hannful and to)dcodors and chemicals
                                   'into the surrounding.areas, in-I
                                                                i C udio    wh-ere
                                                                      ling....  each of the

Petitioners:residels.

                                                                                    I
        These unlawfid, hmffid and toxic. releases have caustd Petitioners substanti al 169sof the

use and dnjoymeiit. of- their- homes. and immovable property, and have, caused physical hanns

i-ncluding, Among other things.- difficulties breathing, poughing; nausea, buming eyes, ears, noses

and throats,, diminess Ioss of appotitp and, lethVgy;.. as vell as fear, Anguish, discomfort and

inconveiuenc.e. Thete emissions also have caugW dimm
                                                  - utionin the Vaiiie of Petitioners' homds..

        Accordingly, Petitioners7 seek red-ress from the Defendants for the direct and conseqtiential

injury aiid: da 'mage: thty, have guZored iind will d6ftfinue tosdMt- As adir6dresultofthereleases

of noxious.odorsi and: dhemicals ftom.the.1P..I Landftllw

                                                 L -

       Petitioners respectftdly allege,as follows-




        NamedPetitioners herein are'!

        CHARLES LEE:ANDERSONan individuaLof full.-ageofmajorityresidingat1332S.

                                     idi Immovab..
DiltonSt- Metai* LA70003,andownerofrj;u.        le property.

        AgiffELEY AUGUSTINE,an individual of full 7age:of majority residing at 308 27m St,

Kdnft LA 700.61and o- wner 6f sgd-tm'mov'gble pro-petty
                                                    - .
                                  . d                  . .
                             v idual. of fidl ~ 4go of majoaty re 'dm__g, ai '24 Richolte Str~
       B'MON UARKEg-, aWJ'n- i.                                                              -

Weftego,LA.70064, and- owner of said in m- ovable property.



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       1CMERLY BAPJOR, an individual offull age of majority residing at.24 Richelle St.,

Westwego, LA.10094, and owner-Of gAid iiiftdVAble propefty, individually                PiR behalf of her

minor childTERRELL.RODRIGUE.


       DIONNE BARNES,an individiW offullage pf majori ty
                                                       residing at 140, Will$wood..Lane,
                                                                                      -

Waggaman,.LA 70094, andowner.of'a leasehold interestin -said premisiche


       JAMESC. BARNES,JR, an individW ofUt age~ofhla
                                                  - J Jon.,resi
                                                       'ty - Wi nga
                                                                 - t 14,0 Willswood

Lane, Waggamm,'LA 70094-andowner of said iMmovAble prdptrty.

                                                            .
       JAM$C.BAkNESIII iS %aft itidivi dual- offidi 4p ofmAjorityrosidiri
                                                                       g Atl4.OVhilsw
                                                                                   ,ood

Lane, Waggamgh, LA'70094.

                                                        .      . .
       JAYLN BARNES, an indivridualof ffillage:
                                      f         of majority residing at 140. Willswood-Lane,

Waggaman,LA 70094.


       DEBRA BROWN, an individual vf full: age -of majority.residi               - 3'     chelle Street,

Westwego,LA. 70064 and owner of said, hnmovable property.

       AUCHAEL.BROWN, an: individual of 'full age of majority midins at 31 Richelle Street,

Wettwego,LA 70064, ah,d owtier, of said inutovable property,

       JEFT CARTER, m indi-'vidual, of full:age of msjoriity,rcsidipgat 181 Biihop, Drive,

Avondale,LA 70094,,and bw-
                         net 6f said ftnmovable property.

                            .
       CALVIN CARTER, a6 individual of fulI agd, oir maj orifty residing at 181 Bishop Drive,,

Avondale-,LA 70094, 2nd o.wner -ofsaid imm-ovable DroDelrv.

      DOLLY
      ~. .. I CROSLEY,
               .   - an individual of full, age of m joritv
                                                      .4 ''1 1 residi      .. 191
                                                               . 1 ~ as.. at   .. I Bishop Dr.,
                                                                                              -

AvoncW 1A 70094,, apd:ownar of-said immovable property.

                                                                                                   I
       Lt.)M.Sll,ADA-V.1s,an'i.od.ivi'.Oua.i.offWl'a-geoJtnajon'tY-t,O.sid.ingat-1,4,l Provid.ence Lane,
                                                        .
Kenner-L.A.70062, individtWly atid on behalf of herminor child, SHYNA4011180N..

      PA-M DAS,WJr, an individual of full age,of majority residing at 649 Clay Street,
                                           I
kenner,LA10062, -and owner of A,ida'seholdi ntd'tk in safd immoVable;properV.




                                                  ~




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        E DNA1)OBS,014,: i iVidual ofI wI kgo df maibritrresiding::at, 3:12 Judiciary DriWpi

AVondale,LA 70094j:and. owner of Wd.immovabippTopgrty,

      . GLEN - DUBONE, an. ind
                            .ividual of fWl age pf ;*oft mift
                                                            -,g at 116J  - t
                                                                      asmine.n.,
       'J
Waggain an,LA'700941 and -owner of a leasehold interest in;said immovAble. property.


        CHERYLAVYRENE,4040;vidual
                          ,       qfAillagp-ofm Ai'onty
                                                     i yesi4 ..dinglat-8933
                                                                    .. .... . amilloC

River Ridge LA 70121,andowper-of,W.
                                  40 immovabkproperty.
                                     im

        BE'M D_~S,;windividual -of full. age of majority,oicfing at.,31..
                                                                        6~ R                      -a, D,
                                                                                                       3 nve,
Avondale,IA10094 a-n d-
                      owner .ort saidimmov
                                  a-iii - Al
                                           , e -proorty.

                                                              I     ,             ,
        PATRICE DUNBAP., an indivi dug d- full sge.of maj onty residi nga t.309 Wilki6t: NeAl

Ave.,.Aivbr Ridge,LA. 701232 and. dwriet6fs'aid immovable property.


                                                df- full age ofin4jofity. resi4ing.at, 645. Richard Ave.,

River Ridge,LA.701,23-and owner;of said.immovable property... individually pd oa bohdf of her

minor-chdd SIRAWNDIA VERRELL-i

                                                                    ......
                             i. ual of
                          idi-Ad
        URENDAFEARE'LL,andm         . fid1lageofmajont,y:resx . sig at 7
                                                                       _07 Riaard AVO.,
River Ridge, L-A. 70123, and oximer.of Mid iniitovable-Vroperty-.

                                                               -tyfd9idhig:.At707 Ridhattd
        LAWRENCIOPERkELL- and-,individualof fuli tige of rfiqj0n

                         70123..

        RANDY FRICKEY; an _individual residing at 141 Daffodil Lane: Westwego, LA 70094.
                                                                                                    -
        LE'fDA.:FRICI(XY,.a-n' :i-n,dividue dffifll: #ge of majonity, tesiding at, 141 Deffddi11ane

We"ego,LA 70094, and:,owner of said immovable property, in ,erindividual
                                                            h            capapity -and %as

the: parent of her minor chilcL PA

                                            dual offkill.agoof majority residing at 141 Daffodil: Lane

W-estwego,LA 16004 atid ownerof sadid ib' idVable.,property..
                                          Im

       9ANftA GAItNElt, an individual. of full age.of m'jority resi~ ding at. 120 Rosalie Dr..
                                                                            : .
                                                                            i           11 1 . . .1 1. . . .
                                                                                  . .....

AV.ohdale, LA,1009.4, -in her iiidividual, capacity: Ahd dii.-b6hif.ot hdrihinor Wdren. 2 W WM

SOLOMON.and DEWIGHT SOLOMON.



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                                   ;;d.al ,
         CLAUDkTTA 60tft(*,:ah indivi u of fiill:age bf mAjority rps1;ljP&-af,7.937 Macon,

 St:;..M6WiiO,LA:70003,.ApdQvmor.of saiommovabjq.prpperty.:

        ALVIN..ORDON
              G      ir4 anindiviclo pf full age of maj.PrIty residjug at-17 .-tiffy Stl

 waggaman,LA. 70094, apd owner ofsaid immovible property.

                          GORDOM a4in.,dividual:offoll age of m4joAtyxes0dJqg;tt 37 Duffy St.,"

Waggaman,,LA- -70994, and.owner of- said imMovOle property, in—Y.I..         ' behWf of htt
                                                            i di 'diWIY:and,on

minorchild, GAVIN 6QROON.


          'LISA;GREE,,.an,MdivI"of- W age ofitaijdrity residing at-341 Providejda:.Lane,

Kehner,LA,70062.

        ETHEL GREEN,.Ah. individtW 6f.fufl: age of-maj biity % residing git.. 34-1, PriDvidence Lane,

Kenneri LA: 70062, aAd pwner Ofsaid, immovable.property.

        FVLTOW QMN,anindividual.offull-aee of m.. Ajo               di;ig at 341 Providence Lane.
                                                                  PW0

'Kenner, LA 700.6121, 1

        DANWIL.                   ag-jndiyjd al:of fWt ageo,majorit
                                                           f      ,y re.,
                                                                       si ding-.        Wishitgtori

st., kennerL-A 70065.,

                                                      ..ft .
        MMON OW11AU.M.111dividual offull,9"-gd of.Mai
                                                    'ori .y rest i~ ng tit 3150, WmWngtoti

:St., Kenneri LA 70065..

        9LENDA GUILBEAU,Am,ihdividuAl offWItge-ofmajority residing tit 3150 -W
                                                                             ashingt6h

St.. Kenner,LA 7.0065an&owrierof             C property.
                                 'dVimmovitbi,
                           .,.s ax

        SHEUA--.                                               . di ng*3.50Washin
                                  anindividualofflAageofmajorityresi   I     --, gton

St., Kenopr,...LA .70005 and `owner ofsaid immovwo property.

        CAUSAA*M~0 arf-individital- of full:ago Ofm4jority msidingattl'ORosalie.Drive.

Av.dridale, LA 70094, ih.~h indivi-dW cApabit                          'hild MJ[RACLE
                                            ya;id, 6 behatf.6f, htt norz

HAMMOND,

        ALFREDA HAltDIN, :an. individual bt- futi age, -of major4y retiding,at 6.21 :South

Cumberianil Apt.~Q.,.River Ridge,: A - 70123aridow
                                                 .fietdateasehold inte "restinsai premises.



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       BRENDA HARRIS, an. individual, of full age of majonty sidi ng at 621 Soxith
                                                       jod resi
Cumberland, Ap.t. C., River Ridgd,.LA 70123and.-dwher of-a leasehold intetdgfinsaidpremises.

       MICHAEL HARRES,,SIL, an ifidiVidualotfiffl age of majoiity residing at 415;.'Hanson
Place, Kenner,,LA 70062,and.owhet of a,leasehbld.interestin said priehiises.

       AMBER'HYBART,,,ati.individual:of fidtage of maj.orityxesidirig at 247 Dilton:St. River

Ridge,LA 70123,anO owner of saidimmovableproperty in her individual. c#pac ity
                                                                           ~ and as varent

of her minor children,- ABIGAIL EIYBART,AU,BREE,HYBART,DECAL HYYBART,, and.

JA-XON HY13ART.

       NICHOLAS HVBAAT.,- an indiv-idtW of'full age of-majo-nity tesiding at 247 Nifion, 9t.
ltivtr Ridge, LA 70123_,andowner of-said immovable pr6perty.

       TEDRICK JACKSON,an individual of full age of miijority rbsidingat 346 Azalea Dr.,

Wagpman,LA 70094il- and owndr of-a leasehold-interest in said prernises.

       JESSE KOEHL, a.windividual of full age of majority residing at 10411.Pear. St., River
Ridge,LA. 701.23, and ownerof sgiid immovable property.

       KATIE. K09HL, -an individual.of full age of mqioriiy residingat 1041.1 Pear St, River

TUdge,LA 701:131.and owner of sm'd .mov
                                   im   e properLy.

       SHtLETHA LEBRANCIL a-n- individual of fiill age :of majority,residingAt 718 South

'Starrett Rd, River Ridge, LA. 10,123 abd. owner I of a leakhold 'interest iti said pre
                                                                                         .
                                                                                     "M ises,

individually and on behalf of her minor children, MARCUS LANIEUX, ARAIAN NUNNERY,

DIZNEEL
      .EBRANCH and CBEVRONE: WILLIAMS.

       NUCHELLE LEE,.an individual.,*Uull age ofMqJqrityTQsi*di_ ng at.52
                                                                       -VilkerN6WAve.,

Apt., k River.kidge, L-A. .6.
                          7 12  , and
                              . 3. ~ ownerof A 1easebOU iiiterest, lit:said premises, in her
individual capacity and on behalf of her ininor childrM KARLIE WELLS, JACAYLA KELLY

and.JYIIA.KELLY.

       LEO LESTRICK, ati individual offull.age of majon-ty re-siding,at 133 J"mine. U.,

Waggaman,LA 70094.




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       TUSCANOW LEWIS, an individual of.full age of -mqjority residing At 216 ,Coleman,.

Kennor, LA 70002, an4..owner pf-a 104soWO inte.rast itt sWd, preintises.

       CLARRAMAGEE,ani.ndivdual
                           .i   of fWl: age of majoiity residing at 411-3 Trenton St. Apt.

2, Metairie,, LA 7,0002 : and
                            do       of a leasebbld interest in ggid premises, iiidivi'dually and on

behalf of her miftor children, RONIGEA JOH14SON and MOEL-VIN MCCLINTON.

       LATOYA MANSON, -an individual, of 'fidl age of majority re'siding at. 44 Megehee Ct

Waggaman; LA 70094 and owner df a 1easehold interest in- said premises, in her individual

capacity andon belialf of her niinor . thild;.IOLAIRA GIBSON.;

       MCBELLIE MEYER, an individual of full age of maioritv residing at 612 Hester Ave.,

River Ridge LA 1612.3.

       CHANCE PALAZZOLO, an. indiv4duil ot M age of'mitidiity tesidixi& & 141 Daffodil

Lane Westwego, LA-70094.


       BERTHA REEO, an individual of full age of majority, residing -at 249 Coretta Dr.

                                     -d immov.
Avondale, LA. 70.094, atid owner of sai -    ab]   '        -
                                               . e property,,

                                                                           I
       BRADY REED, Ah. -individual. o'f, full age of majority, ieg iding- 4t 249 Cordu Dr.,
Avondale, LA 70094.


     WELLIS REED, an individual of full age of rnajority, residingat 249 CorettaDr.
                                                .
Avondale,,LA 10094,.and dwnerof sidd. iihthdviLble:.property-..


       VERNA REED, an itrdividual of full age of majority residing at 133 Jasmine Lane,

Waggaman,: L-A 70094.

                                                     I



       WIL]LJRREED, ikq. awifidividual.of full age of majoiity residin
                                                                     - g--at 133 Jasmiiie Lane,

W'estwego, LA 70094; and ownerof.said immovable_prqperty.,


       BARBARA REDGLEY., ati individual of hll. age of majority residing at 516 S.

Cumberland, River Ridge, L-A7..O.I,Z3i.:an-do'wnpro"joas6oldiotetw..insaid:pro sos.




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       NMMY BERTUCCI RIGNEY, an -individual of fullage of majority residing.-at 9609

Justin PlAce.,.RiVer Itidgd, LA 70123 and owheudf Wd immovable prpperty., individually and on.

behalf,of.her minor children, GRAHAMAIGNEY,GABE RIGNEY and GRANT RIGNEY.

       WILLlikMDUFRENE'STANLEY, au individual,of full age of inojo4tyresiding at8933
Cmnitle Ct., River'Ridke LA 70123,:and owner 6f saidimmovable propiprty.

       C.ARROLL . . . ODEAUX,;r., anJndjvidual.qf.fQage of m4jority, resid,irig- at 315
                     I
                           .A 70121, gnd owner of sald imovable,
Citrus Roa.& R'iver R idge,.L                           rn       property, i'n hisindividual

Capatityand as.pArent of,his minor-child, A11DAN STEFFENS,.

       DEBORAH UPSIN,ah individual OffUll,a- g'e of majoiltylegidhig at 500 CWnberland St.,

RiiVer Ridge, LA 70123, and owner.df,said immovAble property.

       MONTMO VAUGHN,an individual offidl age of majority residing at 500 Cumberland

S.t.'AiverRidge,LA 70123..

                  .
       IKERNER.WEA nWRSBYan individual offull agq of mojooty residing at 604 -H 6ster

Ave., River Ridge,LA 70123.
                       .123.

                                             IL

       Made -Defendants here'inare:

       Ri LOUISLOA REGIONAL LANDFTLL COWANY (LRLC), f/k/a EESI LA
                                                                - .
          laik-NDFIOU C01FWO111A'40N tUSr~ a foreip.coiporation.-donficiled in Delaware

          authorized to do and doing business inthis Paxish and State. On infomation ajid belief,

          LRLC is a wholly owned s.pbsidiaryofDefendant Waste Connections
                                                                        . Bavou. Inc., Inc.,,

                             i Oy Defondarit Waste Corinections'US,lop;, On:information.
          which.inturawasacquired

          and belief, bd&ndant LRLC'1s tontrolled by Dotendatts Waste Connections 1.     Bayou,
                                                        I
          Inc., Andlor Waste- Connec6nt,,Vs, hic., and'i s, tfib "alttr egdl of those Defendants,

          -operating without autonomy and only pursuaiit to the directidn, p"6lides afid ptbdMures

          9Tits Parent porp     044;




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        b- WASTECONNECTIONS :BAYOU9 INC., f/k/sVPROGRESSM WASTE
            SOLUTIONS OFLA, INC. -4foreign.,corporation authotized4g.                     doing,bustness.



        c.W                                              INC., a -f6teign t4dration tutherized =to46 and
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            doi ngi btigiiidts.,i'1his,.Pan
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        d. APTM. CORP.,:4-forejgn corporotion, domiciled ini,DelaWarp: authorized to doAnd -

           .doing business.4-nithjsParish.and State,

        0- PARIS11 Ot JEFTERS                         Lommana muracipw pansalwan..P0.1
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            of the Stgte:ff 14uiii ant. Ithe "P

        f., ABC COMORATIONI. t foreign or'Admestic iiisureince domvanv: whost i'dentiILYIS
            u0kqqwn to the -Petitioners.: who 4pon, information and belief wrott a policy of




        g.I DEF CORPORATION a:breign or'domestic iA%!M0..cqmp.my whose idecti - is




        b. GHI C,                    TION Ei forei or:,.domestic ijftsurace company whose idpotifty is,




                                          11~1-4 01    ---          -   - V -


        VOiuo: is proppr in accordancelvhth La..R.S. 11-5104(B), which:.statek ifi:pAtt thAt "[a]ll

suits filed against a political subdivision of the state... shall be instituted before the district coun



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of the judi" district- In-41ii: ch4he political subdivision, is lodated.or in -the: distri.et, cour't having.

jurisdiction in theipanisk in,'Which -the-cause ofaction an' ses;:" Menueb.finther proper:as to,allother

defendsnts::as ibe                        giv     n'se to the?etitiqW's claiins. oocuffed within the

7jUr'S.d'Oo    limits:Of Jefferson Parish, Stateof Louis"
                                                       iana.

                                                  IV.




        Tbo Panih is th.e.: owtw:of the Jefferson::Padih Landfill '(the "J.P. LandfiIl'*),,I'bd":At
5.90.0 Ifighway:OOVdstIn Avondale, JetTdrson Pafish,,IA.

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        (a) Opetation of the J.P. Landfill will be conducted "in strict compliance and conformity

            with all Federal, State and local laws, ordinances, and regulations; including the rules

           and regulations of the IISEPA,. LDEQ, and all State of Louisiana agencies, and in

           accordance with the Fernnit Documents."

        (b)"IESI shall be responsible for compliance with all Federal, State and local regulations,

           laws. a,nd ordiriances in its peTformance of the Service/Work associated with the

           operation [and maintenan'ce] of the Landfill."

       (c) IESI is required to "provide all labor, equipment, materials and incidentals to assume

           all daily operations, of the Landfill"

       (d) The Parish Engineer has the authority to "decide any and all questions as to ... the

           manner of performance and rate ofprogress of the Services/Work..:the interpretation

           of the Contract Docwnents, and al1 questions as to the accep. table Completion" of the

           Contract "in his reasonable and good faitti opinion." The Paiish Engineer is further

           authorized to "suspend operations at'anytinle when the Service/Work, in his good faith

           and reasonable opinion, is not being carried out in conformity with the Contract

           Documents and ali permits"



       Defendant APTIM is.and at all relevant`times has been a.co-operator of the gas and leachate

collection system of the J.P. Landfill.

                                              IX.

       Jefferson Parish, in addition to:being an owner of'the J.P. Landfll, is and at all relevant

times has been a co-manager and co=operator of the J.P. Landfill with IESULRLP and APTIM:

                                               X.

       The Parish has admitted that improper operation of the J.P. Landfill is a major, source of

the odors su#fered by Petitioners as well as t.he adverse consequences thereof. At a public press

conference on July 23, 2018, Parish President Mike Yenni stated that:

       (a) The J;P. Landfill's system designed to "coritain and deodorize iandfill gases" has not
           been in "properworking order."


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        (b) The landfill's leachate collection system has not been operated properly.

        (c) "Properly operated landfills do not operate persistent off-site odors and corrective
            actions ... are essential."

        (d) The Parish has notified IESI that it is in breach of its contract to properly operate the
            J.P. Landfill.
                                              %I.

        At the same press conference, Parish SheriffMark Conley stated that the J.P. Landfill gas

collection system has been collecting only twenty percent of the gas emitted from landfill

operations, whereas a properly operating system would collect ninety-seven to ninety-eight percent

of gas em'rssions, "[s]o that is why the Parish president is stressing that we realize we have

problems... right now, a lot of our priority, in the name of public safety and our police powers, is

to address the existing system, get it operational, and to pull as much gas out of that landfill as we

can."

                                             F."l

        At the same press conference, Parish Councilman Paul Johnson stated that the odor from

the J.P. Landfil]

        "has gotten really bad in the past for our five months...we are all going to experience odors
        from the landfill because it's a landfill. But, not those we have been having for the past
        three or five months. ' It's been really bad. I have been woken up at niglit with my nose
        burning and couldn't breathe at three.or four o'clock in the morning. This has happened
        to me more than one time ... we know the landfill is causing problems and we know it is a
        big. source of problems... ."



        At the same press conference, Doctor Joseph Cantor, Medical Director and Administrator

for Region 1 of the Louisiana.Department of Health, warned that when the odors are at "a high

level, residents should, if they are able to, leave the area and particularly if they have certain

chronic conditions which put them at increased risk mainly pulmonary disease and asthma

COPD" i ]




' A video recording of the July 23 press conference can be accessed at
                                                                          (last visited Aug. 4, 2018).



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        On or about June 22, 2018, the LDEQ issued a Compliance Order to the Parish which,

among other things, found that the Parish has violated its Landfill Permit and applicable

environmental regulations by (i) failing to provide daily cover and (ii) failing to properly operate

the system that is intended to collect leachate — the liquid brew that drains from a landfill and

carries with it numerous harmful chemicals.

                                                  XV.

        The LDEQ inspectors found areas of pooled leachate and leachate flowing downhill from

the pooled leachate.

                                                  XVI.

        The United States Environmental Protection Agency ("EPA") has established general

screening levels for various pollutants.             These screening levels are chemical-specific

concentrations for individual contaminants in air that may warrant further investigation or site

cleanup. iittps://www.epa.gov/risk/regional-screening-levels-rsls-users-uuide (last visited, Nov.

21, 2018). A chronic screening level addresses potential chronic exposure to a chemical.

                                              XVII.

        Air samples collected by the LDEQ in the communities of River Ridge, Harahan and

Waggaman between July 20, 2018 through approximately July 28, 2018 were found to contain

numerous chemical compounds at concentrations that exceed EPA's chronic screening levels,

including acrolein, l, 2-dichloroethane, benzene, carbon tetrachloride, and naphthalene. All of

these compounds are multimodal toxicants, in that they are potential or actual human carcinogens

and also have other toxic effects. The air samples collected by LDEQ also contained hydrogen

sulfide at concentrations that exceed EPA's chronic screening levels. Hydrogen sulfide is a

potentially toxic conipound. All of these compounds are typically found in the gases generated by

landfills like the Jefferson Parish Landfill. -




        In a report dated August 15, 2018, prepared for the Parish by its environmental consultant,

Carson Environmental Consulting ("CEC"), CEC made several findings; including, among other


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things; that tlieit Efre nuineiougAefidl6icies M"Ilit landfill ims condensate. and1eachate-collection

pumping,systems[J' and that,the. infrastructure for thes ystemsrequires immediateJmprovement:

"to meet the Parish'.s perforiftwce objectives.. In addition, CEC concluded tha iniproved

operation and ftiaititehoce of-the JI., Labdfill r;dquires the, Parish's "focused Afteaddiiii'.

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        O.ft, inforinatioti znd beliof, bit or about. Decembet'S... -the Co       issibriet:.of ihe LDEQ.

informed the Patith tha there:is.:`Inixddiibf' in - hig ftiiiid that th6 JP Latidfill is tho primary source

the odors experienced bv residents.:of the'com.munities in which-Petitioners reside;


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        Oninformatiow and. b.elief,..Defenclant AB.0 Corporgfiqn.hasi.ssued a policy of'insurance

to Defendant Louisiang Regional Landfill Company that covers the acts and omissions alleged

hereih. Petifioners will- ahiendthig Pofition to. identif y ABC Cotporation once-itg identity ig known.

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        On-information and belief, Defendaiit DEF Corporatioli has-isgtibd A-policyof itistirAnce to:

Defendant Waste Conneedons Bayou, Inp. that-covers ,the acts and oniitsions alleged herein.

Petitioners%will amend this, Petition taidentify DEF Cprppration onceits identitv is -known;




        On information and belief, D
                                   —efendant GIRCorporation hasi.ssue&&ppHcY of insurance to

Defendant Waste Connectiorts:, US, Inc. that covers the acts aftd, oniissi. ons alle-ged herein.

Petitioners will athend this Pefitibri.Widentify-GIH Coiporaflon ondelu identity is.. own.
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        Oii information Ahd belief, Defendant JKL Cbiporatibn has issued a policy 6f institance to

                  oration that, covers Ae act& and omissions, alle_g
Defendant Aptim Corp                                               iWcrein.
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amend this Petition to idendfv JKL Vorporatim once its identity is known.

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        On information: and beiief,beftnilant NMO-.Corpor6tion hits issued.a.pblicy, df insutance

to DefendaOt Parish.of Je fferson
                          -       that covers the acts and, omissions alleged.herein. PetitionerswRi

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amend this PetiOqAtO optify....
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       The Defendants' failure to properly Aesign, operW and maintain tbe, J.P.: Landfifl,
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          .             .. . I
                      - 4 leachate, colloc on systems, hovo caused harmfW, noNious and repulsive
        , its: ga-s;. 0
inchiding

odorsland.chemidals t6 be:teleased from the 1.1i. landfill into the swouftding drivironment,on. abd

into Petitioners'. h0rpe,s and immovabl6 ptoperty, resultiiig in Petitionets' continuing ekposure-to

those odors,and chemicals.

                                                 XXVIII.

        These- o4ors and chemicals-bave also- caused these Petitionem to suffer physical and other

harm including, bUt not limited -to difficulties breathing, coughing, nausea, burni ng- eyes, ears.,

nosek Eind throatsjAizzine9t;16ss of, Appetite,:fIktigu'e aftd lethiitgy, as.well:as fear,,.anguisk   idty


and mcaital, P61i and sufferiniz. ln'addition:

       i.       Petitioner Charles -Lee. Andenoii suffers.frommasthma for which, he-is treated by a.

modicadoctori and-;i*Kch.i.s:exacerb.a.iedbytheodor.sempaOAg-.ftomt.hetitnd.fill.. ,Mi..Andets6ii

                              Ach es Atigue,flOe-like 4ymptoms and loss. of appetite As a result
also suffers from coughing, head

of odors emanating from the Landfill.

                                  w suffersfrom, aMhma. She has~ been treated by a
        ii. Petitioner Ashdey Augfine

phy,sician for this illness. Her.asthma, is exacerbated by the odors emanating. from the lAbdfill.

       iii. Pefitioner Dioane:Bames suffers ftom asthma,, which i.4 exacerbated by the odo.rs

emanafing:from the,,Landfil 14

       jv.,     ,Petitigner Jalyii Barjm'es. gaiNks. tioin Asthma, which U. exacerbated by tho odors

emanating from the. Landfill.

        V.      Petitionpr PrudVqce,CaMkF#~#A. Wflkmfrom aAthma which is exacerbated-by1he

od6ts.emahatifig from ihe Landfil.l.




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        vL.      Petitioner: LeKesba Davig ,suffers ftom poly os               an-Anflammation of itit

1pogs.. She receives treattnmtftm;iphy.siciaii.for..,this.corid~i,fion.                      dtb

the odors.emanating from the Landfifl, which also causd., her to teel, nautei.

        vii..    Petiooner Paul: Davisjr. suffers from asthma. This illnes..-is exacerbated by the

odors emanating from. the Landfill..r.
                                     M Davisis treated:.by, a physicia.n fort his asthnia.

                                                                         s treated by a
        viii Pofitioner. getty Dumas suffersfrom chrocm bronchitis. She is
         f      '. Ai,n
physiciw
     ki  or_Ithls i m- Her bronchitis,.is exaperbated by the: odor's- emanating frorntheLandfill.

        ix.      'Petitioner, Betty-Forrell-suffets ftom "thihei. She:is treated- by,a:,ph ysi=6 fior
                                                                                                    tffis

illnes,s. Heta.s.thmais-exacerbated:by-the odors eirianatingfromthe Landfill.

        X.       Petitioner Linda Frickev- suffers from chronic bronchitis. This illness is

                                      -the Lan-dfill. She is treated by a pbysician for thisJ IIness..
exacerbated by the odors ernanatiniq from

        xi.      :Petitioner Warsi Gibson siiffers from asthma, She is.treatedby al physkiaii fbr this

.-illnes§. Ber asthmAisexacerbAW by.the ddors t ahatihg~frbmtheLandfill.

        )di.     Petitioner SheRa Guilbeau suffers1rom as;hmai She i.s un.der a physietan's care
                                                                      .
f6rthis:illness. Iferasthma"is exacerbated by-the:odors emanating from!.the Landfill.

        m        Petitioner Claudettik Cqolstota Atiffers from Asthma. She is treEittd b,"y a physician

fcir this ilijiess. Her,agthmais.exiteeibked.by'-thd.od6rsoptaiiating.ftomtlio.1,Ahdflll.

        xiv. Petitioner Michael Harris,- Sr. suffers from asthina and COM' He is treated by a

phy4ician for these itlness,es. These illnesses are exacerbateo by thp vdorsmanatipg from the
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Lgndfill. hi faM hig° physiciiin has.adviiiw   Hard s to move Am* frm the area, dve to. te,

severity of the, symptoms he suffers from the~ odors emanating from the Landfill

        W         Petitioner Jazon,RybarUsuffirs from asthma. He has bee'n treated by'a phytitian

figuthisAness. ifis-asthma is exacerbated by the odors emanatinit from the-Landfill.

        xv- L,                   .ck Jackson, auffers ftom asthm. He has been treated by 4
                  Petitioner Tedri

 physiciaa fbrtbis<illness. M's asthma is- ekkc&bated b'y- the odors emanating from the Landfill.

        xvii.Pedtioner Shyan,Johnson suffers ftoin asdiina. ghd;lsttWedlbyitphytic'lEib.ft)r

this: illnes&-.Her.asthma`is                   the odors emanatint.fronilhe Landfill.

             Petitioner MMirkus L _ anieavy. suffers --from asthma:. He has: been; treated by-a
        xviii.

 physician'torthis ginets. Its asthMa it. exacerbated by the odors emanafing from the Landfill, on

 occasion sospvqely that he iiiutt. be Admitted tb. the hospital
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         xix.    Petitioner TuscanowLewLs:suffers-ftom:a,s,th.ma. The odors exacerbate his asthma.

14e, is-tteated by la physician for:this . ilinesg.

        xx.      Petitioner CWra Magee suffers from asthma. She: is treatedby a physici.an -for

thisillness. 14er asthma is exaccrbate4.by the o4on emanatingfrom
                                                                . - the. L.ndfill.

   xx.i. Petitioner. Kerner Weathersby,:suffers from asthma:and COPD: He is treated by a:

 physiciawfor these illnesses. T'he odors emanati - fro -tbe. Landfill oxacerbate these'illnessts.,
                                                        _ng_ m




        D&ndanti4 actiong And oftilsisioUs withlespect           wthe   desiM opetation arid, mAintenance
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of the I.P. Landfill   ard   the dirwt and,prokimath dause offhe injUfids tmd harm suffitred by each of

the Petitioners as allegedabove.

                                                      XXVIX.

         Defendants' Actions an&omissions as outlintd aboveAlso.have caused a dimitiution in the,

value,of Petitioners? l immovable. property.




         These.odor.s have been pervasive and. persistent.. They bave.con.t.i.opedto. th,ppre4entl an.d

arelikely tocoritinue for th-e foreseeable fut.ure. ne.emissi6n-s cons.fit-ute, a:continuing -tort.

                                                      xxxt,

         Defendants" acts and qmxssions in.owni               sigmng, pperating.andWmairitaining the J.P.

Landfill as described abow constitute an unreawnable interference%
                                                                 wi'th each of the Pdfitioners'

comforiable use andl-enioymentdf theii1omes.




         Defendants are liablip torthe Petitioners forail.darnages they haVe_:itffer4 including bodily

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harm, diminution of property value-grid .fe#r, angL,4                   s.:. e1.1tim IM. Owt-
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ofmoisance.                                      I




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          These physical invasions of noxious odors and chemicais constitute a trespass causing

Petitioners to suffer physical harm, diminution in property value and rental value, inconvenience,
loss of enjoyment of property, as well as fear, anguish and mental pain and suffering.




          The emissions of these harmful odors and chemicals have been pervasive and persistent,
and constitute a continuing tort.

                                               XXXVI.

          The Defendants' illegal actions and omissions in owning and operating the J.P. Landfill
continue to this day and, unless enjoined :by, this Court, will continue "for the indefinite future.

Accordingly, Petitioners are entitled to a pennanent injunction ordering the Defendants to abate

the continuing nuisance and cease the brespasses caused and created by the I.P. Landfill, including
the emission of noxious odors and chemicals, and_to take all necessary reasonable actions required

to accomplish same.




          Each of the Defendants had a duty to Petitioners to exercise reasonable care in the design,

ownership and/or operation of the Landf lls, including without limitation the duty to comply with

applicable environmental laws and regwlations and otherwise to ensure that the Landflls were

operated in a manner that does not jeopardize their health, immovable property, environment, and
quality of life.

                                               ; ,O. ~ _ 1_


          Each of the Defendants breached such duties of care to the Petitioners by, among other
things:

          i.       Failing to properly design, operate and maintain the J.P. Landfill, thus allowing
                   noxious and hanmful odors and chemicals to be released from the J.P. Landfill and

                   introduced 'rn the atmosphere and surrounding neighborhoods;

          ii.      Failing to take careful and prudent precautionary measures to ensure that these

                   releases would not occur;

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        Jii.    Faling to ddsiM operate aiid Aiaintaiii the J.P. taiidfiti in -A.mahndr, that does not

                cadseIarm to others maid'iii partiogl4rits noighbors,

        iv.     Failing to compjy .with. qpplipable, regulations govorning.               psiM
                                                                                             operation. apo.
                          -
                maintenanc e of-the J.P. Laftdfill;

                B e.in,g inattenOve. and careltss ir tho overall: design,. operitti on',and..- m amn te'na- n'ee of

                thiD iP. Landfill;

        VL      Failing:to.remediate and repairthe-failures in design,.operationa. ndmaintenanceof'

                thel.,P; Landfiltasthby blpcame k-nown to,th.e Defendants-

        vii-.   Any and all othor acts ofinegligipnce: which may be reveiled- between ftow and the

                time of tnai.


                                                  NXXDL,

        The Defendants' Whire to comply with'thdir duties of care: to the Petitiondrs were and are

a cause in fgdt aiid a legW cadge.16f Petitioners` iqjuriies, and, each of the Pefi tioners h" siffdred

damAges as & resLdt theredf, including~
                              I         physical ~harm- _ diminuiion in~ property value and fear,

anguish and ineqt4l pAiA aAdw,.s.ufferingqsweO aloss of use and prijpy.ment of their immovable

ptciperty and diminution,in the. vwule of sa id property.

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        The Parish's ownership and operation of the J.P. Lanctfill has caused.substantial damage to

the value dfPetitibtieis' Tespecfive iiiteresm in thdir iftirnovable,propdrty.",

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        The.Parish knew, ot-In" the.eXercisb of ftatoftble:darb;.ghbWd.htivelluiow-n, that.itsfailure

                           ,andm the.J.P.. landfill would cauge daihAge th:Petitiofters, Afid
to properly design -pperateaintain

such damage could have beent prevpnted by te exercise of reasonablecgre: The Parish, as owner

ofthe I.R.Landfill,fgiled-to
                        , _ exercise sUch reosoiigblo CM.




        In coriimitting the'Acts od omissions described.above. the Defendants have breached their

contracaW obligations, of which Petitioners are third party bobeficiaries, arising under the


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contracts betWeen the Parish and all cithet Defendants ber-ein per-taimpg.-to the>...desiM operatioh

and maintenancepf the JR. Landfill.


                                                 XLIIL

        In-cbmmittiniz the f gregoing acts and'omissions, Defendants, haveMol-a.te-cl,i4terafia, Civil

Code.Articles667,00'9',231.5,.2-316, -abd.2 17.1, which has.caused andtontinties_to ogiik each df

the Petitioners4amages inclu, ng.nwisance damages;.physicalI&m and mental fear,,,anguish, pain

:and suffetiog; athd diminution in property, value.

                                                 XLIV.

        FUrther, Ptfitioneft7l interest
                               ---      - is their immovable ptoperty is id prbpeity, fig.ht Protected by.

the Louisiana Constitutiom

                                                  XLV.

        Petitioners' interest i.n. their real property has been taken. =d damaged `by the zctions of

Jefflers.on Parish-as se-t fortk:Abovf..

                                                 UVI.,

        Such.talcing and damage,was, for a public'purpose — to wit, the opemtion of a. public lailclAU

fbr tht purpose:of h-andiin-9 and disp6sing,: of witste, generated by -the citi*zens of - leffertoti Paflsh

and others.

                                                 XLVIL

        The Parish is liable-16-the Petitioners f6r damages caused by ft PsAsh's uncoiistittifioiial

taking of iheir immovable property without payingjust compensation pursuant to Articlel, Section

4(B) of the Louisiana Constitut-ion.

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                                                                                    .tutions a
        ilie Parish'& toldng of Petitioners' property without just compensation consfi

deprivation of thei, t property withooti due process, of law pursuant tq Arficle I, Section 2: of the

Louisiana Constitution.




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    Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 23 of 434




        ThiD Parish is liabl'e to. the Petitionem for damAges: caused: by thp. POW's *Wation- of

Pefitionen' due promp rights...

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        PETrrIONERS REQUEST A:4VWTRIAL AS TO ALLCLAIMS TRIARLEBY

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        WHEREFORE, Petitioners pray that-

               (a) luOgtnent be:entered doolazing, ea6h ofthe.. Defeadamts jointly.; severally and in

                  solfdoliabldto each of thePetitioners for .all.damAges.(aiidA*arditig idl sudh
                  damages), includ ing -physical And bodily 'hmi, loss 6f *use and:en'joyment of

                  their homes, diiWnudon in. property.vAluo, los; wages med cal oxpense s 40d

                  mental palWand suffering;
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              .(b), Mgmen
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                  coiidemnation, and awarding to each -of the Petitioners just compensation for

                  the uriconsti.tutional. taking oftheirinteresti in real property and/or a deprivation

                  Qf 4ue. Vrocess,

               (c) Judgineot be. eitterod againWAWDefendants forall. additional damages as are

                  jitg an&reasoftabld Vndetlhe citwinstances,'.including but ncit liinited to the

                   cost of altemative houMng and medical testing-.

               (d) T-be. Defendants be permanently onjoined and ordered to abate the nuisances

                  and trespasses and to take- all reasonable and neccssary measwes to cease the

                  haft- U e mistiofts. frbih -the. J.P. Landfill.

              :(e) ThetDefendants be required to providt medical monitoring for all PetitionetsIs

                   Appropriate;

               (f Prejudginent'and post judgment interest on all d            ba award d-

               (g) Pefitidiiora,bo;gworded:Wl.costg for prosecution..6f Ws acfion-knd Attorney -fees-

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    Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 24 of 434




              (h) Damages be awarded for all other injuries that may be proved at trial; and

              (i) This Court award such other and further relief as it may deem just and proper.

                                                     Respectfully submitted,

                                                     FORREST CRESSEY & JAIVIES, LLC



                                                           n Forrest (La. ar No. 35481)
                                                     Nicholas Cressey (La. Bar No. 35725)
                                                     S. Eliza James (La. BarNo. 35182)
                                                     One Canal Place
                                                     365 Canal Street, Suite 1475
                                                     New Orleans, Louisiana 70130
                                                     Eliza(@,-fcjlaw.com
                                                     Tele: 504.605.0777
                                                     Fax: 504.322.3884

                                                     OF COUNSEL:
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                                                     Erik Bolbg
                                                     C. Allen Foster
                                                     Adrian Sneed
                                                     WHITEFORD TAYLOR PRESTON, LLP
                                                     1800 M Street, NW
                                                     Suite 450N
                                                     Washington, DC 20036
                                                     (202) 659-6800
                                                     (Applications for Admission Pi-o Hac Vfce
                                                     Pending)


PLEASE SERVE•

LOUISIANA REGIONAL LANDFILL COMPANY
Through its Agent for Service
Corporation Service Company
501 Louisiana Avenue
Baton Rouge, LA 70802

WASTE CONNECTIONS BAYOU, INC.
Through its Agent for Service
Corporation Service Company
501 Louisiana Ave.
Baton Rouge, LA 70802

WASTE CONNECTIONS US, INC.
Via long-arm service through FedEx
Through its Agent for Service
Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

APTIM Corp.                                                                TRUE COPY OF T E ORIGIiVAI.
Through its Agerit for Service                                             V FILE IId THIS'QFICE.

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Ucarporation System
3-867 ,Plaza, Tower Dr.
Baton Rbuge, LA 70816

 PARISH OF JEFFERSON
 Through its-Agent for, Service
'Parish.Attompy for the Pajish-of Jeflerson
 1221 EhnW6od.Park Blvd ... Suite 701
 Jefferson, LA 70123




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   Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 27 of 434




                24THruDICIAL DISTRICT FoR THE PARISH oF JEFFERSoN

                                      STATE OF LOUISIANA

NO.792-502                                                                          DIVISION "O"

                                CHARLES LEE ANDERSON, et al.

                                               VERSUS

                    LOUISIANA REGIONAL LANDFILL COMPANY, et al.




        Defendants V/aste Connections US, lnc. ("WCUS"), Waste Connections Bayou, Inc.

("WCB"), and Louisiana Regional Landfill Company ("LRLC") (collectively, the "Waste

Connections Defendants"), through undersigned counsel, respectfully move this Court pursuant

to La. C.C.P. art. 253.2 for entry of an order transferring this action to Division J of this judicial

district so that it may be consolidated with the related action No. 790-369, bearing the caption

Frederick Addison, et. al. versus Louisiana Regional Landfill Company, et. al., given that the

Addison action involves the same allegations of fact and law as the present action, as set forth

more flrlly in the attached memorandum.

        Counsel for plaintiffs in both this action and the related Addison action, Barry S.

Neuman, has indicated that he opposes this motion.

        WHEREFORE, the Waste Connections Defendants respectfully request that this motion

be granted, transferring this action to Division J of this judicial district.

                                                Respectfully submitted,

                                                BRADLE                             Y & SHEA LLC
                                                                                   (
                                                By:
                                                       David R. Taggart
                                                       (Louisiana Bar Roll No. 12626)
                                                401 Edwards Street, Suite 1000
                                                Shreveport, Louisiana 7    ll0l
                                                Telephone: (318) 227 -I l3l
                                                Facsimile: (3 18) 227 -ll4l
                                                Michael C. Mims
                                                (Louisiana Bar Roll No. 33991)
                                                John B. Stanton
                                                (Louisiana Bar Roll No. 36036)
                                                1100 Poydras St., Suite 2700
                                                New Orleans, Louisiana 7 0l 63



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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 28 of 434




                               Telephone: (504) 596-6300
                               Fax: (504) 596-6301
                               BEVERIDGE & DIAMOND, P.C.
                               Michael G. Murphy Qtro hac vice to be submitted)
                               Megan R. Brillault Qtro hac vice to be submitted)
                               John H. Paul Qro hac vice)
                               477 Madison Avenue, 15th Floor
                               New York, NY 10022
                               Q12)702-s400
                               James B. Slaughter Qro hac vice to be submined)
                               1350 I Street, N.W., Suite 700
                               Washington, DC 20005
                               (202)789-6000
                               Counsel for Defendants'Waste Connections US,
                               Inc., Waste Connections Bayou,Inc., and Louisiana
                               Regional Landfill Company




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   Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 29 of 434




                                 CERTIFICATE OF SERVICE

       I hereby certiff that I have served a copy of the above pleading on the following counsel

of record via PDF email this   _ day of March,2Ùl9.
       Byron M. Forrest
       Nicholas V. Cressey
       S. Eliza James
       Forrest Cressey & James, LLC
       One Canal Place
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       Barry S. Neuman
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       1800 M Street, NW
       Suite 450N
       Washington, DC 20036

                                                                                    t

                                                      OF COUNSEL




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   Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 30 of 434




               24THruDICIAL DISTRICT FoR THE PARISH oF JEFFERSoN

                                     STATE OF LOUßIANA

NO.792-502                                                                   DIVISION "O"

                                 CHARLES LEE ANDERSON, et al.

                                            VERSUS

                   LOUISIANA REGIONAL LANDFILL COMPANY, et al.


                                            ORDER

       Considering the above and foregoing Motion to Transfer submitted by the Waste

Connections Defendants,

       IT IS ORDERED BY THE COURT that Petitioners show cause on the                   day of

                   at          a.m. why the Waste Connections Defendants' Motion to Transfer

should not be granted.-

       Gretra, Louisiana, this   _      day of              2019.




                                           DISTRICT ruDGE


SHERIFX" PLEASE SERVE:
CHARLES LEE AI\DERSON, ET AL.
THROUGH THEIR COT]NSEL OF RECORD:
Byron M. Forrest
Nicholas V. Cressey
S. Eliza James
Forrest Cressey & James, LLC
One Canal Place
365 Canal Street, Suite 1475
New Orleans, Louisiana 70130




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                   24TH ruDICIAL DISTRICT FoR THE PARISH oF JEFFERSoN


                                      STATE OF LOUISIANA

NO.792-502                                                                          DIVISION "O''

                                CHARLES LEE ANDERSON, et. al.

                                             VERSUS

                     LOUISIANA REGIONAL LANDFILL COMPANY, et. al.


                               MEMORANDUM IN ST]PPORT OF


           Defendants W'aste Connections US, Inc. ("W'CUS"), V/aste Connections Bayou, Inc.

("WCB"), and Louisiana Regional Landfill Company ("LRLC") (collectively, the "Waste

Connections Defendants"), through undersigned counsel, submit this memorandum in support of

their Motion to Transfer, requesting entry of an order transferring this action to Division J of this

judicial district so that it may be consolidated with the related action No. 790-369, bearing the

caption Frederick Addison, et. al. versus Louisiana Regional Landfitl Company, et al.,t given

that the Addison action involves the same allegations of fact and law as the present action.

       A. PROCEDURAL BACKGROT]ND
           On July 25,2018, the first of four putative class actions was filed in the24ú Judicial

District Court on behalf of a proposed class of persons seeking damages for alleged "noxious

odors" emanating from the Jefferson Parish Landfill ("Landfill"). See lctech-Bendeck v.

Progressive Waste Solutions, No. 2:18-cv-07889 (E.D. La.) (filed tn 24rh Jud. Dist. Jvly 25,

20ß).2 On August 17,2018, the Waste Connections Defendants removed the Ictech-Bendeck

action to federal court pursuant to the Class Action Fairness Act ("CAFA").3 Over the next

month, three additional putative class actions were filed in the 24ú Judicial District Court,

Thompson v. Louisiana Regional Landfill Company, No. 2:18-cv-08071 (E.D. La.) (July 30,

2018), Bernardv. Progressive llaste Solutions of LA, Inc.,2:18-cv-08218 (8.D. La.) (Aug. 10,

2018), and Landry-Boudreaux v. Progressive W'aste Solutions of LA, Inc., 2;I8-cv-09312 (E.D.




t
    See Ex. A-1.
'Ex. B-1.
'Ex. B-2.


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      Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 32 of 434




                                      'Waste
La.) (Aug. 27, 2018).0 The                     Connections Defendants also removed these subsequent

actions to federal court pursuant to CAFA.s All four proposed class actions name the same set of

defendants      - Jefferson Parish, Louisiana Regional Landfrll Company f/k/a IESI LA Landfill
Corporation (a Waste Connections subsidiary), Waste Connections Bayou, Inc. flWal Progressive

Waste Solutions of LA, Inc., Waste Connections US, [nc., and Aptim Corporation.

           On December 13, 2018, t}re Addison plaintiffs filed action No. 790-369, brought on

behalf of 86 residents of Jefferson Parish and seeking damages for alleged odors emanating from

the Landfi11.6 The Addison suit also involves defendants Jefferson Parish, the Waste Connections

Defendants, and Aptim Corporation. The Addison plaintiffs are represented by Barry S. Neuman,

based in Washington, D.C., with the firm of Forrest, Cressy & James, LLC serving as local

counsel. The Addison matter was not removable under CAFA, which provides jwisdiction for

cases that are either styled as a class action, or that involve 100 or more plaintiffs. Addisor¿ meets

neither of those criteria.

           V/CUS and Jefferson Parish responded to the Addison action with declinatory exceptions

of lis pendens.T After those matters were fully briefed, the Honorable Stephen C. Grefer held a

hearing on January 24,2019. At the conclusion of argument, Judge Grefer held that La. C.C.P.

art. 532 dictated that the exceptions of lis pendens be granted as Addison was duplicative of the

four related class actions pending in federal court.8 Judge Grefer further ordered that Addison

would be stayed until such time as the Eastern District of Louisiana ordered a remand of any one

of the related class actions, or until such time as the Eastern District of Louisiana ruled on class

certification in any one of those actions. On February 6,2019, Judge Grefer signed a judgment

reflecting this ruling.e

           On February 25,2019, Mr. Neuman and the Forrest, Cressy, and James firm filed the

present Anderson suit on behalf of 91 additional residents of Jefferson Parish, also complaining



a
    Exs. C-l, D-1, E-1.
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    Exs. C-2, D-2,8-2.
6
 Ex. A-1.
7
 The Addison actionwas stayed before the other Waste Connections Defendants appeared. Presently, WCUS is the
only one of the Waste Connections Defendants that has made an appearance tn Addison.
t Ex. A-2.
e
 See Exhibit A-3. On March 2l,2}lg, the Addison plaintiffs filed an application for supervisory writs, which the
Fifth Circuit Court of Appeal has not yet ruled on. That application lacks any merit, as Judge Grefer properþ held
that Addison was duplicative of the four related class actions pending in federal court.



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of odors allegedly emanating from the Landfrll. That matter also names defendants Jefferson

Parish, the V/aste Connections Defendants, and Aptim Corporation.

              On March 14, 2019, Mr. Neuman and the Forrest, Cressy, and James firm filed a third

such suit in this district, this time on behalf of 93 additional residents of Jefferson Parish, also

complaining of odors allegedly emanating from the Landfill. That matter also names defendants

Jefferson Parish, the Waste Connections Defendants, and Aptim Corporation, and is captioned

Michael Brunet et al. versus Louisiana Regionol Landfill Company, et al., Civil Action No. 793-

088, currently pending on the docket of Division O in this district.lo

              On March 14, 2019, the Eastern District of Louisiana denied the various motions to

remand pending in the four putative class actions, holding that the actions would remain in

federal court.ll

              The Waste Connections Defendants now request that the present Anderson matter be

transferred from Division O to Division J, for purposes of consolidating it with the Addison

action, given that the two actions involve the same allegations of fact and law. The transfer will

serve several vital interests: prevent the appearance of judge shopping by plaintiffs; promote

efficiency and judicial expediencyt and avoid the possibility of inconsistent rulings.

              Simultaneous with this motion, the Waste Connections Defendants have filed a

declinatory exception of lis pendens in the present Anderson matter, on the basis that it is

duplicative of the related class actions filed in the summer of last year (i.e., the same basis on

which Judge Grefer ordered that the Addison matter be stayed). The Waste Connections

Defendants submit that Judge Grefer should hear the exception of lis pendens after the present

Anderson action is transferred to Division J. Additionally, WCUS filed a similar motion to the

present one in Division J in the Addison action, requesting that Judge Grefer exercise his

authority under La. C.C.P. article 1561 to order that the present Anderson action be transferred to

Division J and consolidated \¡rith Addison. While Judge Grefer may properly resolve this issue




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     Ex. F.
lt lctech-Bendeck,
                                      wL 1199105; Thompson,_F.supp.3d . 2olgwL ll99l03;
Landry-Boudremx,-F.stpp.3d-,2019
                              2019 wL ll99l04; Bernørd,_F.supp.3d , 20rg wL nggrc2.
                      -F.supp.3d_,

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under La. C.C.P. article 156l,12 the present motion was filed in an abundance of caution, given

that the Addison matter is stayed pursuant to Judge Grefer's order dated February 6,2019.

     B. ARGUMENT
         Louisiana Code of Civil Procedure article 253.2 allows for hansfer of a case from one

division of a judicial district to another division within the same district to effect a consolidation,

as follows:


         After a case has been assigned to a particular section or division of the court, it
         may not be transferred from one section or division to another section or division
         within the same court, unless agreed to by all parties, or unless it is being
         transferred to effect a consolidation for purpose of tria113 pursuant to Article 1561.
         However, the supreme court, by rule, may establish uniform procedures for
         reassigning cases under circumstances where an expeditious disposition of cases
         may be effectuated.

         The Louisiana Supreme Court has confirmed that transfer for consolidation purposes is

appropriate when two suits allege common issues of fact and law. See Cotton v. Gaylord

Chemical Corporation,96-7823 (La. 7118196), 678 So. 2d 532 (cases involved same alleged

incident, same defendants, and similar allegations against the defendants). A request to transfer a

case for consolidation purposes should be granted to avoid multiplicity and duplication of

actions.la The purpose of consolidation is to discourage judge shoppingls and to promote judicial

efficiency and expediency.l6 Further, an objection to transfer is valid only when the objecting


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   Although Louisiana Code of Civil Procedwe article 1561 provides that the division in which the first-filed action
is pending is the proper division to order a consolidation, article 253.2 also grants this Court the authority to order a
transfer of this matter "to effect a consolidation."
13
   Despite article 253.2's reference to trial, Louisiana courts have observed that a trial court has wide discretion to
order a transfer for consolidation purposes at any stage ofthe proceedings, even if consolidation would obviate the
need for a trial. See Bonnette v. Tunica-Bíloxi Indians, 2002-919 (La.App. 3 Cir. 5128/03,2), 873 So. 2d l, 4, on
reh'g (Mar. 24,2003). There, the trial court dismissed the first-filed action for lack of subject matter jurisdiction; it
then ordered consolidation of a later filed action, and subsequently dismissed it for lack of subject matter jurisdiction
for same reasons as first-filed action. The court of appeal rejected the appellant's argument that the trial court ened
in dismissing the later-filed action immediately after consolidation, when consolidation should be for trial only. Id;
see also Ferguson v. Sugar, 2000-2528 (La.App. 4 Ctr. l2ll9l0l, 3), 804 So.2d 844, 846 þermitting the
consolidation of a petition for discovery only pending in one division with the underlying negligence claim pending
 in another, even though the discovery petition was not consolidated "for trial.")
                                                I
 '" See e.g., In re Miller,95-1051 (La. App. Ctr. 12115195), 665 So. 2d 774, 776; Reynaud v. Champagne, 14
 Orleans App. 179,181 (La. 1917) ("The law abhors a multiplicþ of actions against the same person.").
 15
    See Rule 9.4(b) of the Uniform Rules for Louisiana District Cóurts, which piovides:
          (b) Judge or forum shopping is prohibited. To achieve continuity of case management and avoid
          the appearance ofjudge or forum shopping, all subsequent actions asserting the same claim by the
          same parties, except for cases filed in juvenile courts with concurrent jurisdiction, shall be
          tansferred to the division to which the first case filed was allotted, whether or not the first case is
          still pending. Any attorney or party who files more than one petition for the same paxty on the
          same cause of action shall attach to any subsequent petition a "Notice of Prior Filing or Multþle
          Filing," regardless of whether any of the previous petitions were dismissed. This notice shall
          comply with La. Code Civ. Proc. art. 853.
 t6
    See St. Pev. Neal,534 So. 2d,993,994 (La.App.4th Cir. 1988) (consolidation appropriate when it "achieves
judicial economy and results in the reduction of fansactional costs."); Aaron & Turner, L.L.C. v. Perret,2007-1425


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party demonstrates with "specificity" that it will be unduly prejudiced. Abadie v. Metro. Life Ins.

Co.,00-344 (La.App. 5th Cir. 3128101, ll),784 So. 2d 46, 62.

         Here, transfer for consolidation purposes is warranted because both Anderson and

Addison allege the same events and alleged wrongdoing (ongoing odors which are allegedly

emanating from the Landfrll); the two suits involve at least one coÍrmon plaintiff (Ms. Ethel

Green);l7 all plaintifß in both suits belong to the same proposed class of plaintiffs in four

previously filed proposed class actions; both suits name identical defendants; and both suits seek

the same relief from the same defendants.ls

         Further, transfer for consolidation purposes should be granted as several more similar

actions are likely to be filed in the near future, and without transfer, those various suits would

cause a drain on this district's resources and create a risk of inconsistent judgments.

         1. Same alleged events, same alleged wrongdoing.
         First, transfer for consolidation purposes is appropriate because the two suits arise from

the same alleged events and involve the same alleged acts of wrongdoing. Namely, both the

Anderson and Addiso,n suits allege that odors have emanated and continue to emanate from the

Landfill, and that such odors are caused by the Landfill's insufficient leachate and gas collection

systems. This is made abundantly clear by the "Introduction" sections of the Anderson and

Addison petitions - which contain the same, identical provision:

        This action arises from the continuing, significant and unabated harm suffered by
        each of the named Petitioners as a result of the ongoing - and admitted - failure
        of each of the Defendants to ensure that the design, operation and maintenance of
        the Jefferson Parish Landfill (the "J.P. Landfill") complies with applicable
        environmental laws and adequately protects Petitioners' human health and
        environment. At all relevant times, the J.P. Landfrll and has persistently emitted
        harmful and toxic odors and chemicals into the surrounding areas, including
        where each of the Petitioners resides.

        These unlawful, harmful and toxic releases have caused Petitioners substantial
        loss of the use and enjoyment of their homes and immovable property, and have
        caused physical harms including, among other things: diffrculties breathing,
        coughing, nausea, burning eyes, ears, noses and throats, dizziness loss ofappetite


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(La.App. Cn. 514/09), 2009 WL 2857974 (consolidation warranted "in the interests of judicial efficiency");
Johnson v. First Nat. Bank of Shreveport,2000-870 (La.App. 3 Cr. 6/2010l, 6), 792 So. 2d 33, 43 ("Judicial
economy dictates that such similar matters arising out of the same set of facts and circumstances and against the
same set of Defendants be tried together.").
t7
   SeeBx. A-1, Addisonpetitior¡ p.4; Ard"rson petition, p. 5.
rB
   Those defendants arelefferson Parish, Louisiana Regional Landfill Company ("LRLC") flkla IESI LA Landfill
Corporation, Waste Connections Bayou,lnc. f/k/a/ Progressive Waste Solutions of LA, Inc., Waste Connections US,
Inc., and Aptim Corporation.



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           and lethargy, as well as fear, anguish, discomfort and inconvenience. These
           emissions also have caused diminution in the value of Petitioners' homes.

           Accordingly, Petitioners seek redress from the Defendants for the direct and
           consequential injury and damage they have suffered and will continue to suffer as
           a direct result of the releases of noxious odors and chemicals from the J.P.
           Landfill.le

Likewise, the remainder of both petitions set forth nearly identical allegations regarding the

events giving rise to the litigation and the harms atlegedly suffered.2o In short, there is no

meaningful distinction in the facts and law alleged in the two suits that would cut against

transferring this action.

           2. Same plaintiffs
           Transfer is also appropriate as Addison and Andersonboth involve at least one common

plaintiff2l and more importantly,the Addison andAnderson plaintiffs share a legal identity as

both sets of plaintiffs belong to the s¿Ìme proposed class of plaintiffs in four previously filed

proposed class actions which are pending in federal court.

           As Judge Grefer already recognized when he granted WCUS' exception of lis pendens,

the Addison plaintiffs are, as a matter of law, deemed to share an identity with the proposed class

of plaintiffs in the lctech and other related proposed class actions.22 The Court's ruling was

based, in part, on Louisiana Supreme Court authority which makes it clear that when plaintiffs in

a later-filed action are putative class members of an earlier-filed pending class action, there is a

shared legal identity among all members of the putative class until at least such time as class

certification is ruled upon. Aisola v. Louisiana Citizens Property Ins. Corp., 2014-1708 (La.

I0ll4ll5),180 So. 3d266,270 (finding thatthere was an "identity of parties" where plaintifß

te
     SeeEx. A-1, Addison petition, p.2; Andersore petition, p. 2.
'o Compøre, e.g., Ex. A-1, Addison petition, para. XXXV(a) (alleging that defendants \ryere negligent in "Failing to
properþ design, operate and maintain the J.P. Landfill, thus allowing noxious and harmful odors and chemicals to
be released from the J.P. Landfill and introduced in the atmosphere and surrounding neighborhoods.') with
Anderson petition, para. XXXVIII(i) (same); Ex. A-1, Addison petition, para. )C(XV [sic] at p. 17 ("The
Defendants' failure to comply with their duties of care to the Petitioners were and are a cause in fact and a legal
cause ofPetitioners' injuries, and each ofthe Petitioners has suffered damages as a result thereof, including physical
harm, diminution in property value and fear, anguish and mental pain and suffering as well as loss of use and
enjoyment of their immovable property and diminution in the value of said property.") with Anderson petition, para.
XXXIX (same).
2t SeeEx. A-1,
               Addison petitio4 p.4;      Anderson petition, p. 5 (both naming Ethel Green of 341Providence Lane,
Kenner, LA70062).
" Ex. A-2, pp.3l:30-32:12 (holding that given "the proposed class definition ltn lctech-Bendeck and the related
actionsl and the allegations alleged in the plaintiffs' petition in the Addison matter that there is no way that this
Court can envision that lthe Addison plaintiffs] wouldn't be members of the class if a class is so certified ln lctech-
Bendeck or the related actionsl. That doesn't mean that they can't opt out [at a later date], obviously, but that's not
the question now.").



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'were putative class members of four earlier-filed class action suits). The Addison plaintiffs

conceded that they fall within the definition of the class proposed in the lctech and related

actions,23 and there is not yet an available procedure for opting out of the proposed class.2a

Accordingly, Judge Grefer correctly held that the Addison plaintiffs share an identity with the

plaintiffs in four previously filed proposed class actions.

         The Anderson plaintiffs, just like the Addison plaintiffs, all allege to be residents of

Jeflerson Parish who have been harmed by odors allegedly emanating from the Landfi11.25

Therefore, for the same reasons as the Addison plaintifß, the Anderson plaintiffs fall within the

proposed class definition26 and share an identity with the plaintiffs in four previously filed

proposed class actions - and by extension, the Addison and Anderson plaintiffs share an identity

with each other.

         Finally, the Addison and Anderson plaintiffs are represented by the same attorneys, which

also weighs in favor of transfer.2T

         For these reasons, transfer is appropriate as Addison and Andersonboth involve at least

one common plaintiff, and the Addison andAnderson plaintiffs share a legal identity.

         3. Same defendants
         Transfer is also warranted because the Addison and Anderson actions involve the same

defendants     - namely, Jefferson Parish, the Waste Connections Defendants, and Aptim
Corporation.

         4. Transfer is necessary to prevent the appearance ofjudge shopping
         Additionally, transfer to Division J is necessary to prevent the appearance of judge

shopping. Rule 9.4(b) of the Uniform Rules for Louisiana District Courts explicitly calls for

transfers when necessary to prevent the appearance ofjudge shopping, as follows:


" Ex. A-2,p. 19,lines 8-21.
2a
    See Duckworthv. La. Farm Bureau Mut. Ins. Co.,2011-2835 (La. lll2ll2),125 So. 3d 1057, 1070 ("The decision
 to request exclusion or to 'opt out' is made, not at the time of fiting a class action petition, but after the class is
 certified, notice is issued, and a timely election form is submitted."); Quinn v. La. Citizens Prop. Ins. Corp., 2012-
 0152 (La. lll2lI2),118 So. 3d 1011, 10i6 ("when a class action is certified in Louisiana, all persons who fall within
 the class definition are class members. The only avenue for requesting exclusion from a class once it is certified is
 by the timely submission of an election form.").
"tu Andersonpetition, paras. I, III, XXVI.
    The proposed class in each action is defined as all residents ofJefferson Parish that suffered harm as a result of
the alleged emission of noxious odors from the Landfill. See Ex. B- 1, Petition at 4; Ex. C-i, Petition at 2; Ex. D-1,
Petition at 5; and E-l, Petition at 5.
" Roppv. City of New Orleans,g5-1638 (La.App. 4Cr.9118196,46),6815o.2d433,455 ('commonrepresentation
on both sides" was one reason that consolidation was waranted).



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            Judge or forum shopping is prohibited. To achieve continuity of case management
            and avoid the appearance of judge or forum shopping, all subsequent actions
            asserting the same claim by the same parties, except for cases filed in juvenile
            courts with concurrent jurisdiction, shall be transferred to the division to which
            the first case filed was allotted, whether or not the first case is still pending. Any
            attorney or party who fìles more than one petition for the same party on the same
            cause of action shall attach to any subsequent petition a "Notice of Prior Filing or
            Multiple Filing," regardless of whether any of the previous petitions were
            dismissed.

As set forth above, the Addison and Anderson actions involve the same defendants, at least one

common plaintiff, and the remaining plaintiffs share a legal identity. Under these circumstances,

Uniform Rule 9.4(b) required plaintiffs' counsel to attach a "Notice of Prior Filing or Multiple

Filing" to the Anderson petition, which presumably would have prompted the Clerk of Court to

transfer the Anderson action to Division J. Yet, plaintiffs' counsel failed to submit the required

notice, and when contacted by undersigned counsel, plaintiffs' counsel indicated that he would

oppose any motion requesting that Andersonbe transferred to Division J.

            Regardless of plaintiffs' counsel's true motives for opposing transfer of Anderson to

Division J, it certainly creates the appearance that plaintiffs' counsel would prefer to avoid

Division J, in which Judge Grefer already held that the similar Addison action be stayed under lis

pendens. Uniform Rule 9.4(b) is designed to prevent such appearances of judge shopping and

thus transfer is warranted.

            5. Transfer is necessary to prevent a drain on this district's resources and the risk
               of inconsistent judgments.

            A transfer should also be granted to avoid wasting judicial resources and inconsistent

rulings. Several more similar actions are likely to be filed in the near future- indeed, just weeks

after filing Anderson, the same counsel filed another related action, Brunet.z8 Without transfer,

the various related suits would waste judicial resources and create a risk of inconsistent

judgments. So far, Mr. Neuman and the Forrest, Cressy, & James firm have filed three mass

actions concerning alleged odors emanating from the Landfill. Mr. Neuman has already indicated

to Judge Grefer that his legal team "has been inundated with over a thousand phone calls" from

prospective clients and that he is indeed working to enlist additional plaintiffs.2e




tt Ex. F.
2e
     Ex. A-2,pp. t4:30-15:12.


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         Given Mr. Neuman's suggestion that thousands more potential plaintiffs are lying in

wait, there is a very real possibility that many - 10 or more - related actions could be filed

alleging the same issues of fact and law, and that each would be lodged in a diflerent division of

this judicial district. That number could balloon considerably if other attorneys adopt Mr.

Neuman's strategy, especially in consideration of the staggering geographic scope of those

allegedly suffering harm3o and JefFerson Parish's population in excess of 400,000 people.

Without transfer, those various suits would create a significant drain on this district's resources

and create a risk of inconsistent judgments on lis pendens and other issues that may arise.

         6. Transfer would not cause undue prejudice.
         Finally, a transfer for consolidation purposes is warranted as it would not cause jury

confusion, prevent a fair and impartial trial, give any party an undue advantage, or prejudice the

rights of any party. See La. C.C.P. art. 1561(B). The Louisiana Fifth Circuit has recognized that

transfer for consolidation pulposes should not be denied based on vague or nonspecific

objections; rather, an objection to transfer is valid only when the objecting party demonstrates

with "specificity" that it will be unduly prejudiced. Abadie v. Metro. Life Ins. Co.,00-344

(La.App. 5th Cir. 3l28l0l,II),784 So. 2d 46,62.

         Here, a transfer for consolidation purposes would not only be fair to all parties but would

be the most efficient and common-sense approach to managing the related actions. It would

allow the same judge to issue rulings on lis pendens in the various cases, which is appropriate

given that the exceptions of lis pendens in Addison and Anderson involve virtually the same

factual allegations and issues of law. And if and when the stays are lifted, all of the actions

would be before a single division, ensuring consistent discovery and case management rulings.

         As for the risk of jury confusion and the likelihood of an impartial trial, any such

concerns are entirely speculative at this point. Pursuant to the exceptions of lis pendens - which

has already been granted as to Addison, and is likely to be granted as to Anderson                   - the Addison


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   On the northwest end of the spectrum, Mr. Neuman has filed suit on behalf of plaintiffs residing north of Louis
Armstrong airport in Kenner. See Anderson petition, p. 5 (naming plaintiffs living at 3150 V/ashington St., Kenner,
LA 70065). On the southeast end of the spectrum, he has filed suit on behalf of plaintiffs residing almost as far south
as Lapalco Boulevard in Marrero. SeeEx.F, Brunet petition, p. 4 (naming a plaintiff livngat 1534 Mansfield Ave.,
Marrero, L1^70072).



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and Anderson actíons will not proceed to trial in this district unless class certification is denied or


the plaintiffs chose to opt out of a certified class.

         Even if the Court assumes that Addison and Anderson will eventually proceed to trial in

this district, transfer for consolidation purposes is deemed to be unlikely to cause jury confusion

                                             ooclosely
or undue prejudice when the cases are                    connected by the facts and theories of recovery"

alleged in the petitions, as is the case here. See Bridwell v. Louisiana Patients' Comp. Fund,

2003-0683 (La.App. 4 Cir. 517103,2),847 So. 2d 686, 688. Given the common issues alleged in

Anderson and Addison, there is no basis to conclude that transfer would impair the plaintifß'

right to afaii. úal. See also Riggin v. Watson-Aven lce Cream Co.,l92La. 469,476, 188 So.

144, 146 (1939) (consolidation would not unduly prejudice plaintiffs when the allegations "arise

from one and the same accident and are of a similar nature.").

         While the above objections would lack any merit, the most obvious objection the

Anderson plaintifß might have to transfer is that Judge Grefer would presumably apply the same

rationale in ruling on the issue of lis pendens as he did ín Addison, resulting in a stay of the

Anderson suit. However, a party's desire for a second bite at the apple before a different judge is

not a valid reason for opposing transfer.3l

    C. CONCLUSION
                                          'Waste
         For all of these reasons, the             Connections Defendants respectfully request that this

motion be granted, transferring Civil Action No. 792-502 from Division O to Division J.

                                                    Respectfu lly submitted,

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31^See
       Rule 9.4(b) of the Uniform Rules for Louisiana District Courts, which orders that cases involving the same
parties and same causes of action be tried in the same division in order to "achieve continuþ of case management
and avoid the appearance ofjudge or forum shopping."



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                                Regional Landfill Company




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  Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 42 of 434




                              CERTIFICATE OF' SERVICE

      I hereby certifr that I have served a copy of the above pleading on the following counsel

of record via PDF email tniS[daf of March, 2019

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   Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 43 of 434




               24MruDICIAL DISTRICT FoR THE PARISH oF JEFFERSON

                                    STATE OF LOUISIANA

NO.792-502                                                                           DIVISION "O''

                              CHARLES LEE ANDERSON, et al

                                            VERSUS

                   LOUISIANA REGIONAL LANDFILL COMPANY, et al.


                      THE \ilASTE COIINECTIONS DEFENDANTS'


       Defendants Waste Connections US, Inc., Waste Connections Bayou, Inc., and Louisiana

Regional Landfill Company (collectively, the "Waste Connections Defendants"), through

undersigned counsel, hereby except to the Petition for Damages and Request For Injunctive

Relief ("Petition") by submitting this declinatory exception of lis pendens pursuant to La. C.C.P.

arts. 532, and 925(AX3). As set forth more fully in the attached memorandum, the Petition is

duplicative of four proposed class actions currently pending in federal court.
                              'Waste
       WHEREFORE, the                  Connections Defendants respectfully request that the

foregoing declinatory exception of lis pendens be sustained and that this matter be stayed.

                                             Respectfu lly submitted,

                                             BRADLEY MURCHISON KELLY & SHEA LLC

                                                                                 t
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                              Regional Landfill Company




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                               CERTIF'ICATE OF' SERVICE

       I hereby certify that I have served a copy of the above pleading on the following counsel

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                24rï{ruDICIAL DISTRICT FoR THE pARISH oF JEFFERSoN

                                    STATE OF LOUISIANA

NO.792-502                                                                     DIVISION "O''

                                CHARLES LEE ANDERSON, et al.

                                          VERSUS

                   LOUISIANA REGIONAL LANDFILL COMPANY, et al.


                                          ORDER

       Considering the above and foregoing exception submitted by Waste Connections US,

lnc., Waste Connections Bayou, Inc. and Louisiana Regional Landfill Company,

       IT IS ORDERED BY THE COURT that Petitioners show cause on the                  day of

                  at   _   a.m./p.m. why the Declinatory Exception Of Lis Pendens should not

be sustained.

       Gretn4 Louisiana, this   _     day of              2019.




                                         DISTRICT ruDGE



SHERIFF. PLEASE SERVE:
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THROUGH THEIR COT]NSEL OF RECORD:
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                    24MruDICIAL DISTRICT FOR THE PARISH OF JEFFERSON

                                     STATE OF LOUISIANA

NO.792-502                                                                          DIVISION "O"

                                CHARLES LEE ANDERSON, et. al.

                                             VERSUS

                        LOUISIANA REGIONAL LANDFILL COMPANY, et. al.


       THE WASTE COI\NECTIONS DEFENDANTS'MEMORANDUM IN SUPPORT
                OF DECLINATORY EXCEPTION OF LIS PENDENS

           Defendants'Waste Connections US, Inc., Vy'aste Connections Bayou, Inc., and Louisiana

Regional Landfill Company (collectively, the ooW'aste Connections Defendants"), through

undersigned counsel, submit the following memorandum in support of their declinatory

exception of lis pendens.

I.         INTRODUCTION

           This mass action is a carbon-copy of Addison v. Louisiana Regional Landfill Company,

No.760-369 (filed in24ú JDC Dec. 13,2018), an earlier-filed mass action seeking relief for

damages allegedly caused by odors and fumes emanating from the Jefferson Parish Landfill

("Landfill") located in Waggaman, Louisiana. Pursuant to Louisiana's doctrine of lis pendens

codified in Articles 531 and 532 of the Louisiana Code of Civil Procedure, Judge Stephen Grefer

stayed the Addison case on February 6, 2019, because four class actions for the same plaintiffs

asserting similar claims for the same alleged odors emanating from the Landfill against the same

defendants are pending before Judge Susie Morgan in the Eastern District of Louisiana. The

Anderson action, which is essentially identical to Addison and includes at least one overlapping

Plaintiff, should also be stayed for the same reasons set forth in the Addisor¿ decision.l

           The Anderson Plaintiffs, represented by the same counsel as the Addison Plaintiffs,

ignored Judge Grefer's decision and commenced this duplicative action seeking the same relief

against the very same defendants. This is precisely the scenario the doctrine of lis pendens is

intended to prevent: "a series of vexatious suits by the same plaintiff against the same defendant




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    ,See Exs. A.1, A-2, A-3.




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in the same transaction or occutrence in different forums." Sw, Elec. Power Co. v. Amax, Inc.,

621 So. 2d615 (La. 1993) (Lemmon, J. concuning).

           Like Addison,the criteria for lis pendens are satisfied here because (Ð all of the Anderson

Plaintiffs are members of the putative classes in the four previously filed class actions, (ii) all of

the Plaintiffs' claims arise from the same alleged odors complained of in those putative class

action suits, and (iii) all actions involve the same Defendants. As Judge Grefer explained in

Addison, allowing these cases to move forward at the same time as the class actions are being

litigated would waste judicial resources, lead to inconsistent discovery and merit rulings, and be

fundamentally unfair to the Defendants by subjecting them to burdensome and duplicative

lawsuits in multiple forums. This Court should grant the Waste Connections Defendants'

exception of lis pendens and stay this action.

il.        BACKGROUND AND PROCEDURAL HISTORY

           A.       Four putative class actions relating to alleged odors from the Landfill are
                    pending in federal district court.

           On July 25,2018, the first of four putative class actions was filed in the24ú Judicial

District Court on behalf of a proposed class of persons seeking damages for alleged o'noxious

odors" emanating from the Landfill. See lctech-Bendeck v. Progressive W'aste Solutions, No.

2:18-cv-078S9 (E.D. La.) (filed in 24ú JDC July 25, 2018). On August 17, 2018, Defendants

removed the lctech-Bendeck action to federal court pursuant to the Class Action Fairness Act

("CAFA"). Over the next month, three additional putative class actions were filed in the 24th

Judicial District Court, Thompson v. Louisiana Regional Landfill Company, No. 2:18-cv-08071

(E.D. La.) (filed in 24ú JDC July 30, 2018); Bernard v. Progressive Waste Solutions of LA, Inc.,

2:18-cv-0821S (E.D. La.) (filed              iî 24ú JDC Aug. 10, 2018); and, Landry-Boudreatn v.
Progressive ll'aste Solutions of LA, Inc., 2:I8-cv-09312 (E.D. La.) (frled in 24ú JDC Aug. 27,

20ß).2 Defendants also removed these subsequent actions to federal court pursuant to CAFA.3

           Together, the four putative class actions seek damages against the owner of the Landfill,

Jefferson Parish, and several of its contractors (and related entities): the Waste Connections

Defendants (Louisiana Regional Landfill Company flkla IESI LA Landfill Corporation, Waste

2
    See Exs. B-1, C-l, D-l and E-l.
3
    ,See Exs. B-2, C-2,D-2 and E-2. Anderson is not removable   to federal court under the Class Action Fairness Act
because it is not asserted as a class action and because it includes fewer than 100 plaintiffs.



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                                             'Waste                                'Waste
Connections Bayou, Inc. flWa/ Progressive             Solutions of LA, Inc., and            Connections

US, Inc.) and Aptim Corporation. The proposed class in each action is defined as "[a]ll persons

domiciled of anüor within the Parish of Jefferson" that suffered harm as a result of the alleged

emission of noxious odors from the Landfill. The representative plaintiffs allege damages from

diminution in property value and personal injuries and also seek permanent injunctive relief.

       Plaintiffs in all four putative class actions moved to remand the cases to state court,

which Defendants opposed. Judge Morgan of the Eastern District denied all four remand motions

on March 14,2019.4 Defendants anticipate that the class actions will be consolidated.

       B.       Addíson - a nearly identical mass action - already has been stayed.

       On December 13, 20l8,just months after the fourth class action complaint was filed, 86

residents of Jefferson Parish - represented by the same counsel now representing the Anderson

Plaintiffs and using a nearly-identical petition - filed suit against the same defendants named

here and in the putative class actions and sought damages for the same alleged odors emanating

from the Landfrll. See Complunt, Addison v. Louísiana Regional Landfill Company, No. 760-

369 (frled ín24ú JDC Dec. 13,2018) See Ex. A-1.

       Like the putative class action plaintiffs, the Addison Plaintifß alleged that:

       "[t]he Defendants' failure to properly design, operate, manage, and maintain the
       J.P. Landfill, including its gas and leachate collection systems, have caused
       harmfrrl, noxious and repulsive odors and chemicals to be released from the J.P.
       Landfill into the surrounding environment on and in to Petitioners' homes and
       immovable property, resulting in Petitioners' continuing exposure to these odors
       and chemicals."

Ex. A-1 at14.

       As they are forced to do yet again in the present action, Defendants responded to the

Addison complaint by filing an exception of lis pendens. Defendants argued that lis pendens

applied because the Addison action was commenced during the pendency of the earlier-filed

putative class actions; arose out of the same transaction or occuffence as the putative class

actions; involved the same defendants as the putative class actions; and, critically, involved the

same plaintiffs as the putative class actions because the Addison Plaintifß were all included in

the putative classes as defined in each of the four putative class actions. Finding that the

a
 lctech-Bendecft,           ,2}lg WL 1199105 Thompson,_F.Supp.3d , 2019 WL ll99l03;
Landry-Boudreaux,-F.Supp.3d
                   _F.Supp.3d- 2019 WL ll99l04; Bernard, _F.Supp.3d , 2019 WL 1199102.

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requirements of lis pendens were fully satisfied, Judge Grefer stayed the Addison action pending

class certification or remand of one of the putative class actions and noted that it was
oofundamentally
                  fair" to allow Defendants to defend themselves in a single forum. Ex. A-2, Tr. at

33.

        C.     Like Addßon, the Anderson Plaintiffs' lawsuit is a copycat of the existing
               nuisance class actions.

        On February 25, 2019, less than three weeks after Judge Grefer stayed Addison, the

Anderson Plaintiffs commenced this duplicative action seeking damages for alleged odors

emanating from the Landfill. Just like the Addison Plaintiffs, the 91 Anderson Plaintiffs

(including at least one Addison PlaintifÏ, Ethel Green) are residents of Jefferson Parish, and

therefore, as counsel for Addison conceded to Judge Grefer, they are necessarily members of the

proposed class. Ex. A-2, Tr. at 19. Plaintiffs assert their claims against the same group of

                                                                               'Waste
defendants that are named in the four complaints: Jefferson Parish, the                 Connections

Defendants, and Aptim Corporation, and have also named unidentified insurance companies of

the Waste Connections Defendants. Like the putative class action plaintifß, the Anderson

Plaintiffs allege that the Landfill is emitting odors that have damaged Plaintiffs and their

properties:

        "[t]he Defendants' failure to properly design, operate, manage, and maintain the
        J.P. Landfill, including its gas and leachate collection systems, have caused
        harmful, noxious and repulsive odors and chemicals to be released from the J.P.
        Landfill into the surrounding environment on and in to Petitioners' homes and
        immovable property, resulting in Petitioners' continuing exposure to these odors
        and chemicals."

Anderson Petition at 15; see also Ex. C-l, Petition at VIII ("The improper emission of noxious

odors from the Jefferson Parish Landfill into and onto neighboring properties . . . has been

pervasive and persistent" and ooconstitute[s] a nuisance to neighboring persons and properties.");

Ex. B-1, Petition at 3 (alleging Defendants' "ff]ailure to properly operate and/or manage a solid

waste 'sanitary' landfill in a manner that does not cause harm to others, and in particular, to its

neighbors" is the cause of "emanations of noxious odors and gases."). There is no material

difference in the allegations of the Anderson Petition and the four related class actions,

compelling the application of lis pendens and staying the case, as Judge Grefer dídinAddison.




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ilI.     ARGUMENT

         A.        The Anderson action should be stayed because Plaintiffs commenced the
                   action after four prior actions alleged the same injuries against the same
                   group of defendants.

         Pursuant to La. Code Civ. Proc. art. 532, Louisiana courts typically grant an exception of

lis pendens and stay an action when defendants demonstrate "(l) that a suit was brought in a

Louisiana state court during the pendency of a suit in a federal court or a court of a state other

than Louisiana; (2) that the two suits are based on the same transaction or occurrence; and (3)

that the two suits are between the same parties in the same capacities." Brooks lV'ell Servicing,

Inc. v. Cudd Pressure Control, Inc., 36,723 (La. App. 2 Cir. 6127103); 850 So. 2d 1027 , l03l (lis

pendens granted in case involving personal injury, property damage, and wrongful death claims

related to oil-well explosion); accord Aisola v. La. Citizens Prop. Ins. Corp., l4-I708 (La.

I0ll4ll5);180 So. 3d266,269 (lis pendens granted in case involving the alleged mishandling of

insurance claims following Hurricane Katrina); cf. Stone Man, Inc. v. Green, 265 Ga. 877, 463

S.E. 2d 1 (1995) (court applied parallel doctrine of res judicata to bar claim for damages arising

from same alleged nuisance as earlier case seeking to abate the nuisance). Courts grant stays in

order to promote judicial economy, avoid inconsistent rulings, and prevent the undue harassment

of defendants. See Fincher v. Ins. Corp. of Am., 521 So. 2d 488, 489 (La. App. 4th Cir. 1938).

Judge Grefer applied these principles and stayed the Addison case based on considerations of

judicial economy and fundamental fairness to Defendants to allow them to defend the actions in

one forum. Ex. A-2, Tr. at 33. The Anderson action meets and exceeds all of the criteria of article

532, andtherefore should be stayed.5

                  1.       Anderson was filed while four other suits were pending in federal
                           court.

         The first element of the exception of lis pendens is amply satisfied because the instant

action was filed whtle four other suits were pending in federal court. See La. Code Civ. Proc. art.

532 (2018). Anderson was filed on February 25,2019. The putative class actions were filed in

the 24ú Judicial District Court on July 23 , July 3 0, August I 0, and August 27 , 2018, and were all

5
 The criteria set forth in La. Code Civ. Proc. art. 531 and, 532 closely mir¡or the criteria for res judicala, so courts
often charactenze the "test" for an exception of lis pendens as whether a final judgment in the earlier filed suit
would be res judicata in the later filed suit. Aisola, 180 So. 3d at269; see also UniÍed Gen. Title Ins. Co. v. Casey
Title, Ltd.,01-600 (La. App. 5 Cir. 10/30/01), 800 So. 2d 1061, 1067 (reviewrngres judicara cases to determine how
La. Code Civ. Proc. art.532 is interpreted).



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subsequently removed to the Eastern District of Louisiana by October 5, 2018. Thus, at the time

this action was filed, four nearly identical suits were-and still are-pending in the Eastern

District.

               2.      All five suits are based on the same transaction or occurrence because
                       they are based on the alleged emission of odors or noxious fumes from
                       the Landfill.

        The exception of lis pendens requires also that the action arise from the same transaction

or occurrence as the earlier-filed suit(s). La. Code Civ. Proc. aft. 532 (2018). Louisiana courts

apply a broad meaning to the phrase "transaction or occurrence," ranging from o'the subject

matter of the litigation" to "a11 logically related events entitling a person to institute legal action

against another." In re Succession of Bernat, 13-277 (La. App. 3 Cir. 70l9ll3); 123 So. 3d 1277 ,

1284 (the execution and interpretation of a will constituted a single transaction or occurrence)

(citing Hy-Octane Invs., Ltd. v. G & B Oil Prods., Inc.,97-28 (La. App. 3 Cir. 10129197);702 So.

2d 1057 (action for wrongfrrl termination of a contract and a suit for breach of contract arose

from the same transaction or occurence)); Boiley v. Oakbourne Country Club, Inc., Civil No.

6:14-2546, 2015 WL 4622418 (V/.D. La. July 30, 2015) (for purposes of res judicata,

defendant's prolonged course of allegedly discriminatory action constituted a single transaction

or occunence). As summarized by the Restatement (Second) of Judgments "[w]hat factual

grouping constitutes a 'transaction,' and what groupings constitute a 'series,' are to be

determined pragmatically, giving weight to such considerations as whether the facts are related

in time, space, origin, or motivation, whether they form a convenient trial unit, and whether their

treatment as a unit conforms to the parties' expectations or business understanding or usage."

Restatement (Second) of Judgements, 9 24(2) (1982).

        An identity of legal claims is not required in order for lis pendens to apply; rather, the

focus is on whether the subsequent lawsuit involves the same facts as the earlier suit. As the

Third Circuit Court of Appeals explained in Bandaries v. Cassidy, *all causes of action arising

out of the transaction or occrrrrence that is the basis of the suit are subject to challenge for lis

pendens ...;'11-161 (La. App.3 Cfu. 6lllll);66 So.3d564,567). The Official Commentto

Article 532 further explains that Article 532 was amended to conform to res judicata codified in

La. Stat. Ann. $ 13:4231, which provides that "[f]or pu{poses of res judicata it would not matter


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whether the cause of action asserted in the second action was the same as that asserted in the first

or different as long as it arose out of the transaction or occrurence that was the subject matter of

the first action." Official Comment to La. Code Civ. Proc. art. 532 (2018); $ 13:4231, cmt. (a)

(2018)).

        Here, Anderson and the four pending class actions indisputably arise from the same

transaction or occurrence. The "subject matter" or the "event" of each suit is the alleged emission

of fumes or odors from the Landfill. See Anderson Petition at2;Ex. B-1, Petition at2; Ex. C-1,

Petition at2;Ex. D-I, Petitionat2; Ex. E-l, Petition at 2. These allegedly continuing emissions

from the same alleged source are logically related to, and constitute the basis of, the claims

asserted in all five pending lawsuits. Id. The Anderson claims readily satisfi'the second element

of the lis pendens exception.

               3.      Lis pendens applies because the fïve suits are between the same
                       parties in the same capacities.

        The final element of the exception of lis pendens requires that the present suit and earlier-

filed suits involve the same parties in the s¿rme capacities. La. Code Civ. Proc. art. 532 (2015).

The parties do not have to be the o'same" in the literal sense (i.e., the identical individual or

institution) so long as they are the same "in the legal sense of the word." Black, 14-524,165 So.

3d at 1016 (internal quotation marks omitted); see also Jensen Constr. Co. v. Dep't of Transp. &

Dev.,542 So. 2d 168,17l (La. App. lst Cir. 1989) ("The 'identity of parties' requirement is met

whenever 'the same parties, their successors, or others appeæ so long as they share the same

'quality' as parties."'). Here, all five suits plainly involve the same parties in the same capacities.

                       a.       The Anders¿z Plaintiffs are also putative class members in the
                                pending class actions.

       The "identity of the parties" requfuement for the exception of lis pendens is satisfied

when plaintiffs in the present action are putative class members of an earlier-filed pending class

action, unless and until class certification is denied. Aisola, 14-1708, 180 So. 3d at 270 ("identity

of parties" found and upholding excepion of lis pendens where plaintifß were putative class

members of four earlier-filed class action suits); Elfer v. Murphy Oit U.S.A., Inc.,02-0020 (La.

3ll5l02);811 So. 2d 892 (same). As noted by Judge Grefer, the critical inquiry under Aisola is




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not whether plaintifß claim to be putative class members, but simply whether plalrntiffs are

putative class members. Ex. A-2,Tr. at32.

       Applying the same reasoning underlying res judicata, Louisiana courts hold that putative

class members that file a subsequent action individually are the "same" for purposes of article

532 because a final judgment in a class action would have a preclusive effect on all subsequent

suits filed by class members. In Harris v. La. Citizens Prop. Ins. Co, the Fifth Circuit Court of

Appeal wrote that "[B]ecause any judgment on those class actions in which plaintiff is an alleged

putative class member would be conclusive and binding as to plaintiffunder La. C.C.P. art.597,

it necessarily follows that the requirements of lis pendens are satisfied." 14-120 (La. App. 5 Cir.

l0l29ll4); 164 So. 3d 216,221; see also La. Code of Civ. Proc. art. 597 (2018) ("4 definitive
judgment on the merits rendered in a class action concludes all members of the class, whether

joined in the action or not, if the members who were joined as parties fairly insured adequate

representation of all members of the class."); Duch,yorth v. La. Farm Bureau Mut. Ins. Co.,

20Il¿835 (La. l1l2ll2);125 So.3d 1057, 1069-1070 ("[u]nder the articles governing
Louisiana's class action, all persons possessing claims arising out of transactions or occurrences

described in a class action petition . . . are bound by any judgment in the action.").

       In his application of this law to facts indistinguishable from those presented here, Judge

Grefer ruled in Addison that plaintiffs were putative class members and thus represented the

"same parties" for purposes of lis pendens. Ex. A-2, Tr. at 32. Judge Grefer rejected the notion

that plaintiffs must affirmatively allege class membership to be considered putative class

members. Ex. A-2, Tr. at 31-32. He similarly noted that a future opportunity to opt out of a class

was irrelevant to the issue before him. Ex. A-2, Tr. at 32. Rather, the question before Judge

Grefer (and presently before this Court) was simply whether plaintiffs fell within the proposed

class definition. Id. Upon comparing the proposed class definitions and plaintiffs' allegations,

Judge Grefer found "there is no way that [the] Court can envision that those same plaintifß

wouldn't be members of the class if a class is so certified" in any one of the four putative class




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actions. Id. lndeed, the Addison plaintiffs conceded that they fall within the definition of the

proposed classes.6

        The Anderson Plaintiffs are, likewise, putative members of the proposed classes in the

four pending class actions: residents of Jefferson Parish who have allegedly been injured as a

result of odors allegedly emanating from the Landfill. Specifically, Ictech-Bendeck and Bernard

define the proposed class as:

         "All persons domiciled of and/or within the Parish of Jefferson, (except
         Defendants' employees and appropriate court personnel involved in the
         subject action at the district and appellate levels), who sustained legally
         cognizable damages in the form of nuisance, interference with the enjoyment
         of their properties and/or diminution in value of their properties as a result of
         the Defendant(s)' acts that caused the emission of noxious odors and gases
         into and unto their persons and properties."

Ex. B-1, Petition at 4;Ex. D-l, Petition at 5; accord Exs. C-1, Petition at2 and E-l, Petition at 5

þroviding nearly identical class definitions in the Thompson and Londry-Boudreatm Petitions).

        Just like the Addison plaintiffs, the Anderson Plaintifß fall squarely within the proposed

class definitions. They are all residents of Jefferson Parish and allege injuries       - including
physical harm, diminution of property value, and loss of use and enjoyment of their property      -
caused by the alleged emission of odors and gases from the Landfill. See Anderson Petition, pp.

2l.Moreover, class certification has not been decided, and therefore not been denied, in any of

the putative class actions. Because the Anderson Plaintiffs are putative members of the proposed

classes in all four of the actions currently pending before the Eastern District of Louisiana, they

constitute the "same parties in the same capacities" as the named plaintiffs in those actions.

Aisola, 14-1708, I 80 So. 3d at 269.

                          b.      Defendants are the ttsame partiest'across all five suits.

        Defendants in this action are the same defendants named in the pending putative class

actions: Louisiana Regional Landfrll Company (fMa IESI LA Landfill Corporation), 'Waste

Connections Bayou, lnc. (flWa Progressive Waste Solutions of LA, Inc.), Waste Connections

tJS, [nc., Aptim Corporation, and Jefferson Parish. Seø Exs F-l through F-4. Plaintiffs' inclusion

of several unidentified insurance companies in Anderson that are not named in the putative class

actions (ABC Cotp., DEF Corp., GHI Corp., JKL Corp. and MNO Corp.) does not disturb the


'Ex, A-2,Transcrip, p. 19, lines 8-21

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"identity of the parties" requirement of lis pendens. When an insured entity and its insurance

company appear in the action in the o'same quality or capacity," they share an identity of parties

because "their identities are virtually merged into one." United Gen. Title Ins.,0l-600, 800 So.

2d at 1067 (inswer and insured were the same 'þerson" for purposes of the suit). Here, the

various unnamed insurance companies would be appearing in the same capacity as, and therefore

sharing an identity with, the named Defendants (all of whom are named in the pending class

actions). The identity of the parties requirement for lis pendens is satisfied.

IV.    CONCLUSION

       All of the elements of lis pendens are satisfied here and it would be patently unfair for the

Defendants to have to litigate the Anderson claims, particularly in light of the stay of Addison.

The same Defendants have been sued four separate times for the same odors allegedly emanating

from the Landfill in the putative class actions pending in federal court. Until certification has

been denied in all four actions, the Anderson Plaintifß should be precluded from litigating this

case under Article 532. Just weeks before Plaintiffs filed this action, Judge Grefer of Division J

of this district stayed the nearly identical Addison action pursuant to the doctrine of lis pendens.

The Anderson fiLing represents little more than an unscrupulous attempt to take yet another bite

of the apple. This Court should grant the Waste Connection Defendants' exception of lis pendens

to prevent inconsistent rulings on discovery and merit issues, the waste ofjudicial resources, and

the vexatious, duplicative litigation in multiple forums the doctrine of lis pendens is intended to

guard against.

                                              Respectfi.rlly submitted,

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                               Regional Landfill Company




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                               CERTIFICATE OF SERVICE

       I hereby certiff that I have served a copy of the above pleading on the following counsel

of record via PDF email this 29ú day of March,2}l9.

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      (101) CITATION: PETITION FOR DAMAGES;                                                                   190314-0296-9

                                                     24TH JUDICIAL DISTRICT COURT
                                                         PARISH OF JEFFERSON
                                                          STATE OF LOUISIANA

     MICHAEL BRUNET, CHANDRA AUGUST, J C BATES
       versus
     LOUISIANA REGIONAL LANDFILL COMPANY, IESI LA
     LANDFILL CORPORATION, WASTE CONNECTIONS
                                                                                      Case: 793-088 Div: "O"
     BAYOU INC, PROGRESSIVE WASTE SOLUTIONS OF
                                                                                      P 1 MICHAEL BRUNET
     LA INC, WASTE CONNECTIONS US INC, APTIM CORP,
     PARISH OF JEFFERSON, ABC CORPORATION, DEF
     CORPORATION, GHI CORPORATION, JKL
     CORPORATION, MNO CORPORATION

     To: WASTE CONNECTIONS US INC
     THROUGH AGENT CORPORATION SERVICE
     COMPANY                                                                          LA Long Arm
     251 LITTLE FALLS DRIVE
     WILMINGTON DE 19808


    PARISH OF JEFFERSON

    You are hereby summoned to comply with the demand contained in the PETITION FOR
    DAMAGES of which a true and correct copy accompanies this citation, or make an appearance
    either by filing a pleading or otherwise, in the 24th Judicial District Court in and for the Parish of
    Jefferson, State of Louisiana, within 30 THIRTY CALENDAR days after the return of service
    hereof, under penalty of default.


    This service was requested by attorney BYRON M. FORREST and was issued by the Clerk of
    Court on the 14th day of March, 2019.


                                                         /s/ Rod A Schouest
                                                         Rod A Schouest, Deputy Clerk of Court for
                                                         Jon A. Gegenheimer, Clerk of Court



                                                           SERVICE INFORMATION

      (101) CITATION: PETITION FOR DAMAGES;                                                                   190314-0296-9

    Received:                  Served:                     Returned:

    Service was made:
                 _ Personal                      _ Domicilary

    Unable to serve:
              _ Not at this address              _ Numerous attempts          times
              _ Vacant                           _ Received too late to serve
              _ Moved                            _ No longer works at this address
              _ No such address                  _ Need apartment / building number
                    Other

    Service: $                   Mileage: $                       Total: $

    Completed by:
                                Deputy Sheriff
    Parish of:




                                    Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna LA 70053
    Page 1 of 1
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     (101) CITATION: PETITION FOR DAMAGES;                                                                 190314-0296-9

                                                   24TH JUDICIAL DISTRICT COURT
                                                       PARISH OF JEFFERSON
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    LANDFILL CORPORATION, WASTE CONNECTIONS
                                                                                    Case: 793-088 Div: "O"
    BAYOU INC, PROGRESSIVE WASTE SOLUTIONS OF
                                                                                    P 1 MICHAEL BRUNET
    LA INC, WASTE CONNECTIONS US INC, APTIM CORP,
    PARISH OF JEFFERSON, ABC CORPORATION, DEF
    CORPORATION, GHI CORPORATION, JKL
    CORPORATION, MNO CORPORATION

     To: WASTE CONNECTIONS US INC
    THROUGH AGENT CORPORATION SERVICE
    COMPANY                                                                         LA Long Arm
    251 LITTLE FALLS DRIVE
    WILMINGTON DE 19808


   PARISH OF JEFFERSON

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                                                       Rod A Schouest, Deputy Clerk of Court for
                                                       Jon A. Gegenheimer, Clerk of Court



                                                         SERVICE INFORMATION

     (101) CITATION: PETITION FOR DAMAGES;                                                                 190314-0296-9

    Received:                Served:                     Returned:

    Service was made:
             _ Personal                        _ Domicilary

    Unable to serve:
              _ Not at this address            _ Numerous attempts          times
              _ Vacant                         _ Received too late to serve
              _ Moved                          _ No longer works at this address
              _ No such address                _ Need apartment / building number
                   Other

    Service: $                  Mileage: $                      Total: $

    Completed by:,                                                           #
                              Deputy Sheriff
    Parish of:




    I                             Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna LA 70053
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       24Tn JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                              STATE OF LOUISIANA

          NO.:         7 9.8 . 0 @ 8                                  DIVISION:
                                                                                                 C)
       MICHAEL BRUNET, LAKEISHA ALLEN,CHANDRA AUGUST, J.C. BATES,
   ECHELLE BATES, LA'SHEA BATES, individually and on behalf of her minor child,
O'SHEA BATES, ROSA BATES, JEREMY BELL, individually and on behalf of his minor
      children, CONNOR BELL and LONDON WATMNS, BREANNA BLANCHARD,
  individually and on behalf of her minor child, JAYDEN TATE, HOLLY BLANCHARD,
    individually and on behalf of her minor children BRIYA BLANCHARD and BRYCE
   BLANCHARD, CHARLES BLOODSWORTH, GINA BLOODSWORTH, individually
           and on behalf of her minor children CORD BLOODSWORTH, JILLIAN
BLOODSWORTH and BRIlN BL'OODSWORTH, ASHLEY COLEMAN, individivally and
     on behalf of her minor child SIDNEY ALEXANDER LIVIOUS, ERICA COLLINS,
   individually and on behalf of her minor child KADENCE BRIGNAC,PATTY CRIER,
    CAROL CROCKETT, COURTNEY CROCKETT, individually and on behalf of her
    pninor child JONATHAN CROCIKETT, CATHY DANIELS, LAIKEISHA DANIELS,
       individually and on behalf of her minor child AMIR AUSTIN, LULA DARDEN,
  SHANTIEL EVANS, individually and on behalf of her minor children DESTINY EVANS
 and FAITH EVANS, LIZ EVERSON, ELAINE FISHER, MARY FERRELL, individually
    and on behalf of her minor children JOHN V. I{ELLY IdI, SABYRON B. FERRELL,
    OLIVIA D. FERRELL and SYOUR D. FERRELL, DESELLE GUSTAIN, DONELL
   GUSTAIN, VIOLA HAWICINS, BARBARA HENDERSON, SHANNON HILL, JAKE
      JAMES, ZANE JANICHI, ind'nvidually and on behalf of his minnor children KAATE
       JANICKI and SOPHIA JANICIG, DONNA JEFFERSON, TENNII:LE JONES,
individually and on behalf of her minor children TY'LEAH LANUS and CAILEE LANUS,
     LAWRENCE KIMBELL, CLARK LANUS, indirvidually and on behalf of his minor
  children, TY'LEAH LANUS and CAILEE LANUS, CLARENCE LEBLANC, JESSICA
 MCKANICK, individually and on behalf of her minor children, HAIDEN MC KAANIC and,
    HAI{EEM MCKANIC, BONNITTA MAGEE, JANAY MASON, individually and on
       behalf of her minor child individually and on behalf of her minor child DEMONE
       DETIEGE, JR., KAREN MORISE, ERNEST NEWELL, MELVIN RATCLIFF,
   KENNETH ROYAL, SUSIE.-ROUX, ANEESAH SABRE, LORETTA SEALS, DEBRA
SHELVIN, EIVIMETTE SYLVE, JR., THOMAS STACKER, JAMES STERIVIER, DEBRA
STROMAS, WILLIE STROMAS, HAROLD SUTTON, VERA SUTTON, individually and
        on behalf of her miiior chiidren .CHELSIA STERMER-SU'I'TON, KAMERON
      STERMER-SUTTON and JAMES STERMEIa SUTTON, DREYTON THOMAS,
  BRITNEY TORI2ES, JUANITA TORRES, PATRICIA WHITE, JOSEPH WILLIAMS,
     IV, individually and on behalf of his minor children JOSIAH WIILLIAMS, JOSEPH
                            WILLLAMS, anc9 SINAYA WILLIAMS.


                                       VERSiJS


LOUISIANA REGIONAL LANDFILL COMPANY (LRLC), f/k//a IESI LA LANDFILL
 CORPORATION; WA.STE CONNECTIONS BAYOU, INC., f/k/a/ PROGRESSIVE
WASTE SOLUTI®NS OF g,A, INC; WASTE CONNECTIONS US, INC; APTIM CORI';
 PARISH OF JEFFERSON; ABC CORP; DEF CORP; GH1CORP; JY.L CORP; and
                             MNO CORP.
FILED:
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                 PETITION FOR DAMAGES AND INJUNCTIVE I2ELIEF

     / This action arises from the continuing, significant and unabated harm. suffered by each of

the named Petitioners as a result of the ongoing — and admitted - failure of each of the Defendants

to ensure that the design, cperation a.nd maintenance of the Jefferson Parish Landfill (the "J.P.

Landfill") complies with applicable environmental laws and adequately protects Petitioners'

humamhealth and environment. At all relevant times,.the J.P. Landfill and has persistently ernitted

harmful and toxic odors and chemicals into the surrounding areas, including where each of the

Petitioners resides.

        These unlawful, harmful and toxic releases have caused Petitioners substantial loss of the

use and enjoyment of their homes and immovable property,. and have caused physical harms

including, among other things: difficulties breathing, coughing, nausea, buming eyes, ears, noses

and throats, dizziness loss of appetite and lethargy, as well as fear, anguish, discomfort and
                       ,

inconvenience. These emis4ions also have caused diminution in the value of Petitioners' homes.

        Accordingly, Petitioners seek redress from the Defendants for the direct and consequential

injury and damage they have suffered and will continue to suffer as a direct result of the releases

of noxious odors and chemicals from the J.P. Landfill.

        Petitioners respectfully allege as follows:

                                                 I.

        Petitioners are:                                                                       r
        LAIKEISHA ALLEN, an individual of full age of majority residing at 9009 Rousseau St.,

Kenner, LA 70062 and owner of a leasehold interest in said premises.

        CRANDRA AUGUST, an individual of full age of majority residing at 261Capitol Dr.,

Avondale La 70084, and owner of said immovable property.

        J.C. DATES, an individual of full age of majority residing at 307 Audubon Ct., Kenner,

LA 70062, and owner of a leasehold interest in said premises.

        ECRELLE DATES, an individual of full age of majority residing at 525 Taylor St., Apt.

A, Kenner, LA 70062 and owner of a leasehold interest in said premises.




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       LA'SHEA BATES, an individual of full age of majority residing at 525 Taylor St. Apt.

A, Kenner, LA 70062.,.and'in her individual capacity and on behalf of her minor child, OISHEA

BATES.

       ROSA BATES,an individual of full age of majority residing at 10950 Jefferson Hwy, Apt,

R6, River Ridge, LA 70123, and an owner of a leasehold interest in said premises.

       JEREMY BELL, an individual of full age of majority residing at 37 Imogene St,,

Westwego,LA 70094, and owner of a leasehold interest in said premises, in his individual capacity

and as parent of his minor children, CONNOR BELL and LONDON WATIUNS.
                                                                       .1
       DREANNA BLANCHARD, an individual of full, age of majority residing at 253 Azalea

Dr., Waggaman LA 70094, in her individual capacity and as parent of her minor child, JAYDEN

TATE.

       HOLLY BLANCHARD, an individual offidi age of majority residing at 253 Azalea Dr.,

Waggaman LA 70094, in her individual capacity aiid as parent of her minor children, BRIYA

BLANCHARD and BRYCE BLANCHARD.
                                                      "90
       CHARLES BLOODSWORTH, an individual of full age of majority residing at 9125 5th

St., River Ridge, La 70123 and owner of said immovable property.

       GINA BLOODSWORTH, anindividual of full age of majority re3iding at 9125 5th St.,

River Ridge, La 70123 and owner of said immovable property, in her individual capacity and on

behalf of her minor children, CORD BLOODSWORTH, JILLIAN BLOODSWORTH and



       MICHAEL BRUNET, an individual offull age of i-naj ority residing at 605 Hester Avenue,

River Ridge, LA 70123 and owner of said immovable propeity.

       ASHLEY COLEMAN,an individual of full age of majority residiiig at 5808 Cedar Creek

Road, Apt 215, River Ridge, LA 70123 and-owner of a leasehold interest in said premises, in her
                  .
                                                      .S
individual capacity and as parent of her minor child,lDiiE     ~ AtEXANDER LIVIOUS.
                                          Ji -lua nf fb'l          V~!
                                                                     ' of. o~
       ERICA COLLINS,        an indivi-dual of full age  of meClority  residing at 337 Gicii Della Dr.,

Westwego,LA 70094, and awner of a leasehold interest in said premises, in her individual capacity
                                                             I q4

and as parent of her minor child, NADENCE BRIGNAC,



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        PA7Y,ICRM
              i!N"Tz~
                      R             !I             fu          pppajority fesid ing Wi, 744 Hooter Rd.,

Westwego,LA 70094, and owner of a leaseho'ld interest in. said premises.

        CAROL CROCKETT, an individual of i'qdl age of mwjority residing at 1358 South Myrtle

Street, Metairie LA 70003, anLi mmaer of a leasehe-Wr interest in said premises.

        COURTNEY CROCKETT, an indivii-aal of full eage of majority residing at 1358 South

Myrtle Street, Metairiz- LA 70003, i-n her hidivid-ual capoity and o-n beWf of her minor child,

JONATHAN CROCKE TT.

        CATHY DANIE LS, an individLval of fwl 3-ge of -mcqjority residing at 228 Delia Lane

Avondale, LA 70094, tuid owner of said immovable property.

        LAKENSHA DANIELS,an individual of full age of majodty residing at 228 Delia Lane

Avondale,LA 70094, in her individual edpacity and on behalf ofher minor child, AM-IR AUSTIN.
                                                        "n"i          r
      LUIA DARDEN,an individual cif -fWl age of majority tesiding at 408 Upland Ave., River
                                         C;-
Ridge, LA 70123 and owner of said immovable propei-ty.
                               T.
                                  r                       .4 W gT
       SHANTEL EVANS, an individual of full age of majority residing at 802.1 Monett St
                          '70003, ': ,ii '-it.-r individual capacil-b..' ou be~ialf
Metairie LA 70003 and owner of a leasehold interest in said premi.       -es, in her individtial capacity

and as parent of her minor children, DESTINY EVANS and FAITH EVANS
                                            of ftii' age of a1~Fjor`      '11 22;
       LIZ EVERSON,an individual of full age of majority residirig wc 812 1/2 S. Cumberland,
                                                     Prot e-S.
Metairie, LA 70003, and owner of a leasehold interest in said premises.
                                                       age, oi              w
       ELAINE FISHER, an individual of full age of mxjon*ty residing at 1020 Starrett Rd.,

Metairie, LA 70003, and owner of said imniovable property.
                                                of 1--;- uti o-ii v.
       MARY FERRELL, an individual of full age of rnajority residing at 1534 Mansfield Ave.

Marrero, LA 70072 and ommer of a leasehold interest in said premises, ir-dividually and on behalf

of her minor children, JOHN V. KELLY - M SABYRON I& FERRELL, OLIVU D.
                                                               un -sajd "D'"
FERRELL and SYOUR D. FERRELL.
                                MY
                               TUN 11EVANS, atid FAH'"    ,
     DESELLE GUSTAIN, an individual of full age of majority residing at 10506 Jefferson

Hwy., Apt. 3, River Ridge, LA 70123, and owner of a leasehold interest in said premises.

        DONELL GUSTAW, an individual of;fWl age of majority residkig at 10506 Jefferson
                                     Mji                     A
Hvvy. Apt. 3, River Ridge, LA 70123, and owner of a leasehold interest in said premises..
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                                                                                                                                  r:"


       VIOLA HAWKINS, an individual of full.,age of majority residing at 3,53 Senate Dr.,

Avondale, LA 70094 and owner of a leasehold interest in said premises.

       BARBAItA HENDERSON, an individual of full age of majority residing at 1407 S.

Dilton St., Metairie,.LA 70003, and owner of said immovable property.

       SHANNON HII.L, an individual of full age of majority residing at 11104. Newton St.,

IZiver Ridge, LA 70123, and owner of a leasehold interest in said premises.

       JAKE JAMES, an individual of full age of majority residing at 136 Jasmine Ln.,

Waggaman, LA 70094, and owner of a leasehold interest in said premises.

       ZANE JANICKI, an individual of full age. of majority residing at 2033 Cpeneres Drive,

Harahn, LA 7012, in his individual capacity a.nd- as the parent of his minor children, KATE

JANICKI and SOPHIA JANICKI.

       DONNA JEFFEItSON, an individual of full age of majority residing at 353 Senate Dr.,

Avondale, LA 70094 and o•,vmer of a leasehold interest in said premises.

       TENNILLE JONES, an individual of full age of majority residing at 512 Clifford St.,

Waggaman, LA 70094 and owner of a leasehold.interest in said immovable property, in her

individual capacity and as parent of her minor children, TY"LEAH LANUS and CAILEE'

LANUS.

       LAW1tENCE KIMBELL, an individual of full age of majority residing at 621 S.

Cumberland St, River Ridge, LA 70123 and owner of a leasehold interest in said immovable

property.

       CLARK LANUS, an individual of full age of majority residing at 512 Clifford St.,

Waggaman, LA 70094, in his individual capacity and as parent of his minor children, TY'LEAH

LANUS and CAILEE LA-NUS.

       CLAR.ENCE LEBLANC, an individual of full age of majority residing at 1113 S. Starrett

Rd., Metairie, LA 70003, and owner of a leasehold interest in said immovable property.

       JESSICA MCKANICK, an individual of full age of majority residing at 629 Pat Dr,

Avondale, LA 70094, in her individual capacity on behalf of her minor children, HAII)EN

MCKAlVIC and HAKEEM MCKANIC.



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       B®I~TI'I'TA NAGFE, an individual of full age of majority residing at 1325 S. Dilton St

1Vgetairie La 70003 and owner of said immovable property.

       JANAX MAS®N, an individual of full. age of majority residing at 528 Ruth Drive,

Avondale, I,A 70094, in her individual capacity and as parent of her minor child, DEM®NE

DETIFGE, J&

       KAfl2EN M®RISE, an individual of full age of majority residing at 253 Azalea Dr.,

Waggaman LA 70094, and owner of said immovable property.

       IERNEST NLWLLL, is an individual of full age of majority residing at 703 Richard, River

Ridge, LA 70123; and owner of said immovable property.

       MELVE'lT RAT'C11.aFF, an individual of full age of majority residing at 10950 Jefferson

1=Iwy, Apt. R6, River Ridge:, LA 70123, and an owner of a leasehold interest in said premises.

       KENNETH R®YAL, an individual of full age of majority. res--lding at 644 Compromise

Street, Kenner LA 70062, and owner of a leasehold interest in said premises.

       SIJSIE gtOI1X, is an individual of full age of majority residing at 703 Richard Ave., River

Ridge, LA 70123, and owner of said immovable property.

       ANELSAH SAIlIRE, an individual of f-ull age of majority residing at 8724 Sheldon St.,

1Vletairie, LA 70003 and owner of said immovable property.

       L®1tETTA SFALS, an individual of full age of majority residing at 644 Compromise St

Apt D, 644 Compromise St Apt D, Kenner, LA 70062, and owner of a leasehold interest in said

premises.

       DEBItA 9HLLVIN, an individual of full age of majority residing at 629 Pat Dr, Avondale,

LA 70094, and owner of said immovable property.

        EMMET3i'E SYL*'F, JR., an individual of full age of majority residing at 261 Capitol

Dr., Avondale I.A 70084 affid owner of said immovable property.

        THOMAS STACKEIt, an individual of full age of majority residing at 812 1/2 S.

Cumberland,lVletairie, LA 70003, and owner of a leasehold interest in said premises.

        JAMES STER1dIEH, an individual of full age of majority residing at 124 Rosalie Drive,

Avondale, LA 70094



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           DEBRA STROMAS, an individual of full age of majority residing at 337 Glen Della Dr.,
r
    Westwego, LA 70094, and owner of said immovable property.

           WILLIE STROMAS, an individual of full age of majority residing at 337 Glen Della Dr.,

    Westwego, LA 70094, and owner of said immovable property.
                                               ,
           IiAROLD SUTTON, an individual of full age of majority residing at 124 Rosalie Drive,

    Avondale, LA 70094, and owner of said immovable property.

           VERA SUT'1cON, an individual of full age of majority residing at 124 Rosalie Drive,

    Avondale, LA 70094, and owner of said immovable property, individually and on behalf of her

    minor children, CHELSIA STERlYgER SU7CTON, KAIVIERON STERMER-SUTTON and
                                                                   ~
    JAMES STERMEI2 SUTTON.

           DREYTON TIiOMIAS; an individual of full age of majority residing at 112 Mark Twain

    Dr. #23, River Ridge, LA 70123, and owner of a leasehold interest in said immovable property.

           BRITNEY TORRES, an individual of full age of majority residing at 318 Federal Dr.,

    Waggaman, LA 70094, as owner of a leasehold interest in said premises and as owner of the

    immovable property located at 208 Senate Drive, Avondale, LA 70094.

           JUANITA TORRES, an individual of full age of majority residing at 208 Senate Dr.,

    Avondale, LA 70094, and ownier of said immovable property.

            PATRYtCIA WRITE, an individual of full age of majority residing at 444 Liska St.,

    Waggaman LA 70094, and owner of said immovable property.

           JOSEPl#I WII.LIAIVIS, IV, an individual of full age of majority residing at 8724 Sheldon

    St., Metairie, LA 70003, and owner of said immovable property, in h.is individual capacity and as

    parent of his minor children, JOSIAR WILLLdIMS,. JOSEPH WICLLIAMS, and SINAYA

    WII.LgAMS.

                                                   II.

           Made Defendants herein are:

           a. LOUISI.ANA REGIONAL LANDEILI.. COM1'ANY (IdRLC), f/k/a IESI LA

               LANDFII,L CORI'ORATION (IESI"), a foreign corporation domiciled in Delaware

               authorized to do and doing business in this Parish and State. On information and belief,

               LIZLC is a wholly owned subsidiary of Defendant Waste Connections Bayou, Inc., Inc.,

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                                                            .
     which in tum w4s acquired'b Defendant Waste ConnectionsUS, Inc.. On information

     and belief, Defendant.,LRLC is controlle,4.by,Defendants Was-te Connections Bayou,

     Inc., and/or Waste Connections, US, Inc., and is the "alter ego" of those Defendants,

     operatiiig wittiout autonomy and only pursuant to the direction, policies and procedures

     of its parent corporations;

  b. WASTE CONNECTIONS BAYOUg INC., f/k/a/ PROGRZSSIVE WASTE

     SOLUTIONS OF LAq INC.,a foreig-n corporation authori zCd to do and doing business

     in this Paiish and State;

  c. WASTE CONNECTIONS I.JS, INC., a foreign corporation authorized to do and

     doing business in this Parish and State; and

  d.APTIM CORP., a- foreign corporation domiciledi.n Delm-iare authorized to do and

     doing business in this Parish and State;

  e.PARISH OF JEFIFERSON,a Louisiaria municipal parish in and political subdivision

                . f Louisiana (the "Parish";
     of the Stateo
                                                                ';;i' i i; N.    &"41. , A,   I
  f ABC CORPORATION, a foreigp- or domestic insurance company whose idenfity is

     unlcnown to the Petitioners, who upon-information and 'belief ivrote a policy of

     insurance covemge for Defendant LOUISIANA REGIONAL LANDFILL
                             US, _NC. -i 1~ rei r ol7)e: ,
     CONf-PANY (I.RLC),, F/KtA IESI LA LANDFILL CORPORATION (161ESI'l),

     that may provide coverage for acts, occurrences, and/or cmissions inore specifically

     described lierein;

  g.DEF CORIPORATTON a foreigi~ or domestic insurance coinpany whose identity is

     unknown to the Petitioners, who upan infortiation and 6elief wrote a policy of

    insumnce coverage for Defendant, WASTF, CONiNECTION'S BAYO,UINC.,f/k/a/
                                             d(
    PROGRESSIVE WASrYE SOLUTIONS OF LA, LNC. ihat may provide coverage
                                          vq)on irtfonl.,ailci.
    for acts, occurrences, and/or ozciissions more speclifically de-c-Bbed herein;
                            "ir Daf~-.,Idant MASIAIN'A ,        -RaG)0NkA.L '~rk`%
  h.GHI CORPORATION a foreign or domestic insurance company whose identity is
        417AN'k (IRMI, IJ'lh DES[ ILA 1, &N W,11A f1)R"i_RATft1_)N;
    unknown to the Petitioners, who upoil -iriFix-m   -ation anc; belief wrote a policy of
     iU'le, i n~lv, ~.)rljfoide          :or acts. occLw
     insurance covmwe for. Defendant, VIASTE CO]INTNECTIONS BAYOU, INC.,f/k/a/


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                    Lo 5h;, elitioners, who upon infonmtjon a7w- belief

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                                Petitioners, Who upor, informat i on ::fkcl                     a 1)('11;:11

            PROGRESS MAST4                                                          h4t, -4y p (W-cove age

           for acts, occurrences, and/or omissioiis more specifically desciibed herein;

       i. JIKL CORPORATION a foreign or-loomestic insurance company whose identity is

            unknown to the Petitioners, who upon information and belief wrote a policy of

           insurance coverage for Defendant, APTU
                                                EM CORP, that may provide coverage for acts,

            occurrences, and/or omissions more specifically described herein;

       j. MNO CORIPORATIONS foreign or domestic insurance company whose identity is

            unlcnown to the Petitioners, who upon infennation and belief wrote a policy of

           insuratice coverage for Defendatit, PARISH OF JEFFERSON, that may provide

            coverage for acts, occurrences, and/or omissions more specifically described herein.




                                  JURIEDICTLUN AND VENUE

        Venue is proper in accordance with La. R.S.. 13:5104(B),. wh.ich states., in part, that "[a]ll

suits filed against a political subdivision of the state ... shall be instituted before the district court

of the judicial district in which the political subdivision is located or in the district court having

jurisdiction in the parish in which the cause of acti6n arises." Venue is fui-ther proper as to all other

defendants as the wrongful conduct giving rise to the Petitioner's claims occurred within the

jurisdictional limits of Jefferson Parish, State of Louisiana.

                                                    V.

                                                 FACTS

        The Parish is the owner of the Jefferson Parish Landfill (the "J.P. Landfill"), located at

5800 Highway 90 West in Avondale, Jefferson Parish, LA.

                                                    V.

        At all relevant times, the J.P. Landfill has been used as a Type VH landfill permitted to

accept municipal and commercial solid waste, non-hazardous industrial waste, trash, construction

debris, vegetative waste, dewatered municipal wastewater sludge, and compatible non-hazardous

industrial waste pursuant to the Louisiana Environmental Quality Act, La. R.S. 30:2001, et seq.



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(the "Act") as well as federal laws and regulations implemented by the United States

Environmental Protection Agency ("USEPA"). ,

                                                VL
       The J.P. Landfill is authorized to operate pursuant to and only in accor.dance with the terms

and conditions of, .among other things, Standard Permit P-0297R1(the "Standard Permit") as

issued, approved, and subject to periodic review and renewal by the Louisiana Department of

Environmental Quality ("LDEQ") pursuant to the Act. The Standard Permit was most recently

renewed by the LDEQ on or about January 22, 2010.

                                                VII.                                                   ~~

       On or about May 17, 2012, the Parish entered into a contract with the Defendant IESI (since

renamed the Louisiana Regional Landfill Company) under which IESI agreed, among other things,

to "manage all tasks of the operation, management and maintenance" of the J.P. Landfill (the "IESI

Operating Contract"). Among other things, the IESI ®perating Contract provides that:

       (a) Operation of the J.P. Landfill will be conducted "in strict compliance and conformity

           with all Federal, State and local laws, ordinances, a.nd regulations, including the rules

           and regulations of the USEPA, LDEQ, and all State of Louisiana agencies, and in

           accordance with the Permit Documents."

       (b) "IESI shall be responsible for compliance with all Federal, State and local regulations,

           laws and ordinances in its performance of the Service/VVorlc associated with the

           operation [and maintenance] of the Landfill."

       (c) IESI is required to "provide all labor, equipment, materials and incidentals to assume
       c

           all daily operations of the Landfill."

       (d) The Parish Engineer has the authority to "decide any. and all questions as to ... the

           manner of performance and rate o£ progress of the, Services/Work ... the interpretation

           of the Contract Documents, and all questions as to the acceptable Completion" of the

           Contract "in lus reasonable and good faith opinion." The Parish Engineer is further

           authorized to "suspend operations at any time when the Service/Work, in his good faith

           and reasonable opinion, is not being carried out in conformity with the Contract

           Documents and all permits."

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                                             VIII.

        Defendant APTIM is and at all relevant times has been a co-operator of the gas and leachate

collection system of the J.P Landfill.

                                               IX.

        Jefferson Parish, in addition to being an owner of the J.P. Landfill, is and at all relevant

times has been a co-manager and co-operator of the J.P. Landfill with IESI/LRLP and APTIM.

                                                0

        The Parish has admitted that improper operation of the J.P. Landfill is a major source of

the odors suffered .by Petitioners as well as the adverse consequences thereof. At a public press

conference on July 23, 2018, Parish President Mike Yenni stated that:

        (a) 'fhe J.P. Landfil_'s system designed to "contain and deodorize landfill gases" has not

           been in "proper working order."

        (b) The landfill's leachate collection system has not been operated properly.

        (c) "Properly operated landfills do not operate persistent off-site odors and corrective

           actions. .. are essential."

        (d) The Parish has notified IESI that it is in breach of its contract to properly operate the

           J.P. Landfill.

                                               XI.

        At the same press conference, Parish Sheriff Mark Conley stated that the J.P. Landfill gas

collection system has been ;,ollecting only twenty percent (20%) of the,gas emitted from landfill

operations, whereas a prope-ly operating system would collect ninety-seven to ninety-eight percent

of gas emissions, "[s]o that is why the Parish president is stressing that we realize we have

problems ... right now, a lot of our priority, in the name of public safety and our police powers, is

to address the existing system, get it operational, and to pull as much gas out of that landfill as we

can."



        At the same press conference, Parish Councilman Paul Johnson stated that the odor from

the J.P. Landfill



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          "has gotten really bad in the past for our five months... we are all going to experience odors

          from the laridf 11 because it's a landfill. But, not those we have been having for the past

          three or fve months. It's been really bad. I have been woken up at night with my nose

          burning and couldn't breathe at three or four o'clock in the morning. This has happened

          to me rriore than one time ... we know the landfill is causing problems and we know it is a

          big source of problems......

                                                                  XHL

          At the same press conference, Doctor Joseph Cantor;lVdedical Director and Administrator

for Itegion 1 of the Louisiana Department of I-Jealth, warned that when the odors are at "a high

level, residents should, if they are able to, leave the area and particularly if they have certain

chronic conditions which put them at increased risk mainly pulmonary disease and asthma

COPD."1]

                                                                  XgV.

          On or about June 22, 2018, the LDEQ issued a Compliance Order to the Parish which,

among other things, found that the Parish has violated . its Landfill Permit and applicable

environmental regulations by (i) failing to provide dail;= cover and (ii) failing to properly operate

the system that is intended' to collect leachate - the liquid brew that drains from a landfill and

carries with it numerous harmful chemicals.
                           .                                                ~. . _   ...                      .   .
                                                                    XV.                                                       ~

          The LDEQ.inspectors found areas of pooled leachate and leachate flowing downhill from

the pooled leachate.

                                                                  XVL                              ,

          The United States Environmental Protection .Agency ("EPA") has established general

screening 'levels for various pollutants.           ....
                                                                          These screening levels are chemical-specific
    .     .   ..,   . ::            g.   ,.,,              .. :   . ~ i lar:_;~                •       _i .           .   .
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concentrations for individual
                          „   contaminants in air that may warrant 'further investigation or site

cleanup:2 A ehronic screening level addresses potential chronic exposure to a chemical.




1 A video recordirig of the July 23 press;eonference canFbe; ~ecessed. ~t, ;,   ' i<
ltlti)s://www.fticebook.coan/NOi.Amews/videos/1®155793116437060/ (lastvisiaesl Aug. 4, 201$).'
2 https://www.epa.gov/risk/regional-screeaaing-levels-rsls-useis'-gaide (flast visited, Nov. 21, 2018).

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        Air sarnples collected by the LDEQ iif-thd c. 01                 ltfog-bf - Ri~ver Ri'd9,e, Harahan and

Waggaman between July 20, 2018 through apprQximately July 28, 201.8 were found to contain

numerous chemical compounds at concentrations that exceed EPA's chronic screening levels,

including acrolein, 1, 2-dichloroethane,, benzeiie, cai-'oon tetrachlon-i de, and naphthalene. All of

these compounds are multimodal toxic=3, in th at %ey are potential or a-ctual 1?uman carcinogens

and also have other toxic effects. The air samples co.1lected by LDE, Q also coiitained hydrogen

sulfide at concentrations tllat exceed EPA"s efiron-le screening levels. Hydrogen sulfide is a

                                                1 are t-ypically fuund in the gases generated by
potentially toxic compound. All of these compoun6

landfills like theJefferson Parish Landfiii.
                                                                                           4,;
                                                 XVIIL

        In a repoft dated August 15, 2018, prepared for the Parish by its enviroiimental consultant,

Carson Environmental Consulting ("CEC"), CEC made seieral findings, in-,luding, among other
                                                          carbmn uN
things, that there are numerous deficiencies in "the landfill gas condensate and leachate collection
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                                      tmocats.,nth,    at ttley m- voter'.6   .1ij ol    U.!,l kam
pumping systems[J' and that the infrastructure for ttiese systems req&ires immediate improvement
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"to meet the Pafish's perfonnance objeclives." In addition, CEC concluded that improved
                           14g3 CIXX(n-a        A's chronic scre-e-ning love,"S.                         k.
operation and maintenance of the J.P. Landfill reque      i-x sthePwish's "focused attention."
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                                                     XIX.

        Oninformation aiidbelief, on or about December 5, 201.8 tile Co—M-missionerof theLDEQ
                                             XV111.
infonned the P"h that there is "no doubf' ip.-ba' -3 rnind that the JP LanMill is the primary source
                    la te-6~ iaL4        I            d fi-)r the 'Parishbv jv,
                                             J.wepai e.                            f-v.~ 1irn-~,i IT
the odors experienced by residents of the communities in -%vhich Petitioners reside.
                                                CE(.' made severai
                                                  XXL
                                    f          j "the tapetfill ges? 6ondens -,te -A
        On information and belief, Defendar-t ABC Corporation has issued a policy of insurance
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to Defendant Louisiana Regional Landfill Company that covers the acts and omissions alleged
                                           p;            Iri add k)ii, (T-C :i 0Tj4';1U(h,J4' V%.. ,,:','
herein. Petitioners will amend this Petition to identify ABC Corporation once its identity is known. -
                             Of U1Q,j V. ",andfill wquires
                                                 XXH..

       On infonnation and belief, Defeiidant UEF Corporation has issued* a policy of insurance to
                                                                     NS
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                                                                                               ~- ~ 4 j ,~ '' ~ ~ , .
Defendant Waste Conneefions Bayou, Inc. thal coveis the acts alid omissions alleged herein.
                                          dou    'n hismind ftiat tneJ!"
Petitioners will amend this Petitioti to identify -DEF Corporation once its identity is known.
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                                                                                                    XXiii.
     ,       ...>'.r,~ct#,!' 1!'4s'~r'ie±~,F' `sr.~ij:.'rk.:.~'tir°t.!.'fz',~ ~"3€~.~,'~~i~i. ~.'i)4. ~I?.~3$, v~~~.t.•'1`5 .l~i~ i~"~5 strisx, r~~i'l.t.~s̀~st(~.F.'1.'s i'I.~..~v,.+~r~'.~ .;,; ,      n

                   On information and belief, Defendant CaHi Corporatiori has issued a policy of insurance to
                                                                                                         1.MFa

    Defendant Waste' Connections IJS, Inc. that c1overs the acts and omi'ssions alleged herein.
                                                                                                                 t. 3

    Petitioners will amend this Petition to identify GI-iI Corporation once its identity is known.

                                                                              IMEMEE:4a'~i~

                   On 'information and belief; Defendant JKL Corporation has issued a policy of insurance to

    Defendant Aptim Corporation that covers the acts arid omissions alleged herein. Petitioners!will

    amend, this Petition to identify JI~L Corporation
                                           ,
                                                      once its identity is known.

                                                                                                    XXV.


                   On information and belief, Defendant 1VIN0 Corporation has issued a policy of insurance
                                                                                                                                                                                                     ~

    to Defendant Parish of Jefferson that covers the acts and omissions alleged herein. Petitioners; will

    amend this Petition to identify JKL Corporation once its identity is known.

         ^                                                                                          XXVI.

                                                              PItOXIMAT]E CAUS]E AND BAD ,&CTS
                                            .                                                            :                                            ,

                   The Defendants' failure to properly design, operate and maintain the J:P. Landfill,
                            ..                                           ..        .                                                     ..                           ,             •       .
    including its gas and leachate collection systems, have caused harrnful, noxious and repulsive

    odors and chemicals to be released from the J.P. Landfill into the surrounding environment ori and

    in to Petitioners' homes and immovable property, resulting in Petitioners' continuing exposure to

    these odors and chemicals.                                                                                                                                                                   ~
                                        ,

                                                                                               XXVII.

                   These odors and chemicals have also caused these Petitioners to suffer phys;cal and bther
                                                                                                                                                                                                 ~

    harm including, but not limited to difficulties breathing, coughing, nausea, burning eyes, ;ears,

    noses and throats, dizziness, loss of appetite, fatigue and lethargy, as well as fear, anguish, anXiety

    and mental pain and suffering. In addition:

                   k.                Petitioner J.C. Bates suffers from asthma. He is treated by a physician for this

    illness. His asthma is exacerbated by the odors emanating from the Landfill.                                                                                                F

                   ii.               Petitioner La'Shea Bates suffers from asthma. Her asthma is exacerbated by the

    odors emanating from the Landfill'.
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           iii.     Petitioner Itosa Bates suffers from asthma. She is treated by .a physician for this

    illness. Her asthma is exacerbated by the odors emanating from the Landfill. ,

           iv.      Petitioner Jeremy Bell suffers from asthma. He is treated by a physician for this

    illness. His asthina is exacerbated by the odors emanating from the Landfill.

           V.      Petitioner lEiolly Blanchard suffers.from asthma. She is treated by a pliysician for

    this illness. Her asthma is exacerbated by the odors emanating from the Landfill.

           vi.     Petitioner Cord Bloodsworth.suffers from asthma. He ~is treated by a physician for
                                                                                          ,
    this illness: His asthma is exacerbated by the odors emanating from the Landfill.

           vii.    Petitioner 1Vlichael Brunet suffers from asthma. He is treated by a physician for

    this illness. His asthma is exacerbated by the odors emanating from the Landfill.

           vii.     Petitioner Patty Crier suffers from asthma. She is treated by a physician for this

'   illness. Her asthma is exacerbated by the odors emanating from the Landfill.

           ix.      Petitioner Carol Crockett suffers from asthma. She is treated by a physician for

    this illness. Her asthma is exacerbated by the odors emanating from the Landfill.

           N.      Petitioner Courtney Crockett suffers from asthma. She is treated by a physician

    for this illness. Her asthma is exacerbated by the odors ema.nating from the Landfill.

           xi.     Petitioner Jonathan Crockett suffers from asthma. He is treated by a physician for

    this illness. His asthma is exacerbated by the odors emanating from the Landfill.

           xii.      Petitioner Demone Detenge, Jr. suffers from asthma. Iie is treated by a physician

    for this illness. His asthma is exacerbated by the odors emanating from the Landfill.

           xiii.     Petitioner Destiiiy Evans suffers from asthma. She is.treated by a physician for

    this illness. Her asthma is ,exacerbated by the odors emanating from the Landfill.

           xivv.       Petitioner Faith Evans suffers from asthma. She is treated by a physician for

    this illness. Her asthma is exacerbated by the odors emanating frorn the Landfill.

           xv.        Petitioner Shantel Evans suffers from asthma. She is treated by a physician for

    this illness. Her asthma is exacerbated by the odors emanating from the Landfill.

           xvi.       Petitioner Elizabeth Everson suffers from asthma and COPD. She is treated by

    a physician for these condi- ions. Her illnesses are exacerbated by the odors emanating from the

    Landfill.

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                                                                                                      r
       xvii.         Petitioner Deselle Gustain suffers from asthma. She is treated by a physician

for this illness. Her asthma is exacerbated by the odors emanating from the Landfill.

       xviii.        Petitioner Sophia Janicki suffers from asthma. She is treated by a physician

for this illness. Her asthma is exacerbated by the odors emanating from the Landfall.

       xix.          Petitioner ponna Jefferson suffers from COPD. She is treated by a physician

for this illness. IYer COPD is exacerbated by the odors emanating from the Landfill.

       xx.       Petitioner Sidney Alexander Livious suffers from asthma. He is treated by a

physician for this illness. His asthma is exacerbated by the odors emanating from the Landfill.

       xxi.      Petitioner Bonnitta Magee suf£ers from asthma. She is treated by a physician for

this illness. Her asthma is exacerbated by the odors emanating from the Landfill.

       xxii. Petitioner Haiden 1VIcKanick suffers from asthma. He is treated by a physician for

this illness. His asthma is exacerbated by the odors emanating from the Landfill.

       xxiii: Petitioner Hakeean McKanick has -asthma. He is treated by a physician for this

illness. His asthma is exacerbated by the odors emanating from the Landfill.

       xxiv. Petitioner Ernest Newell suffers from asthma. He is treated by a physician for this

illness. His asthma is exacerbated by the odors einanating from the Landfill.

       xxv.      Petitioner Susie Roux suffers from asthma. She is treated by a physician for this

illness. Her asthma is exacerbated by the odors enianating from the Landfill.

       xxvi. Petitioner Aneesah Sabre suffers from asthma. She is treated by a physician for

this illness. Her asthma is exacerbated by the odors emanating from the Landfill.

       xxvii. Petitioner B[arold Sutton suffers from COPD. He is treated by a physician for this

illness. His astkma jS7 exacerbated by the odors emanating from the Landfill.

       xxviii.     Petitioner Britney Torres suffers from asthma. She is treated by a physician for

this illness. . Her asthma is exacerbated by the adors emanating from the Landfill.

       xxix.      Petitioner Juanita Torres suffers from asthma. She is treated by a physician for

this illness. Her asthma is exacerbated by the odors emanating from the Landfill.

       xxx.       Petitioner Patricia White suffers from asthma. She is treated by a physician for

this illness. Her asthma is exacerbated by the odors emanating from the Landfill.



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        xxxi.                     I'etitioner J®seph WiDleams, W: suffers from C®PfD. He is, treated by a physician

for this illness. I-iis C®FD is exacerbated by the odors emanating from the Landfill.



       I)efendants' actions and omissions with 'respect to the design, operation and maintenance

of the J.P. Landfill are the direct and proximate cause of the injuries and harm suffered by each of

the k'etitioners as alleged above.



       Der"endants' actions and omissions as outlined above also have caused a diminution in the

value of Petitioners' immovable property.

                                                                                                                                            XXXe

        These odors have been pervasive and persistent. They have continued to the present and

are likely to continue for the foreseeable future. The emissions constitute a continuing tort.

                                                                                                                                            XXXL

        Defendants' acts and omissions in owning, designing, operating and/or rnaintaining the J.P.

Landfill as described above constitute an unreasonable inteiference with each of the Petitioners'
                                                                                                                                                            "t, .

comfortable use and enjoyment of their homes.
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        I)efendants are liable to the Petitioners for all damages they have suffered, including bodily

harm, diminution of property value and fear, anguish, and nuental pa.in a.nd suffering, on account

of nuisance.

                                                                                                                                                    XXXIHo


        These physical invasions of noxious odQrs and c'riemi;,a.ls constitute a trespa..ss causing
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1'etitioners to suffer physical harm, diminution in property value and rdntal value, inconvenience,
                                                                                                                                                  `.,_..

loss of enjoyrhent of property, as vaell as fear, anguish and mental pain and suffering.
                 .        .                                                            _ ..       , r;... .. •7::~tt:,;

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        't'he emissions of these harmful odors and chetnicals have be~;n pervasi~ve and persistent
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and constitute a continuing tort.
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                                                                                                               , ,.~4.[€.z. ~f.~i.rt.~S`t~                             ~?.,£t~. i:l~%:? . ~•`c.~'C •t ~:t#IiSM. .,._                                       .   .
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          The Defendants' illegal action& and omiN.~&4n,. omTriirig aiid operating the J.P. Landfill

continue' to this day and, unless enjoined by this Court, -vvill continue for the indefinite future.

Accordingly, Petitioners are enti-tled to a perrfialept injunction ordering 'LILie Defendants to abate

the continuing nuisance atid cease the trespasses catised aiid created by the J.P. Landfill, including

the emission of poxious odors aiid chernicaI3, and to tak
                                                        le 411 necessary reasonab'le actions required

to accompfish same.

                                                        XXXVIL

          Each of the DefendaLiits had a dwy to Patitfonersto exercise reasonable care in the design,

ownership and/or operation of ihe L-andfills, including without limitafiori the duty to comply with
                                                               S-.SJ C.       Jn        11 j.!
                                                                                        .


applicable environmental laws and regulations and o&nidse to ensure that the Landfills were
                                                                       for 4.Ie
operated in a manner that does notjeopardize their health, immovable property, environment, and

quality of life.
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          Each of the Defendants breached such duties of care to the Petition -,7.-,s by, among other

things:
                                               xxxvii.
          i.       Failing to properly design, operate and maintain           J.P. Landfill, thus allowing
                                                             to ext;        ivas-onable
                   noxious and harmful odors and chemicals to be relmed from the J.P. Landfill and
                                                    din., -,,VJMIO%Jt firn,       the 4"In.
                   introduced in the atmosphere and surrounding neigtiborhoods;

          ii.      Failing to take careful and prudent precaufionary measures to ensure thattliese

                   releases would not occur;

          iii. Failing to design, operate and mainWn the J.P. Landfill in a manner that does not
                                            X-.Kx. 6fl,
               cause harm to others and, in particular, its neighbors;
                                                                                                  Y,.
          iv.      Failing to cemply ivith applicable regulations governing the design, operation and

                   maintenance of the J.P. Landfill;
                                                                     the J.11, I'Alf1di1"il
          V.       Being inattentive atid carelesg in the overall design, operation and maintenance of
                                                            chel

                   the J.P. Landfill;
                                     -7• %n(l S"
          vi.      Failing to remediate and repair the failures in design, operation and maintenance of

                   the J.P. Landfill as they became Imovvn to the Defendants;


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        vii.    Any and all,other..acts..of neglige~c,~':1 whieh~may,b,e"reveal.ed between now and the

                time of.trial.

                                                                      XXXJX.

       The Defendants' failure to comply with their duties of care to the Petitioners were and are

a cause in fact and a legal cause of Petitioners' injuries, and each of the Petitioners has s,uffered

damages as a result thereof, in'cluding physical harm, diminution in property value and fear,

anguish and mental pain and suffering as well as loss of use and enjoyment of their immovable

property and diminution in the value of said property.

                                                                          XL.

       The Parish's ownership arid operation of the J.P. Landfill has caused substantial damage to

the value of Petitioners' respective interests 'in their immovable property.

                                                                         XLI.

       The Parish knew, or in the exercase of reasonable care, should have known, that its failure

to properly design, operate and maintain the J.P. Landfill would cause damage to Petitioners, and

such damage could have been prevented by the exercise of reasonable care. The Parish, as owner

of the J.P. Landfill, failed to exercise su;,h reasonable care.

                                                                        XLII.

       In cornmitting the acts and omissions described above; the Defendants have breached their

contractual obligations, of which Petitioners are third party beneficiai-ies, arising under the

contracts between the Parish and all other Defendants herein pertaining to the design, operation

and maintenance of the J.P. Landfill.

                                                                        XLIII.

        In committing the foregoing acts and omissions, Defenda.nts have violated,'inter alia, Civil

Code Articles 667, 669, 2315, 2316, and 2317.1, which has caused and continues to cause each of

the Petitioners damages including nuisance damages; physical harm and mental fear, anguish, pain

and suffering; and diminution in p_operry value.

                                                                        XLIV.

        Further, Petitioners' intereat is their immovable properry is a property right protected by

the Louisiana Constitution.

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                                               XLV.

        Petitioners' interest in theii- real property has been taken and. damaged by the actions of

Jefferson Parish as set forth above.

                                              XLVI.

        Such taking and damage was for a public purpose — to wit, the operation of a public landfill

for the purpose of handling and disposing of waste generated by the citizens of JefPerson Parish
                                                                                                       r

and others.

                                              XLVII.

        The Parish is liable to the Petitioners-for damages caused by the Parish's unconstitutional

taking of their immovable property without paying just compensation pursua.nt to Article I, Section

4(B) of the Louisiana Constitution.

                                             XLVIII.

        The Parish's takirig of Petitioners' property without just compensation constitutions a;

deprivation o£ their property without due process of law' pursuant to Article I, Section 2 of the

Louisiana Constitution.

                    ~                         XLIX.

        The Parish is liable to the Petitioners for damages caused by the Parish's violation of
                                                                                                  ,
Petitioners' due process rights.

                                                 L.
                               REOUEST FOR TRIAL BY JURY

        PETITIONERS REQUEST A JURY TRIAL AS TO ALL CLAIMS TRIABLE BY

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                                                LI.

                                       PRAYER FOR RIELIEF

        VVHEREFORE, Petitioners pray that:

                (a) Judgment be entered declaring each of the Defendants j ointly, severally and in

                   solido liable to each of the Petitioners for all damages (and awarding all such

                    damages), inclv-ding physical and bodily harm, loss of use and enjoyment of



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             their homes, diminution in property value, lost wages, medical expenses and

             mental pain and suffering;

        (b) Judgment be entered against the Parish declaring it liable for inverse

             condemnation, and awarding to each of the Petitioners just compensation for

             the unconstitutional taking of their interests in real property and/or a deprivation

         ,   of due process;

        (c) Judgment be entered against all Defendants for all additional damages as are

             just and reasonable under the circumstances, including but not limited to the
                                                                                                    ,
             cost of alternati✓e housing and medical testing;

        (d) The Deferidants be permanently enjoined and ordered to abate the nuisances

             and trespasses, and to take all reasonable and necessary measures to cease the

             harmful emissions from the J.P. Landfill.

        (e) The Defenda.nts be required to provide.medical monitoring for all Petitioners as

             appropriate;

        (f) Prejudgment and post judgment interest on all damages be awarded;

        (g) Petitioners be awarded all costs for prosecution of this action and attorney fees;

        (h) T,amages be awarded for all other injuries that may be proved at trial; and

        (i) This Court awa~d such other and further relief as it may deem just and proper.

                                                 Respectfully submitted,

                                                 FORREST CIZESSEY & JAMES, LLC



                                                 B ron&*&sf(La. Bar No. 35481)
                                                 Nicholas Cressey (La. Bar No. 35725)
                                                 S. Eliza James (La. Bar No. 35182)
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PLEASE SERVE:

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Through its Agent for Service
Corporation Service Company
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Baton Rouge, LA 70802

WASTE CONNECTIONS BAYOgJ, INC.
Through its Agent £or Service
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Baton Rouge, LA 70802                                                                  f

WASTE CONNECTIONS US, INC.
Through its'Agent for Service
Via long arm through its Agent
Corporation Service Company
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Wilmington,-DE 19808

APTIM CORP.
Through its Agent for Service
CT Corporation System
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Baton Rouge, LA 70816

PARISH OF.JEFFERSON
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Parish Attorney for the Parish of Jefferson
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GHI CORP.
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JKL CORP.
Address unknown at this time.


MNO CORP.
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                         TO WASTE CONNECTIONS US INC
                            THROUGH AGENT CORPORATION
                            SERViCE COMPANY                                                                          9
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               24TH JUDICIAL DISTRICT FoR THE PARISH oF JEFFERSoN


                                    STATE OF LOUISIANA

NO.793-088                                                                        DIVISION "O"

                                   MICHAEL BRIINET, et. al.

                                             VERSUS

                   LOUISIANA REGIONAL LANDFILL COMPANY, et. al.


                      THE WASTE CONNECTIONS DEFENDANTS'
                     DECLINATORY EXCEPTION OF LIS PENDENS

       Defendants Waste Connections US, Inc., Waste Connections Bayou, Inc., and Louisiana

Regional Landfill Company (collectively, the o'Waste Connections Defendants"), through

undersigned counsel, hereby except to the Petition for Damages and Request For Injunctive

Relief ("Petition") by submitting this declinatory exception of lis pendens pursuant to La. C.C.P.

arts. 532, and 925(AX3). As set forth more fully in the attached memorandum, the Petition is

duplicative of four proposed class actions currently pending in federal court.

       WHEREFORE, the Waste Connections Defendants respectfully request that the

foregoing declinatory exception of lis pendens be sustained and that this matter be stayed.

                                             Respectfully submitted,

                                             BRADLEY MURCHISON KELLY & SHEA T,LC


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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 112 of 434




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                               Counsel for Defendant V/aste Connections US, Inc.,
                               Waste Corurections Bayou, lnc. and Louisiana
                               Regional Landfill Company




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                                CERTIFICATE OF SERVICE

       I hereby certified that I served a copy of the above pleading on all known counsel of

record via email this lSth day of April,20lg.

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                                                                               I

                                                           OF COUNSEL




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                2+TH JUDICIAL DISTzuCT FoR THE PAzuSH oF JEFFERSoN


                                    STATE OF LOUISIANA

NO.793-088                                                                     DIVISION "O"

                                   MICHAEL BRUNET, et. al.

                                          VERSUS

                  LOUISIANA REGIONAL LANDFILL COMPANY, et. al.


                                          ORDER

       Considering the above and foregoing exception submitted by Waste Connections US,

Inc., waste connections Bayou, Inc. and Louisiana Regional Landfill Company,

       IT IS ORDERED BY THE COURT that Petitioners show cause on the                  dav of

                  at       a.m./p.m. why the Declinatory Exception of Lis Pendens should not

be sustained.
                       -
       Gretna, Louisiana, this _      day of              2019.




                                         DISTRICT JUDGE



SHERIFF. PLEASE SERVE:

MICHAEL BRUNET, ET AL.
THROUGH THEIR COUNSEL OF RECORD:
Byron M. Forrest
Nicholas V. Cressey
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                  24TH JUDICIAL DISTRICT FoR THE PAzuSH oF JEFFERSoN


                                          STATE OF LOUISIANA

NO.793-088                                                                                     DIVISION "O"

                                        MICHAEL BRUNET, et. al

                                                   VERSUS

                      LOUISIANA REGIONAL LANDFILL COMPANY, et. al.


     THE \ryASTE CONNECTIONS DEFENDANTS'MEMORANDUM IN SUPPORT
                OF DECLINATORY EXCEPTION OF LIS PENDENS

        Defendants Waste Connections US, Inc.,'Waste Connections Bayou, Inc., and Louisiana

Regional Landfill Company (collectively, the "Waste Connections Defendants"), through

undersigned counsel, submit the following memorandum in support of their declinatory

exception of lis pendens.

I.      INTRODUCTION

        This mass action is the seventh of ten nearly identical mass and class action lawsuits filed

against Defendants and pending in Louisiana state and federal court.r The petition is essentially a

carbon-copy of the mass action petitions filed in the other five actions by the same attorneys,

which seek relief on behalf of a total of more than 500 plaintiffs for damages allegedly caused by

odors and fumes emanating from the Jefferson Parish Landfill ("Landfill") located in

Waggaman, Louisiana. Pursuant to Louisiana's doctrine of lis pendens codified in Articles 531

and 532 of the Louisiana Code of Civil Procedure, Judge Stephen Grefer stayed the first state

mass action case, Addison, on February 6,2019, because four class actions for the same class of

plaintiffs asserting similar claims for the same alleged odors emanating from the Landfill against

the same defendants are pending before Judge Susie Morgan in the Eastern District of Louisiana.




' The four class actions removed to and pending in federal court, were consolidated on April 5,2019 and are now
sryled as lctech-Bendeckv. Progressive Ll/aste Solutions of LA, Inc., Case No. 18-7889 c/w l8-8071, l8-8218, l8-
9312 (E.D. La.).
Five other mass actions pending in this JDC are: Addison v. Louisiana Regional Landfill Company, No. 760-369
(filed in 24'h IDC Dec. 13,20t8); Andersonv. Louisiana Regional Landfiil Compøny,No.T)-SóZ(filed in 246
JDC Feb. 25,2019); Itinningkof v. Louisiana Regional Landfill Company,No. 793-784 (filed in 24ú JDC April2,
2019); Calligan v. Louisiana Regional Landfill Compony, No. 793-908 (filed in 24t. IDC April 5, 2019); Griffinv.
Louisiana Regional Landfill Company,No. 794-011 (filed in 24ù JDC April 9, ZOtg).




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This lawsuit, which is practically identical to Addison, should also be stayed for the same reasons

set forth in the Addison decision.2

           Plaintifß in this case, represented by the same counsel as the Addison plaintiffs, ignored

Judge Grefer's decision and commenced this duplicative action seeking the same relief against

the very same defendants.3 This is precisely the scenario the doctrine of lis pendens is intended

to prevent: "a series of vexatious suits by the same plaintiff against the same defendant in the

same transaction or occurrence in different forums." SIr. Elec. Power Co. v. Amax, Inc,, 621 So.

2d 615 (La. 1993) (Lemmon, J. concurring).

           Like Addison, the criteria for lis pendens are satisfied here because (i) all of the Brunet

Plaintiffs are members of the putative classes in the four previously f,rled class actions, (ii) alt of

the Plaintiffs' claims arise from the same alleged odors complained of in those putative class

action suits, and (iii) all actions involve the same Defendants. As Judge Grefer explained in

Addison, allowing these cases to move forward at the same time as the class actions are being

litigated would waste judicial resources, lead to inconsistent discovery and merit rulings, and be

fundamentally unfair to the Defendants by subjecting them to burdensome and duplicative

lawsuits in multiple forums. This Court should grant the Waste Connections Defendants'

exception of lis pendens and stay this action.

II.        BACKGROUND AND PROCEDURAL HISTORY

           A.        Four putative class actions relating to alleged odors from the Landfill are
                     pending in federal district court.

           On July 25,2018, the first of four putative class actions was filed in the24ú Judicial

District Court on behalf of a proposed class of persons seeking damages for alleged o'noxious

odors" emanating from the Landfill. See lctech-Bendeck v. Progressive llaste Solutions, No.

2:18-cv-07S89 (8.D. La.) (filed in 24Th JDC July 25,2018). On Augusr !7,2018, Defendants

removed the lctech-Bendeck action to federal court pursuant to the Class Action Fairness Act

("CAFA"). Over the next month, three additional putative class actions were filed in the 24th

Judicial District Court, Thompson v. Louisiøna Regional Landfitl Company, No. 2:18-cv-08071

(E.D. La.) (filed in 24rh JDC July 30,2018); Bernard v. Progressive Waste Solutions of LA, Inc.,


2
    See Exs. A-1, A-2, A-3
3
    The second mass action, Anderson, is the subject of a similar previously filed exception of lis pendens.



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2:18-cv-08218 (8.D. La.) (filed in 24rh JDC Aug. 10, 2018); and, Landry-Boudreaux v.

Progressive Waste Solutions of LA, Inc.,2:I8-cv-09312 (8.D. La.) (hled in24th JDC Aug.27,

2018).4 Defendants also removed these subsequent actions to federal court pursuant to CAFA.S

Plaintiffs in all four putative class actions moved to remand the cases to state court, which

Defendants opposed. Judge Morgan of the Eastern District denied all four remand motions on

March 14,2019j

         Judge Morgan granted the parties' Joint Motion to Consolidate on April 3,2019, and the

plaintiffs filed a consolidated amended complaint on April I0,2019.7 The Consolidated Class

Action Complaint seeks damages against the owner of the Landfill, Jefferson Parish, and several

of its contractors (and related entities): the Waste Connections Defendants (Louisiana Regional

Landfill Company f/k/a IESI LA Landfill Corporation, Waste Connections Bayou, Inc. flVal

Progressive Waste Solutions of LA, Inc., and V/aste Connections US, Inc.) and Aptim

Corporation. The proposed class in the consolidated class action is defined as "[a]ll persons

domiciled in and/or residing in the Parish of Jefferson, State of Louisiana who have sustained

legally cognizable damages in the form of nuisance, trespass, interference with the enjoyment of

their properties and/or diminution in the value of their properties as a result of the emission of

noxious odors from the Jefferson Parish Landfill[.]"8

         B.       Addßon - a nearly identical mass action - already has been stayed.

         On December 13, 2018, just months after the fourth class action complaint was filed, 86

residents of Jefferson Parish - represented by the same counsel now representing the Brunet

Plaintifß and using a nearly-identical petition - filed suit against the same defendants named

here and in the putative class actions and sought damages for the same alleged odors emanating

from the Landfill. See Ex. A-1, Petition, Addison v, Louisiana Regional Landfitl Company, No.

760-369 (filed in 24rh JDCDec. 13,201S).

         Like the putative class action plaintiffs, the Addison Plaintiffs alleged that:

a
 See Exs. B-1, C-1, D-1, and E-I.
5
 See Exs. B-2, C-2, D-2 and E-2. Brunet is not removable to federal court under the Class Action Fairness Act
because it is not asserted as a class action and because it includes fewer than 100 plaintiffs.
6
  lctech-Bendect,          .3d ,2olg wL 1199105 ; Thompson,_F.supp.3d- 2019 wL I199103;
                     _F.supp.3d_, 2019 wL ll99l04; Bernard, _F.Supp.3d_,2019 wL llggl02.
Landry-Boudreaux,-F.supp
' Ictech-Bendeck v. Progressive lI/aste Solutions of LA, Inc., Case No. I 8-7889 c/w 1 8-8071, I 8-821 8, l}-g312
(E.D, La.), Ex. F.
8
  See Ex. F, Consol. Compl. !f 17.



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        "[t]he Defendants' failure to properly design, operate, manage, and maintain the
        J.P. Landfill, including its gas and leachate collection systems, have caused
        harmful, noxious and repulsive odors and chemicals to be released from the J.P.
        Landfill into the surrounding environment on and in to Petitioners' homes and
        immovable property, resulting in Petitioners' continuing exposure to these odors
        and chemicals."

Ex. A-1 at14.

       As they are forced to do yet again in the present action, Defendants responded to the

Addison complaint by filing an exception of lis pendens. Defendants argued that lis pendens

applied because the Addison action was commenced during the pendency of the earlier-filed

putative class actions; arose out of the same transaction or occurrence as the putative class

actions; involved the same defendants as the putative class actions; and, critically, involved the

same plaintiffs as the putative class actions because the Addisorz Plaintiffs were all included in

the putative classes as defined in each of the four putative class actions. Finding that the

requirements of lis pendens were fully satisfied, Judge Grefer stayed the Addison actionpending

class certification or remand of one of the putative class actions and noted that it was

"fundamentally fair" to allow Defendants to defend themselves in a single forum. Ex. A-2, Tr. at

1î
JJ


       On March 21, 2019, Plaintiffs filed an Application for Supervisory V/rit with the

Louisiana Fifth Circuit Court of Appeals. On April 5,2019, the Waste Connections Defendants

and the Parish filed a joint opposition and that matter remains pending before the Fifth Circuit.

       C.       Like Addíson, the Brunet Plaintiffs' lawsuit is a copycat of the existing
                nuisance class actions.

       On March 14, 2079, just six weeks after Judge Grefer stayed Addison, fhe Brunet

Plaintiffs coÍlmenced this duplicative action seeking damages for alleged odors emanating from

the Landfill. Just like the Addison Plaintiffs, fhe 92 Brunet Plaintiffs are residents of Jefferson

Parish, and therefore, as counsel for Addison conceded to Judge Grefer, they are necessarily

members of the proposed class. Ex. A-2,Tr. at 19. Plaintiffs assert their claims against the same

group of defendants that are named in the Consolidated Class Action Complaint--Jefferson

Parish, the Waste Connections Defendants, and Aptim Corporation--and have also named

unidentified insurance companies of the Waste Connections Defendants. Like the putative class

action plaintiffs, and in language identical to the now-stayed Addison action, the Brunet


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Plaintiffs allege that the Landfrll is emitting odors that have damaged Plaintiffs and their

properties:

         "[t]he Defendants' failure to properly design, operate, manage, and maintain the
         J.P. Landfill, including its gas and leachate collection systems, have caused
         harmful, noxious and repulsive odors and chemicals to be released from the J.P.
         Landfill into the surrounding environment on and in to Petitioners' homes and
         immovable property, resulting in Petitioners' continuing exposure to these odors
         and chemicals."

Brunet Petition at 15; see also Ex. F, Consol. Comp. fl 15(a) (alleging Defendants "[f]ail[ed] to

maintain and/or operate the Jefferson Parish Landfill in such a manner that noxious            would
                                                                                      'cdors

not emanate and create a nuisance for its surrounding neighbors of Jefferson Parish"), 15(d)

(alleging Defendants "[f]ail[ed] to maintain, attain, and/or implement measures at the Jefferson

Parish Landfill to minimize the existence of gaseous emissions and/or leachate"). There is no

material difference in the allegations of the Brunet Petition and the Consolidated Class Action

Complaint, compelling the application of lis pendens and staying the case, as Judge Grefer did in

Addison.

III.     ARGUMENT

         A.     The Brunel action should be stayed because Plaintiffs commenced the action
                after four prior actions alleged the same injuries against the same group of
                defendants.

         Pursuant to La. Code Civ. Proc. art. 532, Louisiana courts typically grant an exception of

lis pendens and stay an action when defendants demonstrate "(1) that a suit was brought in a

Louisiana state court during the pendency of a suit in a federal court or a court of a state other

than Louisiana; (2) that the two suits are based on the same transaction or occurrence; and (3)

that the two suits are between the same parties in the same capacities." Broolçs llell Servicing,

Inc.v.CuddPressureControl, Lnc.,36,723(La. App.2Cir.6127l03);850So.2d1027, 1031 (lis

pendens granted in case involving personal injury, property damage, and wrongful death claims

related to oil-well explosion); accord Aisola v. La. Citizens Prop. Ins. Corp., 14-1708 (La.

l0ll4ll5);180 So. 3d266,269 (lis pendens granted in case involving the alleged mishandling of

insurance claims following Hurricane Katrina); cf, Stone Man, Inc. v. Green, 265 Ga. 877, 463

S.E. 2d 1 (1995) (court applied parallel doctrine of res judicata to bar claim for damages arising

from same alleged nuisance as earlier case seeking to abate the nuisance). Courts grant stays in



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order to promote judicial economy, avoid inconsistent rulings, and prevent the undue harassment

of defendants. See Fincher v. Ins. Corp. of Am.,521 So. 2d 488, 489 (La. App.4th Cir. 1988).

Judge Grefer applied these principles and stayed the Addison case based on considerations of

judicial economy and fundamental fairness to Defendants to allow them to defend the actions in

one forum. Ex. A-2, Tr. at 33. The Brunet actionmeets and exceeds all of the criteriaof article

 532, and therefore should be stayed. e'

                   l.       Brunet was filed while four other suits were pending in federal court.

         The first element of the exception of lis pendens is amply satisfied because the instant

action was filed whilefour other suits were pending in federal court. See La. Code Civ. Proc. art.

532 (2018). Brunet was f,rled on March 14,2019. The putative class actions were filed inthe24ú

Judicial District Court on July 23, July 30, August 10, and August 27,20T8, and were all

subsequently removed to the Eastem District of Louisiana by October 5,2018. Thus, at the time

this action was filed, four nearly identical suits were-and still are-pending in the Eastern

District.

                  2.        All fÏve suits are based on the same transaction or occurrence because
                            they are based on the alleged emission of odors or noxious fumes from
                            the LandfTll.

         The exception of lis pendens requires also that the action arise from the same transaction

or ocsulrence as the earlier-filed suit(s). La. Code Civ. Proc. art.532 (2018). Louisiana courts

apply a broad meaning to the phrase "transaction or occuffence," ranging from "the subject

matter of the litigation" to "all logically related events entitling a person to institute legal action

against another." In re Succession of Bernat, 13-277 (La. App. 3 Cir. l0l9ll3); 123 So. 3d 1277,

1284 (the execution and interpretation of a will constituted a single transaction or occurence)

(citing Hy-Octane Invs., Ltd. v. G & B Oil Prods., Inc.,97-28 (La. App. 3 Cir. 10129197);702 So.

2d 1057 (action for wrongful termination of a contract and a suit for breach of contract arose

from the same transaction or occurrence)); Baitey v. Oakbourne Country Club, Inc., Civil No.

6:14-2546, 2015 WL 4622418 (W.D. La. July 30, 2015) (for purposes of res judicata,


e
 The criteria set forth in La. Code Civ. Proc. art. 531 and 532 closely mirror the criteria for res judícata, so courts
often characterize the "test" for an exception of lis pendens as whèther a final judgment in the earlier filed suit
would be res judicata in the later filed suit. Aisola, 180 So. 3d at 269; see also un¡tãd Gen. Title Ins. Co. v. Casqt
Title, Ltd.,01-600 (La. App. 5 Cir. l0/30/01), 800 So. 2d 1061, 1067 (reviewingres judicata c¿Nes to determine
                                                                                                                   how
La. Code Civ. Proc. art.532 is interpreted).



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defendant's prolonged course of allegedly discriminatory action constituted a single transaction

or occulrence). As summarized by the Restatement (Second) of Judgments "[w]hat factual

grouping constitutes a 'transaction,' and what groupings constitute a 'series,' are to be

determined pragmatically, giving weight to such considerations as whether the facts are related

in time, space, origin, or motivation, whether they form a convenient trial unit, and whether their

treatment as a unit conforms to the parties' expectations or business understanding or usage."

Restatement (Second) of Judgements, $ 24(2) (1982).

       An identity of legal claims is not required in order for lis pendens to apply; rather, the

focus is on whether the subsequent lawsuit involves the same facts as the earlier suit. As the

Third Circuit Court of Appeals explained in Bandaries v. Cassidy, "all causes of action arising

out of the transaction or occurrence that is the basis of the suit are subject to challenge for lis

pendens.. .." 1l-161 (La. App.3 Cir. 611111);66 So.3d564,567). The Official Commentto

Article 532 further explains that Article 532 was amended to conform to res .iudicata codified in

La. Stat. Ann. $ 13:4231, which provides that "fflor purposes of res judicata it would not matter

whether the cause of action asserted in the second action was the same as that asserted in the first

or different as long as it arose out of the transaction or occurrence that was the subject matter of

the tìrst action." Official Comment to La. Code Civ. Proc. ar1. 532 (2018); La. R. S. $ 13:4231,

cmt. (a) (2018); see also Citizens Sav. Bankv. G &C Dev., L.L.C.,2012-1034 (La. App. 1Cir.

2l15ll3), 113 So.3d 1085, 1089 (lis pendens precluded action for deficiency judgment due to

earlier tìled actions seeking declaratory relief and rescission of sale.)

        Here, Brunet and the pending consolidated class action indisputably arise from the same

transaction or occurrence. The "subject matter'o or the "event" of each suit is the alleged emission

of fumes or odors from the Landfill. See Bruner Petition at 2; Consol. Compl. !f 15. These

allegedly continuing emissions from the same alleged source are logically related to, and

constitute the basis of, the claims asserted in all of the pending lawsuits. Id. For the purposes of

res judicata, and therefore the exception of lis pendens, it is entirely immaterial that the causes of


action asserted and the reliefrequested in Brunet are not perfectly identical to those asserted and

requested in the federal class actions. La. R. S. $ 13:4231, cmt.(a). The Brunel claims readily

satisfu the second element of the lis pendens exception.



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                3.      Lis pendens applies because the Brunet and Consolidated Class Action
                        suits are between the same parties in the same capacities.

        The final element of the exception of lis pendens requires that the present suit and earlier-

filed suits involve the same parties in the same capacities. La. Code Civ. Proc. art. 532 (2018).

The parties do not have to be the "same" in the literal sense (i.e., the identical individual or

institution) so long as they are the same "in the legal sense of the word." Black, 14-524,165 So.

3d at 1016 (internal quotation marks omitted); see also Jensen Constr. Co. v. Dep't of Transp. &

Dev.,542 So. 2d 168,17I (La. App. lst Cir. 1989) ("The 'identity of parties' requirement is met

whenever 'the same parties, their successors, or others appear so long as they share the same

'quality' as parties."'). Here, all f,rve suits plainly involve the same parties in the same capacities.

                        a.      The Brunef Plaintiffs are also putative class members in the
                                pending consolidated class action.

        The "identity of the parties" requirement for the exception of lis pendens is satisfied

when plaintifß in the present action are putative class members of an earlier-filed pending class

action, unless and until class certification is denied. Aisola,14-1708, 180 So. 3d at270 ("identity

of parties" found and upholding exception of lis pendens where plaintifß were putative class

members of four earlier-filed class action suits); Elfer v. Murphy Oit U.S.A., Inc., 02-0020 (La.

3ll5l02);81I So. 2d 892 (same). As noted by Judge Grefer, the critical inquiry under Aisola is

not whether plaintiffs claim to be putative class members, but simply whether plaintiffs are

putative class members. Ex. A-2,Tr. at32.

       Applying the same reasoning underlying res judicata. Louisiana courts hold that putative

class members that file a subsequent action individually are the "same" for purposes of article

532 because a final judgment in a class action would have a preclusive effect on all subsequent

suits filed by class members. In Harris v. La. Citizens Prop. Ins. Co., the Fifth Circuit Court of

Appeal wrote that "fB]ecause any judgment on those class actions in which plaintiff is an alleged

putative class member would be conclusive and binding as to plaintiff under La. C.C.p. art. 597,

it necessarily follows that the requirements of lis pendens are satisfied." 14-120 (La. App. 5 Cir.

10129/14);164 So. 3d216,227 see alsoLa. Code of Civ. Proc. art.5g7 (201S) ("4 definitive

judgment on the merits rendered in a class action concludes all members of the class, whether

joined in the action or not, if the members who were joined as parties fairly insured adequate



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representation of all members of the class."); Duckworth v. La. Farm Bureau Mut. Ins. Co.,

2011-2835 (La. 11l2ll2); 125 So. 3d 1057, 1069-1070 ("[u]nder the articles governing

Louisiana's class action, all persons possessing claims arising out of transactions or occurrences

described in a class action petition . . . aÍe bound by any judgment in the action.").

            In his application of this law to facts indistinguishable from those presented here, Judge

Grefer ruled in Addison that plaintiffs were putative class members and thus represented the

"same parties" for purposes of lis pendens. Ex. A-2, Tr. at 32. Judge Grefer rejected the notion

that plaintiffs must affrrmatively allege class membership to be considered putative class

members. Ex. A-2, Tr. at 3l-32. He similarly noted that a future opportunity to opt out of a class

was irrelevant to the issue before him. Ex. A-2, Tr. at 32. Rather, the question before Judge

Grefer (and presently before this Court) was simply whether plaintifls fell within the proposed

class definition. Id. Upon comparing the proposed class definitions and plaintiffs' allegations,

Judge Grefer found "thete is no way that [the] Court can envision that those same plaintiffs

wouldn't be members of the class if a class is so certified" in any one of the four putative class

actions. Id. Indeed, the Addison plaintiffs conceded that they fall within the definition of the

proposed classes.lo

            The Brune¿ Plaintiffs are, likewise, putative members of the proposed class in the

consolidated class action: residents of Jefferson Parish who have allegedly been injtred as a

result of odors allegedly emanating from the Landfill. Specifically, the Consolidated Class

Action Complaint defines the proposed class as:

            All persons domiciled in and/or residing in the Parish of Jefferson, State of
            Louisiana who have sustained legally cognizable damages in the form of
            nuisance, trespass, interference with the enjoyment of their properties and/or
            diminution in the value of their properties as a result of the emission of noxious
            odors from the Jefferson Parish Landfîll into and/or onto their persons and/or
            properties (except for Defendants' employees and relevant court personnel).

Consol. Compl. fl 17.

            Just like fhe Addison plaintifß, the Brunel Plaintiffs fall squarely within the proposed

class definition. They are all residents of Jefferson Parish and allege injuries
                                                                                   - including physical
harm, diminution of property value, and loss of use and enjoyment of their property
                                                                                            - caused by

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     Transcript, p. 19, lines 8-21



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the alleged emission of odors and gases from the Landfill. See Brunel, Petition, pp. 2,7.

Moreover, class certification has not been decided, and therefore not been denied, in the

consolidated putative class action.

         The court's analysis is not changed by the fact that the putative class action plaintiffs

have promised to provide "[a] more precise definition of the proposed class, including its

geographic boundaries" at some later date as evidence is developed. Consol Compl. (]| 7. Not

only does this vague promise provide no indication that the more precise class definition will

exclude the Brunet Plaintifß but also courts must consider the exception of lis pendens 'oin the

procedural and factual climate that exists at the time of review." Broolcs l4/ell Servicing Inc. v.

Cudd Pressure Control, hnc.,36,723 at 6 (La.App. 2Cir.6127103);850 So.2d 1027,1031. It

would therefore be inappropriate for this court to base its decision on the procedural or factual

climate as it might be inthe future.

         Because the Brunet Plaintiffs are currently putative members of the proposed class in the

consolidated class action pending before the Eastem District of Louisiana, they constitute the

o'same
         parties in the same capacities" as the named plaintifß in that action. Aisola,l4-1708, lB0

So.3d at269.

                        b.      Defendants are the,,same parties" across all five suits.

         Defendants in this action are the same defendants named in the pending putative class

actions: Louisiana Regional Landfill Company (flk/a IESI LA Landfill Corporation), Waste

Connections Bayou, Inc. (flkla Progressive Waste Solutions of LA, Inc.), Waste Connections

US, Inc., Aptim Corporation, and Jefferson Parish. See Ex. F. Plaintiffs' inclusion of several

unidentified insurance companies in Brunet that are not named in the putative class action (ABC

Co.p., DEF Corp., GHI Cotp., JKL Corp. and MNO Co.p.) does not disturb the "identity of the

parties" requirement of lis pendens. 'When an insured entity and its insurance company appear in

the action in the "same quality or capacity," they share an identity of parties because .,their

identities are virn¡ally merged into one." United Gen. Title Ins.,0l-600, 800 So. 2d at 1067

(insurer and insured were the same o'person" for purposes of the suit). Here, the various unnamed

insurance companies would be appearing in the same capacity as, and therefore sharing an




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identity with, the named Defendants (all of whom are named in the pending consolidated class

action). The identity of the parties requirement for lis pendens is satisfied.

IV.     CONCLUSION

       All of the elements of lis pendens are satisfied here and it would be patently unfair for the

Defendants to have to litigate the Brunetclaims, particularly in light of the stay of Addison. The

same Defendants already have been sued for the same odors allegedly emanating from the

Landfill in the consolidated putative class action pending in federal court. Until certification has

been denied, the Brunet Plaintiffs should be precluded from litigating this case under Article 532.

Just weeks before Plaintifß filed this action, Judge füefer of Division J of this district stayed the

nearly identical Addison action pursuant to the doctrine of lis pendens. The Bruner filing

represents little more than an unscrupulous attempt to take yet another bite of the apple. This

Court should grant the Waste Connection Defendants' exception of lis pendens to prevent

inconsistent rulings on discovery and merit issues, the waste of judicial resources, and the

vexatious, duplicative litigation in multiple forums the doctrine of lis pendens is intended to

guard against.

                                              Respectfully submitted,

                                               BRADLEY MURCHISON KELLY & SHEA LLC
                                                                  \
                                                                                        \
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                               BEVERIDGE & DIAMOND, P.C.

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                               1350I Street, N.W., Suite 700
                               Washington, DC 20005
                               (202) 789-6000

                               Counsel for Defendant Waste Connections US, Inc.,
                               V/aste Connections Bayou,Inc. and Louisiana
                               Regional Landfill Company




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                                CERTIFICATE OF SERVICE

       I hereby certif,red that I served a copy of the above pleading on all known counsel of

record via emailthis 18th day of April,20lg.

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                                                                            ?



                                                              OF COUNSEL




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        24.TII JUTXCIAL   DTSTRICT COURT FOR THE PARISH ÛFJEFFERSON

                                   STATE CIF LOUISTANA

            NO.:-"-ir'' ar                                                     DIVISION: --'r
                             1r -..-i
 FREDERICK ADDISON; BÀRBÂRA ADDIIiION; PERRY ANDRAS; SHEILA BASKTN;
   WILLIE FÀY BROOKS; ERIC BROWN; RAMONÄ BYRD; EDWARD CLOUDET;
      MONICA COLEñIAN-LESTRICK, inrlivirlually anrl on hehalf of her minor child
 CHARLES LES'TRTCK III; DORIS CÛLLINS; LULA DARDE,N; DEMONTE T}ETEIGE;
 VTNCENT EATON; KIMBERLY ENGEL; ADELAINE FITZPÀTRICK¡ CARLA FORD;
    GERALD FORD; VERNA MAE GABR]EL; MERLE,NE GRANT; ETHEL GREEN;
   WENDY GREMILLTON, individually and on behalf of hcr minor children ADELYN S.
   GRErvltLLIoN anrl lìRAxToN C. cnæu¡t LION; scoTT GREMILLION; REGINA
      PIERRE GRIFFIN; GLENÐA BUILBEAU; ALBERTINE HARGRAVE; JO\ryE
   H.ERNÄNDEZ, inilividuelly and on beh¡lf of his minorchildren, N{tLESi HERNANDE¿
    ANT LUCIANNA HERNÁND EZ;LTLHERNANDEZ; KIMBERLY HIMEL; CORY
       HIMEL; ADA JÀCKSON; BRIT}GETT JOHNSTN; MÄRGARITE JOHNSON;
    MELODIE JONES; RTTA. JONES; JESSE KOEHL; ELIZABETH LALÀ; LLICINÐA
  LIGHTDLL; ELIZ.{BETH LOWE; JOHN LOIVE; GARY MEYER; RHONDA MEYER;
     ALEX,{NDER MITCHELL; REGINA MITCÍ{ELL; JOSDPH PETE' 'TR; TERRY
      pEETE, indiyidually antl on behalf of her minor chililren JOSEPH PETE, III AND
    .duGUST PEETE; ¡.r.lpnrn PICKNEY; IVARREì\ PICKNEY; PEA.RLPINKLEY;
  cARoLyN poLK; brn¡lo PoLK; GLENIIA PRIMUS; JULIANE R-Ä'YBURN; KIAN
   RILEy; ICAREN ROSS, initividually and on behalf of hcr rninor chiklren JARED ROSS'
     TYRENE ROSS ANCI JERMAINËROSS: TONY ROSS; ALETHA SCOTT; DAVID
      SCOTT; CAR1 SERPAS, Índividually and on behalf of her minor children GRACB
   sERPAS AND CHÀSE SERP.A.S; STEVEN SERPAS; JOHN TFIOÙIPSON; CHANÐRA
    TIGLER, individually and on behalf of hcr minor chitd OBRATNA TIGLER; OSCAR
    TIGLER; GLORLA rOUOn¿xo; RoY TOLODANO; I\{ELVIN URSIN; SANTAN'Ä'
        UTHA¡S"A.NG; KIRK WELLS, individually and on behalf qf his minor children
                                                                                    end
   ÀDDYSON WSLLS and JO.SEPH WELLS; REBECCA \\',ELLS; KEVIN WOOD;
                                       MARY WOOD.
                                             VERSUS

   LOUISIÄNA I{EGIONAL LANDFILL COMPANY (LRLC), f/l¿/a IESI LA LANÐFILL
     CÛRPORATION;wAsTECoNNEcTIoNsl}AYoU,INC.,fndâlPRoGRESslvE
   v/AsTE SOLUTIONS OF LA,INC; WASTE CONNECTTONS US, INC; AI',TtM CORP;
     PARISH OF JEFFERSON; ÀBC CORP; DEF CORP; GHI CORP¡ JKL CORP;
                                                                   and
                               MNO CORP.


  FILED:
                                                             DEPUTY CLERK


                                                                                                                 IF

         NOW INTO COURT. come Petitioners. w'ho allege and aver ttre fbllot'ing in
                                                                                                           support o1'


  their Petition lbr Damages and Request for Injunctive Relief:




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                                           INTRODUCTION
                                                                                                   each of
          Thís action arises from the continuing, significantand unab¿ted harm suffered by

                                                                                                Defendants
   the named petitioners as a result of the ongoing - and admitted - fai I u¡e of each of the

   to ensure that the design, operation and maintenance of the Jefferson Pa¡ish Landfill (the "J'P'

   Laadfill") complies with applicable environrnental laws and adequately protects Petitioners'
                                                                                                   emitted
   human health and environment. At all ¡elevant times, the J.P. Landfrll andhas persistently

   har¡nful and toxic odors and chemieals into the surrounding areas, including where each
                                                                                                     of the

   Petitioners resides.

           These unlawful, harmful a¡d toxic ¡eleases have caused Petitioners substantial loss of the

   use and enjoyment of their homes and immovable property, and have caused
                                                                                          physical harms


   including, among other ttrings: difficr¡lties breatling, coughing, nause4 burning €yes' ears, noses

   and throats, dizziness loss of appetite and letharry, as welt as fear, anguish, discomfort and

   inconvenience. These emissions also have caused diminution in the value of Petitioners' ho¡nes.

           Accordingly, Petitioners seek red¡ess ûom the Defendants for the direct and consequential

   injury and damage they have suffered and will continue to suffer as a direct result of the releases

   of noxious odors and chemicals from the J.P. Landfill.

                                              PETTTTONERS


                                                   IIL

           Named Petitioners herein are:

                                                                                           at 4i Morning
           FREDERICK ADIIISON an individual of full age of majority residing
                                                                          property.
    Glory Lane, Waggaman, LA 70094 and owner of said immovable

           BARBARÂ ADDISON, an individual of full age ofmajority residing at
                                                                                        4l Morning Glory

                                                                    property'
    Lane, WaggarnarL LA 70094,and owner of said ímmovable

                                                                                      at 37 Morning Glory
            PERRY ANDRAS, an individual of full age of majorìtv residing
                                                                    properry.
    Lane, ril'aggaman, LA 70094,and owner of said immovable

            sllElf,A.BAsKlN,anindividualoffullageofmajorityresidingat64SsweetoliveLane'

    Waggaman, LA 70094, and owner of said immovable
                                                             property'




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          WILLIEFAYEBRooKS,anindivídualoffullageofmajorityresidingat20Winifred

   St.,'Waggamar¡.   LA, 70094, and owner of said immovable property'
                                                                                    individual of full age
          ERIC BROWi{, an indívidual of full age of majority residing at an

   of majority residing at 275 Capitol Drive Avondale, LA 70094 and owner of
                                                                                         said immovabie


   propeúy,

                                                                                                    Place,
          RAMONA ByRD, a¡r individual of ñ¡ll age of majority residing at 322 Hanson

   Kenner, LLn062,and owner of said property.

          DORIS COLIINS, an individual of full age of majority residing at 352 Deacon
                                                                                                       st'

   Avondale, t^4. . 70094, and owner of said ìmmovable property'

           EDWARD CLOIIDET, an individual of ftdl age of m{ority residing at 601 S' Bengal,

   River Ridge, LA 7 0123, and owner of said immovable properly'
                                                                                                      at 2
           MOMCA COLEMAN-LESTRICK, an individual of full age of majority residing
                                                                                         in her indìvidual
   Jasmine Lane, Waggaman, LA 70094, and owner of said immovable PrcPeftY,

   capacity and as parent of her minor child, CIIÂRLES LESTRICK III.

                                                                                              Äve', River
           LULA DARDEN, an individual offult age of majority residing 41408 Upland

   Ridge, LA ?0123 and owner of said immovableproperly'

           DEMONEDETEIGE,anindividualoffullageofmajorityresidingatS2SRuthDr.,

   Avondale, LÀ ?0094 and owner of said inamovable proler1y'
                                                                                      at 5l3 Hester Ave"
           VINCENT EATON, an individual of futl age of majority residing

    River Ridge ,LA7Al?S,and owner of said i¡nmovable property'

           KIMBERLYENGEL,anindividualoffuilageofmajorityresidingat60lHesterAve.,
                                                            property'
    River Ridge l-A. 70123, and owner of said îmmovabie
                                                                                     residing a1324
              ADELAINE rTrzpATRICK, an individual of full age of majorily
                                                                        property'
    counsel Dr., Avondal e,LA.70A94 and owner of said immovable
                                                                                49 Judith St., rwaggaman'
              CARLA F(),RD, an individual of fulI age of majority residing at

    LA7O0}4, and owner of said immovable propefly'
                                                                             residing at 49 Judittr st"
              GERÄLD FORD, an individual of full age of majority
                                                            property'
    Waggaman, LA 70094, and o''¡'ner of mid irnmovable



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         VERNA MAE GABRIEL, an individual of full age of majority residing at 512

   Avondale Garden Rd., Avondale LA 70094, and owner of said immovable properly.

         MERLENE GRANT, an individual of full age of majority residing at 1811 Moisant St-,

   Kenner, LL'70062,and owner of said immovable properËy-

          ETHEL GREEN, an individual of fi¡ll age of majority residing at 341 Providence Lane,

   Kenner LA70062, and owner of said immovablç property.

          WENDy GREMIL1,1ON, an individual of full age of majority residing at 9701 Robin

   Lane, River Ridge, A70123,and owner of said immovable properly, in her individual capacþ

   and as parenr of her minor .children, ADELyN s. GREMILLION and BRAXTON C.

   GREMILLION.

          SCOTT GREMILLION, an individual of full age of majorþ residing at 9701 Robin

   Lane, River Ridge, L|1o723,and owner of said immovable property.

          REGINIÀ PIERRE GRIFFIN, an individual of full age of majority residing at 612

   Filnrore st,, Kenner, La70062and owner of said immovable property.
                                                                                         WilkerNeal
          GLENDA GUILBEAU, an individual of full age of majorityresiding at 600

   Ave., River Ridge, LATAl23,and oumer of said immovable property'

          ALBERTINEHARGRAVE,anindividualoffullageofmajoripresidingalS72lMi]an

   st., Metairie, LA 70003, and owner of said immovable property.
                                                                       residing at 721 Randolph A've',
          JOSE HERNANDEZ, an individual of full age ofmajority

   Harahan, LA 70123,and owner of said irnmovable
                                                        property, in his indivíduai capacity arrd as

                                                                             HERNANDEZ'
    parent of his minor children, MILES HERNAI{DEZaTðLUCIANNA

           LIZHERIIANDEZ,anindívidualoffull'ageofmajorityresidingatT2lRandolphAve',
                                                      property'
    Harahan, LL70123,and owner of said irnmovabie
                                                                       residing a1642 Grove Avenue'
           KÍMBERLY IIIMEL, an individual of full age ofmajority
                                                      proþerty'
    Ha¡ahan, L^ 7 Al?3,and owner of said immovable
                                                                          4r642Grove Ave', Harahan'
           coRy HIMEL, an individuai of full age ofmajority residing
    LA70l23,and owncr of said immovable property'
                                                      of majority residing a1 513 S' Bengal Rd"
           .4.D4 JÀCKSON, an individual of tull age

                                                          properlry'
    River Ridge, LA ?0123, and owner of said immovable
                                                  4




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          BRIDGETTE JOIINSON, an individual of full age of majority residing aL 325

    Georgetown Dr., Westwago, LA 70094, and owne¡ of said immovable property.

          MARG¿RITE JOHNSON, an individual of fuIl age of majority residing at ll2 Marie

    Dr., Avondale, LA ?0094, and owner of said immovable property.

           MELODIE JONES, an individual of fril age ofmajority residing at413 Bengal Rd., River

    Ridgq LA70723, and owner of said immovable property.

           RITA JONES, an indit'idual of full age of majority residing at 248 Glen Della Dr.,

    Avondale, LA 7009{ and owner of said immovable property'

           ELIZÄBETH LALÀ an individual of full age of majority residing at 8701 Steamboat

    Lane, River Ridge, LA70123, and owner of said immovable property.

           BRUCE [IGHTELL, an individual of full age of majority residing at 5l Winifred St.,

    lMaggamar¡ LA 70094, and owner of said immovable properly.

           LUCINDA LIGIITELL, an individual of full age ofmajority residing at 5l Winifred St.,
    'Waggaman,
                 LA70094, arid owner of said immovable property.

           ELIZABETH LOWE, an individual of full age of majority residing at604 Hester Ave.,

    River Ridge,LA70l23, and owner of said immovablepropeffy.

           JOIIN LOWE, an individual of full age of majority residing at l0l20 St. Paul Ave., River

    Ridge, L^7A123, and owner of said immovable property.

           GARY MEYER, an individual of futl age of majority, residing at612 Hester Ave., River

    Ridge, LA7ALz3,and ov¿ner of said immovable property-

           RHONDA MEYER an individual of full age of majority residing at 612 Hester 4v0.,

    River Ridge,LA70123, and owner of said immovable properly,

           ÄLEXÀI{DER i\,IITCHELL, an individual of fi¡ll age of majority residing at204 Hanson

    Ave., Kenneç LA70062, and owner of saíd immovable property'

           REGINA MITCHELL, an individuat of full age ofmajority residing aúA4 Hanson

    Ave. Kenner, LA1AA62.

           JOSEpH pETE, J¡¿, an individuat of full age of majoriÇ residing at' 149 Southem Ct,

    r\vondale, L|70094,and owne¡ of said immovable property'



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           TERRY PETE, an individual of full age of majority residing at 149 Southern Ct.,

    Avondalq LA70A94 and owner of said immovable property, in her individual capacþ and as

    parent ofherminor childrenJOSEPH PETE,III and .ÀUGUST PETE.

          AF{DREA PICIWEY, an individual of fr¡ll age of majority residing at657 Ríchæd Ave.,

    River Ridge, LA?A723, and owner of said immovable property.

          \ilARREN PICKNEY, an individual of full age of majority residing at657 Richard Ave.,

    River Ridge,LA 70123, and owner of said immovable propsrty.

           PEARL PINKLEY' an individual of fr:ll age ofmajority residing at 5 I 1 Wilker Neal Ave.,

    River Ridge,LA701235, and owner of said immovable property.

           CAROLYN POLK, an individual of full age of majority residing at 305 S. Bengal Rd.,

    River Ridgg LA70l23,and owner of said immovable properry.

          GERÄLD POLKr an individual of full age of majority residing at 305 S, Bengal Rd.,

    River Ridge,LA70l23, and swner of said ímmovable properry.

          GLENÐA PRIMUS, anindividual of full age of majority residing at 8521 Milan St,

   Metairie, LA 70003, and ownff of said immovable property-

          JULIANE R{YBIIRIV, an individual of ftll age ofrnajorify residing at 513 Hester Ave.,

   River Ridge, LA 70t23, and owner of said immovable proper{y.

          KIAN RILEY, an individual of fr¡ll age of majority residing at 6 Jasmine Lanq
   Waggaman, LA70094, and ownerof saidimmovable property.

          KAREN ROSS, an individual of full age of majority residing at 52 Winif¡ed St.,

   Waggaman, L470094, and owner of said immovable property, in her individual capacity and on

   behalf ofher minor children, JARED ROSS, JERMAME ROSS and TYRESE ROSS.

          TONY ROSS., an individual offull age ofmajority residing at 52 'Winifred St., Waggaman,

   LA 70094, and owner of said immovable property.

          ALETTIÁ SCOTT, an individual of fuIl age of majority residing at629 South Cumberland

   St., River Ridge, LA 70123,and ownel of said immovable property.

          DAVID SCOTT, an individual of full age of majority, residíng at629 South Cumberland

   St., River Ridge, LA70123, and owner of said immovable property.




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           CARI SERPAS, an individual of fulI age of majority residing at 609 Ëlester Ave., River

    Ridge, LA70123, and owner of said immovable property, in her indiviCual capacity and as parenf

    of her minor chiidren, GRÄCE SERPAS and CHASE SERP.A.S.

           STEVEN SERIAS, an individual of full age ofmajority residing at 609 Hester Ave., River

    Ridge, L^70723, and owner of said immovable property.

           JOIIN THOMPSON, an individuat of full age of majority residing at 412 Wilker Neal

    Ave., River Ridge, LA70l23 and owner of said immovable propefiy.

           CIIÁ,NDRA TIGLE& an individual of full age of majority residing at 29 Richelle SL,

    Waggaman, LA7A094, and owne¡ of said immovable property, in her individual capacity and as

    parent ofher minor child, OBRÀIN.4. TIGLER.

           OSCAR TIGLER, an individual of full age of majority residing at 29 Richelle St,

    Waggaman, LA70A94, and owne¡ of said immovable property.

           GLORIA TOLODANO, an individual of fr¡ll age of majoriry residing at225 Helis Dr.,

    Vy'aggaman, LA 70094 and ou¡ner of said immovable propefty.

           ROY TOLODANO, an individual of full age of majority residing               225 Helis Dr.,
                                                                                 ^t
    lVaggaman, LA70A94 and owner of said irnmovable propeÍy.

          MELVIN URSIN, an individual of full age of majority residing at 500 Cumberland Str,,

   River Ridge,LA70lZ3, and owner of said immovable property.

          SANTANA UTH.{ISÄNG, an individual of fifl age of majority residing at2033 Generes

   Dr., Harahan, LA 7 0123 and owner of said immovable property.

          KIRK WELLS, an individual of fi-rll age of majority residing at 153 Rebel Ave., River

   Ridge, LA 70123, and owner of said immovable properf, in his individual capaoity and as parent

   of his minor children, Á.DDYSON WELLS and JOSEPH \ilELLS.

          REBECCA WELLS, an individual of full age of majorþ rasiding at 153 Rebel Ave.,

   River Ridga LA70123. and owner of said immovable property.

          KEVIN WOOD, an individual of full age of majority, residing            Colonial Club Dr.,
                                                                         ^t824
   Harahan, L^70123, and owner of said immovable property.

          MÀRY \#OOD, an individuat of full age of majority, residing at824 Colonial Club Dr.,

   Harahan, LA7A|23, and owner of said immovable property,

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                                                 II.


         Made Defendants herein are:

         a. LOUISIANÁ REGIONAL LANDFILL COMPAÌ{y (LRLC), f/k/a IESI LÀ
            LANDFILL CORPORATION ("IESI"),                       foreign corporation dorniciled in
                                                           "
            Delaware authorized to do and doing business in this Parish and State, On information

            and belief, LRLC is a wholly-owned subsidiary of Defendant Waste Connections

            Bayou, Inc., Inc., which in tum was acquired by Defendant Waste Connections US,

            Inc. On information and belief, Defendant LRLC is contolled by Defendants Waste

            Connections Bayoq Inc., and/or'lVaste Connections, US, Inc., and is the "alter ego" of

            those Defendants, operafing without autonomy and only pursuant to the direction,

            policies and procedures ofits parent corporations;

        b. WASTE CONNECTIONS BAYOU, INC., fikla/ PROGRESSM WASTE
            SOLUTIONS OF LA,INC., a foreign corporation authorized to do and doing business

            inthis Parish and State;

        c. WASTE CONNECTIONS US, INC., a foreign corporation authorized to do and
           doing business in this Pa¡ish and State; and

        d. APTIM CORP., a foreign corporation domiciled in Delaware authorized to do and
           doing business in this Parish and State;

        e. PARISH OF JEFFERSON, a Louisiana parish in and political subdivision of the State
           of Louisiana (the "Parish";

        f. ABC CORPOR.{TION, a foreign or domestic insurance company whose identity is
           unknown to the Petitioners, who upon information and belief wrote a policy of

           insurance coverage for Defendant LOUISIANA 'REGIONAL LANDFILL

           COMPANIY (LRLC), F/IÜA IESI LA LÄNDFILL CORPORÁ,TION ('TIESI''),

           that may provide coveftige for acts, occuüences, and/or omissions more specifically

           described herein;

        g, DEF CORPORÄTION a foreign or domestic inzuraace iompany whose identity is
           unknown to ttre PEtitioners, who upon information and belief \drote a policy of



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               insurance coverage for Defendant 1VASTE CO¡INECTIONS BÀVOU, INC.' f/k/a/

               PROGRESSM WASTE SOLUTIONS OF LA,INC. tÌ¡at may provide coverage

                tbr acts, occurrences, and/or omissions more specifically described herein;

           h. GHI CORPOR.ÀTION a foreign or domestic insurar¡ce company whose identity is
               unknown to the Petitioners, who upon information ând belief wrote a policy of

               insurance coverage fo¡ Defendant, WASTE CONNECTIONS BÁYOU, INC., f/k/a/

               PROGRESSIVE \il^ÀSTE SOLUTIONS OF LAT INC." that may provide coverage

               tbr acts, occurrences, and/or omissions more specifically described herein;

           i. JKL CORPOR A.TION; a foreign or domestíc insurance company whose identity is
               unknown to the Petitioners, who upou information and belief wrote a policy of

               insurance covemge for DefendanLAPTIM CORP, thatmay provide coverage for acts

               occurences, and/or omissions more specifically described herein;

           j. MNO CORPORATION a foreign or domestic insurance company whose identity is
               unknown to the Petilioners, who upon information and belief wrote a policy of

               insu¡ance coverage for Defendant PARISH OF JEFFERSON, that may provide

               coverage for acß, occurrences, and/or omissions more speciñcally described herein.

                                                    m.

                                     .nJ&¡SÐrpT¡tFr sNÐ 1r'ENUE

           Venue is proper in accordance with La. R.S. l3:51O4(B), which states, in part, that "lalll

   suits filed against a political subdivision of the state ... shall be instituted before the district court

   of the judicial district in which the political subdivision is located or in the district couft hâving

   jurisdiction in the parish in whích the cause of action arises." Venue is further proper as to all other

   defendants as the wrongful conduct giving rise to the Petitioner's claims occurred within the

   jurisdictional limits of Jefferson Parish, State of l¡uisiana.

                                                   Iv.

                                                   F',ACTS

           Tbe Parish is the owner of the Jefferson Parish Landfill (the "J.P. Landfill'), located at

   5800 Highway 90 West in Avondale, Jefferson Pa¡ish, State of Louisiana.

                                                    V.

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           At all relevant times, the J.P. Landfrll hæ been used as a Type I/lI landfill permitted to

    accept municipal a¡d commercial solid waster non-hazaÍdous industrial waste, trash, construction

    debris, vegeûative waste, dewatered municipal wastewater sludge, and compatible non-hazardous

    industrial waste pursuant to the Louisiana Envi¡onmental Quality Act, La. R.S- 30:2007, et seq.

    (1he "Act") as well as federal laws and regulations implemented by tle United States

    Environmental Prrjteotion Agency ("USEPA").

                                                  VI.

           The J.P. Landfill is authorizedto operate putsuantto and only in accordance withthe terms

   and conditions of, among other things, Standard Pennit P-0297R1(the "standard Permit'') as

   issued" approved, and subject to periodic ¡eview and renewal by the Louisiana Department of

   Environmental Quality ("LDEQ") purswrnr to the Act. The Standard Pe¡¡nit v¡as most recently

   renewedby theLDEQ on or aboutJanuary 22,21rc.

                                                 vil.
          On or about May 77 ,2012,the Parish entered into a contract with the Defendant IESI (since

   rena¡ned the LouisianaRegional Landfill Company) underwhich IESI agreed, among other things,

   to "manage all tasks ofthe operatign, management and maintenance" of the J.P. LandfiU (the "IESI

   Operating Contract"), The IESI Operating Contact provides that:

          a. Operation of the J.P. Landfill will be conducted "in strict compliance and conformity
              with all Federal, State and local laws, ordinances, and regulations, including the rules

              and regulations of tt¡e USEFA, LDEQ, and all State of Louisiana agençies, and in

              accordance with the Permit Docurnents."

          b. 'llESI shall be responsible for compliatrce \¡¡ith all Federal, State and local regulations,
              laws and ordinances in its performance of the ServiceÂMork associated with the

              operation [and maintenance] of the Landfìll."'

          c. IESI is required to "provide all labor, equípmen! materials and incidentals to assume
              all daily operations of the Landfill."

          d, The Pa¡ish Engineer has the authority to "decide æry and all questions as to..,the
              tnanner of performance and rate of progtess of the Services/Work...the interprelation

             of the Contract Documents, and all questions as to the acceptable Completion" of the

                                                       10




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                 Contract "in his reasonable and good faith opinion-" Tbe Parish Engineer is fu¡ther

                 authorized to "suspend operations at any time when the Servicef[Vork, in his good fait]r

                and reasonable opinior¡ is not being carried out in conformity with the Conbact

                Documents and all permits."

                                                  UIIL

            Defendant APTIM is and at all relevant times has been a co-operator of the gas and leachate

    collection system of the J.P. Landfill.

                                                  x.
            Jefferson Parish, in addition to being an ou'n€r of the J.P. Landfill, is and at all relevant

    times has been a co-manager and co-operator of the J.P. t"andfill lyith IESVLRLp and ApTIM.

                                                   X.

            The Parish has admitted that improper operation of the J.P. Landfill is a major source of

   the odors suffered by Petitioners as weli as thE adverse consequences thereof- At a. public press

    conference on July 23,20l8,Parish President Mike yenni stated that

            a- The J-P. Landfill's system designed to 'ocontain and deodorize ta¡dñll gases" has not
                been in 'þroper working order."

            b. The landfill's leachate collection system has not been operated properly.
            c. "Properly operated landfrlls do not operate persistent oÊsite odors and conective
               actions...are essential."

            d. The Parish has notified IESI that it is in breach of its conüact to properly operate the
               J.P. Landtill.

                                                  xI.
            At the same press conference, Parish Deputy Sheriff Mark Conley stated that the J.P.

   Landfill gas collection system has been collecting only twenty percent of the gas emitted from

   landfill operations, whereas a properly operating system would collect ninety-seveD to ninefy-eight

   percentof gas emissions, "[s]o that is why ttre Parishpresident is stressing that we rcalizpwe have

   problerns...right now a lot of our priority, in the name of public safety and ou¡ police powers, is

   to address the existing system, get it opeÉtional, and to pull as much gas out of that landfill as we

   can.tt

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                                                     XIL

           At the same press conference, Parish Councilman Paul Johnson stated that the odor liom

   the J.P. Landñll

           "has gotten really bad in the piistfor our five months...we are all going to experience odors

           from the landfill because it's a landfill. But, not those we have been having for the past

           three or five months. It's been really bad. I have been woken up at night with my nose

           burning and couldn't breathe at three or four o'clock in the morning. This has happened

           to me more tlpn one time...we know the landfill is causing problems and we know it is a

           big source of problems...."

                                                    xu.
           At the same press conf€tence, Doctor Joseph Cantor, Medical Di¡ector a¡d Administ¡ator

   for Region 1 of the Louisiana Departnent of Healtb, wamed that when fhe odors are at "a high

   ievel, residents should, if they a¡e able to, leave the area and particularly if they have certain

   chronic conditions which put them at increased risk mainly pulmonary disease and asthma

   coPD.'l

                                                    XIv.

           On or about June 22,2078, the LÐEQ issued a Compliance Order to the Parish which,

   among other things, found that the Parish has violated its Lanctfilt Perrnit and applicable

   enviroumental regulations by (i) failing to provide daily cover and (ii) failïng to properly operate

   the system that is intended to collect leachate - the liquid brew that d¡ains from a landfill ar¡d

   carries with it numerous hamrful chemieals.

                                                     XV,

    -      The LDEQ inspectors found areas of pooled leachate and leachate flowing downhill from

   the pooled leachate.

                                                    XVL




   I A video recording of tlr e July 23 press conference can be accessed at
   lrrtps//www.faceboo¡<.comf¡¡bUAnews/videoVl0l55793l 164370601 (last visited Aug' 4, 2018)'




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            The United States Environmental P¡otection Agency ("EPA'') has established general

    screening levels for various pollutants, These screening levels are ehemical-speciñc concentrations

    for individual contarninants in air that may warant further investigation or site cleanup.
    https://www.epa.gov/risk/regional-screening-levels-rsls-users-guide     (last visited, Nov. 21, 201S).

    A chronic screening level addresses potential chronic exposure to a chemical.

                                               XVII.

            Air samples coilected by the LDEQ in the Jefferson Pa¡ish communities of River Ridge,

    Ha:ahan, and Waggaman between July 20, 2018 through approximatel;r July 28, 20l g were found

    to contain numerous chemical compounds at concentrations that
                                                                       exceeC EpA's chronic screening

    levels, inciuding acrolein, 1.2-dichloroethane, benzene, ca¡bon tetrac,hloride,
                                                                                      and naphthalene. AIi

   of these compounds are multimodal toxicants, in that they are potential or actual human
   carcinogens and also have other toúo effects.


                                               XWL

           The air samples collected by LDEQ also contained hydrogen sulfide at concenftations
                                                                                                        that
   exceed EPA's chronic screening levels. Hydrogen sulfide is a potentially
                                                                                 toxic compound. All of

   these compounds a¡e typically found in the gases generated by landfills like
                                                                                   the J.p. Landfill.

                                             XVilT.

          In a report dated August 15, 2018, prepared for the Pa¡isb by fts environmental consultant,

   Carson Environmental Consulting ("CEC"), CEC made several furdings, including,
                                                                                            among other

  things, that there are numerous deficiencies in "the landñll gas condensate and
                                                                                      leachate collection

  pumpi:tg systems[,]" and that the infrastructure for these systems requires
                                                                                immediate improvement

  'oto meet the Pa¡ish's perforrnance objectives." In addition, CEC concluded that improved

  operation a¡d rnaintenance of the J.P. Landfill requires the Parish's "tbcused attention."


                                              XTX.

         On information and beliefl on or about Deeember 5, 2018 the Commissioner of the LDEe

  informed the Pa¡ish that there is "no doubf in his mind that the JP L^acdfill is the primary source

  the odors experienced by residents of the communities in which Petitio:ers reside.


                                               XX.



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           On infor¡nation and belief, Defendant ABC Corporation has issued a policy of insurance

   to Defendant Louisiana Regional Landfill Company that covers the acts and omissions alleged

   herein. Petitioners will amend this Petition to identify ABC Corporation once is identity is known.

                                              xxi.
          On information a¡ld beliel Defendant DEF Corporation has issued a policy of insurance to

   Defendant Waste Connections Bayou, inc. that coJrers the acts and omissions alleged herein.

   Petitioners will amend this Petition to identify DEF Corporation once its identity is known.

                                             xxII.
          On information a¡d betiefl, Defendant GHI Corporationhas issued a policy of insu¡ance to

   Defenûant Waste Connections US, Inc. that covers the acts and omissions alleged herein.

   Petitioners will amend this Petition to identifi GHI Corporation once its identity is known.

                                            >cilII.

          On information and beliet Defenda¡rt JKL Corporation has issued a policy of insurance

   to Defendant Aptim Corporation that covers the acts and omissions alleged he¡ein. Petitioners

   will amend this Petition to identifr JKL corporation once is idenrþ is known,

                                            )CflV.

          On information and belief, Defendant MNO Corporation has issued a poiicy of insurance

  to Defendant Parish of Jefferson that covers the acts and omissions alleged herein. Petitioners will

  amend this Petition to identify JKL Corporation once its identity is known.

                               PROXTM"A,TE CAUSE ANTJ gÁÐ ACTS

                                            )cxv.

         The Defendants' failure to properly design, operate, managq and maintainthe J.P. Landfill,

  including its gas and leachate collection systems, have caused bacnful, noxious and repulsive

  odors and chemicals to be released from the J,P. Landfill into the surrounding environment on and

  in to Petitioners' homes and immovable property, resulting in Petitioners' continuing exposure to

  these odors and chemicals.

                                           )Ðffi.
         These odors and chemicals have also caused these Petitioners to suffer physical, mental,

  and other harm including, butnot limited to difficulties breathing, coughing, nausea, burning eyes,

                                                    14




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    ea¡s, noses and tbroats, dizziness, loss of appetite and lethargy, as well as fear, mguish, anxiety

    and mental pain and suffering.

                                              XXVII.

            Defendants' actions and omissions with respect to the design, o¡æration and maintenance

    of the J.P. I¿ndfill a¡e the directand proximate cause of the injuries and harm suffered by each of

    the Petitioners as alleged above.

                                             )OffIII.
            Defendants' actions and omissions as outlined above also have caused a diminution in the

    value of Petitioners' immovable propqrty.

                                              )Õilx.
           These odors have been pewasive and persistent. They have continued to the present and

    are likeþ to continue fo-r the foreseeabie fi¡ture. The emissions constitute a continuing tort.


                                               XXX.

           Defendants' acts and omissions in owning, designing operating anüor maintaíning the J.P.

   Landfill as described above constitute an unreasonable interference with each of the Petitioners'

   comfort¿ble use and enjoymentof theirhomes.

                                              )cüI.
           Defendants are liable to the Petitione¡s for all damages they have suflered including bodily

   harm, diminution of properly value and fear, anguish, and mental pain and suffering, on account

   of nuísance.

                                             )ooflI.

           These physical invasions of noxious odors a¡d chemicals constitute a hespass causing

   Petitioners to sufler physical harm, diminution in property value and rental value, inconvenience,

   loss of enjoyment of property, as well as fear, anguish and mental pain and suffering.

                                            )fiXITi.

          The emissions of these harmñ¡l odors a¡d chemicals have been pervasive and persistent

   and constitute a continuing torl

                                           )ooüv.


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              The Defendants' illegal actions and ornissions in owuing and operating the J.P. Landtill

    continue to this day and, unless enjoined by this Court, will continue for the indefinite future,

    Accordingly, Petitioners a¡e entilled to a penrranent injunction ordering the Defendants to abate

    the continuing nuisance a¡d cease thetespasses caused and created by the.I.P. Landfrll, including

    the emission ofnoxious odo¡s and chemicals, and to take all necessary reasonable actions required

    to accomplish same.

                                                rXXV.
              Each of the Defendants had a duty to PetitioDers to exeroise reasonable care in the design,

    ownership and/or opetation of the Landfills, including without limitation the duty to comply with

    applicable environmEnt¿I laws and regulations and otherwise to eÌ¡sure that the Land{ills were

    operated in a manner that does not jeopañtzn their health, immovable propeúy, environment, and

    quality of life.

                                              )ooryL
             Each of the Ðefendants breached sueh duties of care to the Petitioners by, among other

   things;

             a. Failing to properþ design, operate and maintain the J.P. Landfill, tl¡us allowing noxious
                 and harmfrl odors and chemicals to be reteased from the J.P. Landfill and introduced

                 in the atnosphere and surrounding neighborhoods;

             b' Failing to take careful and prudentprecautionary measures to ensu¡e tÌ¡at these releases
                 would not occur;

             c. Failing to design, operate and maintain the J.P. LandfiIl in a manner that does not cause
                 harm to others and, in particular, ìts neighbors;

             d. Failing to comply with applicable regulations governing the design, operation and
                 maintenance of the J.P. Landfill;

             e. Being inattentive and ca¡eless in the overall design, operation and maintenance of the
                J.P. Landfill;

             f. Failing to remediate and repair the failures in design, operation and maintenance of the
                J-P. Landfill as they became known to the Defendants;




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           g. Any and all other acts of negligence which may be revealed between now and the time
               of tial.

                                           XXXV.

           The Defendants' failure 1o comply with their duties of ca¡e to the Petitione¡s were and are

    a cause in fact and a legal cause ofPetitioners' injuries, and each ofthe Petitioners has suffered

    damages as a result thereoi including physical harm, diminution in propefiy value and fear,

    anguish and mental pain and zutfering as well as loss of use and enjoyment of their jmmovable

    propeffy and diminution in the value of said p¡operty.

                                            xxxvu.
           The Parish's ownership and operation of theJ.P. Landfrll has caused substantial damage to

   the value of Petitioners' respective interests in their immovable property.

                                           XXVM.

           The Parish k::ew, or in the exercise of reasonable care, should have known, that its failure

   to properly design, operate and maintain ttre J.P, I"andfill would cause damage to Petitioners, and

   such damage could have been prevented bV th¡ exercise of¡easonabie care. lhe Parish, as owner

   of the J.P. Iåndfill, failed to exe.rcise such reasonable care.

                                           XXXVII.

           In committing the acts and omissions described above, the Defendants have breached their

   contractual obligations, of which Petitioners are third parly beneficiaries, arising under the

   conüacfs between the Parisb and all other Defendans herein pertaining to tbe design, operation

   and maintenance of the J.P. Landfill

                                             XXXIX.

           In committing the forcgoing acts and omissions, Defendants have violate d,inter o[ía, Civil

   CodeArtictes 667,66g,23tS,2¡te,and23lT.l,whiehhascausedandcontinuestocauseeachof

   the Petitioners damages including nuisance damageu physical harm and mental fear, anguish, pain

   and sufferin*tîU diminution in property

                                                ï
           Further, Petitione¡s' ínterest is their immor¡able property is a property right protected by

   the Louisiana Consti tution.

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                                                  XLI.

            PetitioaE¡s' inte¡est in their real property has been taken and damaged by the actions
                                                                                                          of
    Jefferson Parish as pled herein.


                                                 l(Ltr.
            Such taking and damage was for a public purpose
                                                                 -to u/il the operation of a public landfill
    i'or the purpose of handling and disposing of waste generated by the citizens
                                                                                       of Jefferson parlsh
    and others.


                                                >(LIlI.

            The Parish is liable to ûe Petitione¡s for damages caused by the parish's
                                                                                         unconstitutional
   t"king of their immovable properly without paying just compensation pursuant
                                                                                        to Article I,

   Sectíon a@) of the Louisia¡a Constitution.


                                               xuv,
           Tlre Parish's taking of Petitioners' property without just compensation constitutions
                                                                                                          a

   deprivation of their pfope4y without due process of law pursuânt to
                                                                              ArJicle I, Section 2 of the

   Louisiana Constitution.

                                               XLV.

          The Pa¡ish ís Iiable to the Petitioners for all damages caused by thc pa¡ish\ violation
                                                                                                        of
   Petitioners' due process rights.

                                              XLVI.

                                       REQT¡E-$,T F'TR TRIÀL BY JURY

          Petitioners request a jury tial to all claims triable by a jury.

                                             XLVIt
                                        PRAYDR FOR RELIET'

          WIIERBFORE, Petitioners pray that:

          a. Judgment be entered declaring each of the Defendantsjointly, severally and i¡r solido
              liable to each of the Petitioners for all damages (and awarding all such damages),

              ineluding physical and bodily ham¡ loss of use and enjoyment of thei¡ homes,

              diminution in pro¡aty valug lost wageq medical expenses and mental pain and

              suffering;

                                                    t8




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        b. Judgment be entered against the Parish declaring it liable for inverse condemnation,
           and awarding to each of the Petitioners just compensation tbr the unconstifirtional

           aking of their interesß in real property and/or a deprivation of due process;

        c. Judgment be entered agaìrxt all Defendants for all addirional damages as are just and
           reasonable under the circumsta¡ces, including but not limited to the cost of altemative

           housing and medical testing;

        d. The Defendants be permanently enjoined and ordered to abate the nuisances and
           trespasses, and to take all reasouable and necessary measures to cease the harmful

           emissions from the J.P. Landfill.

        e, The Defendants be required to provide medical rnonitoring for all Petitioners as
           appropriate;

       f. Prejuclgment and post-judgment interest on all damages be awarded;
       g. Petitioners be awarded all costs for prosecution of this action including attorney's fees
           and costs;

       h. Damages be awarded for all other iqiuries thatmay be proved at trial; and
       i. This Court award such other and l1¡¡ther ¡elief as it may deem just and proper.
                                                     Respee$ully submitted,

                                                     i'onRgsr cREssY &                     LLC



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                                                19




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                                         V/ashington, DC 20036
                                         Tele Q02) 659.6800
                                         (Applications for Adrnission Pro Hac l/íce
                                         Pending)



    SARVIçP MI$TRgçTITNS ÕII FQLLCIVTTNç FAGE.




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    PLEÂ$E SERVE:


    LOUISIANÁ. REGIONAL LANDtrIILL COMPANY
    Through its Agenf for Sewice
    Corporation Se¡vice Company
    501 LouÍsiana Avenue
    Baton Rouge, LA 70802

   \ryÄ.STE CONNECTIONS BAYOU, INC.
   Through ifs Agent for Service
   Corporation Seryice Company
   501 Louisiana Ave.
   Baton Rouge,LA 7û802

   wÄsTE CONNECTIONS US1 INC.
   Through ib Agent for Service
   Via longarm through its Agent
   Corp oretion Seryice Company
   251 Little Falls Drive
   'Wilmington,
                  DE 19808

   APÌIM Corp.
   Through its Âgent for Senice
   CT Corporation Systern
   3867 Plaza TowerDr,
   Baton Rouge, LA 708fé

   PARISH OF JEFEERSON
   Through its Agent for Service
   Michael J. Power
   1221 Elmrvood Park BIvd., Suite 70I
   .fefferson, LA 70123




                                           2L




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     1                       24TH JUDICI.&L DTSTRICT COURT

     2                             PARTSH CF JEFTERSON

     3                             STATE OE LOUISIANA

     4


               EREDERICK .êDDTSON, SASgAeÄ           NO- 790-369
               ADDISON, PERRY Aì¡DnÄS, ET À¡
     6
               \ÆRSUS
     1
               T,OUISTÀT{À REGIONAT T.A}TÐFTIJTJ
     I         coMPÀ¡¡Y, IESI I.A LANDFILI,
               coRPoRATrON, IIASîE CON$SCTIONS
     o         BAYOU, rNC., ET ÀÍ,

1 {-r


i1                            EXCEPTION OF I.IS PE}TDENS

I2
13             Taken in the above entítled anci numbered cause,
1^
         befo:e i"lonorable St.epi:en Grefer, presi-ding cn the 24th day
1rt      of January, 2019.
16

LI       AP?EARANCES

tg
         BYRON I.ORREST, ESQUTRE
!9       ELIZA JAMES, ESQUIRE
         NICK CRESSY, ESQUIRE
ZV       BARRY NEUI'ÍAN, ESQUIRE
               Counsel Representing plantiffs
2T

22.      MrcHÀEL MrMSf ESQ.,
         MEGA¡T BRTI.I,AT'LT, ESQ.,
2r             Counsel representing DefendanL,
               Waste Connections U.S. Inc.
,,L

aç
LJ       r'{ATT MOGHÎS , ESQ _ ,
         PETER CONNTCK, ESQ-,
2€,      MIKE TUTRELí ESQ. I
               Counsel representing Defendant,
21             Parish of Jefferson
¿ô

29

30
         ReponLeci by:
_?1           Rosa Manal-e
              CertifieC Court Reporter
a.)


                                                           EXHIBTT




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      a
      .t             THE COURT:

      2                      Case number four on today's docket 190_369,
      3              Addiscn versus Louisiana Regional Landfill.
      4                      Counsel, step up, state your names and
      5              representations for the record, nlease.
      6              MR. FORREST:
      l                      Good mornJ-ng, Judge. My name is Byron

      I              I'orrest. Irm here on behalf of plaintiffs.         Vüith
      c              me I've    got Eliza James, Nick Cressy and Barry
rÛ                   Neuman- I'd ]..i.ke to introduce him. lie's from
i.i                  D. C,

:2                   ÏHE COURT:
 :f
                             Good morning.

L4                   MR. NEUMAN:

                             Good morning, you¡ Honor.

:"6                  MR. M]MS:

:l                           Good morning, your Honor_     Michael Mims on
ltt                  behalf of Waste Connections U.S., fnc., also got
10                   my co-counseì, Megan Brillautt      of the Beveridge &
2A                   Diamond firm.

2!                   MS" BRILLAULT:

L¿                           Good morning, Your Honor.

23                   THE COURT:

24                           Good morning.
1C
                     MR.. MOGHIS:

26                           Good morning, Judge. Matt Moghis on behalf

¿!                   of iefferson Parish with co-counsel peter Connick
28                   and Mike Futrel -
1()                  THE COURT:

                             I hope nobody calls the office.   There's
31                   nobody there.
32                           .â.II right, counselors, so it would appear to
                                                                              ¿




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      :               the Court to take up the Exceptíon of Lís Pendens
      ./-             firsL because based upon 'uhat ruling, then the
      3               other matter I think is going to be mÕot. If I
      4               grant Lhe Exception of Lis Pendens. I don't think
                      I have jurisCiction to rule on anything else. If
      6               f deny it, then we can take up the Motion for
      1               Expedited D'iscovery. So I guess, J_et's take up
      B               Chat Exception first     and then we'li go from
      I               there. All right.       Y'all can be seated.
ic                    MR. MTMS:

                            Gcod morning, Your Hcnor. Michael Mirns on

i2                    bei:alf of !{aste Connections U. S - , Inc. f 'LL be
l?                    handling the Exception of Lis Pendens. My
                      coJ-Ieague, Megan Brillaul-t,   if necessary¡ witl
AE
LJ                    address the issue <lf plaiatÍff's     request fo¡
15                    discovery.
I1                         The Addison petition should be stayed or

-r-   5               dismissed because ic is a copycat lawsuit of four
t9                    previously filed proposed class actions Èhat are
¿U                    currently pending in the Eastern District of
aa
L.L                   Louisiana "
z. 1_                 THE COURT:

                           Can T ask a question just      off the top?
                      MR. MTMS:

                           Yes.

io                    THE COURT:

2"'!                       Why not moot this one li.ke all     the other
                      ones? íÌhy are we having this here? ?ühy r,¡asn't
29                    this one removed like the olhers?
30                    I4R. MTMS:

3t.                        The four previously filed. actions were
32                    renoved pursuanL to the Class Action Faírness
                                                                             3




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      '!             ã. ni




      2              THE COURT:

      3                      So you donrt have jursi     -*
                     MR" MTMS:

                             This ís not a class action.
      ¿
                     THE CCURT:
      a
                             You donrt have diversity and what no:.          I
      4              got you. Now I'm with you. .A1l right, go ahead.
      I              MR. MTMS:
 l0                          The test for l_is pendens in Louisian.a is
 11
 li                  whetirer a final judgnent in the previously filed
 1?_                 action would be res judicata in the subsequently
13                   filed actíons and that is the case here because
14                   'n¡e have che same parties and the action ari.ses
1E
IJ                   frcm the same transaction or occurrence.
I6                   THE COURT:

                             Give you same transaction and. occurrence,
:.8                  you cion't have to go into that.         Obviously, ihe
ly                   big fight is same parties, right?
1fi                  MR. MIMS:
2L                           Yes -

¿¿                   THÊ COURTT

23                           So you've got this putative class action
24                   over here which may or rnay not include these
¿5                   plaintiffs      over here.   Youf ve g.ot identified

26                   plaintiffs      over here. !{hy do th.e¡r geL }urnped
21                   into there when they're going to say, well,
2.8                  Judge, rdê' re going to opt out and then we, re not
29                  part of the class action?
                    MR. MIMS:

Ji                           Right.    So they don't seem to dispute that
J¿                  we've got' the same defendants here. The issue ís
                                                                                 4




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         -L            äre these tire same plaintiffs?       And. thankfully,
         2             wetve çot a Louisiana Supreme Court opinion fro:n
         1¡
                       2015 ¡hat's right on point.        Thar's rhe ÃêËJ_¿å
                       case. That case the irial       court r¿as looking aL
         (             an individually filed action, a Hurricane Karrina
         b             j-nsurance dispute. There had previously been

         1             fiied a ciass actíon and the individual ptaintiff
         I             was ã member, or at least they fit         within the
         I             cief j-r'ritic¡n of the proposed. ciass.   _


 10                         NÕw, that plaintiff      said, well, f 'm not- a
 i1                    named piaintiff    in the class action, so Lherers
 "i :il                not an identi.ty of the parties an,l the trial
 ,i. .:>               court denied the Exception of Lis pendens. Goes
 ':l
  i''t                 Lo the Louisiana Supreme Court, Louisiana
:.5                    Suprenie Court reverses and says t     fro, whether
.i..   c               ycu're a named plaintiff      or not, you ere â ¡nember
:"!                    of t-he propcsecÌ class and you have not opted out
._ì.   ó               yet- and because you have not opted out yet, yÕu
L't                    are represented by that class anci there is an
                       icientíty of the parties and the Suprerne Ccurt
2L                     said the Exception of Lis pendens should be
,'                     qranted. That's exactly wirat we have here.
23                          Now/ the plaintiffs     are trying t'o draw the
24                     distincÈion that, well, in the .IEËI LÀ case, they
25                     actua.ì-ly allege they were members of the class.
26                     That's a distinction withcut a difference.
?-'!                   I^lhether these pl.aintiffs hrant tÕ be members of
28                     the cl-ass or wheLher they say they are rnembers of
)a                     the class doesn't change the faci that they are
JU                    mernbers cf t.his proposed class "      If you look at
?1                     the r:;roposed class actj.ons, they define the class
32                    as all residents of Jefferson pari-sh who have
                                                                                ç




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     i               been damageci by the odors ernanating from the
     2               Jefferson Parish Landfill.
     ?                     If you look at the Addison piainiiffs,
     4               petiticn, ihey a'llege that they are a_ll residenrs
     í
     J               of Jefferson Parish who have been harmed by the
     6               odors emanaiing from Jefferson parish. So they
                     may not ciaim that they're members of the class,

     I               but in reality tliey are members of the class.
     o                    As fa:: as opt.íng out, flrst   of all, ìf you
tn                   j.ook at their pleaciinEs here, they ma.ke it very

L1                   clear tilat they're reserving t.he right to jcin
:l                   that c.l-ass. But aside from that point, Louisiana
                     iaw is cleat:. and again, wê've cited t¡¡o
!.:                  different Loui.siana Suprerne CourL cases on the
ìr{                  point, 7t:t:tw*iq.Y, and Ouínn, that sey you can'L
l6                   opt out until you go through ihe actual specifi_c
11                   l,ouisiana class action procedure, which has a
t¿l                  nor-.j-ce provisi-on and a certification   procedure
                     a¡rd ihen an opt out procedure. But until you'r-o

                     formally able ta opt out, TOü're stili       a menber
LI                   of t.hat class,
22                   THE COURT:

¿5                        You can't opt out until     there¡s a class to
2_4                  opt ouL of.
,1                   MR. MIMS:

.4 i1                     That's correct. And as I mântioned, these
¿i                   plaint.iffs he¡e apparently have nol macie up their
2.8                 rcincÌ whether they wiì-l opt out Õr not -     So

29                   pu.::suant to Lhat IEST L,A cese, we cio have an
'i i1
                     identity of the plaintiffs.     l{e have an identi.ty
31                   of the defendants. V'Ie've Eot the same
                     iransaction o.r occurrence. Tf there's a final
                                                                             o




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      'l
                      judgment in the first      filed action, that's the
      ¿               fctech-Bendeck action in the .Eastern Dist:ict,
      ?               ihat woulcl be res judicata here. So clearly, the
      ^               iis   pendens test would apply.

                               $ihat plainti ffs seem to really hang their
      6               hac on is thi-s fairness ergument that, well, even
      1               if all the lis     pendens factors apply. !i. would
      I               just. be unfair to not let us go forvrard.
      ü               THE COURT'

1C                         Yes. I r,.eän, at this pcì-nt, counsel,
i. i-                 they're s'i*uck, right? So j-f your argument holds
I2                    and if your argument is correct, they can't do
13                    anything untii some FeCeral Ccurt that they're
                      nol a oart of rules on so:ne case that they're not
,|\
                      a ¡nernber of and makes a decision and they just
1..   b               have to sit here saying, Judge, okay, so I have
;l                    no rights until a cåse that I have nothing to do
1S                    with makes sôme decision and that does seem
::1                   unfair, right?
2ç                    MR. MIMS:

2l                          v'iell-, two things. f Con't know that I wculci
¿-¿                   go as far as Lo say they ha-re no rights.
23                    TI.IE COURT:

24                          Well, you're :elling    Lhem they cantt go
âc
                      fcrward because there's a lis penciens with this
26                    other case going on-
aÌ
                      MR. MTMS:

2B                          They can'r go forward with this action, thj-s
29                    action for damages that they filed relating to
30                    ti:e same ¡ransaction or occurrenc€. Thatts
                      right.
32                          Íte're ciealing with envirorur'Lental issues
                                                                             1




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      I               lie re.     There are adrninisÈrative rerned.ies here -
      L               f 'rn not. sayj"ng they have no rights here unt_il
      3               somethi-ng happens in the earlier       action, but I am
      4               sayíng that they cannot bring a parallel
      5               proceeding ask!-ng for damages when four other
      6               class actions were filed fi-ve months before
      1               their's.
      iì                        If you look at the class acticn allegations,
      ô               they say these odors have been gcing cn since
,L. ¿                 August of 2AI7, almost a year and a half ago,
1i                    This group of pJ-aíntiffs, for whatever reason,
                      sat Õn their hands while those odors stârted.
 i-s                  They sat on their hands when all        the other
it                    piaintiffs      filed their class actions and for
Í(                    whatever ieason/ just before the Christmas
.1.   t)              haiidays here, they fíled their lawsuit.
,Ll                             Now, when we talk about fairness -*
1^                    THE COURI:

J- :t                           Sitting on their hands may not be a fair
2_'                   characterízation. Perhaps, they were
                      intervi ewing plaintiffs      to make sure they had
22                    plaintiffs      that actually suffered damages before
                      ihey just qrabbed anybody who wanted to come in
24                    and sign the J-et.ter, right?
                      MR. !,IïMS:
tã                              lleii, and they waited until they had --
21                    THE COÜRT:

?-B                             Perhaps they were doing their due diligence
29                    to make sure they had good plaintiffs         before they
30                    actually filed a lawsuit. '
J¿                    I"lR. MIMS:

3¿                          r¡'lell. and they waiteci until they had 86
                                                                                I




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     i.              plaintiffs   --
     2.              THE CCURT:

     3                    Yes.
     I
     9               MR. MIMS:

     5                    =- before they filed this action"
     6               THE COURT:
     a
                          Yes.

     B               MR. MTMS:
     û                    But when we talk about fairness, you also
_1   n               have to ccnsider that the fairness not only to my
i1                   client,   Waste Connections. â corporate entity,
i)                   bur you've got ,fefferson Parish. This is a
i{
                     landíiI1 or+neci by the parish and the possibility
II                   of duplicative litigation,   defending itself   in
i.5                  multiple proceedings, conflicting judgments from
t_6                  the Court. It's a waste of resources when you
-,4
Li                   consider that ãt sorne point there's going to be a
i8                   final judgment in that IcLech-Fendeck act.ion and
:1.9                 that's Eoing to be res judicata here.
                     THE COURT:

2L                         So what they're really asking for right now

22                   is, Judge, I cion't want a judgment in favor of rny
?,3                  ciients right now, right? They're not asking for
¿+                   me to award mcney at this point. They're just

2'                   simply saying, Judge, let me do some im¡nediate
26                   di scovery so I can l-ock dor*n u f*" numbers ahead

21                   of time so ti:at when aLl- these issues come up
                     Iaier on ciown r.he road, v¡e at ieast know this
                     baseline. I¡le know where we started. What's the
JU                   harm in just letting then do thât limÍled
31                   disccvery and then saying after you do t.hat, I'm
2/)                  going to Erant the stay and everything is shut
                                                                           9




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      i              down. V,lhy not do that?
      2              MR. MÏMS:

                           A coupl-e things, Your Honor. Again, r¡hen we
      4              look ai tÌ':e proposeci cLass actions, those were
      ç              fi-ied by experienced, competent Louisiana
      þ              piaintiff      attorneys, primarily VaJ- Exnicios and
                     Ãathony Trpino. îhey've alteady proposed this
      I              pi-aint.iffs' sreering ccmmittee. The Addison
      I              piaintiffs'      counsel are not ât the lable for thai
                     plainl.iffs'     steeríng commit+-ee. Mr. Exnj-cos and
ii                   Irpj"no are going to want to do d.iscovery of their
L.t                  own. So youìre subjecling my client and the
-LJ                  parrsh tc mu)-tiple rounds of discovery, the
1¡.                  potential for co¡rfJ.icÊing directives.
r"5                        You know, ¡¡¡e're talking about a physical
16                   entry upon a landfili.       There's going to have t<:
li                   be sorae sort of directives as tÕ wha: is t.he
18                   scope of *,h-is" So there's almost the certainÈy
                     that r"¡e're gcing t.o have conflicting di.rectives
                     about ,u¡hat is the scope of that discovery and the
)1                   waste of resources involved in doing this tr,¡ice
¿¿                   when this act.ion is going to be subject to res

¿J                   judicata.      tt{hy are we doing discovery in this

                     action that is not going to be golng anywhere.
,1 (
::J                  TfiE CÛURT:
26                         Why is    it wasted disccvery if this group
2-?                  gets subsuned into the cl-ass action, why can,t
                     Èhe class action grolip just simply use this
?0                   d'i scoveryr l¡<l,J know, to their   advantage?
                     Perhaps, this group becomes parc of t.he steering
fr
                     conuriittee. as well, because they hotd this
a)                   di scovery --
                                                                              1û




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      J              T{R   " I'{IMS :
      L                        b?eil-, I think --
      3              THE COÜR.T:

      4                        -- thai everybody i.rants.
      q
                     MTT. MïMS :

                               I think that's a fair point that the class
                     action can be discovery- They have not asked for
      o              discovery yet.          So we've got Lhis group cf
      I              plaintiffs         he::e claiming there's this emergency
:0                   ât t-he landfil"l anci we need this immedíate
11                   disccvery at the landfill . .&gai-n, we're talking
72                   abcut Va1 Ëxnicios and Anthony Irpino"            If they
                     thought ihere was an emerqency at the tandfill,               I
:. r,                guarantee ycu they would have filed some rnotion
t-5                  for emergency discovery at the larrdfitl.            That
i.6                  hasn't happened.
                               Now, må12þs these attorneys are not happy
:.8                  wj.th the way that the class acticn plaintiffs              âre
t9                   runnirrg their cäse, but that's why you don't sit
¿tj                  on you.r hands for five months while alL these
LL                   other lawsuits get filed first.            So they may not
¿¿                   be happy that theyrre not a pârt of ihat
2'3                  plaintiffs'         sieering committee, buL it's not this
¿4                   Court's job to grant them that rel-ief-
¿3                   THI CCURT:
26                             No. I 'm not tryin<¡ t.o put them on t.he
lt                   steerinq co¡nmitt,ee. I guess my guestion is in
2S                   faj-rness to their clients. eighty or sÇ, you
29                   know, why is ic fair           to their clients, who at
*?0                  this poín'u aga:n are not part of the class, at
"J .L                least since the class hasn't been defined, that
32                   they can't mol/e forwarci with their case in the
                                                                                   'i1




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       1              cij-rection ihey wanl- io move forward with them? I
       ¿              guess that's     -- where is the harm? yourre
       .J             talking about there's wasted resources. So
       4              you're not wasting yoÌrr experts to go .i n and take
       (              samples. It's t.heir expeïts, if they want to pay
       t)             for their experts tô go in and take air sanpies
                      and do what they need to do, where's the ha¡m to
                      your clienl lo do that other than having someone
      I               the¡e to stand next to them while they do this?
10                    MR. MIMS:

l. 1.                       Your Honor, I'lJ    let Ms. Brillault   elaborate
 ^t?-
                      on exaciLy what such an inspeclion would Ínvo-ive,
13                    but I can guarancee you it would involve some
iq                    experts and rescurces on our end t.o oversee ihat
1.5                   sort of discovery. it      io'ould not be as sirnple as
 iÞ                   cûme on over tç the landfill     and do '*hat you got
                      to do. ft woul-d be a verv precise procedure that
1g                    we'd have to pin dov¡n ahead of time about what is
1.9                   this discovery going to entail.
lt)                        Anci. again, yoü've got this other grcuo of
21                    pJ-aintiffs that, are going to want discovery of
22                    thei¡ own and, frankly, I ihink it would be a
                      potentiel- prejudice to them that you would have
24                    an inconsìsient di-scovery ruii-ng frorn i.his tourt
') ,t
_:
      i:
                      when they were tbe first     filed group.
26                         One thinq I think Lhat needs tc be made

¿i                    ciear is that we åre not saying that t.hese
28                    piaintiffs   should be denied access to the courts.
                      i{hen ycu Iook at Louisiana's Class --
                      THE COURT:

                           Just now.
1"                   MR. MIMS:
                                                                              L¿




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      1                 itel1, h¡hen you look at Louisiana ' s C1ass
      2           Action Law. it says that when you,re a member of
      3           the proposed class, as they are, you have åccess
      I           tc the courts through the cl-ass actlon proced.ure.
      5           And Louisiana Iaw, this is e guote from the IES-J
      6           LA case, iL says Ehat the purpose and intent or
      .:
                  the ciass action procedure is to adjudicate and
      p
                  obtain res judicata effect on all        conrmon issues

      I           appj-:cab1e not only to the representatives but
                  ail- cther simi-Iarly situa+-ed,
ii                     You've got this piaintiff        steering committ.ee
ia
LL                thaÈ. has already determined that the best way to
1:1               obtain relief for their cl-ients is through the
                  class action procedure. ?o all_ow these
i5                plaintiffs   t.o bypass that procedure resul-ts in
i6                unfai rness to my clients,       to the parish, and also
L1                to Èhose plaintiffs        that were the first filed.
.:.   c           So we're not trying to deny their access to the
L9                courLs. They do have access through the class
                  action prccedure- Once there is a ruiing on
¿..i.             ciass certification,       they can choose either to
)¿                join thar. class, at whj-ch poì-nt there,s nô need
¿J                for another action, individual action, or at that
?4                point. i:bLey can cpt out and they can bring iheir
25                chrn prccedure in thj-s court.

                       So, Your Honcr, l¡e think this issue is ripe
21                for a decision today and we would ask you to
2A                decide on this that r"ray we can avoid getting inro
?o                the technical ciiscussion on the discovery issues.
3û                THE COURT:

31                     À,1:- rÍght.   Mr. Moghis, yor want to add
32                anything other t.han me too or -*
                                                                            l-3




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       1           ¡{R. MOGHIS:
       2                    I¡le'll ;ust adopt that argument å.nd save
       ?           Õur's íor reply if the Court rvould allow.
       4           THE COURT:

       5                    Sure.
       6          MR. }.IOGHIS :

                            Thanks.

       B          THE COURT;

       9                    Whoever is arguing.

                  MR- NEU},IAN:

                            Thank you, Your Honor. Good morn.i ng.
 .:. ¿            THE COURT:

                            Morning.
 14               MR. NEiJMAN:
1tr
tJ                          Earry Neuõnan on behalf of petitioners.
lÞ                          May it please the Court.   This is rny maicien
LI                argunent in Louisíana StaÈe Court. It's         a
 :U               privilege t.o be here.
:.9               TT1E CCURT:

2A                          Certainly. thank you.
/. J.             MR. NEUI4AN :

^L.
      i.                    App:eciate the opportunity,
a1
L.)                         Your Honor, I'd l-ike to begin with this
L4                fair:ress noticn that counsel adciressed in term.s
25                of questicning why we supposably sat on our irands
')^               and Your Honor touched on it.        I think it's
2',ì              important background for purposes of assessÌ-ng
28                this motion and where the balance of equiiies
¿Y                lie   -


ta,
                            Mr- Forrest's l-aw firm has been inundated
31                ¡¡:-Lh over a thousand phone calls      over the last
a1                six months requesting that his firm and our firrn
                                                                             14




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  1              represenI those people in connection wlth the
  I
  {-             problens assocj-ated with the Jefferson Parish
  ?              Landfiil.       Ç{e have, indeeci, been no-u sitting       on

  4              our hands, bul vetting those individuals before
  q
                 we fil-e and before we fìle          this case. in contrast
  6              to ciass actions that were fited right out. of the
  :              gate after the parish held a press conference
  I              naming one individual.        Our cl-ients -- and we're
  9              continuing to vet additional phone cafls, anci T
1.-t             doubt very much that this t+¡ill be the last nunlcer
                 of plaintiffs      on whcse behalf we will uliímately
;2               be fiiing compiaint with respect to this måtter"
ì3                         The pendency cf the other acticns obviously

l4               did not af fect t.hese individuals' requescs tlìat
J-)              'ete --    that they relain their own counsel and
th               bring this action now and that's what we have
                 done anC we've acted wj-th alacrity and as quickly
                 as i¡re Can Õnce ln¡e're sufe that, werve got a Sound
                 basis to narne these individuals as our ciients
Õn
LU               now and as peiitioners       in this action.
2!                         ?üe've heard about res judicata and counsei

22.              has acknowleiged that the test here, the test is
23               whether those class acr-ions will act as res
î.4              judica:a with respecl l-c our clients.             lrle v¡on't
ai
L-)              knor,¡ that unless and until         a class is certifi-ed
26               in Lhose câses anci untíI, unless and until any of
./t              or:r clients chocses tc cpt ltl         ur   out of thase
2g               classes. And obviously, we cannot -- I cann.ot.
'a               ãs counsel for my ciients, teLi Your Honor toCay
                 that ou.r clienls would opt out of those cases.
                 It 'vrouiCn't be appropriate  It's like an
                                                  -


]"1              advanced -"¡aiver. BUL what we knor¡ ís that
                                                                                  15




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        i         presencly no class has been certified and there's
        2         no reason to aõsume, t?rerefclre, that those cases
        3         would act as res judicata -*i-uh respect to cur
        I         clients.
        i
                        ï v¡ould point out in this regald that I have
        6         no dcubt, unless counseL here is willing to
        1         stipulat.e today that they're not going to oppose
        o         class certification once the jurisdictionai
        I         issues gel sorted out in those class actions, I
                  have no doubt that counseÌ wj,il. be opposing c!-ass
 it-              certif:cation in those cases when the time cornes,
 f,t              and under the cases that we cited -- I don,t
 Ì')-)
 .t..             propose tc give a dissertation on class action
 1:- 4            law, which I'm sure Your Honor is famil-iar with,
 i5               but unde:âthe cases we've cited, there is at
i6                least a si"¡bstantial- issue as to whelher cl_asses
:?                v¿ill e'¡er be ceriified in those cases or not
.i8               given Lhe fact, as counsel has poinled out, that
 j,Y              these individuals who are members of this
2t                putative class live all over at. clifferent
./!               iistances frcm the landfi1I.    Their si-tuations
'i')              are coing to be dj.fferent. Their damages are
                  going to be different.    And under the case iaw
2Ì¡               we've cited, it's goìng to be a uphil1 battle I
ac
¿.J               woul-d respectfuily subrnit for the petiticners     in
2.{}              tho.se cases to be able to certify   the class "    And

                  in any event, ihat ísn'L going to happen for a
78                lonq iime.
                       These cases noì^r are myriad in proced.ural
1n                lirnbo based upcn the defendant's choice tc send
-1 "t.            those eases ro Federal Court, presumably for
la                their own berref it and for their or¡n purposes. t/üe
                                                                           16




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      1
                  don't know when those jurisdictional issues are
      ¿           gcinq' Lo be determi ned and it's   going to täke a
                  )-ong time after   that before any class
      4           certification i-ssues are determined.
      q
                       Nor,r, because these ac-uisns are pendinç i.n
      F
                 the Federai Courts at the election of these
                 defendants -- and by the way, I have reaci the
                 oral argu:nent on the moti_ons to remand that are
                 now pending in the Federal Coun in at least one

                 of the cases, and they've made a very po,r*erful
                 argument why those cases should stay in Federal
.1.. ,/-         Cour:. Because tirey are in Federat Court, iÈ is
13               guite cÌ ear thac if lis pendens applíes at all
L4               here, ¡hen it is Article 532 that applies and. not
i5               531, r.¡hich means that at most. and the Court has
16               discretion whether or not to sray- And rt is
 ií              quite clear from the cases ihat the Court does
l.B              have that discretion and I would also point the
Ìv               Court to a Louisiana Supreme Court decision,
,(^              Southwesiçr4 EleçFriç_ pçi"'€q Côm:pân,r Tqq.+p$, å#Ëx,
                 621 Sc.2d. 615. wherein å per curiam opinicn the
                 Supreme Court reversed -*     Iet me back up" ?he
'23              triai ccurt had exerciseci its discreiion not to
Lrt              stay. The appellate court reversed and on appeal
')q
                 to the Supreme Cou¡t. the Supreme Court
                 reinstated the decisicn of the trial court to
2-j              allaw the case to go forward saying even if the
1ó               predicate conditions of 532 are met, the decision
29               tc stay a Louisiana suit rests in the sound
30               diqcretion of the irial- court,
31-              TFiE CCURT:

                      AÌ1 right.     So, counseJ. given where b¡e are
                                                                           1?




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      :           ând giv6¡ the i,E$î I*4 câse and. it's     a Supr¿ms
                  Ccurt casê, cbviously, that i'rn reguired tc
                  follo*-, but given ihe IESI LA case, are you
      q           basicaJ-1y saying, Judge, we don't think i,ts 1..-'i.s
                  pendens, but it probably is under IESI L+" and if
      c           it is uncier IESI LÀ, you stilJ- shouldn't grant
                  the stay?
      Ê           MR. NEU},IJIN :
      O
                         We don't think it      is under IESI LA either
1U                and I'll     tell you why.
                  THf, COURT:

i?-                      Okay. TeIì me why"
l.3               MR. NEUMAN:
-,L
                         Because .IESI LA and the other cases that
i.:               they've cited all involve the guestir:n of whether
i6                plaintiffs        in a subsequently filed individual
.!i               acticn, i^rho specifically allege rhat. they are
iE                mernbers of a putative class in a previously fileci

                  class acti-on. in order to gain the benefit of che
l:..;             suspensicn of prescription, shouì"d be allor¿ed to
¿L                cic that., or whether they should be dee¡ned to be
                  ¡nembers of the class and what the Court said in

23                IESI IrA and what the Court said in i{arris and the
24                cther cases they've cited Í.s that when the
                  peti-ticners choose to te1} the Court that they
26                are members of the putative classes chat are
')-)              pending in ot.her actions, in order to gain the
28                benef-i-t, in order to gain the benefit of the
                  suspension of prescription, then they can't ha-¡e
?,;               it both wãVs. They can'L also sey we're nct
                  going to be bound by whatever happens in Lhe
2:,               class action lawsuit- So, in effect, in those
                                                                           Ìû




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  I               cases, the petitioners are telling a court we
  ,2
                  want to be part of those cases. And so it's
  3               clear that those câses, those class actions ç¡ould
  4               act as res judicata. That's not the situation
                  here. Às I said earlier, Your Honor, we don't
                  know -- we're not going to know for a long tine

   7              whether or not --
  B               THE COURT:

  v                     And T':n with you and I understand we're a
it                long way away frorn class certification and how
ì1
I.L               that class r*ould ultinately be defined, but can
                  you envision any scenari o where your plainti ffs
13                wculdn't be a member of a class as it's      proposed?
1l                I mean, f cen't think how y,our plaintiffs     would

l5                be different than those members of the class -
't c.             MR. NEUMAN:

                        I think that if a class is ceriified, it
                  deiineated the way they've asked for it. yês, ås
19                described in the complainU. Then we would be
20                members of the ** then our cl.ients would be

2'L               members of the class --

22                THE COURT:

¿3                      UnLess you opt cutr obviously.

z4                T,IR. IüEUMAN:

25                      *- unless they opt ouL. But, again, these
26                cases that they've cited all have to do with the
2-i               application of Article 596 (a) . the suspension of
28                i.iberaL prescription and the courts in those
29                cåses nade very clear, in Ðuçkq¡oËËÞ and others,
3t                we're basing this cn the fact that we have t,o
3!                read 596 {a} very literaliy   and 596 {a) talks about
??                a previousl¡r filed class action in which these




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     1
     a            plaintiffs    u¡ho fil-eci a new suit would be member

     2            of the descrlbed class. And the Courts said that
     1
     J            $re have to read that 596 (a) very literally.            That
     ¿l           has nothing to do with our situation.
     5                 So t,hat's our first      point, we do not think
     6            that this is a siEuation where res -- r+here the
                  Ccurt can say now res judicata necessarily
     o            applies Lo our clients and, therefore, lis
     o            pendens applies. But you're correct, even if the

                  Court were to say that, ihen we are under 532 and
i1                it's a maÈter of discretion. And in that regard,
1)                Your l{onor, I '"hink rhat the Court should
t3                exercise its discretion for the reasons rnre've
14                laid out. in the h::¡:ief . I mean, the fact is it
i5                says we can get administrative relief,
i.6               administrative relief doesn't provide damages.
.). /             l{e're here t-o, Ín large part, to collect darnages
1fì               for past and continuing harm. No administrati.ve-
19                relief grants that-
¿\)               ?HE CO.JRT:

¿:. .1.                Ànd, counselor, I know this is off tcpic,
                  bui: just while you're up there, what is it --
)"2               I've read, your expert's affidavit.         Quite
                  honesrly, I guess I don't understand the
ai
LJ                technical aspects of it.         Biìt r¡hat is it he's
2.6               actually trying to do? What is involved in Lhis
1.t               expediled discovery that he wants to conduct?
2ß                MR. NEUMAN:
2.9                    Àt the site, what we want to do is we want.
30                to go ouf to specific l-imited set of l-ocations on
'11
                  the site, a couple of wells where the gas is
.J   /-           collected.     VJe i¡ant   tc go to the inlet, to the *-
                                                                              2A




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     1
     ¿            they're burning *- they're collecling gas and
     2            cccasionaliy burning it cf f :-n a f l-are. And so
                  we want to go to the inlet,     to t,he fLare before
                  it's burned to get a sample there.      Anci we want
     i            to get some samples of the leachate which is part
     C)           of the problem here and a sample at the edge of
     1            che .Landfj-l-l to see j.f there's any migration
     ö            Eoing out from the landfill.
     í)           THE COÜRT:
1^
                        You can take the sample at the edge of Èhe
1i                landfill,     regardless, right? I mean, you can do
i. ./             thal from the street?
-i ..1            MR. NEUMAN:

                        Right on the property- Right af, the edge of
i-f,              t-he property.

16                THE COURÎ;

!1                     You want to be inside the fence instead of
18                outside the fence?
i9                MR. NEUMAN:

2C                     Rigi:t, inside the fence. We want to lake
2T                sarnples there and analyze those sampies for
                  specific suites of chemical compounds which are
23                typically found in landÊiii- gases, which are
¿4                known to be toxic and which they haven't sought
âtr
LJ                to analvze for at all.
2.6               THE COURÎ:

                        So look Cown the road here a little    bit,
1,ð               right?      So here's, I guess, maybe a question that
29                f have and then just thinking down the road in
añ                terms of damages. Your cli-ents arenrt harmed if
31                che concentration ât the flare level and the
32                concentration within the compound is at one
                                                                         2\




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     ,,!

     I           levei, but that level doesn't migrate off the
     2           premises across the ríver to Flarahan anci Rir¡er
     3           Ridge and wherever else. The question is whai is
     q,
                 the ievel in Harahan and River Ridge --
     5           MR. NEÜMAN:
     ()               That's correct.
     1           THE COURT:

     E                -- and perhaps right off the fence. Vühy
     9           can't yÕu just noì^'/ without any authority from
                 anybody, gc take whatever air samples you r¿ant on
 ì:              Highway 90 anci go tâke whatever ai r sample you
.i-¿             '¿¿ant. on lop of lhe levee in   Harahan anci River
1:               Ricige? What's preventing you from doing that and
 t¿j            doesn't that *- isn't that :ealty the questicn.
-|;              is hor.¡ high are those leveis .,here as opposed to
i6               ínside the corrpound, the landfill?
.i- ?           MR. NEUMAN:

i.E                   And that's   a great questj_cn and the answer
it              is. the answer is that h¡e can take all the
lu              samples we want out in the fielci at somebody's
¿t              house, but in orcjer to nail down whether or not
                what r¡e measure there i_s coming fro¡n the 1andfill
23              or as they go at great lengths to point out,
24              ihere are other sources in the area of poiential
25              pollution --
26              THE CCURT:

¿!                    I think Liver Bi¡ch would dísagree with
                that, but gc ahead.
¿J              T-lR. NEUMAN:

                      *- you need t.o have an understanding *-
3r              basically, it's fingerprinting, your lïonor, what
                it i-s in the science. you fingerprint the
                                                                       22




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      l"              source at the Ìandfill.      Thar's the first step,
                      You need lo knor+ what.'s the suite of compounds
      3               coming out â: the landfíll     sc that, yet, then if
                      you're goinq to sarnple ât t.he location j-n the
      Ã
                      fíeld, you can correl.ate appies to apples.
      ^
                      THE COURT:
      1
                           I'm with you, but isn't that infcrrnation
      a              beinE captured by the regulat.ory agencì es that
      o
                     a¡e actualiy dcing Èhe testing out there on it
                     seems ij.ke a daiiy basis from the things that

     :;              I've seen in here?
 :2                  }iIR. NEUMAN:

 i3                        WelI, the answer either way is no, but I'm
                     not sure if you're asking about on the landfil-l_
 'iq                 or j-n the community.
 i6                  THÊ COURT:

 l?                        î was ta).king about in the landfill.     Tt
 1A                  appears that now rhe regulatory aqencies are
 19                  aware of this issue and they seem to be doing
¿t                   some increasecj testing at the landfill    iLself and
2!                   I Con'l know what they're taking at the flare
                     spot or somewhere else, but --
23                   MR. NEU}4AN :
24                         No, Your !ïonor. The data that has been
âr
¿,J                  coiiect.ed on the landfilt pertaíns -- or at least
                     the publicalJ-y available data is hydro<¡en sulfide
¿t                   and oCor impressions. fn other i^¡ord.s, DEe people
¿r                   are going around they,re taking field readings of
29                   hydrcgen sulficÌe, not necessarily the rnost
a^                   accurate way to do it, but they're taking
Ji                   readings of hyCrogen sutfide gias and they're
J¿                   sniffing around. I smell the odor here. I don,t
                                                                            23




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     ,:.              smel-l an odor here.     It's kind of strong. It,s
     2                kind of weak- I don't detect it here-          Hycircgen

     3                sulfide --
     1               THE COURT:
     q
                             ?hey seem to be looking at wind direction on
     c               occasion.
     1               MR. NEUMAN:
     s                       Pardon ?

     I               THE COURT;

                             They seem to be looking at wind direction,
1i
Ir                   tûo/ depending on which way the wind's blowing.
1l
.\ :-                The wind is blowing this uray upon arrival and
i3                   this way upon departure-
i-i                  MR. NÉU},IAN:
i:                           SCS engineers lookeci a i.ittle    bit at. wínd,
li6                  bul they're not -* again, v/etre talking about
:l
                     hydrogen sulfÍde.      1o understand the risks here,
L. {)                we're talking about ,---- s¡e have to be lookj_ng at a
i9                   lot more than hydrogen sulfide and that's really
")r                  the thrusL of Dr. Chrcstowskì ¡s afficiavit. Any
2":                  responsible, scientific analysis of the true
2?                   risks being posed by the landfill requires a
23                   comprehensive source characterizatíon as ihe
                     first step. Nobody's done that.           Nobody,s done
âL
                     that.    And they can argue about how we want to do
26                   it, what t.he methods are, whether the model_ that
21                   we haven'c even chosen yet is good or not, they
2.8                  can argue about all of that, but that's all
29                   diversion. AL the moment. we're the only --
JU                   we're the mosl important stakehol_ders in this
                     process. I¡'le're the most directly impacled by
                     what's going on at the landfill . þle're read.y,
                                                                                24




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                 willing, and able to do this initial      basic
                 testing at our ovrn cosrs.
                 THE COURT:
      t¿
                       Okay. ihank you, counsel.
      u
      J          MR. NEUMAN:
      (i               Thank you.
      '7
                 MR. I'(IMS:
      a                Your Honor, brief ly, I'ci l_i.ke to j ust
      9          address some of the legal j.ssues cn lis pendens.
1n               I know we started to bleed a little      bit to ihe
 )i              disco-,rery issues.   If you would låke to hear f :om
L2               Ms. B::ill-aull in order to help you rule on lj_s
13               pendens

                 THE COURT:

ii                     üleil. I guess, Iec me just ask Ms. Bril-lault
16               just a couple questions. Ms, Briilault.        f don,t
't1
                 care if you dc it from there. That's fine.
1B                     In terms of the t.est.ing that has been
i9               requested, i"f you cton'L specifically know what
añ              the test-ing i-s and hora¡ the method is going to be
21              done in order to do the testino. why is it going
22-             to be such a disruption? Idhy is that such a
23              problern? 'r,{hy can't they just sirnply go in on one
.\A
                duy, take their air samples at the torch ìevel,
aq,             i.ake their air sample inside the cornpound, and
)^              ihen say, okay. we're out of here?
?_'!            MS. BR]LLAULT:
¿.é                    f think, Your Honor, yÕu put your t_humb on
29              it earlier when you were indicating why canrt
3C              they go sample at their homes and ríght outside
                the fence. Theyrre perfectly capable of doing
                that. And I think one of the prejudicial things
                                                                          25




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       1
                 to defendants is they're not just asking for a
       2         couple of compounds. They're asking to sample a
       'ì        whole list   of alleged chemicals that come frcm
       4         landfill gas, but they haven't even made a
       C'
                 threshold showing thåt they've been exposed to
       6         tirose chemicals at their house.
       T
                       You know, EPA and LDQ, LDEQ, regulate the
       ö         landfiil.    They have a Titl-e 5 permlt. You knÕw,
       I         they're required to comply wiih NSPS, New Sc¡urce
 !ii             Perfornance Slandards, a:rd one of ttie chem -- one
                 of the gases thal they measure for is methane and
1a
                 that's because it's ihe largest constiluent in
l3               the landfill gas. So they set a levei for
i4               methane. which, yoü know, as long as the suiface
t.5              enissions dcn't exceed that level, the levels of
L6               nethane are safe and all the tracer compounds
,LJ
                 chat cÕme in much s¡nal-ler concentraticris are at
.Ì_ ìJ           safe levels and t'hat's how they, you knowf ensure
tv               that the fandfili gas J"s not going to be toxic.
                      And so that's    -- you know, they couid.      They

;:1              couid siand right outside the fence. It in¡oulcin't
't1              be a burden on us if they're sLanding right
./. .)           outsi de the fence anc t.hey want to conduct Èhe
?¿-              air sampies. You know, it's      noÈ the leachate
                 that's getling- to the property. It's whaL, yoü
.)a
                 know, being dispersed of in the air.
                       You aiso poini-ed to a realìy gcod fact that.,

2E               you know, once it's     emitted on the landfill,    by
')o              che time it gets a mile, two miles, three mi1es,
                 I think the furthest plaintiff     away -'is four mile.
l1               ycu know, thaL concent.ration of whatever the gas
'?)
                 is is incredibly, you know. decreased ât that
                                                                          26




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   1             pÕint. lt's       magni tudes lower.

   2             T¡IE COURT:
   I                    Àil right.      Mr. Mcghis, yoü wanted to say
   4             someihinq ?
   q
                 MR. MCGiiÏS:

   6                    Thank you, JuCge- !{e were going to wait
                 unr-il- the ruling of lis pendens, but -whil-e we're
   a             touching on it,       Jefferson parish's position is
   u
                 that in respon.se to the Court,s question about,
iü              well, if       we let ihem go in, how does it prejudice
1.1             üs r
                       "re
                             aiso brought a rnot j_on t.o continue the
L¿               consicìeration of the motion depending on the
13               judgment on the Exception of Lis pendens basecl on
14              the fact that none of the requirernents under
I ri.            146I, which is what they're seeking the motion
L6              under. for entry onto l"and, 7462 that says tha-u
                ihey har.'e to identify wit.h particulariLy the
ìç              ilerns to be testeci, how they want to test it, the
                iì-me, dale, and rnanner. A,s counset just stated,
2ç              quoting' i:im, v¡e haven't even chosen that yet -        hre

21              don't know particularly.         As Your Honor pointed
¿¿              oui, you read the affi -- â 1? page expert
¿3              afficiavit and you still don't know what they
24              want, or we dontt know, and defendants can't t.ell
25              what they' want. They have no complied with what
2.6             the requirenenLs af 1462.
2"i                     And cwo things that I want to point out. that
28              were al. l"uded t.o earlier, f irst of all, Your
29              liono.r, tire very first paragraph of the affidav-i.t
3ii             seclion regarding what their plan is, whích
3i              again, 7462 states that they have to particularly
                identify what it ís that they want to cio and it




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      ,:
                 has i:o be lim.j-ted in scope to be as littl-e
      2          burd.ensome as possibie, so thac the details and

      3          exlent of this plan may change Cepending on what
      r"         :-s disccvered once access to the si¿e is obtained
      5          and conditions are examined firsthancl. So in
      6          other rn¡ords, Judge, r¡Je want you to open up the
                 door: io the landfi.ll. and let us go in Laere and
      Õ          then we'Il figure out what we want to do and
      Y          tha-u's jus: not in accordance with ¡¡hat. the rul_es
'in              set forth to avoid this type of arnbush ciiscovery
11               and inspection.
1â
LL                    Anci the second thing out of that same

13               affidavit, âgain, from the section regardlng what
_i-   ij         data they're looki-ng for, parâgraph 19 of the
i-               expert affidavit, Lheoretically, the best
1¿
iv               possible eviCence Lo determine such exposure that
ìf               harms have occurred would be the actuai ai-r
1Ê               sampJ,es taken on a regui ar basis at each of

r9               petitioner's home. None of i:hat has been done.
                 We don't even know íf    what these folks are
:1"              alleging, whaL they're complalning of is even --
.)a
                 if there's anything at their house. much less if
¿J               it's anything that can be prcduced by a landfil-i    "


1a-              And as the Court ailuded to earlier, there's
25               nothing stopping them from doing that, which is
                 the practical first st.ep in this process which
zt               again has nol been cione. So we'il iouch on that
zó               nore if we get pass the lis pendens, buL --
29               THE COURT:

                      Are there any Louisiana cases in which the
                 expedited discovery ruies have been applied or
32               allowed? Is there any cited cases?
                                                                      28




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      2              MR. MOGHIS:

     2                      .Iudge, they do nct --
     3               THE COURT:

     4                     Are there?
                     MR. MOGHTS:

      6                    They do not cite any cases in support of
                     what they're asking for.        In fact, to the
     ô
                     contrary, I think the larv and argument section,
     I               ihe seconci sentence of that section specifically
1, {)                says h'e have not founcÌ any Louisiana cases on
:l                   pcint.
L2                         This is certainly not the first iandfill
13                   case, certainly not the first emissions case, not
Li                   the first air quality caser 1let, there's not case
15                   on point with whai the¡r're asking the Court to do
1n                   here today" That's the first        thing. So they
IJ                   ¡ake a step further and go look at federal cases,
iþ:                  one of which or all       of which or half cf whi_ch
19                   t.haL they cited the reguest was denied. ?he
¿U                   other onesf there had already been discovery
:¿l                  conferences. There had been response of
                     pleadings fil-ed- There had been written
23                   discovery. There had been ccnferences among
24                   counsel. There had been conferences wiih the
¿:                   judge, wr:j..tten requests, aII cf this to vet out
?^6                  what Ít is that they'.re asking fcr.       Are they
27                   entiLled tc it before r.¡e present. ít to Lhe Ccuri-
2B                   Itone of that has been done here. So, rlo, Ycur
                     Honor, there is no support fcr what they're
'ìâ
                     asking the Court for today.
31                   TI,iE COURT:

3¿                         Some years ago there was some legislation

                                                                            29




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     i           proposed to actually shut down the Jefferson
     z           Parish Landfiil and transfer all the waste strearn
     3           over to another landfill,    as I recall.     l¡,loul-dnrt
     I           be here today had that happened. Just a thought.
     5                 i,,lr- Neumän, Itm sorry, flo, Mr. -- not Mr"
     o           ñeuman, sorry.    Counsel, anything else you wanl
     2           tc add?
     B           MR. MTMS:
     ô                  Yes, Judge. I just r^¡anted to ciarify
1.CI             quickl"y scme points on the Louisiana lar^¡ on }is
it"              pendens.

i.2                     There ì¡râs a discussion from Mr. Neuman about
13               whether the res judicata test wouid apply here
                 çiven that the plaintiffs, the Addi-son plaintiffs
                 hâve not opced out, yet. Mr. Neuman says, well,
                 we just can't know until    they opt cut. That's
1?               not true and the IESI LA case makes Lhat verv
18               clear. That was the same si-tualion in IESI LA-
19               the iEgI I*,å plaintiffs had not made a decision on
¿:,J             whether to opt out yet or not.
!i               THE COURT:

22                     Agreed, but in fairness and I t.hink what. Mr.
,-)              Neuman was pointing out is    they sought basicall y
/L               the prot.ection cf the class action statute so
                 that they ccul-d avoid the liberative prescription
26               issue" I mean, they are actually alleging class
21               st'a¿us so they woul<in't be -* their cJ-aims
28               wouldn't be prescríbed.
?.9              MR. MÏMS:
1n                      T understand that, Your lionor .     l\nd when
31               you lcok at the IESI I,A opinion, you'll see that
32               it   was not l-imited" That was nct a
                                                                              30




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        1
        ¿             distinguish"'r.ng factor.    If you look ât IEQT LA,
       2              iÈ's 18C So-3rd and Ir:n looking at paqe 21t, the
                      finiing. it says, "!fe find the trial court e¡red
       4              in finding there exist.s no identity of the
                      parties for lis     pendens purposes when a putatíve
       Y,
                      class member, such as piaintiffs      herein, is not a
      1               narneC plaintiff    or joined as a party in the class
                      acli-on. "
      t                     It doesn't say wheri a plaintiff    who alleges
 'i.1
                      to be a putative class member. It says when they
                      arè a puLai "ve class member. yau just heard l4r-
 L¿                   Neunan concede that under the definiiíon proposed

 l:ì                  by the cl"ass members, they are pulative class
 ia                   members. So whether or not t.hey have tried to
 il
 .i. ..i              rely on that f cr: prescripl-ion purposes doesn'L
 .i- Cì               change the real questl-on, which is do they fit
 i"ì
 -!                   under the definition of the proposeo class and
1Q                    they clearly do.
t9                    Ti{E CÛUR'I:

                            AI1. right.   So I think as I inciicated at r-he
a1
L'                    beginni-ng, I ihink it's     incurnbent upon the Court
1¿                    to ruie upon :hre Exception of Lis pendens prior
2'l                   to takirrg up any other issues as clepending upon
¿- 4l                 thal- ruiing there may be no other issues to be
?q                    addresseci. Obviously, the issues have been well
26                    briefed and wel-l argued and the law, I think, is
?^-i                  fairly settl.ed in this areä- The relevant
r8                    artj.cìes inclucie 531, 532 and the cases citerl by
29                    counsel- for the plaintiff    anci defendant.
JU                          !'rorn a Court I s perspective. and, obviously,
?'1                   there's the requirement that I follow alt bindi_ng
3:                    authcrity, and f just don't see å way around the
                                                                              31




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          1           IESI LA câse as fa¡ as the exception goes - I
                      think given the class definition, the proposed
          3           class definition and the alleEatj"ons alieged in
          4           the plaintiffs'   petitíon in the Addison maiter
          5           that there is no way that this Court can envision
          c           that those same plaintiffs woulcin't be me:nbers cf
                      lhe class if a class is so certified.      That
          ð           doesn'-l- mean that they cân't opt out, obviously,
          I           but ihat's not the question nor+. The question is
 j        i.J         whether t.hey are basically putative class members
     il               and, again, I can't see ä. way that they would noc
 12                   be.

 i3                         As such, I think the last elements with
 ..r- q               regard to 1is pendens, agaln, whether there's an
 -j"f                 icientity of parties or the sâine parties is
 16                   aciually sa+.Ísfied by virtue of that.     I dcn,t
 11
                      think there's any question it's the same
 :B                   iransact.ion and occurrence and Lhe other issues ï
                      think if not conceded, I think basically
                      understood by counsel for the pJ-aintiffs that
2!                    those issues would be satisfied.
22                          Sc because I think there is also the sarne
¿3                    parties lnvolved based upon the classes that are
                      proposed in the federal- litigation   at this poi-nt,
25                    I don'l see a ri/ay arcund these plaintiffs,being
26                    inc-lucJed in that class and as such, I   think you
¿i                    do have the same pariies.   hccordingly, I Lhink
i¿                    the rules of lis pendens would apply and as suchl
                      tire Court wculd grant the Exception of lis
^]   ii               Pendens.

31                          ï understand, Mr. Neuman, that I have the
                      right to exercise discretion in this particular
                                                                            1a




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     1            matter. I am reluctant, ã.s always, Èo have
     2            similar cases or same cases traveling down
     3            different paths. T think from a judicial
     4            efficiency ståndpCIint anci i think in faÌrness to
     )            the defendants to be able tc defend these types
     6            of actions in one fcrum I thínk is just
     1            fundanentaiiy fair"     So T'm not goi-ng Èo exe:císe
     B            the discretion and ailow Èhis natter to continue,
     9            as such. Given that the federal action is
                  pendinE, it's   incumbent upon the Court to stay
 1I               these prcceedj.ngs, not to dismiss thern. but to
12                simply st.ay them as I appreciate the law in this
1?                matter.
14                     Sc accordingly, the Court ì-s going to grant
1i
LJ                the Exception of Lis Pendens and st.ay t.he
76                pr:oceedings in this case. f 'm nol goi_ng to make
.L!               a ruiingi because I think at this point the issue
                  of v¿helher ôr not the expedited discövel:y issue
ìc                is moot" So I'm not going to make a ruling on
?-n               that particul"ar issue. However, if the Fifth
2L                CircuÍt reverses me on 1is pendens except.ion. I
22                will give you a hearing right away with regard to
23                that issue ä,s soon as it   comes back, íf   it   cones
¿¿)               back, so t,hat that issue cån be addressed in a
25                timely fashion at that point   -


26                     That being said, counsel". if you,ll prepare
n1
                  a judgnent to that effect, Exception of Lis
28                Pendens is grânted granting a stay of these

IY                proceedings untii such time as -- as what?
J'..,             That's f,he question. Until such time as the
3i                federaÌ litigation    is eiEher remanded or a class
1)                is certified.




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      I           MR. MTMS:

      2                   f think certification would be the key
      3           issue, whethec that would be in --
      .1          THE COURT:
      (                   Ialell, if it's remanded. then ir's going to
      6           co:ne back and then at this      point, actually, this
      1           case wouldn't be here because this case wou.l-cì
      B           then go to the lowest filed nu¡nber in Jeffe:son
      I           Parish, whích I think is Divísion E case.
 1.0              MR. MIMS:
 ii                       Well, whether itts   remanded or not, it'11
 IZ               still     be a class acLion and so we woul_d. still   be

L3                in the same place of waiting.
 i¿               THE COURT;
'I:
:J                        ï guess you're right.
                                              I guess it would be
a/
 rn               remanded as a clåss action. It wouldnrL *- yeah.

:7                unless -- f guess it would still       be remanded as a
                  class action.
i9                MR. MIMS:
¿L;                       I believe certification in either scenari<:
2T                is going to be the key here.
22                THE COURT:

23                        Þlell, that ralses a:L interesting questicn,
24                though, because if at this point because it's         a

25                federal action f grant the Exception of Lis
26                Pendens and o:der the stay of these proceedings,
21                if it's    remanded and then the ciass action
'>;.
                  becomes a state court action, then the Lis

29                Pendens Exception v¡ould be that thi s matter wculd

30                be dismissed?
31                MR- MIMS:

32                        Correct. Your Honor. Dismissed without
                                                                            34




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           1      prejudice pendíng the class certificaticn
       2          deci s ion -
                  THE COURT:

       4                That makes for a weird jud.gment.
       q
                  MR, MTMS:

       6                We'd be happy to work on that language and
       1          I'm sure Mr, Neuman and I can come to some sort
       I          of agreernent on that "
       9          THE COURT:

                        Yes. AIl right.     So at this point 1et's
                  just take it one step aL a time anci lhat way I
 I2              won't get ahead of rnyself . So let's just -- the
13               judgment v¡iÌl be thar rhe Court is granting the
 .t4             Excepticn of iis Pendens and that this matter is
 1.5             stayed pending a resolution of the federal action
16               by rernand or cl-ass certifÍcatÍon.    If it, s
                 remanded, t.hen, Mr, Neuman, obviouslyr foü,re
1.8              going tc have some differenl issues ihat are
 tv              there t.hat we'lI have to deal r^rith and i.hen we'l_i
20               deal with those at the appropriate Lime, if
2L               necessary. But I still     say if it gets remanded
22               back to .state côurt, then this action should be
23               consoliciated. wi-th the lawest filed number in
¡>
     ,¿t
                 state court and I don't think that'.s going to be
                 me. I think that's Division ã,, as i appreciated
26               ihe filing numbers, but that'tl    be a different
.¿l              question.
zö               MR. MIT{S :

                        "I agree. At this pcint it makes sense to do
*r0              a ståy until either remand or class
31               certification--                        i



                 THE COURT:

                                                                      35




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     Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 184 of 434




       1
                               Class certification.
       ,}
                     MR. MTMS:

       3                      -- and vre can revisit those issues if   we

       4             neeci t.o down ihe road.
       5             'îL¡Ê
                      rTIL   ñrlIIDN.
                             çVV¡\I     r


       €,
                              Ail right.           Thank ycu.
       -!
                                            (ÐND OF PROCEEÐINGS}

       I
       I
 :"ü

 .:. .:.


 1)


 ,1,   J


 14

 IJ


16

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24



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3i
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                                                                            J?6




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                                                 CERTIFICATE

                    STATE OF ],OUTSIAN.A

                    PARISH O8'JEFTERSON

       q            ï.t GitüÀ RUIZ PATIN, CDR, Certified Digital Reporter,
      5    in anci for the state of Louisiana, ernproyed as offi-cial
           court Reporter for he lwenty-Fourth Judicial District
      ?    court-, fol the state of Louisiana, blas not the court
      I    Reporter on this case, however, do hereby certify that the
      a    ahove was transcribed und.er my perscnar- direction and
 t0        super'risÍon, and is a true and correct transcripticln of
 i1        proceedings i:o the best of ruy ability an.d undersEanding
 !2        before Stephen Grefer. presiding Judge, on January 24,
13         2.4i9;
14                  That I am not. of counsel, nor related counsel or to
15         the parties hereto, nor am r otherwise interested in the
if;        cutcone cf this matter-
j*r                 This certification i-s valid only for a transcript
           accompaniecl bv my originá]             signature and original seal on
i9         thj-s page "
') ("
                    .Si.gneci ih:s       6th day of February, Z0Ig.
2i
                                     f
2.2_



23         GINA RUIZ PATTN

21         Cerlified Digital Reporter
25         Certifícate #1032018
26

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                                                                                    Ji




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                                                                                    DEPUTY GLERK'

              2¿ruJtDIcrÄL DrsrRrcr FORTITE pARrsH oF'JEFx'ERsoN
                                                                                                       n5
                                                                                                       v,
                                                                                                       ,*3q
                                                                                                       \s'
                                    STATE OFLOINSIANA

 NO.790-369                                                                          DIYISION "J"

                                 FREDERICK ADDISON, et aI.

                                             VERSUS

                  LOUISIANA REGIONÄL LANDFILL COMPA¡IIY, et. al.



                                           JUDGMENT

        This cause came before the Cou¡t for heariug on Thursda¡ January 24,2A19 on the

 Declinatory Exceptions of Lis Pendens filed by defendants Waste Connections U.S., Inc. and

 Jefferson Parish, and the Request For Expedited Discovery For The Purpose Of Entering And

 Inspecting The Subject Landfill And Motion For Expedited Hearing filed by Plaintiffs, where the

 following were present:

                Michael Mims and Megan Brillault cormsel fo¡ \Maste Connections U.S., Inc.;

                Peter Connick, Michael Futrell, and Matthew Moghis, counsel for Jefferson
                Parish; and

                Barry Neuman, Byron Forrest, Nicholas Cressy, and S. Eliza James, counsel for
                Plaintiffs.

        The Court, having considered the pleadings, memoranda and exhibits filed by the parties,

 a¡rd the argument of corursel, and for the ,"uron, orally assigned, does hereby:


        ORDER, ADJIIDGE AÌ'{D DECREE that the Declinatory Exceptions of Lis Pendens

 filed by defendants Waste Co¡urections U.S., Inc. and Jefferson Parish are hereby GRANTED.

        IT IS FIIRTIüR ORDERED, ADJUDGED Á¡[D DECREED that the above
 captioned action is hereby STAYED until such time as the Eastem District of Louisi¿na orders a

 remand of any one of the Related Class Actions, which a¡e defined as lctech-Bendeck v,

 Progressive Waste Solutíons, No. 2:18-cv-078S9 (8,D. La.), Thompson v. Louisiana Regiohal

 Landfi.tt Company,No.2;i8-cv-08071 (8.D. La.), Bernardv, f¡ifjþê'iiive Wa*e Sotutions of LA,

 Inc,, 2:78-cv-08218 (8.D. La.), Landry-Boudreatn t,. Plbgrtssive Waite Solutí'ons 9f Lt!, Inc.,

 2:18-cv-09312 (8.D. La.), or until such time as the Eastem District of Louisiana rules on class



                                                                                    EXHIBIT

                                                                                      A-q


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      ?ì
tj'




           certification in   -y one of the Related Class Actions, after whic.h time the parties may seek
           appropriate relief ûom this Cou¡t consistent with the reasons oraliy assigned he¡eirr

                   IT IS FURTffiR ORDERED' ADJUDGED AND DECREED that the Rcquest For
           Expedited Discovery For The Purpose Of Entering And Inspecting The Subject Landfill And

           Motion For Expedited Hearing filed by Plaintiffs is hereby DENTED as moot

                   JUDGMENT RENDERED, READ AND SIG¡IED on this                                   /&,day of
                                                                                                 (!
                                           2019.




                0W¿S                                                                               3.Jr2

           (gov'l)
                                              RULE 9.5 CERTMICATE

                  I certifr that I circulated this proposed judgment to counsel for all parties by e-mail on
           January 28,2019, and I have allowed at least ñve (5) working days béfore presentation to the

           Cou¡t. C'ounsel for Jefferson Pa¡ish indicated that it Lä no objection to this proposed judgment.
                              t,

           Counsel for Plaintiffs requested that this proposed judgment be revised to add the sentence: ,,The

           Court finds that the holding of Aísola v. Loußiana Citizens Property Ins. Corþ.,180 So.3d 266

           Q-a- lt/l4ll5) is binding authority on this Court and mandates that the exception of Lis pendens

           be and hereby is sustained." Counsel for lVaste Connections U.S., Inc. and counsel for Jefferson

           Parish both object to this revisior¡ as it does not ûrlly and accr.¡rately reflect the reasons orally

           assigned by the Court.




                                                         Certified     4thday of February 201e.




                                                                     c.
                                                         Counsel for Waste Connections U.S,, Inc.,




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                                                                                                           i -'-i.J:'---"


              illll lriil tiltilililTili tffiililillfr ithlilil                                               .;,llllillllllllilllilllllllllililillllilllllllllilllllllilllil
                      /¿                             -..:.{ ê
          i



                                                     '¿l '         Þ.




                        (101) CITATION: CLASS ACïON PETITION FOR DAMAGES / REQUEST
                       FOR WRTTTEN NOTTCE; EX PARTE MOÍ¡ON AND ORDEi.nr.rti
                                                                                                                                                                 1 80726-4031   -3
                       INGORPORATED MEMORANDUM rN SUPPORT gn X PARTE MOTTON TO
                       APPOINT INTERIM CLASS COUNSEL

                                                                    "r¡               24TH JUDICIAL DISTRICT COURT
                                                                                          PARISH OF JEFFERSON
                                                                                           STATE ÒT TOUISIRI.IR.

                         ELIAS JORGE ICTECHJBENDECK, ELIAS GEORGE
                       ICTECH-BENDfCK '
                            versus'..r                             .Case: 785-955. Div: "H"
                       PROGRESSIVE WASTE SOLUTION OF LA INC, WASTE
                       CONNECTIONS US INC, IESI LA LANDFILL         P 1 ELIAS JORGE tCTEpH-
                       coRPoRATlON, LOUtSIANA REGTONAL LANDFTLL    BENDECK
                       COMPANY ]NC, APTIM CORPORATION, PARISH OF
 s{'
 F.Í
                       JEFFERSON
 "!'i.
 *gi
H.                    To: LOUISÍANA REGIONAL LANDFILL COMPANY tNC
 ii,.'-
                      THRU ITS AGENT
  ;
                       CORPORATION SERVICE COMPANY                                                                              EBR# 15955 $139.44
                      501 LOUISIANA AVE
                      BATON ROUGE LA 70802


                     PARISH OF JEFFERSON

                    You are hereby summoned to comply with      demand contained ih the CLASS ACTION
                    PETITIO N FOR DAMAGES./ REQUEST FT                      NOTICE /.EX PARTE MOTION AND
                    ORDER AND INCORPORATED MEMO                      IÑ SUPPORT OF EX PARTE MOTION.TO
                    APPOíNT ÍNTERIM CLASS COUNSEL                   a true and correct copy accom panies this
                    citation, or make an-aþpearance either        a pleading or otheiwíse, in the 24th Judicial
                    District Court in and for the Parish of J  n, State of Louisiana,-within FIFTEEN (15)
                    CALEN DAR days after the service hereof, under penalty of default.


                    This service was requested by attorneyvAL p..ExNlclos and'was issued by the Cterk of Court
                    on the 26th day of July, 2A18.
                                                                                                                                  I                     /" .)
                                                                                                                                              \
                                                                                                                                      l: ",
                                                                                          Lisa
                                                                                          Jon A. Gegenheimer,
                                                                                                                                                                    t
                                                                                                  ^i


                                                                                                                                               "ìrjf:
                                                                                            SERVICE INFO RIV1A                                {t

                .- (101) CITATION: CLASS ACTION PETITION FOR DAMAGES I REQUEST
              . . 'INCORPORATED
                    FOF,ITRITTEN NOTTCË ; EX PARTE MOTION ANT ORÞER AND '..
                                                                                                                                                                 1 80726-4031   -3
                                                                  MEMORANÐLlfi¡t'lN SUPPORT OF X PARTE MOTTON TO
                                                                                                       '
                     APPOIÑT INTERIM CLASS COUNSEL

                   Receiv'eo:- :-                                 Sérved:                   Retumed:


 " ",' -.ServicÆwasmåde:
        . ,"'       Personal                                                    _    Domicilary                                                              !
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                                 No such address
                                 Other                                          -_ Need apartmÇnt / building number


                   Completed
                   Par¡sh of:


                                                                        Thoraas r. Þonetoi Cburtiroi¡s'e : 200 Derbigny.S! icretna LA 70053
                  .Page 1 of 1
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                                                                  *r*,ril#"i$iffiif
                                             STATE OF LOÏ.NSIANA

       NolB:_l5s                                                               orvrsron
                                                                                           [{
                                     JORGE,.GEORGE'' ICTECH-BENDECK
                                              VERSUS
             PRoGRESSTyE WÀSTE SOLUTIONS OFLA,INC., WÁ,STE CONNECTIONS, US,
             INC., rESI LA LAIIDTqILL CORPORÄTION, LOUISIÄNÄ REGIONAL LANDHLL
                coMpANy, rNC. , APTIM CORPORATION, AND PARISE OF,JEFFERSON



                                                                DEPUTY CLERK

                                ctÄstá,cÏTtr,¡ PsrIlL0N r0& pÁIvrAcEs
                The petition of nr,U.s J0RGE "GEORGE' ICTECH-BENDECIq a person of rhe full

       age of majority and are'sident of and domiciled. in the Pa¡ish of Jefferson, State of Louisiana, on

      behalf ofh;-"elfand all other similarly situated persons residing in andlor domiciled in the effected

      areas ofJeffersoa Parish, with respect represents rha*


                                                         I.
                Made Defendants. in this ciuse of actior are:

         '      1-PROGRESSIVE\ü¿,STESOLUTIONS Of U.,nVC.,aforeigncorpo¡aüonauthorized

      to do and doing business in thìs Parishand Staæ;

               2.ÏVÄSTE CONNECTIONS,US,D',{C., aforeþcorporationauthorizedto jo anddoing

      business in this Parish aad State;

               3' IESI LA LANDFTLL CORPORA.TION, a foreign corporation áuthorízed to do and

      doing business in this Parish and State;

               4. LOUISIANA RÈGIONÁ,L LANDFILL COMPÄ¡ty, INC., a foreign corporatictn

      authorized to do and do'ing business in this Pa¡ish aod Stat";

               5.,AITIM CORIORATION, aforeigu coçoration authorized to do aria doing business in

      this Pa¡ish and State;

               6. PARISE OF JEFFERSON, a'LouÍsiana municþai parish in the State of Louisiana.




                                                       tr.

               Defendants are jointly, severally and in solido indebted unto your Petitioner and all those




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òà


      similarly situated, for general and special aarnäges suffe¡ed by Petitioner and all those similarly

      situated       a sum sufücient to fully çþmFensate hi¡a/herlthem for all of his/herltheir damages,
                 î
      together with legal interest,'and for all costs, for this, to-wit:

                                                         m.
                                            T]¡{DERLYING FACTS

              On or about August 1,2017 the purported "sanitary solid waste" facility/landfill owned by

      Defendant Jefferson Parish a¡rd known as the Jefferson Parish landfitl (hereinaffer JP Landfilt) that

      is located in Waggamqn, LA began to emit noxious odors, believed to consist primarily of methane

      and hydrogensulfide gases, into areas surrounding the JP Land.frll. The sunounding neighborhoods,

      including but not iimited to tho.se located in Waggamaa LA., River Ridge, La. and Harahan, La.,

      expèriencbd said noxious odors on various days and at various timès ofthe day and night depending

      upon the then prevailing wind direction crossing over and/ór othenvise emanating ûom the site of

      the JP Landfill. The emission of said noxious odors continue to date Lffiling, continued ioto the past

      approximate 1 I monthperiod and are asserteà to likeþ continue into the fores.eeable future such that

      the emission has been and will be a continuous tort into the foreseeable ñrture.

                                                         rv.
                                           DET'ENDAJYT PÄRTTES

             TheJPL¿¡rlfill i5, and/orwas atrelevanttimes, ownedbyDefendantJEFFERSONp¿RfS¡i

      and is, a¡rd/or was'at all ielevant times, being operated pursuant to contracts issued by Defendant

     JEFFERSONPARTSH to Defendants IESILALAIIDFILL CORPORÁ,TION, (hereinafter
                                                                                                 IESI-LA)
     awhollyownedsubsidiaryofDefendantPROGRESSIVE\¡/ASTESOLUTIONS                        OFLA,INC., rhat
     was in turn acquired by Defenda¡t TMASTE CONNECTIONS, us, INC.

             IESI-LA is contolled by itsp*.*.orporations PROGRESSfVE WASTE SOLUTIONS,
                                                                                                       OF

     LA, INC. and/or v¡AsrE C0NòIECTIONS, us, INC. and is rhe ..alter ego,, of said parent

     corporation(s) and operates without autonomy and oniy pursuant to the directions, policies
                                                                                                       and

     procèdures ofitsparentcorporation(s); as suc\ saidpæentcorporation(s)
                                                                                areliableforallnegligent

     and/or othelwise bad acts of its wholly owned subsidiary(ies), IESI-LA'and/o¡
                                                                                            LOUISIANA
     REGIONAL LAI.{DFILL COMPA}IY, INc..

             IEsl operated and mirriaged (aad/or mis-managed) the JP landfill from the date of the initi¿

     omissions of noxious odors in Augus! 2017 andit i, tUo. liable fo¡ all damages
                                                                                          sustained. fiom

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August 7 ,2(i77 to the date of its corporate name changg to wit IESI recently changed its corporate

na:neisJun%2018toLOIISIANAREGIONALLANDI|iLLCOMPANY,INC.                            (lrereinafterlRlC)

and LRLC is the cu¡rent operator and manager (and/o¡ mis.¡nianagø) of the JP Landfill and is thus

liable for ail damages sustained ,since its corporate name change to date of just and equitabie

adjud.ication, and into such futrre date as the emissions cease, if ever

       .DefendantAPTTMCORPORATION,baseduponinformationandbelief,manages, orinthis
      -.
case, mig-¡1anages, pursuant to contract and/or subcontracf the gas and/or leachate collection

system(s) of JP Landñll that, in addition to the site's liquid índustrial waste, residential sewerage,

comme¡cial waste, and improperþ covered solid waste is at least one'þoint source" oflhe noxious

odors and gases emanating from the JP lanr1fill.'

                                                  v.
                            PRO)ilMÄTE C^A.USE AND BAD ACTS

The sole proximate cause ofthe abovedescribed emanations of doxiouÈ odors and gases is and was

the strict liability, breach of conû'aetual obligations and/or negligent acts ofDefendants, which shict


liability, breach of contoactual'obligations and/or negligence consists more particularly, but not

exclusively, of the following:

        1.      violation of civit code Articles 667, 669,231s,2316,2317,2317-r,2322 and

                applicable environmental n¡lbs and regulations promulgated by the State oflouisiana

                and/or Louisiana Departrent of Envi¡onmental euatity (LDEQ ;

       2.       Faihue to properþ operate aod/or manage a solid waste "sanitaf' landfiil in a

               manner that does not cause hann to others, and in particular, to its neighbors;

       3-      Failure to take all reasonable action to avoid causing harm as set forth herein;

.      4.      Failure to prevent the emission ofnoxious and harmûrl odors and gases into and onto

               the persons and properties ofthe surroundi.g neighborhoods;

       5.      Breach of conkactual obligations ofwhich Petitioner and all those similarly situated

               are.third parfy beneficiaries of the contuact(s) between.Defenrdant Jefferson parish


             , and all other Defendants named herein that cause(d) har¡n to Petitioner and all those
               similarly situated. inæ U" seeks to represent.

                                                 YI.

                                            DAIV[]\GES

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              As a'consequence ofthe acts and/or faüures to act and/or breach of duties and/or obligations

      and resulting tegall-y cognizable damages; Petitioner and all those similarly situated, sustained-

      dem¿gss as follows:

              A.      Past present and fütu¡e nuisance daanages;

              B.      Past, piesent and ñrture diminution in property value.

                                                      \rr (a).

                                                 ARTICLE 893

              Pursuant to La. Code of Civil Procedure Article 893, Petitioner q?ys
                                                                                       -d/or ur."rt that the
      sum in da:nageS sought by and for any individual petitioner herein be 4nd is grdater than.the

      .jurisdicdonal amount necessary for tial by jury.

                                                      vfl.
                             CLÀSS .A.CTION PROCEDURAL PROVISIONS
                                                                                        .

              Petitione¡ seeks to proceed as a Class Äction pursuant to Louisiana Code of Civil Procedure

      Artícle 591, etseq., individualiyandas classreprasentativeonbehalfcifaclass ofPlaintiffs similarly

      situated. but as yet fully identifiçd, as Plaintiff herein iepresents that he has sustained legally

      cognizable da:nages commonto all those similarlysituatedwho incu:ed suchdarnages arisingfrom

      tlre direct and proximate result ofthe wrongûrl conduct of Defendants as set forttr herein, and/or by

      those for whom they are legally responsible purzuant to the doctrine of respondiat superior,

      employer-employee, mastei-servant and/or as otherwise authorized by statutory law and/or

      jwisprudence.

                                                     vII (¡)
              PetitionerÆlaintiffpioposes thatthe Class be defined as:

              "All persons domicileä of and/or within the ParisþgfJeffersor¡ (except Defendants'
              employees and a¡propriate court personnel involved in the subject âction at the
              distict and appellate levels), who sustained legally cognizable damages in the form
              ofnuisancq interference withthe çnjoyment oftheirproperties a¡d/or diminution in
             value of their properties. as a result of the DefeBdant(s)' acts that caused the emission
             ofnoxious odors and. gase. into and unto their persons and properties".

                                                     vrr (b)
             This action is apþropriate fo¡ detemrination tÏ¡o"sb utilization ofthe Louisiana class action

      procedural device,towit:LouisianaClaslActionProcedure Articles (La. C.Civ.P. Art.59l,etseq.)

      for the foilowing reasons:


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.r)




           1.       NUMEROSITY

                     While the exact numbe¡ of and ideniities of the class members are rmknown at this

                    time, they may be ascertained tbrough appropriate discðvery and Plaintiffis of the

                    information ánd belief that the class of Plaintiffs clearly consists of persons

                    presenting a level ofnumerosity better handled through tha class action procedural

                    device;

           2.        COMMON QTIESTIONS OF LA\ryAND FÁ.CT

                    There are common questions of law and fact applicable to all class members and

                    which predominate over individual questions, which include, but a¡e not limited to:

                    *h"thet the damages were a result of the wrongful conduct of Defendant(s);

           3.   . TYPICALITY,

                    The cl¡ims.of the class rçresentative as named herein are typical of the cla.ss

                    membershe seeks to represent and the defenses of Defendants are typical as to tlre

                    Plâintiff and class -"*b"r, in that all seek damages arising ûom the wrongf:l
                '
                    conduct of Defend¿rnts as allpged herein;

           4.       ADEQUÁ.CYOF'.REPRESENTATION

                ' Plaintiffwill fairly and. adequateþ represent tlrç inte¡ests of the class, and the class

                    representative herein is represented by skilled attonreys who a¡e experienced in tle

                    handlíng of mass tort class action litigation, and who will handle this action in
                                                                                                        an

                    expeditious and economical manner, and alt in the best interests of all members
                                                                                                        of
                the class; ñirther, undersigned counsel vai pat¡ick Exnicios, Erq. ...u"u å

                Chairma¡ of the Louisia¡a State bar Association's Class Action, Mass
                                                                                                Torts &
                Complex Litigation Section, and as Co.Chairma¡oftheLouisiana
                                                                                       Supreme Court,s

                Class Action" Rules of Professional Conduct and. MDL Cornmittee
                                                                                        arrd is p* tooo

                ethics counsei to several plaÍntiffand defense law fi::ns and
                                                                                is a frequent lecturer at '

                CLE presentations and at area law schools on both ethics and professionalism
                                                                                                   in the
                practioe ofiaw in t¡is State; as such, he is üigbly skilled
                                                                                in the prosecution aod
                rnanagement of actions w.herein the Cor:rt has determined. that
                                                                                       tbe elass action
                procedural device
                                     1" the most unor*nua" means to manage mass and/or complex

                litigatiorl and highty skilled as to the Louisiana sopr"-e Court,s
                                                                                              Rules of

                                                    5




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                         Professional Conduct applicable to saidprocedu¡al device and mass and individual

                         client representation actions -

      . 5.               OBJECTTVECLÄSS DEF'IMTION

               '         This Class is (or may beas this Honorable Cor¡rt determines) defined objectively in

 .                       ter¡ns of ascertainable criteria, such that the court may detennine the constituency of

                         the class for purposes of the conclusiveness of any judgment that may be rendered

                         in this case.

            6.          .RISK OF PROSECUTING SEPÅRá.TE Á.CTIONS

                       ' The prosecution ofseparate actions by individual members of the cl^, would create
        '                a ¡isk of inconsistent and/or varying adjudications with respect to individual
                   ' membe¡s of the class which would estabiish incompâtible standards of conduct for
                        theparty(ies) oppoçingthe class, oradjudications withrespectto individualmembers

                        of the class whicÈ would as a practical maifer be dispositive of the intererì, of tt
                                                                                                                      "
                        other members notparties to the adjudications or substantialiy impair orimþedetheir
                   .
                        ability to protect their interests.

            Lastly, the Louisiana Class Action Procedure affords a superior vehicle for the efficient

 disposition ofthe issues and claims hereinpresented, especially since individual joinder
                                                                                                         of each of

 the class members is impracticable- I¡dividual litigationby each ofthe class members,
                                                                                                     besides being

 unduly burdensome to the Plaintiffs, would also be unduly burdensome and expensive
                                                                                                       to the cou¡t

 system, as well as to tþe Defendants.


                                                           vq
                                            PRAYER FORRELIEX'

        IVHEREFORE, Plaintiff ELIAS JORGE "GEORGE ICTECH-BENDECKprays
                                                                                                            thar a
copy of this Petition be served on each Defendan! and that they
                                                                            each be cited to answer s¿ure within

the delays alloqed by law andthat, afrer due proceedings me
                                                                          had, that the class be certified.and that

apprdpriate Notice be iszued, a:rd ùat judgment agaimt Defendants
                                                                                  be granted. in favor ofplai¡rtiff

and all those similarly situated be entered in an amount to
                                                                       be àetenained at hial by the trier of fact

reasonable in the premises for i4iuries, harms, damages, and
                                                                             losses as set forth above, special

damages, äpplicablepenalties (ifany), costs, expertwitness
                                                                        fees, attomeys, fees, filingfees, pre- and

post-judgment interes! ali otle¡ iniuries and damages
                                                                     as shall be proven at triai, and such other

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 fiuther relief as the Court may deem appropriate, jusÇ and proper as the law allows-

                                                      Respectfully submitted,

                                                     Lìska, Exnìcios, &




                                                      Val                  TA       Bar #19563)
                                                      Kelsey L.        (LA Bar #37368)
                                                     MaxN. Tobias, Jr. (LA Bur# 12837)
                                                     Liska, Exnícíos & Nungess er
                                                     1515 Poydras Steef, Suite 1400
                                                     New O¡leans,LATAILZ
                                                      Telephone: (504) 41 0-961 1
                                                      Facsimile: (504) 410-9937

                                                     FAVRET, D EIVL4RES T, RUS S O,
                                                     LATKETí'ITTE E SCIUAMBURG
                                                     A Professional Law Co¡poration
                                                     Seth H. Schaumburg, No. 24636
                                                     A.nthony J..Russo, No. 8806 .
                                                     Dean J. Favret, No. 20186
                                                     Angel4 C. Imbornone, No. 19631
                                                     Lauren,4.. Favr:et, No. 33826
                                                     1515 Poydras Steet, Suite 1400
                                                     New Orlea''.s, Louisiana 7jll2
                                                     Telephone: (504) 561-i006
                                                     Facsimil.e: (504) 523-0699

                                                     Douglas Ilammel, LABAR#( 26915)
                                                     Attorney at Lâw
                                                     3129 Bore Street
                                                     Metairig La.70001
                                                     504.304.9952 phone
                                                     544344.9964fax
                                                     ,4ttomeys þ r P I ø íntff an d t h e P rop o s e d C lass




P,LEá.ffiSr'#r&
PROGRESSTVE \ryá.STE SOLIJTIONS OF Lá,, INC. .
Through its Agent
Corporation Service Company
501 Louisiana Ave.
Baton Rouge, LA 70802

WASTE CONNECTTONS, US, INC.
Via long arm througii its.Agent
Corporation Se¡vice Company
251 Little Falls Drive
Wil¡nineton, DE 19808

IESI LA. L.ANDT'ILL CORTORÂTION
Through íts Agent
Corporation S ervice Company
501 Louisiana Avenue
Baton Rouge, I-A,7A802
                                                                A          COPY OF THE ORIGINAL              .-J




                                                7                          IN THIS OFEICE.


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                                                                                       t " r r 11 * Â




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    LOUISIANÄ REGIONÅL tÀIiDFtr,L COMPå}TY, INC.
    Througbits Agent
    Corporation Service Compaay
    501 Louisia¡a Avenue
    Baton Rotrge, LA 70802



    AP}IM CORPORATTON .
    Through its Agent
    CT Corporation System
    3867 Plaza Tower Dr.
    BatonRouge, LÁ 70816.

    JEFTERSONPÄRÍSH
    ibrough the Parish Attq¡:r¡g
    Michael J. Power
    1221 Elmwood Park Blvd., $úte 701
    Jefferson" IÁ,78L23




                                        B




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                         UNITED STATES DISTRICT COURT
                     FOR THE EÄSTERN DISTRICT OF LOUISIÄNA

ELIAS JORGE "GEORGE"                                CIVIL ACTION NO.r
TcHTECH-BENDECK
     Plaintiff

VERSUS                                              SECTION

PRO GRESSTYE \ryASTE SOLUTIONS
oF LA., rNC., \ilASTE CON¡IECTIONS                  JUDGE:
US, INC., IESI LA LANDFILL
CORPORATION, LOT]ISIANA REGIONAL
LANDFILL COMPAì¡-Y, r¡tc., APTIM
CORPORATION, ANÐ PARISH OF                          MÁ.GISTRÁTE JUDGE:-
JEFFERSON,
     Defendants.


                                   NOTICE OF RAMOVAL



       Defendant Vy'aste Connections US, Inc., hereby removes Case No. 785-955 from the 24th

Judicial District Court for the Parish of Jefferson, State of Louisiana, Division H, to the United

States Dist'ict Court for the Eastern Distuict of Louisiana pursuant to 28 U.S.C. $$ 1332, 144i,

1446, and 1453, on the basis of diversity jurisdiction under the Class Action Fairness Act of

2005 ("CAFA"), and as grounds for the case's removal state the foilowing.

       1.      On JuIy 25, 2018, the Plaintiff fi.led a Class Actíon Petition for Damages

("Complaint") in the 24th Judicial District Court for the Parish of JefÊerson, State of Louisiana,

Division H, styled Elias Jorge "George" Ictech-Bendeck, v. Progressive Waste Solutions of LA,

Inc., Waste Connectíons US, Inc., IESI LA Landfill Corporation, Louisiana Regional Landfll

Company, Inc., Aptím Corporation, and Parkh af Jffirson, Case No. 785955.




                                                                                 EXHIBIT

                                                                           ä \t-L



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         2.       Defendant Waste Connections US, Inc. was sewed on July 30, 2018. This Notice

of Removal is timely under 28 U.S.C. $ 1446(b).

         3.       Under 28 U.S.C. $ 1446(a), copies of all process, pleadings, and orders served

upon Defendants are attached as Exhibit A.

         4.       This Court has subject matter jurisdiction over PlaintifFs claims under CAFA.

Original jurisdiction in this Court exists under CAFA if the litigation is a "class action" as

defined by CAFA, "ttie matter in controversy exceeds the sum or value of $5,000,000,'o and "any

member of a class of plaintiffs is a citizen of a State different from any defendant," 28 U.S.C,

$1332(dX2).

         5.       CA-FA defines a "ciass action" as "any civil action fiied under rule 23 of the

Federal Rules of Civil Procedure or similar State statute or rule or judicial procedure authorizing

an action to be brought by 1 or more representative persons as a class action-" 28 U.S.C.

$ 1332(dXlXB). Plaintiff specifically alleges his Complaint to bE asserted as a class action,

citing Louisiana Code of Civil Procedure Article 59L et seq. See Ex.A, Cornpl., $ VII. Actions

seeking class treatment under such provision are "class actions" for purposes of CAFA. See,

e.g., In re Kafrina Canal Litig Breaches, 524 FSd 700, ?05 (5th Cfu. 2008) (complaint fiIed

under Louisiana Code of Civil Procedure A¡ticle 591 is a class action for purposes of CAFA).

         6.       Plai¡tiffis a resident of, and domicited in, the Parish of Jefferson in the St# of

Louisiana. Exhibit A, Compl., at 1. Defendant Waste Connections US, Inc. is a Delaware

 corporation with its princþal place of business in The Woodlands, Texas. ,See Ex. A, Compl., $

I(2)'. t Thus, at least one plaintiff is diverse from at least one defendant in accord rl,ith 28 U.S.C.

 $ 1332(d).


 I
   Although Plaintiffcorrectly identifies Waste Con¡rections US, Inc. as a foreip corporation, Plaintiffmistakenly
 claims that Waste Corurections US, Inc. is authorized to do business in Louisiana.

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        7.     Plaintitralleges that he represents and brings this action on behalfofa proposed

class consisting of "[a]ll persons domiciled of and/or within the Parish of Jefferson, (except

Defendants' employees and appropriate court personnel involved in the subject action at the

dist¡ict and appellate levels), who sustained legally cognizable damages in the form of nuisance,

interference with the enjoyment of their properties and/o¡ diminution in value of their properties

as a result of the Defendant(s)' acts that caused *re emission of noxious odors and gases into and

unto thei¡ peßons and properties." Ex. A, Compl., $ VII(a). Plaintiff clairns damages in the form

of, among other things, "an emount to be determined at trial ... reasonable in the premises for

injuries, harms, darnages, and losses as set forth above, special damages, applicable penalties (if

any), costs, expert witness fees, attomeys' fees ... [and] all other injuries and damages as shall

be proven at trial ....' Ex. A, Compl., $ VIII. These pleadings implicate the jurisdictional

minimum under CAFA.

        8.     Original jurisdiction under CAFA exists whe¡e "lbe matter in controversy exceeds

the sum or value of $5,000,000, exclusive of interest and costs." 28 U.S.C. 1332(d)(2). in its

notice of removal, Defendant "need[s] include only a plausibie allegation that the arnount in

controversy exceeds the jurisdictional threshold." Dart Cherokee Basin Operating Co. v. Owens,

 135 S. Ct. 547,55 Q0I4); see also Robertson v. Exxon Mobil Corp.,8i4 F.3d 236,240 (Sth

Cir. 2015) ("[a] removing defendant can meet its bu¡den of demonstrating t]re amount in

controversy by showing that the amou¡rt is 'facially apparent' from the piaintiffs' pleadings alone

 ... the court [may] make common-sense inferences about the amount put at stake by the injuries

the plaintiffs claim'). The proposed class is undefined but, under the Complaint, may include

any person domiciled within Jefferson Parish. Ex. A, Compl. $ VII(a). On inforrnation and

belief, the population of Jefferson Parish is greater than 400,000 people. PlaintifPs prayer for



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relief on behalf of each member of the proposed class alleges damages that include past, present

and ñrture nuisance damages and past present and future diminution in property value. Plaintiff

also seeks speciai damages, applicable penalties (if any), and expert witness and attorneys' fees.

As a result, even a modest alleged damage amount for each proposed class member, plus

additional witress and attorneys' fees, would exceed $5,000,000.

        9.      For these reasons, the $5,000,000 jurisdictional amotrnt in controversy
requirement is satisfied. 28 U.S.C. $ 1332(d).

        10. The removal of this action to tlis Court is proper under 28 U.S.C. $ laal(a)
because the 24th Judicial District Court for the Parish of Jefferson, State of Louisiana, where this

action was originally filed, is within the federal judicial distict for the Eastem Dishict of

Louisiana.

        11. Defendant respectfully requests thæ this Court assume jurisdiction over this
matter and issue such orders and processes ¿¡s may be necessary to bring before it all the parties

necessary for the trial thereof.

        12. Defendant will fiIe a true and correct copy of this Notice of Removal with the
Clerk of the ?4lh Judicial District Court for the Parish of Jefferson, State of Louisiana.

Defendant has also served Plai¡tifls counsel with a copy of this Notice of Removal.

        WHEREFORE, Defendant Waste Connections US, Inc. hereby removes Case No. 785-

955 from the24thJudicial Disnict Court for the Pa¡ish of Jefferson, State of Louisiana, Division

H, to this Court pursuant to 28 U.S.C. g$ i332, 1441,1446, and 1453.




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                                   Respectfrrlly submiued"

                                   BRADLEYMURCHISON KELLY & STIEA LLC


                                   By: /VÐavidRTaggprt ,_                 , .   ..
                                           DavidR. TaggarÇ T.A.
                                           Louisiana Bar Roll No. L2626

                                   401Edwards Sbeet Suite 1000
                                   Sbreveport Louisiana 7 1 101
                                   Telephone: (3 18) 227 -113t
                                   Facsimile: (318) 227 -1141

                                   Michaei C. Mims
                                   I¡uisiana Bar Roll No. 33991
                                   JohnB. St¿nton
                                   Louisiana Ba¡ Roll No. 36036
                                   1100 Poydras St, Suite 2700
                                   New Orleans, Louisiana 70163
                                   Telephone: (504) 596-6300
                                   Fax (504) 596-6301

                                   Counsel for Defendant Waste Connections US, Inc.




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                         TINITED STATES DISTRICT COURT
                     FOR TTTE EASTERN DISTRICT OF LOUISIANA


ELIAS JORGE "GEORGE"                                 CIVIL ACTION N
ICHTECH-BENDECK,
     Plaintiff

VERSUS

PROGRESSTVE \ilASTE SOL{J"TIONS
oF LA, INC.,'WASTE CONNECTIONS                       JUDGE:
US, INC., IESI LA LÄNDFILL
C0RPORATION, LO{IISIÄNA REGIONAL
LANDF'ILL COMPAI.IY, TNC., APTIM
CORPOR{TION, AND PA,RISII OF,                        MÄGISTRATE JUDGE:
JEFFERSON,
       Defendants.

                               c-ERTm',rç,4.Tq o, { SER,V,ICE

       I hereby certifu that I have, on this 17th day of August, 2018, served a copy of the
foregoing pleading upon all counsel of reco¡d and the parties named herein by either serving the

counsel through the Court's ECF system, facsimile transmissiorq email or by placing same in the

U. S. mail, postage prepaid and properþ addressed to the following:

       Val Patrick Erricios, TA
       Kelsey L. Zeitzet
       Max N. Tobias, Jr.
       LÌska, Exnicios & Nungesser
       1515 Poydras Street, Suite 1400
       New Orleans, Louisiana 70112

       Seth H. Schaumburg
       Anthony J. Russo
       Dean J. Favret
       Angela C. Irnbornone
       Lau¡en A. Favret
       Favret, Demarest, Russo, Lutkewitte & Schaumburg
       1515 Poydras Street, Suite 1400
       New Orleans, Louisiana 70112




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      Douglas Hammel
      Attorney alLaw
      3129 Bore Sheet
      Metairie, Louisiana 70001

      Shreveport, Louisiana this 17th day of August,z}lï.




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       of trerrelf a¡d {Le d¿ss mnmbqs ihc rçresanu} *hidr damages inclcdu

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                  b) Past, prnsat ad futrue trcspaa darnrgag
                  c) Pa.nt, pre:en ûd lì¡tufi: ðiminution fur grapr.rty rahrc.



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                   Case 2:l-8-cv-08071- Document 1 Filed OBl23lLB Page L of 6




                                UNITED STATES DISTRICT COURT
                            FOR TITE EASTERN DISTRICT OF'LOUßIANÁ,

SAVANNÂH THOMPSON                                                  CIWL,A.CTION
    Plaintiff

VERSUS                                                             SECTIONT

LOIISIANA REGIONAL LA¡IDFILL
COMPAT{Y, F/K/A TESI LÄ LANDFILL
CORPORATION, \ryASTE C O¡{NECTIONS                                 JIIDGÞr
BAYOU, INC. FIIíA PROGR.ESSwE
WASTE SOLUTTONS OF L.A., INC.,
W,A.STE CONNECTIONS OF LOUISIANÁ.,
INC.,,A.PTIM CORPORATTON, AND                                      MÄGISTRÀTE JUDGE:
PARISI{ OFJEFFERSON,
       Defendants.


                                             NOrrcE qgREMgvAL

            Defendants Louisiana Regional Landfill Company,l V/aste Connections of Louisiana,

Inc., and Waste Connections Bayou, Inc.z hereby remove Case No. 786-137 from the 24th

Judicial District Court fo¡ the Parish of Jefferson, State of Louisiana, Division N, to the United

States District Court for the Eastem District of Louisiana pursuant to 28 U.S.C.
                                                                                           $$ 1332, 144I,

1446, and 1453, on the basis of diversity jurisdiction under the Class Action Fairness Act of

2005 (*CAFA'), and as grounds for the case's removal state the following.

            1-       On July 30, 2078, the Plaintiff ûled a Class Action Petition for Damages and

Injunctive Relief ("Comp1aint") in the 24th Judicial District Court for the parish of Jefferson,

State of Louisian4 Division N, styled Savannah Thompson v. Louisiana Regional Landfiil

Company f/Ha IESI LA Landfll Corporation, Waste Connectíons Bayou, Inc.
                                                                                       f/Ha Progressive
Waste Solutions of LA, Inc., Aptim Corparøtion, and Parísh of Jffirson, Docket No. 786-137.



'ûlc¡a lËsl LA LandfiüeorFôËtisn.
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    flkla l,rogressive Wâste $¡rlttio*; of LA, Inc. & fllc/a IESI LA Corporation.




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       2.      Louisiana Regional Landfill Company was served on August 21,2078. Waste

Cormections of Louisiana, bec. and Waste Cormections Bayou, Inc., were served on August 20,

2018. This Notice of Removal is timely under 28 U.S.C. $ 1446(b).

       3.      Under 28 U.S.C. $ 1446(a), copies of all process, pleadings, and orders served

upon Defendants are attached as Exhibit A.

       4.      This Court has subject matter jurisdiction over Plaintiffs claims under CAFA.

Original jurisdiction in this Court exists under CAIA if the litigation is a 'oclass action" as

defined by CAFA, "the matte¡ in cont¡oversy exceeds the sum or vaiue of $5,000,000," and "any

member of a class of plaintifFs is a citizen of a State different from any defendant." 28 U.S.C.

$1332(dX2).

       5.      CAFA defines a "class action" as "any civil action filed under rule 23 of the

Federal Rules of Civil Procedure or similar State statute or rule or judicial procedrue authorizing

an action to be broughit by I or more representative persons as a class action." 28 U.S.C.

$ 1332(dX1XB). Plaintiff specifically alleges her Complaint to be asserted as a class action,

citing Louisiana Code of Civil Procedure A¡ticle 59I et seq- See Ex- A, Compl., $ II. Actions

seeking class treabn"ent under such provision are "clâss actions" for purposes of CAFA. ,See,

e.g., In re Katrina Canal Litig Breaches, 524 F.3d 700, 705 (5th Cir. 2008) (complaint filed

under Louisiana Code of Civil P¡ocedure Article 591 is a class action for purposes of CAFA).

       6.      Plaintiffis a resident of, and domiciled rn, the Pa¡ish of Jefferson in the State of

Louisiana. Exhibit A, Compl., p. l. Defendants Louisiana Regional Landfill Company, Waste

Connections of Louisia"a, Inc., and Waste Corurections Bayou, Inc. a¡e Delaware corporations

with principal places of business in The Woodlands, Texas. See Ex. A, Compl., $ V. Thus, at

least one plaintiffis diverse &om at least one defendant in accord with 28 U.S.C. $ 1332(d).




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 217 of 434



              Case 2:18-cv-08071- Document           L Fíled A8l23lI8 Page 3 of 6


        7.     Plaintiffalleges that stre represents and brings this action on behalfofaproposed

class consisting of "[a]ll persons domiciled of and/or within the Parish of Jefferson on or after

August 1,2017 (except for Defendants' employees and relevant court persorur.el) who sustained

legally cognizable damages in the forn'l of nuisance, tespass, interference wíth the enjoyment of

their properties, and/or diminution in property value resulting from Defendants' acts that caused

the emission of noxious odors into and unto their persons and properties." Ex. A, Compl., $ IIL

Plaintitr seeks to hoid Defenda¡rts liable "for all damages arising from the emission of noxious

odors from the Jeffe¡son Parish Landfill" inciuding the costs for prosecution of the action and

interest. Ex. A, Compi., p. 10. These pleadings implicate the jruisdictional minimum under

CAFA.

        8.      Original j'üisdiction under CAFA exists where "tlre matter in contoversy exceeds

the sum orvalue of $5,000,000, exclusive of interestand costs." 28 U.S.C- i332(d)(2). In its

notice of removal, Defendants "need[s] include only a plausible allegation that the amount in

 controversy exceeds the jwisdictional tl¡eshold." Dart Cherolæe Basin Operatíng Co. v. Owens,

 135 S. Ct. 547, 55a Qü4); see also Robertson v. Exxon MobíI Corp.,814 F.3d 236,240 (5th

 Cir. 2015) f'[a] removing defendant can meet its burden of dernonstrating the amount in

 controversy by showing that the amount is 'facially apparent' from the plaintiffs' pleadings alone

 .. - the court [may] make common-sense inferences about the arnount put at stake by the injuries


 the plaintiffs claim"). The proposed class is undefined but, under the Complaint, may include

 arry person domiciled within Jefferson Parish. Ex. A, Compi. $    il. On informatiou and beliel
 the population ofJefferson Pa¡ish is greater than 400,000 people- PlaintifPs prayer for reliefon

 behatf of each membe¡ of the proposed class alleges damages that include past, present and

 future nuisance darnages and past, present a¡d fu¡re <liminution in property value. Plaintiffalso



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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 218 of 434


                Case 2:l-8-cv-0807L Document              L Fited 08/231L8 Page 4 of 6


 seeks special damages, applicable penalties (if any), and e4pert wiuress and attomeys' fees. As a

 result, even a modest alleged damage amount for each proposed class member, plus additional

 witness and attorneys' fees, would exceed $5,000,000.

         9-       For tlrese reasons, the $5,000,000 jurisdictional amount in controversy
 requirement is satísfied, 28 U.S.C. $ 1332(d).

         10. The removal of this action to this Court is proper under 28 U.S.C. $ 1a41(a)
 because the24th Judicial. Dist¡ict Court for the Parish of Jefferson, State of Louisiana, where this

 action was originally filed, is within the federal judicial distict for the Eastern Dishict of

 Louisiana-

         11. Defendants respectfirlly request that this Cou¡t assume jwisdiction over this
 matter and issue such orders and processes as may be necessary to bring before it all the parties

 necessary for the trial thereof.

         T2. Defendants will file a true and conect copy of this Notice of Removal with the
 Clerk of the 24th Judicial District Courl for the Pa¡ish of Jefferson, State of Louisiana.

 Defendants have also served PlaintifPs counsel with a copy of this Notice of Removal.

         WIIEREFORE, Defendants Louisiana Regional Landfill Company, Waste Connections

 of Louisiana" lnc., and Waste Connections Bayor:" Irtc. hereby remove Case No. 786-137 from

 t};Le 24lh Judicial   District Court for the Parish of Jefferson, State of Louisiana, Division N, to this

 Court pursuant to 28 U-S.C. $$ 1332, 1441,1446, and 1453.



                                      [Signatures on following pagel




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 219 of 434


          Case 2:18-cv-0807L Document   L Filed 0B/23l1S page 5 of 6


                                 Respectñrlly subrnitted,

                                 BRADLEY MURCHISON KELLY & S}TEA LLC


                                 By:     /.s/ìvlichael C-
                                         DavidR. Taggart, T.A.
                                         Louisiana Ba¡ Roll No . 12626

                                 401 Edwards Street Suite i000
                                 Shreveporf Louisiana 71 101
                                 Tele¡:hone: (318)227-1131
                                 Facsimile: Q78)227-t14r

                                 Michael C. Mims
                                 Louisiana Bar Roll No .33991
                                 JohnB. Stanton
                                 Louisiana Bar Roll No. 36036
                                 1100 Poydras St., Suite 2700
                                 New Orleans, Louisiana 70163
                                 Telephone: (504) 596-6300
                                 Fax (504) 596-6301

                                 Corursel for Defendants Louisiana Regional
                                 Landñfi Company, \Maste Connections of
                                 Louisian4 Inc., and Waste Connections Bayou, Inc.




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 220 of 434


              Case 2:18-cv-08071- Document l_ Filed 0B/23l19 page 6 of 6




                                 cERTmrçâTE oF SERYIç"E

        I hereby sertify that I have, on this 23rd day of August, 2018, served a copy of the
 foregoing pleading upon all counsel of record and the parties named herein by either serving the

 counsel through tlre court's ECF systenq faasimile fuammission, emait e¡ by plaeing same in the

 U. S. mail, postage prepaid and properþ addressed to the following:

        Anthony D. þino
        Louise C. Higgins
        Pearl Robertson
        lpino Avin& Hawkins
        2216 Magazine Street
        New Orlea¡s, Louisiana 20130

        New Orleans, Louisianathis 23rd day ofAugus! 201g"



                                                        /s/Miçhacl C-Min¡;
                                                         OF COUNSEL




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                   Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 221 of 434



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                             coMPÀNr INC., APTIM COnPOAAIÍOI{!.AI{D PARISH OF JEFFERSON

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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 223 of 434




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  r¿ne inJune of 2018 to LOUISLA.NA REGIONALIéI{DFILL COMP.A}IY,INC. fteceiaaûer

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          3.      Faih¡re to take all reasonablê action to ¿ysi¿l serrsing halm as set forth hereiq

          4-      Faih:retopreirerittüe e¡nission ofir,o'xious andhamful otlors and.gæesinto asdonto

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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 224 of 434




            5.      . Breach ofc¿¿kaaraal   obligations ofwbichPetitione¡s a¿d all those similarly siu:ated

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 A¡tisle 591, et seq., indivitluaily anil as class representatives o:r behalf of a class of Plaintiffs        (,ftt
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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 225 of 434




          "AI1persons dsmiailedofand/orwithiuthePa¡ishofJefferson, (exceptDefendarts'

          erylayeë and. agxopriate court persomel involved in the snbject action at fhe

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          Thís actios is appropríate for detømin*ionthrougb utäization ofthe LouisÍaúa class actiou

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  for the following reaso'us:

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                       represeutatíves herein arerepresentedby skiliect atiorneys who are experieucedÍn the




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 226 of 434




                   }íànéÌírtg ofmass tort class astion litigation, anil who will handle this actionin an

                   expeditious a¡d. econsnfcal manner, and all in the best interests of ail membe¡s of

                     e class; fintlrer, undeisign*ti Çounsel Brutc C. Bêtz€q
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                   procedr:ral d.evice and mass ¿¡rd inüvi¿ual elientrepresertation actions.

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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 227 of 434




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          WIIEBEFORE, Slrieüffi, LARRY BERNARD, SR. and MONA.BBR¡IÂRF, pray tbat a
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  post-judgme,nt rnteræ¡ all other injuries and dtrnågçç as shall be proven aÍ       ti4 and such_oûrer
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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 228 of 434




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 229 of 434


                Case 2:l-8-cv-0821-8 Document l- Filed 08/29118 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                         FOR TIIE EÅSTERN DISTRTCT OF LOUSIANA

LARRY BERNARD, SR. .A,Nn                                     CIVIL Á.CTION NS.;-
MONÄ. BERÏ{ÄRD,
         Plaintiffs

VERSUS                                                       SECTION

PROGRESSTYE WASTE SOLUTIONS OF
LA, INC., \MASTE CONIYECTTONS US, INC.
IESA [srcl LÄ L.{NDF'ILL CORPORÄTION,                        JT.IDGE:
LOUISIANA REGIONAL
LANDFILL COMPAI{Y INC., A.PTIM
CORPORATION, AND                                             MÄGISTRATE JUDGE:
PA.RISH OF JEFFERSON,
         Defendants.


                                        NOTICE OF REMOVAL

         Defendants Louisiana Regional Landfill Company, Progressive Waste Solutions of LA,

Inc., and IESI LA Landfrll Companyr hereby remove Case No. 786-54I fron the 24th Judicial

District Court for the Parish of Jefferson, State of Louisiana, Division H, to the United States

District Cor:rt for the Eastern Distict of Louisiana pursuant to 28 U.S.C. $$ 1332, 1441, 1446,

and 1453, on the basis of diversþ jurisdiction under the Class Action Fairness Act of 2005

("CAFA"), and as grounds for the case's removal state the following.

         1.      On August 10, 2018, the Plaintifß filed a Class Action Petition for Damages

f'Complaint') in the 24th Judicial Disfrict Court for the Parish of Jefferson, State of Louisiana,

Division H, sfyled Lørry Berrnrd, Sr-, and Mona Bernard v. Progressive Wøste Solutions of LA,




I The caption of Plaintiffs' petition
                                      íncorrectly names (i) IESI LA Landfill Corporation as IESA LA Landfill
Corporation, and (ii) Louisiana Regional Landfilt Corporation as Louisiana Regional Landfill Corporation lnc.
Further, Progressive Waste Solutions of LA, Inc. and iESi LA Landfill Corporation changed their names to lV'aste
Con¡ections Bayou, Inc. and Louisiana Regional Landfili Company, respectively.




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 230 of 434


               Case 2:l-8-cv-0821-8 Document l- Filed OBlz9lLB Page 2 of 6



 Inc., Waste Connections US, Inc. IESI Ld Landfill Corporation, Louisiana Regional Landfill

 Company Inc., Aptim Corporation, and Parish ofJffirson, DocketNo. 786-54L.

        2.      Progressive'Waste Solutions of LA, Inc. was served on August 2I,2018.IESI LA

 Landfill Corporation and Louisiana Regional Landfill Company were served on August 27,

 2018. This Notice of Removal is timely under 28 U.S.C. $ 1446(b).

        3.      Under 28 U.S.C. $ i446(a), copies of all process, pleadings, and orders served

 upon Defendants a¡e attached as Exhibit A.

        4.      This Court has zubject rnatter jurisdiction over Plaintiffs' claims under CAFA.

 Original jurisdiction in this Court exists under CAFA if the litigæion is a "class action" âs

 deñned by CAFA, "1fie matter in controversy exceeds the sum or value of $5,000,000," and "any

member of a ciass of plaintiffs is a citizen of a State different frorn any defendant." 28 U.S.C.

 $1332(dX2).

        5.      CAFA defrnes a "class action" as "any civil action filed under rule 23 of the

 Federal Rules of Civil Procedure or similar State staürte or rule or judicial procedure authorizing

 an action to be brougtrt by 1 or rnore representative persons as a class action." 28 U.S.C.

 $ 1332(dX1)G). Plaintifß specifically allege their Complaint to be asserted as a class action,

 citing Louisiana Code of Civil Procedure Article 591 et seq. See Ex. A, Compl-, $ VII. Actions

 seeking class teatment under such provision are "class actions" for purposes of CAFA. See,

e.g., In re Katrina Canal Litig. Breaches, 524 F.3d 700, 705 (5th Cfu. 2008) (complaint filed

under Louisiana Code of Civil P¡ocedu¡e Article 591 is a class action for pulposes of CAFA).

        6.      Plaintiffs are residents of, and domiciled in, the Parish of Jefferson in the State of

Louisiana. Exhibit A, Compl., p. 1. Defendants Louisiana Regionat Landfill Company,

Progressive Waste Solutions of LA" Inc-, and IESI LA Landfill Compaay are Delaware



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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 231 of 434


              Case 2:l-B-cv-08218 Document 1 Filed OBi29ll_B page 3 of 6




 corporations with principal places of business in The Woodlands, Texas. SeeBx. A, Compl.,
                                                                                                 $ |[.

 Thus, at least one plaintiff is diverse ûom at least one defendant in accord with 28 U.S.C.
                                                                                                    $

 1332(d).

        7.      Piaintiffs allege that they represent and bring this action on behalfof a proposed

 class consisting of "[a]ll persons domiciled of and/or within the Parish of Jeffe¡son on or after

 August I,20I7 (except Defendants' employees and appropriate court personnel involved in the

 subject action at the district and appellate levels), who sustained legally cognizable damages in

 the form of nuisance, interference with the enjoyment of their properties and/o¡ diminution in

value of their properties as a result of the Defendant(s)' acts that caused. the emission of noxious

 odors and gases into and unto their persons and properties." Ex. A, Compl.,
                                                                                 $ VII(a). Plaintiffs

 seek to hold Defenda¡ts liable for all damages arising ûom the emission of noxious odors from

the Jefferson Pa¡ish Landfi.ll including the costs for prosecution of the action and interest. Ex. A,

 Compl., $$ tri,Vru. These pleadings implicate the jurisdictional minimum under CAFA.

        8-     Original jurisdiction under CAFA exists where "the matte¡ in controversy exceeds

the sum orvalue of $5,000,000, exclusive of interest and costs." 28 U.S.C. 1332(d)(2). In its

notice of removal, Defendants "needfs] include only a plausible allegation that the amount in

controversy exceeds the jurisdictional threshold." Dart Cherolcee Basin Aperating Co. v. Owens,

135 S. Ct.547,55a Q0l4); see øIso Robertsonv. Ewon Mobít Corp.,8i4 F.3d 236,240 (5,rh

Cir. 2015) ('[a] removing defendant can meet its bwden of demonstrating the amount in

controversy by showing that the arnount is 'facially apparent' from the plaintiffs' pieadings alone

... the cowt [may] make common-sense inferences about the amount put at stake by the injuries

the plaintiffs claim"). The proposed class is undefined bu! under the Complain! may include

atry person domiciled vvithin Jefferson Parish. Ex. A, Compl. g VII(a). On information and



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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 232 of 434


               Case 2:18-cv-08218 Document 1 Fíled Oglzglt9 page 4 of 6



 belief, the population ofJefferson Parish is greater than 400,000 people. Plaintiffs' prayer for

 relief on behalf of each member of the proposed class alleges damages that include pas! present

 and future nuisance damages and pas! present and firture <timinution in property value. plaintiffs

 also seek special darnages, applicable penalties (if any), and expert wihess aud attomeys' fees.

As a resuld even a modest alleged damage amorxrt for each proposed class member, plus

additional witness and attorneys' fees, would exceed $5,000,000.

        9.      For these reasons, the $5,000,000 jurisdictionaì a:nount in controversy
requirement is satisfied. 28 U.S.C. g 1332(d).

        10. The removal of this action to this Court is proper under 28 U.S.C. g iaal(a)
because tbe 24th Judicial District Court for the Parish of Jefferson, State of
                                                                                 Louisiana, where this

action was originally fi1ed, is within the federal judicial district for the Eastern District
                                                                                                    of
Louisiana.

        11. Defendants respectfi:lly request that this Court assume jurisdiction over this
matter and issue such orders and processes as may be necessary to bring before it all the parties

necessary for the trial the¡eof.

        12- Defendants will ñle a true and correct copy of this Notice of Removal with the
Clerk of the 24th Judicial District Court for fhe Parish of Jefferson, State of Louisiana.

Defendants have also sewed Plaintiffs' counsel with a copy of this Notice of Removal.

       WIIEREFORE, Defendants Louisiana Regional Landfill Company, Progressive Waste

Solutions of L.Au Inc., and IESI LA Landfitl Company hereby remove Case No. 786-541
                                                                                                 from
the24+b Judicial District Court for the Parish of Jeflerson,
                                                               State of Louisiana, Division H, to this

Court pursuant to 28 U.S.C. gg 1332, l44I,l446,and 1453.




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 233 of 434


          Case 2:18-cv-08218 Document L Filed 08/29/18 page S of 6




                                  Respectfi rlly submitte{

                                  BRADLEY MURCHISON KELLY & SIIEA LLC


                                  By: 1s&lichaelç".Mims __
                                          DavidR TuggarL
                                          Louisiana Ba¡ Roll No. 12626

                                  401 Edwards Street, Suite 1000
                                  Sbreveporf Louisiana 7     ll0l
                                  Tele,phon-+: 818) 227 -tL3   l
                                  Facsimile: Q18) 227 -1t41

                                  Mchael C. Mims
                                  Louisia¡n Bar Roll No. 3399L
                                  JohnB- Santon
                                  Louisiana Bar Roll No. 36036
                                  1100 Poydras St, Suite 2200
                                  New Orleans, Louisiana T Arc3
                                  Telephone: (504) 596-6300
                                  Fax (504) s9ffi3}L

                                  Counsel for Defendants Louisiana Regional
                                  Landûll Compan¡ Progressive Waste Solutions of
                                  Ld Inc., a¡d IESI LA Landfill Company




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 234 of 434


             Case 2:18-cv-0821"8 Document          l- Filed 08/29i1-8 Page 6 of 6



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       I hereby certi& that I have, on this 29th day of Augusl 2018, served a copy of the
foregoing pleading upon all cousel of record and The parties named herein by either serving the

counsei through the Couf's ECF system, facsimile transmissior¡ email or by placing same in the

U. S. mail, postage prepaid and properþ addressed to the following:

       Bruce C. Betzer
       Jennifer S. Avallone
       The Law Office ofBruce C. Betzer
       3129 Bore Street
       Metariq LA 70001

       New Orleans, Louisianathis 29thday ofAugusÇ 2018.


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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 235 of 434




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              2¡th JITDICTÁL DISTRICT COÛRT FOR TEE TARTSE OF JEE¡ERSON

                                               STATE OT'LOIIISIÄNÀ


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         PROGRESSwE WASTÞ SOI,ImONS OF LÁ, INC., ç9ASÏE CONNECTIONS, US,
         INC, IESI LÄ. LANDFILL CORPORATION, LOUßIANÁ, REGIONAL LANDTU,L
              COMPAIIY, INC. ÄITIM COIPORÁTION, .Àr\D JEITERSON PARISE


                                                                    DEPÏ]TYCT.ERK


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                authorizeä to do and doing business in this Parish aod State;                                 IL
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              5..A.!|I[vÍCORPOÌ.àTION, aforeign.co4rorationsrtho¡izedtodoanddoingbusiness
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                in tbis Pa¡ish and State;

              6,JEFFERSON PARISIÍ, a Louisia¡¿ municþal parish in the State oflouisiå!¿




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 236 of 434




                                                     tr.

              DefcndsÐæ are jointly, sever¿lly a¡d in solido i¡¡d*i*cd rrnto Plai¡tlff and all those

       sinilarly situated, for generai and special damages suferd with legal interest and all costs,

       resulting Êos. the íñproper operation of the Jefferson Parish landfili. ,{t all times pertinent

       f}e JefFerson Pa¡ish LandfiIl referred to in the i¡stant litigätion is located in TJaggarnan,

       Louisi¿¡a-

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              Uoder information aad belief tlat the sanitary solid waste landfil1 owned and

       operated by the Ðefendaats begaa to emit Eo)sous odors. Said odo¡s are believed to

       coasist primarily of metùane aodhydrogen sulãdegases. Said odors are being e@ítt€d
       ißto areas s¡rrorÐding the Jefeæo¡ Pa¡ish Þ¡.dfiIl. îbe noxious odors cçntiuuç to date aad a¡e
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       likeþtccontinueintothefuh¡re suchtåat the e,uissions h¿ve bees and will cooti¡ue to be a            É.
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       afo¡ementioned d¿te-
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              TheJPlandfillis owaedbyD¿fenC"ntJEEFERSONPARISH                 and is, andl/or was at a1i   €
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       relevaqt times, beiog operâted pur:ruãnt to coûtrâcts issued by JEFEERSON ?ARISII to                Þ
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       Defenda$tp IESi LÀ LANDFILL CORPOR.ATION, (hereinater DSI-LA) arrholly owsed                        o
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       subsidiary of Defendant PROGRESSIVE WASTE SOLUIIONS OF LA, INC., tbat was in
                                                                                                           Ë
       h:rn acquired by Defendant WASTE CON}{ECTIONS, US, D'IC.                                            o
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              IESI-LA is controiled by its parent coçorations PROGRESSrVE lVÀSTE                           N
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       SOL{nONS,OF LA, I}IC. aud/or WI\STÏ CONNECTIONS, US, INC. a¡d is the "alter                         *lÀ
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       ego" of said pareut corpOrafior(s) and opqates without autonomy and only pursuant to the            E
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       directio¡s, policies and procedures of its parent corporation(s); as such, said pareat

       corporation(s) a¡e liablefor all nagfigent and/or otherwise bad acts of iæ wholly owned

       subsidia4(ies), IESI-LA. and/or LOUISIANA RECiIONAL I-ANDFILL COMPANY,




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 237 of 434




       INC..

                IESI-LAoperated andmaaaged theJPla¡dfillñomthed¿teoftheinitial amissions of

       noxious odors in Àugust of 20t7 aad it is tbus liable for all danagcs rrrstairrcd ùom August

       of 2017 to the d¿te ofits coryorate næe qhangq to wit IESI-IA recently changed its corporate
       n*m.e in Juag 2018 to Lol,JIsIÄNA REGIONAL ráND SILL coMPANy,                           INc-{hrreiraf:er

       LRLQ and LRLC is the current operator ¿¡d ma¡nger (and/ormis-maaager) ofrle lP Landfill

       antl is thus liaÞle fo¡ all ihncgos sustained since iF coq,orate t¡åme chaoge to date ofjrst aod

       eguitaùle adjudicatior, a¡d into such f¡tue date as the e*issions cease, if ever.



                Defcsdå¡r APTIvf CORPORÀTTON, based upon info¡matíoa and bclief mâ¡âges

       pursutnt to conhact and/or zubcontrac! tl" gu, a¡d./orleachate collection qystem(Ð of JP

       La¡dfill that, ia addition to the site's liquid industrial wasts, ¡esidential seu/eragg commercial
       wastg aod furpro¡:edy covered soüd waste is at Ie¿st one 'þoiat source" ofthe noxíous odors                È
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       aod gases eæamting from tbe JP landfiIl.
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                The sole proxireate cause ofthe above described ema¡atio¡s ofnoxious odors and                    N
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       Eases is and was tbe stictliability, breach ofcontractual obligatioos and./or negligent aots of

       Defendanfs, which shict liability, b¡e¿ch of contractual obligatioas and./or negligeoce
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       colsists more pa*icularly, but not exoluçively, of the following:                                          .ô
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               l.Violation of C\-vil Code A¡ticles 667, 669, 2315, 2316, 237'1, 2317.L,2322 allrd                 ø
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                 applicable se-yirorrn€ntal rules æd rogulariçns grÊ,&1¡tpted by the State of I¡uisiaaa           N
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                 and/or Louisim¡ De¡urtaert of EavirgnmËOtå1 Quality GÐEQ;
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               2. Violation of ¡ules and regulations $omü.lgated by the lnviroment¡l Protection AgËecy            F
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                 ancl roies uncler the Clean Tl/ater"A.c[
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               3.Iailure to properþ operate ædl/ornaaage a solicl wasæ "satritny" l¿odfill ia a ma¡ìner           IL
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                 th¿t does ¡ot causeharm to others, and inparticular, fo its aeigbbors;                           N

               4- Failrre to t¡ke all ¡easouable   actio! to ayoid causing harm as set forth hereia;

               S.Failu¡c to preveãt the emissioo ofnoxious and harmful odors acd gases into qnd onto




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 238 of 434




               the peisols anil properties ofthe wnaurding neigþorboods;

             6.8¡each of cnnlracf,ri+l obligatioris of rrlic,b. ?laintiff a¡cl all those similarly situated are

               tbírð parry be¡reûoia¡ies of the aonbeet(l) betweeo Defendant JeffE¡sou Pa¡ish and all

               ottrer Defedants n¿metl herei!. that caus{ ) harû to ?laintitr snd all those similæly

               situ¿td thathe seels to represeirt

                                                        vI.
              As a consequeoce ofthe acts a¡ d/or faftrres to acta¡d/orbreach ofduties and/or

       obligations and resulting legally coedzable damages, Plaintiff a::d all those simiìarly

       situated, sustaiued daoages as follows:

          ,4, Pas! present and fuh¡re nuisancc dao.agesl

          B. Past present ard ñrture diminutiou iapropert¡r value;
          C. Bodilyinjurft                                                                                        .:
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          D- Medicalbills;                                                                                        É
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          E. Lostwages.
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              Pürsuâût to La Code of Civil Procedu¡e Article 893, ?laintiff prays a¡d/or asse¡ts tåat             s¡
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       the suæ in damages sougbt by and for æy indiviöual Plaintiff bereia' be and ís gr€d€r üaÉ                  c

       the jurisdictional amoûot necessary for trial byju-y-                                                      )<
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              Plaintitr $eeks to proceed ¿s a class '{ctioo pursuant to Louisiana code of Civi]                   F
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       Procedure .A¡ticle 59i, et seq., iodividually al'd as class representative on behalfofa class of           o
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       Plaintiffs simítarly situâted but as yet firlly ideotified, as Plaiatiff herein represe'tts that be        e
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       has sustained legaüy cogtizableda:nages commoatoalltbosesimilarlysitr:aædwho,                 incurred     o
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       such damages arising from the dùect aûd p¡oxi¡¡ate result of the s¡ro¡gñ¡l conduct of                      €
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       Def¿nd¡qtt as set forth herein, aûd/or by those fo¡ whom they are legally reqpoasible                      i;
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       pur$raDt to the doctrine of reqtondiat superior, ernployer-employee, Easte.Í-servarrt ard/or               tN
       as others¡ise authorizecl by statotûry law åod/orjurisprudonca

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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 239 of 434




       PetitíonerlFlaistiffproposes tbat fle Ciass be deñned as:

             "À11 persons domicüed of and/or withis the Parish                of Jefferson, (except
             Deföndä$s' e,æpioyeos aad appropdatÊ couft personael involved in the subjcct

             action at tle distict and appellate levels), who sustainerl legally copizable

             damages in tbe form of æxisf iqfry,            h ¡æs, nuisance, interference with the
             eqioyrneot of ttreir properiies aad/o¡ dimiaution in value of their properties as a

             result ofthe Þeferdant{*}' acts that caused the emission of noxious odors and

             gases into a¡d u¡to tbeir persols aadproperties".




                                                            x.
               1!is class actÌon is proper pursuant to La. C. Civil Procedr¡re Article 591 . Wtrile the

       exact m¡mber of and identities of ü^e ciass ¡neæbers a¡e unlorown at this timg they may be
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       ascøtaíned through alryropriate discovery and Plaiatitr is ofthe infor¡uatian aud belief that          to
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       the clsss of PÏaidffs clearþ consists of pe,rsoas presentÍng a level of numerosþ better                E
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       ha¡dled tå¡ough the class action procedural dwice. There ere cosms!. questions of lav¡ and
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       fact applicable to all class meinbErs and which predÕûh¡e over jndiviéual questions, which             {é
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       i.ûcludcs but â¡e rot liúited to:              the damages Ìvere a result of the wrongûrl conduct of

       Þefendanf{s);The claims of tlp class rq:resenlative as naaed herein are typigal of the class           Y
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       úeflbers he seeks to represent and tåe defeæses of Def€ndeûts are t¡?ical as to tbe Plai¡tiff          o
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       and elass ¡nembers in tbrt all seek dqm¡ges arising ûom the wrongfirl conduct of                       N
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       Ðefe,rda¡ts as alleged herein, Plaintiflwül fairly and adequately represe¡rt the interests ofthe       O
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       class, ald tle class represenfative herein is represetrted by skilled attorneys ¡ç¡ho will haadle      IF
       this action in an expeditious and eco¡omical mânn€r', and all i¡ the best interests of all             €
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       membe¡s of the class; Tb.eprosecutioû ofseparaieactiorsbyindividual membeæ oftheclass                  N
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       would create a risk ofiaconsistent âûd/or varying adjudications with respect to iqdividual             ii
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       members of the class which would establisb incompatible standards of conduct fo¡ the                   r¡J


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       parry(ies) opposingtheclass, orâ{judicatiols withrespecttoindividualmembers of tbe class

       which would as a practical Êattêr be dispositive of the inte,rests of the other meúbers trot

       parties to the adjudications or substantially irnFair or imFede their ability to protect their




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        inte¡esfs. Lastly, the Louisia¡a Class Actioa Proce&ue aflords a superior vehicle fo¡ the

        offieicnt diqposition ofthe issucs ¿ad çl¡irns hereio preseated, especially since individual

       joinder of each of the class mÕnbers ìs impracticable. Individual litigation by each ofthe c1¿ss

        meoo.bers, besides being uoduly bu¡densomo to thc Plaiatiffi, would also be undr:ly

       burdensome aod expensive to the court s)¡stÊm" as weli as to the Defendants.

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       WIIËREFORE, Petitioner prays:

           1. Thd the Defesda¿is be served. with a copy of this petition antl be cited to Elpear æd
                 ansggg¡'fþg 5amg-


           2. That aûee due proceedings had, that tåis action be certiûed as a class action Bursuaú to
              theprovisions of La- C. C. fut 591 inthe respect alleged hereia above, for the pu4roses
                 of determiniry the common issues of liabilíþ, d*rn¿ges and other co-mon issues


           3   ' That upon certif.cation of the class actio4 the court c¿ll for the formulatioa of a zuit¡ble    Þ
                 managø.eotplan                                                                                  E.
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           4. After due proceediags, there be judgnent in this mattsr i¡. favor of petitionex a:rd the          E
                 class agaínst Ðefendants, determíniag that tb.e Defadants are liable to Petitiouers and a-11   z
                 membe,Ts of the class for ail damages
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           5. Thattherigþts of tlcmembe¡s of tLe class to establishtheir eatitlemetrtto damages, and            N
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                 the amor:nt thereof, be ¡eserved for determinatioo in thei¡ iadividu¿l actions

           6- PsÉt¡Õãets be allowed to ¡ecover the costs ald Ínterest of prosecution of t¡is class actio¡r      Y
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                                                                FRXDDIE KING, IfI (LA Bar#33923)                N
                                                                TEEKINGI,AWtr.IRM
                                                                300 lIuey l- Long.{venuq Sìrite E
                                                                G¡ehE LA 70053
                                                                lelephone: (50 4) 982-5 4 64
                                                                Facsimile: 6Aq 6L7 -77 55




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 241 of 434




       PLE.ASESßIIE¡

       PROGRESSTSE      ìVåSIE SOLUnONS Or Lå, INc'
       ThoughitsAgeut
       Corporation Sør¡ice Company
       501 Louisia¡¿Ave.
       Baton Rouge, LA 70802

       wÀsrE CoNNECTTONS, US, INC
       Via loag ana tlrougþ its Ägent Corporation Searice Cuipa.lry
       251 UttleFalls Drive
       ltrihoingtm, DE 19808


       IESI I.A LA¡ÍDI"ILL CORPORATTON
       Though its Agent Corporaüon SøniceComlraoy
       501 LouisianaÄve,nue
       BatonRouge, LA ?08b2


       LOUISIANÁ. REGTOIìIAL LAI{DFII,L COÙIPA¡TY, INC,
       ft¡ough its Age.nt CorpæationSe¡viceCcrqfiasry
       5Ol Louisiana.Ave;¡ue                                          l-
       Baton Rougc, I-A 70802                                         0a
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       CT Corpo¡¡rtior. S)4stm                                        c¡
       3867 ?laza TowerÏ}¡.                                           =
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       BatonRougg LA?0816                                             îl
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       JEFFERSONPÅRISS
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       Ttrough the Parisb Àttorney
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       MichaelJ- Power                                                Y
       1221 Elmq'ood ?ak Blvd- Suite-701
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                  Case 2:l-8-cv-09312 Document 1 Filed 1-0105/l-8 Page i- of 6




                               {JNITED STATES DISTRICT COURT
                           FOR TI{E EASTERN DISTRICT OF LOUSIÄNÁ.

NICÏIOLE M. LÄNDRY-BOUDREAIIX                                   CTWL ÀCTION NO.
      Plaintiff

YERSUS                                                          SECTIONT

PROGRESSTYE \üASTE SOLUTIONS OF
LA, INC., WASTE CONNECTIONS US, INC.
IESI L.4. LA¡IDFILL C ORPORATION,
LOUTSIÁ.NA REGIONÁ.L
LANDFILL COMPANY INC., APTIM
CORP0RATION, AND                                                MÄGTSTRÁTE JUDGE:
JEFFERSON PARISH,
           Defendants.

                                            NOTICE OF'REMOVÂI,

           Defendants Waste Connections US, Inc., Progressive Waste Solutions of LA, Inc., IESI

LA Landfill Corporation, and Louisiana Regional Landfill Companyl ("'Waste Connections
entities') hereby remove Case No. 787-081 Êom the 24th Judicial District Court for the Parish of

Jefferson, State of Louisiana, Division K, to the United States District Court for the Eastern

District of Louisiana pursuant to 28 U.S.C. $$ i332, 1447, 1446, and i453, on the basis of

diversity jurisdiction under the Class Action Faimess Act of 2005 (*CAFA"), and as grounds for

the case's removal state the following.

           1.       On August 27, 2018, the Plaintiff ñled a Ciass Action Petition for Damages

("Complaint") in the 24th Judicial District Court for the Pa¡ish of Jefferson, State of Louisiana,

Division K styled Nícole M. Landry-Boudreatu v. Progressive Waste Solutions of LA, Inc.,

Yy'aste Connections, US, Ínc-, IESI IJt LandfiIl Corporation, Louisiana Regional LandfÍI

Company, Inc-, Aptím Corporatian, and Jffirson Parish, Docket No. 787-081.




I
    Incorrectly named in the petition as Louisiana Regional Landfill Company, lnc.




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                                                                                     Et u-z


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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 243 of 434


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          2.     Waste Connections US, Inc. was served on September 25,2018. Progressive
 'Waste
          Solutions of LA, Inc. was sewed on October 2,2018. Louisiana Regional Landfili

 Company and IESI LA Landfill Corporation were both served on October 4,2018. This Notice

 of Removal is timely under 28 U.S.C. g 14460).

          3.    Under 28 U.S.C- $ 1446(a), copies of all process, pleadi"gs, and orders served

 upon Defendant Waste Connections US, lnc. are attached as Exhibit A.

          4.    This Cou¡t has subject matter jruisdiction over Plai¡tifPs claims under CAFA.

 Original jurisdiction in this Court exists under CAFA if the litigation is a "class action" as

 defined by CAFA, "the matter in controversy exceeds the sum or value of $5,000,000," and "r'''ly

 member of a class of plaintiffs is a citizen of a State different from any defendant." 28 U.S.C.

 ç1332(dX2).

          5.    CAFA defines a "class action" as "any civil action ñled under rule 23 of the

 Federal Rules of Civil Procedure or similar State statute or rule or judicial procedure authorizing

 an action to be brought by 1 or more representative persons as a class action." 28 U.S.C.

 $ 1332(dXlXB). Plaintiff specifically alleges the Complaint to be asserted as a class action,

 citing Louisiana Code of Civil Procedwe A¡ticle 59I et seq. See Ex. A, Compl., $ VilI. Actions

 seeking class treatment under such provision are "class actions" for purposes of CAFA. See,

 e.g., In re Katrina Canal Lttig. Breaches, 524 F-3d 700, 705 (5th Cfu. 2008) (complaint filed

 rinder Louisia¡a Code of Civil Procedure A¡ticle 59i is a class action for purposes of CAFA).

          6.    Plaintiff is a resídent of, and domiciied in, the Parish of Jefferson in the State of

 Louisiana. Erùibit A, Compl., p. 1. Defendants Waste Connections US, Inc., Louisiana Regional

 Landfill Compan¡ Progressive Waste Solutions of LA,Inc., and IESI LA Landfill Company are

 Delaware corporations with principal places of business in The Woodlands, Texas. See Ex. A,



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              Case 2:18-cv-093L2 Document             1 Filed 1-0/05/1-8 Page 3 of 6


Compl., $ I. Thus, plaintiff is diverse from at least one Defendant in acco¡d with 28 U.S.C. $

1332(d).

         7.    Plaintiffalleges that she represents and bring this action on behalfofa proposed

class consisting of "[a]11 persons domiciled of and/or within the Parish of Jeflerson (except

Defendants' employees and appropriate court personnel involved in the subject acfion at the

district and appellate levels), who sustained legally cognizable damages in the form of personal

injury, lost wages, nuisance, interference with the enjoyment of their properties and/or

diminution in value of their properties as a resuit of the Defendant(s)' acts that caused the

emission of noxious odors and gases into and unto their persons and properties." Ex. A, Compl.,

 0 X. Plaintiff seeks to hold Defendants liable for all darnages arising from the ernission of

noxious odors from the Jefferson Parish Landñll including the costs for prosecution of the action

 and interest. Ex. A, Compl., $ )il. These pleadings implicate the jurisdictional minimum under

 CAFA.

         8.     Original jurisdiction under CAFA exists where 'the matter in controversy exceeds

 the sum or value of $5,000,000, exclusive of interest and costs." 28 U.S.C. 1332(d)(2). in its

 notice of removal, Defendant "need include only a plausible allegation that the amount in

 controversy exceeds the jr:risdictional threshold-" Dart Cherokee Basín Operatíng Co. v. Owens,

 135 S. Ct- 547, 554 Q0ß); see alsa Rabertson v. Exxon Mobil Corp., 814 F.3d 236,240 (5th

 Cir. 2015) ("[a] removing defendant can meet its burden of demonstrating t]re amount in

 controversy by showing that the arnount is 'facially apparent' from the plaintiffs' pleadings alone

 ... the court fmay] make common-sense inferences about the amount put at stake by the injuries

 the plaintifß clairn"). The proposed class is undefined but, under the Complaint, may include

 any person domiciled within Jefferson Pa¡ish. Ex. A, Compl. $ iX. On information and belief,



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               Case 2:18-cv-0931-2 Document L Filed l-0/05/18 Page 4 of 6




 the population ofJefferson Parish is greater than 400,000 people. PlaintifPs prayer for reiiefon

behalf of each member of the proposed class alleges damages that include past, present and

 future nuisance damages and past present and futruE diminution in property value. Plaintiff also

 seeks special damages, applicable penalties (if any), and expert wihess and attorreys' fees. As a

 result, even a modest alleged damage amount for each proposed class member, plus additional

 witness and attorneys' fees, would exceed $5,000,000.

         9.      For these reasons, the $5,000,000 jurisdictional amount in controversy
 requirementis satisfi.ed. 28 U.S.C. $ 1332(d).

         10. The removal of this action to this Court is proper under 28 U.S.C. $ laa1(a)
 because the 24th Judicial District Court for the Parish of Jefflerson, State of Louisian4 where this

 action was originally filed is within the federal judicial district for the Eastem District of

 Louisiana,

         11. Defendants respectfirlly request that this Court assume jwisdiction over this
 matter and issue such orders and processes as may be necessary to bring before it all the parties

 necessary for the trial thereof,

         12. Defendant wiü file a true and correct copy of this Notice of Removal with the
 Clerk of the 24th Judicial District Court for the Parish of Jefferson, State of Louisiana.

 Defendant has also sewed Plaintiff s counsel with a copy of this Notice of Removai.

         TVHEREFORE, Defendant Waste Connections US, Inc., hereby removes Case No. 787-

 081 from the 24th Judicial Distict Court for the Parish of Jeffersor¡ State of Louisiana, Division

 K, to this Cowt pursuant to 28 U.S.C. $$ 1332, 1447,1446, and 1453.




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                                  Respectfrrlly submitted,

                                  BRADLEY MURCHISON IGLLY & SHEA LLC

                                  By:     /slÐff¡Íd R, Tarþart
                                          DavidR Taggart, T.A.
                                          Louisiana Ba¡ Roll No. 12626

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                                   Counsel for Defendqnt Waste Connections US, Inc.,
                                               'Waste
                                  Progressive         Solutions of L.A, Inc., IESI LA
                                  Landfll Corporation and Louisiana Regional
                                  LaûdfillCompany




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             Case 2:18-cv-09312 Document           1 Filed 10/05/18 page 6 of 6


                                CERTÛ'ICATE OF SERYICE

       I hereby certi$r that I have, on this 5th day of October, 2018, served a copy of the
foregoing pleading upon al1 se"nsel of record a¡rd the parties named herein by either serving the

counsel through the Court's ECF system, facsimile tansmission, email or by placing same in the

U. S. mail, postage prepaid and properþ addressed to the following:

       EdvyinM. Shorty, Jr.
       Dwa¡me P. Smíth
       Hope L. Harper
       Edwin M. Shorty, Jr. & Associates
       650 Poydras Stee! Suite 2515
       New Orleans,LA,70ll2

       Freddie King III
       The KingLawFírm
       300 Huey P. Long Avenue, Suite E
       Grebra, LA 70053

       ShreveporÇ Louisiana this 5thday of October, 201 8.



                                                        /slDavidR
                                                         OF COUNSEL




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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 ELIAS JORGE'GEORGE''                                                 CIVIL ACTION
 ICTECH-BENDECK,
      Plaintiff                                                       NO.18-7889
                                                                      c/w 18-8071,
  VERSUS                                                              l8-8218, 18-9312

 PROGRESSIVE WASTE SOLUTIONS                                          SECTION: "8" (5)
  oF LA, INC., ET AL.,
         Defendants

 Applies to: All Cases



                                             DAMAGEq

        NOW COME Plaintiffs ELIAS JORGE "GEORGE" ICTECH-BENDECK and
 SAVANNAH THOMPSON and NICOLE M. LANDRY-BOURDREAUX, and LARRY

 BERNARD, SR. and MONA BERNARD ("PLAINTIFFS"), as individuals, and on behalf of

 themselves, all others similarly situated, who, pursuant to the Order of the Couft, fìle this

 Amending and Superseding Class Action Master Complaint for Damages seeking ciass

 certification, and complain and allege on information and belief the follorving against Waste

 Connections Bayou, lnc.flWa Progressive Waste Solutions of LA, Inc., Vy'aste Connections US,

 inc., Louisiana Regional Landfill Company, lnc. flkJa IESI LA Landfill Corporation and Aptim

 Corporation ("Vy'aste Connecti on Defendants"); and J ef ferson Pari sh :

                                              PARTIqS.

         1.     PLAINTIFFS ELIAS JORGE "GEORGE" ICTECH-BENDECK and

 SAVANNAH THOMPSON and NICOLE M. LANDRY-BOURDREAUX, and LARRY




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 BERNARD, SR. and MONA BERNARD were at all relevant times persons of the full age of

 niajority and residents of and domiciled in the Parish of Jefferson, state of Louisiana.

        2.       Made Defendants herein are:

                 a.      S/ASTE CONNECTIONS BAYOU, lNC., f/k/a PROGRESSIVE IVASTE

                 SOLUTIONS OF LA, INC., a foreign corporation authorized to do and doing business in

                 the Parish ofJefïerson, state ofLouisiana;

                 b.      WASTE CONNECTIONS, US, INC., a foreign corporation authorized to do and

                 doing busirress in the Parish of Jefferson, state of Louisiana;

                 c.      LOUISIANA REGIONAL LANDFILL COMPANY, f/k/a IESI LANDFILL

                 CORPORATION, INC., a foreign corporation authorized to do and doing business in the

                 Parish of JefTerson, slate of Louisiana;

                 d.      APTIM CORPORATION, a foreign corporation authorized to do and doing

                 business in the Parish of Jefferson, state of Louisian4

                 e.      IESI-LA LANDFILL CORPORATION, a foreign corporation authorized to do

                 arrd doiug business in the Parish ofJefferson, state oflouisiana; and

                 f.      PARISH OF JEFFERSON, a Louisiana municipal parish in the state of

                 Louisiana.

         3.      Defendants are jointly, severally and in solido indebted unto Plaintiffs/Class

 Representatives and the persons they seek to represent, for general and special damages suffered

 by Petitioners and all those similarly situated in a sum sufficient to full compensate him/her/them

 for all of his/her/their damages, together with legal interest, and for all costs as described herein.

                                     JURISDICTION ANd \rENUE

         4.     This Honorable Court has ruled that it has subject rnatter jurisdiction pursuant to

 the Class Action Fairness Act, 2B U.S.C. $ 1332(dX2), because the matter in controversy



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 exceeds the sum or value of$5,000,000, exclusive ofinteresl and costs, and is a class action

 brought by citizens of a State that is different from the State where at least one of the Defendants

 is incorporated or does business., and because no relevant exception to CAFA exists.

        5.      Venue is proper in this District as it is where the conduct complained of herein

 occurred and is also lvhere the injury occurred and where the Removing Defendants removed the

 underlying actions filed in Louisiana state court.

                                   FACTUAL AI/I/4GATIONS"

        6.      On or about August \2A77, the purported "sanitary solid waste" facility/landfill

 owned by Defendant Jefferson Parish located in V/aggaman, Louisiana began to emit noxious

 odors, believed to consist primarily of methane and hydrogen sulfide gases, into areas

 surrounding the Jefferson Parish Landfill ("JP Landfill'). The surrounding neighborhoods,

 including but not limited to, those located in Waggaman, Louisiana, River Ridge, Louisiana and

 Harahan, Louisiana experienced said noxious odors on various days and at various times of the

 day and night depending upon the then prevailing wind direction crossing over and/or otherwise

 emanating from the site of the JP Landfill.

        7.      At relevant times herein, Defendants, Vy'aste Connections Bayou, Inc. f/k/a

 Progressive Waste Solutions of LA, Inc., Waste Connections US, Inc., Louisiana Regional

 Landfill Company, Inc. flWa IESI LA Landfìll Corporation and Aptim Corporation ("Waste

 Connection Defbndants") have co-managed and/or co-operated the JP Landfill and have been

 paid by Defendant Jefferson Parish to do so pursuant to the terms and conditions of a Contract to

 provide services to operate, lnanage, and/or maintain the Jefferson Parish Landfill (the "Landfill

 Operating Agreement").




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         8.        Following complaints by residents and putative class members, the Louisiana

 Department of Environmental Quality ("LDEQ") placed one or more mobile air monitoring labs

 in the area, and subsequently the LDEQ released a report that found higher-than-normal levels of

 methane and hydrogen sulfide in the areas sumounding the JP landfill.

         9.        On or about July 23, 2A18, Jefferson Parish President Mike Yenni outlined a

 number of actions the parish has taken to eliminate noxious odors that Jefferson Parish ofïicials

 believe are coming from Jefferson Parish's landfill in Waggaman, including declaring the landfill's

 private operator ILRLC] to be in breach of its contract with Jefferson Parish, and accepting the

 resignation of the parish' s landfi I I en gineer.

         10. On or about July 23, 2018, Jefferson Parish President Mike Yenni stated that
 "properly operated landfills do not (produce) persistent ofßite odors, and the corrective actions ...

 are essenfial." Moreover, on or about the same date (and at the same news conference), Keith

 Conley (Yenni's chief aid) admitted that the Jefferson Parish Landfìll was a source of the noxious

 odors at issue.

         ll.       On information and belief. LRLC is able to collect only 20 percent of the gases

 procluced by the landfìll as a result of the antiquated leachale collection system, leaving much,   if
 not all, ofthe rest to escape through the ground and into the air.

          12. The noxious odors have been so bad and/or persistent that on or about July 9,
 Jefferson Parish announced the creation ofa hotline for citizens to report the stench.

          13. On or about July 9, 201 8, in response to various complaints by residents, Jefferson
 Parish issued a formal news release, which stated in pertinent part as follows:

                   Jefferson Parish recognizes there have been odor issues and
                   complaints from residents in the River Ridge, Halahan and
                   Waggaman area located along the river. As Jefferson Parish owns
                   and operates one of the three landfills in Waggarnan which services


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                  Jefferson Parish residents, we do realize we may be a contributory
                  factor to the odor issue. Jefferson Parish is committed to take all
                  steps necessary to identify the source or sources responsible and
                  mitigate those sources. As of July 2, 2018, Jefferson Parish has
                  advised our contractor to stop taking liquid waste and other material
                  believed to have the potential over time to create an odor,

         14. The improper emission ofthe noxious odors from theJefferson Parish Landfill into
 and onto neighboring properties located in Waggaman, Harahan and River Ridge since

 approximately August 1,2A17, has been pervasive and persistent, continues to occur, and is likely

 to continue into the foreseeable future such that the emission has been and r.vill be a continuous

 tort into the foreseeable future. Upon information and beliel the Jefferson Parish Landfill has

 been and is still being owned and/or co-operated by the defendant-operators with inadequ ate andlor

 antiquated leachate and/or gas collection systems such that landfìll leachates and gases are

 emanating from the site improperly, and at levels that constitute a nuisance to neighboring persons

 and properties. Further, the Jefferson Parish Landfill has been cited by the Louisiana Department

 of Environlnental Quality (LDEQ for violation of relevant environmentalrules and/or regulations.




         15. Defendants actions/inactions are the sole proximate cause of Plaintiffs and
 numerous other similarly situated persons' damages, which bad acts include but are not limited to

 the following:

            a) Failing to maintain and/or operate the Jefferson Parish Landfill in such a manner
                  such that noxious odors would not emanate and create a nuisance for its surrounding

                  nei ghbors of Jefferson Parish;


            b) Faiting to naintain and/or operate and/or design the Jefferson Parish Landfill such
                  that noxious odors would not interfere with the enjoyment of its neighbors'

                  properties and be the cause of other legally cognizable damages to its neighbors;


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            c) Failing to operate the Jefferson Parish Landfill in such a way so as to prevent the
                emission of noxious odors into the surrounding areas;

            d) Failing to maintain, attain, and/or implement measures at the Jefferson Parish
                Landfill to minimize the existence of gaseous emissions and/or leachate;

            e) Failing to timely and/or efficiently corect the emission of noxious odors from the
                Jefferson Parish Landfill so as to not cause harm to others, and in pafticular,

                plaintiffs herein and those similarly situated;

            Ð Other action/inaction in violation oflouisiana Civil Code Article (La. C.C. art) 667
                and Article 669's "rules of the police [LDEQ]", "customs of the place", and/or in

                violation of industry standards and/ar in violation of the laws, rules, regulations

                and/or requirements of Louisiana as promulgated by the LDEQ and/or by Jefferson

                Parish, including but not limited to, those actions and/or inactions as outlined herein

                as well as others which will be proven at the adjudication of this matte


            g) Defendants'actions/inactions are in violation of La. C.C. arts.667,669,2315,
                2316, 2317, 2317 .1 and 2322..

 The conduct of Defendants is equally applicable to all class members.

                                     çLASS ALLEGATIQNS

        16. Plaintifß brought the underlying matters in State Court seeking class certification
 pursuant to La. C.C,P. Art. 591, et seq. on behalf of a class of plaintiffs sirnilarly situated, as

 plaintifß herein represents that they have sustained darnages colrnlon to then,selves and all those

 sirnilarly situated who incurred Iegally cognizable harm arising from the noxious elnissions from

 the Jefferson Parish landfill, and/or such acts of negligence, nuisance, and trespass as may be

 proven upon trial.



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         17. The proposed Class Representative(s) herein seek to represent the following
 proposed Class:

             Ail persons domiciled in and/or residing in the Parish of Jefferson, State
             of Louisiana who have sustained legally cognizable damages in the form
             of nuisance, trespass, interference with the enjoyment of their properties,
             and/or diminution in the value of their properties as a result ofthe emission
             of noxious odors from the Jefferson Parish Landfill into and/or onto their
             persons and/or properties (except for Defendants' employees and relevant
             court personnel).
             A more precise defìnition of the proposed class, including its geographic
             boundaries, will       be set forth in Petitioners/proposed Class
             Representatives' class ce¡tification moti on and supporting ev idence.

         18. The proposed Class is so numerous that joinder is impracticable, The disposition
 of the claims asserted herein through this proposed class action is the most efficient means of

 handling these claims and the best way to insure that the interests of the proposed Class Members

 are preserved, and class certifrcation will also benefit the Court in the efficient adjudication of the

 claims asserted.

         19. There is a well-defìned community of interest in that the questions of law and fact
 common to the Class predoninate over questions affecting only individual Class Members and

 include, but are not limited to, the follolving:

             a) Whether Defendants negligently maintained and/or operated the JP Landfìll;
             b) V/hether Defendants caused and/or contributed to the emission of noxious gases
                 fiom the jP Landfìll;

             c) Whether Defendants negligently failed to take reasonable measures to prevent or
                 otherwise minimize and contain the emission ofnoxious odors from the JP Landfill:

             d) Whether Defe¡rcjants collectively ancl/or individually owed a duty to the proposed
                 Class Representatives and the Class they seek to represent to nraintain the JP

                 Landfill and operate the Landfill in a prudent manner so as to prevent the

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                 release/emission of noxious odors in and around the areas neighboring the JP

                 Landfìll.

              e) Whether Defendants breached their respective duties owed to Petitioners and the
                 Class they seek to represent;


              Ð Whether Defendants were negligent and whether such negligence was a proximate
                 cause of the damages sustained by Petitioners and the proposed Class;

              g) Whether Defendants were grossly negligent and whether such gross negligence was
                 a proximate cause of the damages sustained by Petitioners and the proposed Class;

              h) Whether Defendants violated applicable state and/or federal operating regulations;
              i) Whether Defendants knew or should have known that their activities would cause
                 Iegally cognizable damage to Petitioners and the proposed Class; and

              j) Whether Defendants (or any of them) are strictly liable and/or at fault and whether
                 their actions are the proximate cause of the damages complained herein.

        20. Defendants engaged in a common course of conduct that raises common questions
 of law and fact applicable to all proposed class members and which predominate over individual

 questions.

        21. Plaintiffs will fairly and adequately represent the interests of the class, and the class
 representatives are represented by skilled attorneys who have experience handling class actions,

 as well as federal mass tort litigations, and who will handle this action in an expeditious and

 economic manner, and all in the best interests of allmembers of the class.

        22.       Class Representatives and the Class Members have suffered similar hann as a result

 of Defendants' actions and/or inactions.




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         23. This class may be defined objectively in terms of ascertainable criteria, such that
 the court may determine the constituency of the class for purposes of the conclusiveness of any

 judgment that may be rendered. It is not necessary for the court to inquire into the merits of each

 potential class member's cause of action to determine whether an individual falls within the

 defined class,

        24.       A class action is superior to other available methods for the fair and efficient

 adjudicarion of this litigation because individual litigation of the claims of all proposed Class

 Members is impracticable as there are believed to be thousands of similarly situated individuals

 and entities who sustained damages that were proximately caused by the negligenee, fault, gross

 negligence, strict liability, willful misconduct, and/or other actions of one or more of the

 Defendants. Even if every Class Member could afford the cost of individual litigation, the judicial

 system could not. lt would be unduly burdensome to this Couft in which individual litigation of

 thousands of cases would proceed. Individual litigation presents a potential for inconsistent or

 contradictory judgments, the prospect of a race for the courthouse and an inequitable allocation of

 recovery among those with equally meritorious claims. Individual litigation increases the expense

 and delay to all parlies and the court system in resolving ïhe legal and factual issues common to

 all claims related to the Defendants conduct alleged herein. By contrast, a class action presents far

 fewer management difficulties and provides the benefit of a single adjudication, economies of

 scale, and comprehensive supervision by a single court.

         25. The various claims asserted in this action are also certifiable under the provisions
 of Rules 23(bXl), 23(b)(2), and/or 23(bX3) of the Federal Rules of Civil Procedure because:




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        a)      The prosecution of separâte actions by thousands of individual Class Members

        would create a risk of inconsistent or varying adjudications with respectto individual Class

        Members, thus establishing incompatible standards of conduct for Defendants;

        b)      The prosecution of separate actions by individual Class Members would also create

        the risk of adjudications with respect to them that would, as a practical matter, be

        dispositive of the interests of the other Class Mernbers who are not parties to such

        adjudications and would substantially impair or impede their ability to protect their

        interests;

        c)      The Defendants opposing the class have acted or refused to act on grounds that

        apply generally to the class so that final injunctive reliefor corresponding declaratory relief

        is appropriate respecting the class as a whole; and

        d)      The questions of law or fact common to the Members of the Class predominate

        over any questions affecting only individual Members, and a class action is superior to

        other available methods for the fair and efficient adjudication of the controversy.

                                       CAUSES OFACTION

      FIRST CAUSE OF ACTION (NBGLIGENCE AND/OR GROSS NEGLIGENCE)

        26.     The Defendants owed a duty to Plaintiffs and the proposed Class Members to

 refrain fiom action that causes damage to Plaintifß'and Plaintifß'property, and of those they

 seek to represent, including the right to use and enjoy their property. The incidents descried above

 that caused damage to Plaintifß and Class Members were a proximate result of the negligence,

 fault, strict liability, gross negligence and/or misconduct of Defendants.



                         SECOND CAIJSE OF ACTION -NUISANCE



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         27.       Defendants created a nuisance through the emission of noxious odors into the air in

 and around the JP Landfill, which unreasonably interferes with Plaintiffs' use and enjoyment of

 their property.



                                       PRAYER FOR REI,IEF

         VI/HEREFORE, Plaintiffs pray that a copy of this Amending and Superseding Master

 Complaint be served on each Defendant, and that they each be cited to answer same within the

 delays allowed by law, and that, after due proceedings are had, that the class be certified and that

 appropriate Notice be issued, and that judgment against Defendants be granted in favor of Plaintiff

 and all those similarly situated be entered in an amount to be determined at trial by the trier of fact

 reasonable in the premises for harms, damages, and losses as set forth above, special damages,

 applicable penalties (ifany), costs, expert rvitness fees, attorneys' fees, filing fees, pre- and post-

 judgment interest, all other injuries and damages as shall be proven at trial, and such other fìlrther

 relief as the Court may deem appropriate, just, and proper as the law allows.



                                                 Respectfu lly submitted,




                                                 /s/ Vaf P. Fx¡icipl
                                                 Val Patrick Exnicios, TA (LA Bar #19563)
                                                 Hon. Max N. Tobias, Jr. (LA Bzr# 12837)
                                                 Frances Lacy Radcliff (LA Bar #38061)
                                                 Liska, Emicios & Nungesser
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                                                 New Orleans, LA 701l2
                                                 Telephone: (504) 410-961 1
                                                 Facsimile: (5Aq 410-9937

                                                 FAVRET, DEMA R EST, RU SS O,
                                                 LUTKEWITTE & SCHAUMBURG

                                                    ll




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 260 of 434




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                                 C ouns e I   þr Savann a h Thomps on

                                 THE LAV/ OFFICE OF BRUCE C. BETZER A
                                 PROFËSSIONAL LIMITED LABILITY
                                 COMPANY


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                                 Counselfor Lørry Bernard, Sr




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    Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 261 of 434




                24TH JUUCIAL DISTRICT FoR THE PARISH oF JEFFERSoN


                                      STATE OF LOUISIANA

NO.793-088                                                                           DIVISION "O''

                                     MICHAEL BRUNET, et al.

                                               VERSUS

                    LOUISIANA REGIONAL LANDFILL COMPANY, et al.


       TITtr. \tr/ A STF' ñÔNNH'I-TII-INS TìF'E'F'NTì ÄNTS' MOTION TO TRANSFER

       Defendants V/aste Connections US" Inc. ("WCUS"), Waste Connections Bayou, Inc.

("WCB"), and Louisiana Regional Landfill Company ("LRLC") (collectively, the o'Waste

Connections Defendants"), through undersigned counsel, respectfully move this Court pursuant

to La. C.C.P. art. 253.2 for entry of an order transferring this action to Division J of this judicial

district so that it may be consolidated with the related action No. 790-369, bearing the caption

Frederick Addison, et. al. versus Louisiana Regional Landfill Company, et. al., given that the

Addison action involves the same allegations of fact and law as the present action, as set forth

more fully in the attached memorandum.

        All defendants in this action consent to this motion. Counsel for plaintiffs in both this
action and the related Addison action, Barry S. Neuman, has indicated that he opposes this

motion.

          WHEREFORE, the Waste Connections Defendants respectfully request that this motion

be granted, transferring this action to Division J of this judicial district.

                                                 Respectfully submitted,

                                                 BRADLEY MURCHISON KELLY & SHEA LLC


                                                 By:
                                                        David R. Taggart
                                                        (Louisiana Bar Roll No. 12626)
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                                                 Shreveport, Louisiana 71 I 0l
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                                                 Facsimile: (3 18) 227 -1141
                                                 Michael C. Mims
                                                 (Louisiana Bar Roll No. 33991)
                                                 John B. Stanton



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                               Regional Landfill Company




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                                CERTIFICATE OF SERVICE

       I hereby certifii that I have served a copy of the above pleading on the following counsel

of record via PDF email this 18ú day of April,20lg.

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       S. Eliza James
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                                                                                         I


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               24TH JUDICIAL DISTRICT FoR THE PARISH OF JEFFERSON


                                     STATE OF LOUISIANA

NO.793-088                                                                 DIVISION "O''

                                     MICHAEL BRUNET, et al

                                            VERSUS

                   LOUISIANA REGIONAL LANDFILL COMPANY, et al


                                            ORDER

       Considering the above and foregoing Motion to Transfer submitted by the Waste

Corurections Defendants,

       IT IS ORDERED BY THE COURT that Petitioners show cause on the             _ day of
                  at _      a.m. why the V/aste Connections Defendants' Motion to Transfer

should not be granted.

       Gretna, Louisiana, this   _      day of            2019




                                                 -
                                            DISTRICT JUDGE


SHERIFF. PLEASE SERVE:

MICHAEL BRUNET, ET AL.
THROUGH THEIR COUNSEL OF RECORD:
Byron M. Forrest
Nicholas V. Cressey
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                 24TH JUDICIAL DISTRICT FOR THE PARISH OF JEFFERSON


                                         STATE OF LOUSIANA

NO.793-088                                                                                     DIVISION "O"

                                        MICHAEL BRI-INET, et al

                                                   VERSUS

                     LOUISIANA REGIONAL LANDFILL COMPANY, Et AI


                     MEMORANDUM IN SUPPORT OF
        THE WASTE CONNECTIONS DEFENDANTS' MOTION TO TRANSFER

        Defendants Waste Connections US, Inc. ("V/CUS"), Waste Connections Bayou, Inc.

("WCB"), and Louisiana Regional Landfill Company ("LRLC") (collectively, the "Waste

Connections Defendants"), through undersigned counsel, submit this memorandum in support of

their Motion to Transfer, requesting entry of an order transferring this action to Division J of this

judicial district so that it may be consolidated with the related action No. 790-369, bearing the

caption Frederick Addison, et. al. versus Louisiana Regionøl Landfilt Company, et al.,l given

that the Addison action involves the same allegations of fact and law as the present action.

    A. PROCEDURAL BACKGROUND
        On July 25,2018, the first of four putative class actions was filed in the24ú Judicial

District Court on behalf of a proposed class of persons seeking damages for alleged "noxious

odors" emanating from the Jefferson Parish Landfill ("Landfill"). See lctech-Bendeck v.

Progressive ll'aste Solutions, No. 2:18-cv-07889 (8.D. La.) (frled in24th Jud. Dist. July 25,

2018).2 On August 17,2018, the Waste Connections Defendants removed the lctech-Bendeck

action to federal court pursuant to the Class Action Fairness Act ("CAFA").3 Over the next

month, three additional putative class actions were filed in the 24th Judicial District Court,

Thompson v. Louisianø Regional Landfill Company, No. 2:18-cv-08071 (E.D. La.) (July 30,

t
   See Exhibit attached to the Waste Connections Defendants' Motion to Transfer filed in Charles Lee Anderson et al.
versus Louisiana Regionøl Landfill Company, et ql., Civil Action No. 792-502 (24th JDC) ("Anderson Exhibit")
marked A-1. The Waste Connections Defendants hereby incorporate by reference all of the exhibits attached to that
motion. The Waste Connections Defendants decline to attach these exhibits once again, to avoid flooding the Court
with voluminous paper exhibits in this action, and the several other duplicative actions, both filed and soon-to-be-
filed by Mr. Neuman and the Forrest, Cressy & James firm. These exhibits have already been filed with this Court
 and they are public records;thus, the Court may take judicialnotice of them. SeeLa. C.E. art.201(B)(2) (courts may
takejudicial notice offacts "whose accuracy cannot reasonably be questioned.").
'3 And"rto, Exhibit B-1.
   Ard"rron Exhibit B-2.


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2018), Bernardv. Progressive Waste Solutions of LA, Inc.,2:18-cv-08218 (E.D. La.) (Aug. 10,

2018), and Landry-Boudreaux v. Progressive Waste Solutions of LA, Inc.,2:18-cv-09312 (8.D.

La.) (Aug. 27, 2018).4 The Waste Connections Defendants also removed these subsequent

actions to federal court pursuant to CAFA.s All four proposed class actions name the same set of

defendants - Jefferson Parish, Louisiana Regional Landfill Company f/k/a IESI LA Landfill

Corporation (a V/aste Connections subsidiary), Waste Connections Bayou, lnc. flk/al Progressive

Waste Solutions of LA, Inc., Waste Connections US, Inc., and Aptim Corporation.

       On December 13,2018, the Addison plaintiffs filed action No.790-369, brought on

behalf of 86 residents of Jefferson Parish and seeking damages for alleged odors emanating from

the Landfill.6 The Addison suit also involves defendants Jefferson Parish, the Waste Connections

Defendants, and Aptim Corporation. The Addison plaintiffs are represented by Barry S. Neuman,

of Whiteford Taylor Preston, LLP, based in V/ashington, D.C., with the firm of Forrest, Cressy

& James, LLC serving as local counsel. The Addison matte'r was not removable under CAFA,
which provides jurisdiction for cases that are either styled as a class action, or that involve 100 or

more plaintiffs. Addison meets neither of those criteria.

        WCUS and Jefferson Parish responded to the Addison action with declinatory exceptions

of lis pendens.T After those matters were fully briefed, the Honorable Stephen C. Grefer held a

hearing on January 24,2019. At the conclusion of argument, Judge Grefer held that La. C.C.P.

art. 532 dictated that the exceptions of lis pendens be granted as Addison was duplicative of the

four related class actions pending in federal court.s Judge Grefer fuither ordered that Addison

would be stayed until such time as the Eastern District of Louisiana ordered a remand of any one

of the related class actions, or until such time as the Eastem District of Louisiana ruled on class

certif,rcation in any one of those actions. On February 6,2019, Judge Grefer signed a judgment

reflecting this ruling.e



a
  Anderson Exhibits C-1, D-1, E-1.
t
  Anderson Exhibits C-2, D-2, E-2.
u
  Anderson Exhibit A-1.
' The Addiso¡¿ action was stayed before the other Waste Connections Defendants appeared. Presently, WCUS is the
only one of the Waste Connections Defendants that has made an appearance in Addison.
t Arderso, Exhibit A-2.
e
  See Anderson Exhibit A-3. On March 21,2019,the Addison plaintiffs hled an application for supervisory writs,
which the Fifth Circuit Court of Appeal has not yet ruled on. That application lacks any merit, as Judge Grefer
properly held that Addison was duplicative of the four related class actions pending in federal court.


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        On February 25, 2019, Mr. Neuman and the Forrest, Cressy, and James firm filed

Charles Lee Anderson et al. versus Louisiana Regional Landfill Company, et al., Civil Action

No. 792-502, on behalf of 91 additional residents of Jefferson Parish, also complaining of odors

allegedly emanating from the Landfill. That matter also names defendants Jefferson Parish, the

Waste Connections Defendants, and Aptim Corporation. Anderson is currently pending on the

docket of Division O in this district, but the Waste Connections Defendants and Jefferson Parish

have sought to have that matter transferred to Division J and consolidated with Addison.ro

         From March l4 until April 9, 2079, Mr. Neuman and the Forrest, Cressy, and James firm

filed four additional mass actions,ll including the present Brunet suit, all complaining of odors

allegedly emanating from the Landfill - bringing the total to six related lawsuits all filed by the

same counsel on behalf of over 500 plaintiffs. The present Brunet matter also names defendants

Jefferson Parish, the V/aste Connections Defendants, and Aptim Corporation.l2

         On March 14, 2079, the Eastem District of Louisiana denied the various motions to

remand pending in the four putative class actions, holding that the actions would remain in

federal court.l3 By agreement of the parties, the four putative class actions have now been

consolidated, and the consolidated matter is actively proceeding in federal court.

         The Waste Connections Defendants now request that the present Brunet matter be

transferred from Division O to Division J, for purposes of consolidating it with the Addison

action, because the two actions involve the same allegations of fact and law. The transfer will

serve several vital interests: prevent the appearance of judge shopping by plaintiffs; promote

efficiency and judicial expediencyt and avoid the possibility of inconsistent rulings.

         Simultaneous with this motion, the Waste Connections Defendants have f,rled a

declinatory exception of lis pendens in the present Brunet matter, on the basis that it is

 l0
    The Waste Connections Defendants filed a Motion to Consolidate the Anderson and Addison actions. Pursuant to
 La. C.C.P. art. 1561, that motion was fîled on the docket of the Addison action in Division J. Simultaneous with that
 motion, the Waste Connections Defendants filed a Motion 1o Transfer on the docket of Anderson in Division O. The
 latter motion was filed in an abundance of caution, given that the Addison matter is stayed by order of Judge Grefer
 dated February 6,2019.
 tt See Michael Brunet et al. versus Louisiana Regional Landfill Compøny, et al.,Civil Action No.793-088 (24th
 JDC, Div. O, filed on March 14,2019); Mary Ann llinngkof et al. versus Louisiana Regional Landfill Company, et
 al. (24th JDC, Div. M, filed on April 2,2019); Rickey Calligan et al. versus Louisiana Regional Landfill Company,
 et al. (24th JDC, Div. L, filed on April 5,2019); Regenia Grffin et al. versus Louisíana Regional Landfill Company,
 et al. (24th JDC, Dìv. A, filed on April 9,2019).
 t' Anderso, Exhibit F.
 t3
   lctech-Bendeck, _F.Supp.3d_, 2019 WL I 199105; Thompson,-F.Supp.3d --2019 WL 1199103;
 Landry-Boudreaux, _F.Supp.3d_, 2019 WL I 199104; Bernard, _F.Supp.3d , 2019 WL 1199102.


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duplicative of the related class actions filed in the summer of last year (i.e., the same basis on

which Judge Grefer ordered that the Addison matter be stayed). The Vy'aste Connections

Defendants submit that Judge Grefer should hear the exception of lis pendens after the present

Brunet action is transferred to Division J. Additionally, Jefferson Parish filed a similar motion to

the present one in Division J in the Addison action, requesting that Judge Grefer effect a limited

lifting of the stay of that litigation for purposes of exercising his authority under La. C.C.P.

article 1561 to order that the present Brunet action and the other duplicative actions filed by Mr.

Neuman and the Forrest, Cressy, and James firm be transferred to Division J and consolidated

with Addison. The Waste Connections Defendants have flrled a memorandum joining in the

Parish's motion. While Judge Grefer may properly resolve this issue under La. C.C.P. article

1561,r4 the present motion was filed in an abundance of caution, given that the Addison matter is

stayed pursuant to Judge Grefer's order dated February 6,2019.

     B. ARGUMENT
         Louisiana Code of Civil Procedure article 253.2 allows for transfer of a case from one

division of a judicial district to another division within the same district to effect a consolidation,

as follows:

         After a case has been assigned to a particular section or division of the court, it
         may not be transferred from one section or division to another section or division
         within the same court, unless agreed to by all parties, or unless it is being
         transferred to effect a consolidation for purpose of trialls pursuant to Article l56l .
         However, the supreme court, by rule, may establish uniform procedures for
         reassigning cases under circumstances where an expeditious disposition of cases
         may be effectuated.

         The Louisiana Supreme Court has confirmed that transfer for consolidation purposes is

appropriate when two suits allege common issues of fact and law. See Cotton v. Gaylord

Chemical Corporation,96-1823 (La.7118196),678 So. 2d 532 (cases involved same alleged

ra
   Although Louisiana Code of Civil Procedure article l56l provides that the division in which the f,rrst-filed action
is pending is the proper division to order a consolidation, article 253.2 also grants this Court the authority to order a
ffansfer of this matter "to effect a consolidation."
r5
   Despite ar¡ic\e253.2's reference to trial, Louisiana courts have observed that a trial court has wide discretion to
order a transfer for consolidation purposes at any stage ofthe proceedings, even ifconsolidation would obviate the
need for a trial. See Bonnettev. Tunica-Biloxi Indians,2002-919 (La.App. 3 Cir.5128103,2),873 So.2d 1,4, on
reh'g (Mar. 24,2003). There, the trial court dismissed the first-filed action for lack of subject matter jurisdiction; it
then ordered consolidation of a later filed action, and subsequently dismissed it for lack of subject matter jurisdiction
for same reasons as first-filed action. The couf ofappeal rejected the appellant's argument that the trial court erred
in dismissing the later-filed action immediately after consolidation, when consolidation should be for trial only. Id;
see also Ferguson v. Sugar, 2000-2528 (La.App. 4 Cir. l2/l9l0l, 3), 804 So.2d 844, 846 (permitting the
consolidation of a petition for discovery only pending in one division with the underlying negligence claim pending
in another, even though the discovery petition was not consolidated "for trial.")


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incident, same defendants, and similar allegations against the defendants). A request to transfer a

case for consolidation purposes should be granted to avoid multiplicity and duplication of

actions.'6 The purpose of consolidation is to discourage judge shoppinglT and to promote judicial

efficiency and expediency.'8 Further, an objection to transfer is valid only when the objecting

party demonstrates with "specificity" that it will be unduly prejudiced. Abadie v. Metro. Life Ins.

Co.,00-344 (La.App.5th Cir. 3l28l0I,n),784 So.2d 46,62.

        Here, transfer for consolidation purposes is warranted because both Brunet and Addison

allege the same events and alleged wrongdoing (ongoing odors which are allegedly emanating

from the Landfill); transfer is necessary to prevent a drain on this district's resources and the risk
                                                                            tn
of inconsistent judgments; both suits name identical defendants;                 both suits involve at least one

common plaintiff (Luta Darden);20 and all plaintiffs in both suits belong to the same proposed

class of plaintiffs in four previously filed proposed class actions.

        1. Same alleged events, same alleged wrongdoing.
        First, transfer for consolidation purposes is appropriate because the two suits arise from

the same alleged events and involve the same alleged acts of wrongdoing. Namely, both the

Brunet and Addiso¡¿ suits allege that odors have emanated and continue to emanate from the

Landfill, and that such odors are caused by the Landfill's insufficient leachate and gas collection

systems. This is made abundantly clear by the "Introduction" sections of the Brunet and Addison

petitions - which contain the same, identical provision:




'u See u.g., In re Miller,95-1051 (La. App. 1 Cir. 12115195),665 So.2d 774,776; Reynaudv. Champagne,14
Orleans App. 1 79, 1 8 I (La. I 91 7) ("The law abhors a multiplicity of actions against the same person.").
¡7
   See Rule 9.4(b) of the Unit-orm Rules for Louisiana District Courts, which provides:
         (b) Judge or forum shopping is prohibited. To achieve continuity of case management and avoid
         the appearance ofjudge or forum shopping, all subsequent actions asserting the same claim by the
          same parties, except for cases filed in juvenile courts with concurrent jurisdiction, shall be
          transferred to the division to which the first case filed was allotted, whether or not the first case is
          still pending. Any attorney or party who files more than one petition for the same party on the
          same cause of action shall attach to any subsequent petition a "Notice of Prior Filing or Multiple
           Filing," regardless of whether any of the previous petitions were dismissed. This notice shall
          comply with La. Code Civ. Proc. an. 853.
 18
    See St Pe v. Neal,534 So. 2d 993,994 (La.App. 4th Cir. 1988) (consolidation appropriate when it "achieves
judicial economy and results in the reduction of transactional costs."); Aaron & Turner, L.L.C. v. Perret,2007-1425
(La.App. 1 Cir. 514109), 2009 WL 2857974 (consolidation warranted "in the interests of judicial efficiency");
Johnson v. First Nat. Bqnk of Shreveporl. 2000-870 (La.App. 3 Cir. 6/20/01, 6), 792 So. 2d 33, 43 ("Judicial
 economy dictates that such similar matters arising out of the same set of facts and circumstances and against the
 same set of Defendants be tried together.").
 '' Those defendants are Jefferson Parish, Louisiana Regional Landfill Company ("LRLC") flkla IESI LA Landfill
 Corporation, Waste Connections Bayou,Inc. f/Wal Progressive Waste Solutions of LA, Inc., Waste Connections US,
 Inc., and Aptim Corporation.
 z0
    See Anderson Exhibit A-1, Addison petitio4 p.3; Brunet petition, p. 4.



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           This action arises from the continuing, significant and unabated harm suffered by
           each of the named Petitioners as a result of the ongoing - and admitted - failure
           of each of the Defendants to ensure that the design, operation and maintenance of
           the Jefferson Parish Landfill (the "J.P. Landfill") complies with applicable
           environmental laws and adequately protects Petitioners' human health and
           environment. At all relevant times, the J.P. Landfill and has persistently emitted
           harmful and toxic odors and chemicals into the surrounding areas, including
           where each of the Petitioners resides.

           These unlawfirl, harmful and toxic releases have caused Petitioners substantial
           loss of the use and enjoyment of their homes and immovable property, and have
           caused physical harms including, among other things: diffrculties breathing,
           coughing, nausea, burning eyes, ears, noses and throats, dizziness loss ofappetite
           and lethargy, as well as fear, anguish, discomfort and inconvenience. These
           emissions also have caused diminution in the value of Petitioners' homes.

           Accordingly, Petitioners seek redress from the Defendants for the direct and
           consequential injury and damage they have suffered and will continue to suffer as
           a direct result of the releases of noxious odors and chemicals from the J.P.
           Landfill.2r

Likewise, the remainder of both petitions set forth nearly identical allegations regarding the

events giving rise to the litigation and the harms allegedly suffered.22 In short, there is no

meaningful distinction in the facts and law alleged in the two suits that would cut against

transferring this action.

           2. Transfer is necessary to prevent a drain on this district's resources and the risk
                of inconsistent judgments.

           A transfer should also be granted to avoid wasting judicial resources and inconsistent
rulings. Several more similar actions are likely to be filed in the near future- indeed, just days

after filing Brunet, the same counsel filed three more related actions. Without transfer, the

various related suits would waste judicial resources and create a risk of inconsistent judgments.

So far, Mr. Neuman and the Forrest, Cressy, & James firm have filed six mass actions

concerning alleged odors emanating from the Landfill. Mr. Neuman has already indicated to




2t
     See Anderson Exhibit A-1 , Addison petition, p.2; Brunet petition, p. 2.
22
   Compare, e.g., Andersor Exhibit A-1, Addison petition, para. XXXV(a) (alleging that defendants were negligent
in "Failing to properly design, operate and maintain the J.P. Landfill, thus allowing noxious and harmful odors and
chemicals to be released from the J.P. Landfill and introduced in the atmosphere and surrounding
neighborhoods.") with Brunet petition, para. XXXVIII(i) (same); Anderson Exhibit A-1, Addison petition, para.
XXXV [sic] at p. l7 ("The Defendants' failure to comply with their duties of care to the Petitioners were and are a
cause in fact and a legal cause of Petitioners' injuries, and each of the Petitioners has suffered damages as a result
thereof, including physical harm, diminution in properfy value and fear, anguish and mental pain and suffering as
well as loss of use and enjoyment of their immovable property and diminution in the value of said property.") with
Brunet petition, para. XXXIX (same).


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Judge Grefer that his legal team "has been inundated with over a thousand phone calls" from

prospective clients and that he is indeed working to enlist additional plaintiffs.23

        Given Mr. Neuman's suggestion that thousands more potential plaintiffs are lying in

wait, there is a very real possibility that many - l0 or more - related actions could be hled

alleging the same issues of fact and law, and that each would be lodged in a different division of

this judicial district. That number could balloon considerably if other attorneys adopt Mr.

Neuman's strategy, especially in consideration of the staggering geographic scope of those

allegedly suffering harm2a and Jefferson Parish's population in excess of 400,000 people.

Without transfer, those various suits would create a significant drain on this district's resources

and create a risk of inconsistent judgments on lis pendens and other issues that may arise.

        3. Same defendants
        Transfer is also warranted because the Addison and Brunet actions involve the same

defendants - namely, Jefferson Parish, the Waste Connections Defendants, and Aptim

Corporation.

        4. Same plaintiffs
        Further, transfer is appropriate as Addison and Brunet both involve at least one coÍrmon

plaintiff,2s and more importantly , the Addison and Brunet plaintiffs share a legal identity as both

sets of plaintiffs belong to the same proposed class of plaintiffs in four previously filed proposed

class actions which are pending in federal court.

        As Judge Grefer already recognized when he granted WCUS' exception of lis pendens,

the Addisorz plaintiffs are, as a matter of law, deemed to share an identity with the proposed class

of plaintiffs in the lctech and other related proposed class actions.26 The Court's ruling was

based, in part, on Louisiana Supreme Court authority which makes it clear that when plaintiffs in



23
   Anderson Exhibit A-2, pp. 14:30-15:12.
2a
   On the northwest end of the spectrum, Mr. Neuman has filed suit on behalf of plaintiffs residing north of Louis
Armstrong airport in Kenner. See Anderson petition, p. 5 (naming plaintiffs living at 3150 Washington St., Kenner,
LA 70065). On the southeast end of the spectrum, he has filed suit on behalf of plaintiffs residing almost as far south
as Lapafco Boulevard in Marrero. See Brunet petition, p. 4 (naming a plaintiff living at 1534 Mansfield Ave.,
Marrero, LA70072).
25
   See Anderso¡e Exhibit A-1, Addison petitio4 p. 3; Brunet petition, p. 4 (both naming Lula Darden).
2u
   Anderson Exhibit A-2, pp.3l.30-32:12 (holding that given "the proposed class definition fin lctech-Bendeck and
the related actionsl and the allegations alleged in the plaintifß' petition in the Addison matter that there is no way
that this Court can envision that lthe Addison plaintiffs] wouldn't be members of the class if a class is so certified
fin lctech-Bendeck or the related actions]. That doesn't mean that they can't opt out [at a later date], obviously, but
that's not the question now.").


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a later-filed action are putative class members of an earlier-filed pending class action, there is a

shared legal identity among all members of the putative class until at least such time as class

certification is ruled upon. Aisola v. Louisiana Citizens Property Ins. Corp., 2014-1708 (La.

10114115), 180 So. 3d 266,270 (finding that there was an "identity of parties" where plaintiffs

were putative class members of four earlier-filed class action suits). The Addison plaintiffs

conceded that they fall within the definition of the class proposed in the lctech and related

actions,2T and there is not yet an available procedure for opting out of the proposed class.28

Accordingly, Judge Grefer correctly held that the Addisorz plaintiffs share an identity with the

plaintiffs in four previously filed proposed class actions.

        The Bruner plaintiffs, just like the Addison plaintifß, all allege to be residents of

Jefferson Parish who have been harmed by odors allegedly emanating from the Landfill.2e

Therefore, for the sarne reasons as the Addison plaintiffs, the Brunet plaintiffs fall within the

proposed class definition3o and share an identity with the plaintiffs in four previously filed

proposed class actions - and by extension, the Addison and Brunet plaintiffs share an identity

with each other.

        Finally, the Addison and Brunet plaintiffs are represented by the same attorneys, which

also weighs in favor of transfer.3l

        For these reasons, transfer is appropriate as Addison and Brunet both involve at least one

common plaintiff, and the Addison and Brunet plaintiffs share a legal identity.

         5. Transfer is necessary to prevent the appearance ofjudge shopping
         Additionally, transfer to Division J is necessary to prevent the appearance of judge

shopping. Rule 9.4(b) of the Uniform Rules for Louisiana District Courts explicitly calls for

transfers when necessary to prevent the appearance ofjudge shopping, as follows:

27
   Anderson Exhibit A-2,p.19, lines 8-21.
28
   See Duch,yorthv. La. Fqrm Bureøu Mut. Ins. Co.,20ll-2835 (La.ll/2/12), 125 So. 3d 1057, 1070 ("The decision
to request exclusion or to 'opt out' is made, not at the time of filing a class action petition, but after the class is
certifred, notice is issued, and a timely election form is submitted."); Quinn v. La. Citizens Prop. Ins. Corp., 2012-
0152 (La. lll2/12),1 18 So. 3d 101 l, l0l6 ("when a class action is certified in Louisiana, all persons who fall within
the class definition are class members. The only avenue for requesting exclusion from a class once it is certified is
by the timely submission of an election form.").
1e
   Brunet petition, paras. I, III.
to
   The proposed class in each action is defined as all residents of Jefferson Parish that suffered harm as a result of
the alleged emission of noxious odors from the Landfill. See Anderson Exhibit B-1, Petition aÍ 4: Andersoz Exhibit
C- I , Petition aÍ. 2; Anderson Exhibit D- I , Petition at 5; and E- 1 , Petition at 5.
tt Ropp v. City of New Orleans, 95-1638 (La.App. 4 Cir.9118196,46),681So. 2d 433, 455 ("common representation
on both sides" was one reason that consolidation was warranted).



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       Judge or forum shopping is prohibited. To achieve continuity of case management
       and avoid the appearance of judge or forum shopping, all subsequent actions
       asserting the same claim by the same parties, except for cases filed in juvenile
       courts with concurrent jurisdiction, shall be transferred to the division to which
       the first case filed was allotted, whether or not the first case is still pending. Any
       attorney or party who files more than one petition for the same party on the same
       cause of action shall attach to any subsequent petition a "Notice of Prior Filing or
       Multiple Filing," regardless of whether any of the previous petitions were
       dismissed.

As set forth above, the Addison and Brunet actions involve the same defendants, at least one

common plaintiff, and the remaining plaintiffs share a legal identity. Under these circumstances,

Uniform Rule 9.4(b) required plaintiffs' counsel to attach a "Notice of Prior Filing or Multiple

Filing" to the Brunet petition, which presumably would have prompted the Clerk of Court to

transfer the Brunet action to Division J. Yet, plaintiffs' counsel failed to submit the required

notice, and when contacted by undersigned counsel, plaintiffs' counsel indicated that he would

oppose any motion requesting that Brunet be transferred to Division J.

       Regardless of plaintifß' counsel's true motives for opposing transfer of Brunet to

Division J, it certainly creates the appearance that plaintiffs' counsel would prefer to avoid

Division J, in which Judge Grefer already held that the similar Addison action be stayed under lis

pendens. Uniform Rule 9.4(b) is designed to prevent such appearances of judge shopping and

thus transfer is warranted.

       6. Transfer would not cause undue prejudice to plaintiffs.
       Finally, a transfer for consolidation purposes is warranted as it would not cause jury

confusion, prevent a fair and impartial trial, give any party an undue advantage, or prejudice the

rights of any pafty. See La. C.C.P. art. 1561(8). All defendants in this action consent to this

motion. As for any objections the plaintiffs may have, the Louisiana Fifth Circuit has recognized

that transfer for consolidation purposes should not be denied based on vague or nonspecific

objections; rather, an objection to transfer is valid only when the objecting party demonstrates

with "specificity" that it will be unduly prejudiced. Abadie v. Metro. Life Ins. Co, 00-344

(La.App. 5th Cir. 3128/01, 1l),784 So. 2d 46,62.

        Here, a transfer for consolidation purposes would not only be fair to all parties but would

be the most efficient and common-sense approach to managing the related actions. It would

allow the same judge to issue rulings on lis pendens in the various cases, which is appropriate


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because the exceptions of lis pendens in Addison and Brunet involve virtually the same factual

allegations and issues of law. And if and when the stays are lifted, all of the actions would be

before a single division, ensuring consistent discovery and case management rulings.

         As for the risk of jury confusion and the likelihood of an impartial trial, any such

concems are entirely speculative at this point. Pursuant to the exceptions of lis pendens - which

has already been granted as to Addison, and should also be granted asto Anderson and Brunet
                                                                                                                -
these actions will not proceed to trial in this district unless class certification is denied or the

plaintiffs chose to opt out of a certified class.

         Even if the Court assumes that Addison and Brunet will eventually proceed to trial in this

district, transfer for consolidation purposes is deemed to be unlikely to cause jury confusion or

undue prejudice when the cases are "closely connected by the facts and theories of recovery"

alleged in the petitions, as is the case here. See Bridwell v. Louisiana Patients' Comp. Fund,

2003-0683 (La.App. 4 Cir. 517103,2), 847 So. 2d 686, 688. Given the common issues alleged in

Brunet and, Addison, thereis no basis to conclude that transfer would impair the plaintiffs' right

to a fair trial. See also Riggin v. Watson-Aven lce Cream Co., 192 La. 469, 476, 188 So. 144,

146 (1939) (consolidation would not unduly prejudice plaintiffs '*'hen the allegations "arise from

one and the same accident and are of a similar nature.").

         While the above objections would lack any merit, the most obvious objection the Brunet

plaintiffs might have to transfer is that Judge Grefer would presumably apply the same rationale

in ruling on the issue of lis pendens as he did in Addison, resulting in a stay of the Brunet suit.

However, a party's desire for a second (or third) bite at the apple before a different judge is not a

valid reason for opposing transfer.32

     C. CONCLUSION
        For all of these reasons, the Waste Connections Defendants respectfully request that this

motion be granted, transferring Civil Action No. 793-088 from Division O to Division J.




32
  See Rule 9.4(b) of the Uniform Rules for Louisiana District Courts, which orders that cases involving the same
parties and same causes of action be tried in the same division in order to "achieve continuity of case mánagement
and avoid the appearance ofjudge or forum shopping."



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                               Respectfully submitted,

                               BRADLEY MURCHISON KELLY & SHEA LLC
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                               Inc., Vy'aste Connections Bayou, Inc., and Louisiana
                               Regional Landfill Company




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                               CERTIFICATE OF SERVICE

       I hereby certifu that I have served a copy of the above pleading on the following counsel

of record via PDF email this lSth day of April,z}lg.

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                                                                                    \

                                                       OF COLTNSEL




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                                  24TH JUDICIAL DISTRICT COURT
                                      PARISH OF JEFFERSON
                                       STATE OF LOUISIANA

     RICKEY CALLIGAN, ABENI ALEXANDER, AUBREE
     ALEXANDER, BREJEANNE ANDERSON, CHANDRA
     AUGUST, MABLE IRENE BRADLEY, KIEOKA
     BARCONEY, MARAHJ BARCONEY, JORDAN TAYLOR,
     VICTORIA BARNES, SHAKITA BATES, LEE BATES,
     KYRON BATES, LEON BRADLEY SR, KIZZIE CAGE,
     DARRELL ROBINSON, DONTRELL EDGERSON,
     DESTINI TRICE, DANEY CAGE, RICKEY CALLIGAN,
     JESSICA CAMPBELL, JOURNIE CAMPBELL, MISTY
     CAPO, VINCENT CAPO IV, KAITLIN CAPO, MARK
     CHAMPAGNE, JEANELLE CROCKETT, JEANIE
     CROCKETT, BRITTANY CROCKETT, TIMOTHY
     DAIGLE, DESIRAE DAIGLE, DERRICK DANDRIDGE,
     CORNEAL DAWSON, CORNELL DELANEY JR, DUSTIN
     DELAUNE, ALYSIA DIMAGGIO, ALEXANDER MEDINA
     JR, CHERYL DUFRENE, MARYBETH EATON, THOMAS
     EATON, DONALD EDGERSON, DANIELLE FERRELL,
     EVAN FRAZIER, GEORGE GAMBINO, KIMBERLY
     GAMBINO, RHONDA GLANTON, LERONIESHA
     HARTFORD, SAIGE HARTFORD, CHASE HARTFORD,
     CHARM HARTFORD, LISA HAWKINS, DONALD
     HENRY, ISIAH HILL, SHEILA THOMPSON JAMES,
     SHEILA THOMPSON, JHI JASMIN, ANDRE JOLIVETT,
                                                               Case: 793-908 Div: "L"
     ZANAI COLLINS, AISHA JONES, JOVONTA JONES,
                                                               P 1 RICKEY CALLIGAN
     ERIC JONES, LEO JONES, HELENA JEFFERSON,
     CHAYLA LESTRICK, BRITTANY LIGHTELL, BRUCE
     LIGHTELL, ELIZABETH LOWE, LAUREN LOWE,
     CHARLOTTE LOWE, KATHI MAGRI, AUGUSTA
     MARTIN, DEBRA MARTIN, NICOLE MCINNIS,
     EMMERSON MCINNIS, JAKE MCINNIS, RAY
     PENDELTON, JALISA PINKLEY, MIALA PINKLEY,
     WILEY PINKLEY, RESHAUN RICHARDSON, KIM RILEY,
     CHARLES ROBERTSON, REBECCA ROTH, JAVON
     SINGLETON, J C SINGLETON, MOZELLA SINGLETON,
     ROSALYN SINGLETON, JOSHUA JOHNSON, AMIAYA
     JASON, DWIGHT SOLOMON, VELLIS TILLMAN, ALICIA
     TOLEDANO, JAHREMY TROTTER, DEMETRICE VALL,
     CARLETTA WALKER, FRANCINE WALKER, REBECCA
     WELLS, ADDYSON WELLS, JOSEPH WELLS
       versus
     LOUISIANA REGIONAL LANDFILL COMPANY, IESI LA
     LANDFILL CORPORATION, WASTE CONNECTIONS
     BAYOU INC, PROGRESSIVE WASTE SOLUTIONS OF
     LA INC, WASTE CONNECTIONS US INC, APTIM CORP,
     PARISH OF JEFFERSON, ABC CORPORATION, DEF
     CORPORATION, GHI CORPORATION, JKL
     CORPORATION, MNO CORPORATION

     To: LOUISIANA REGIONAL LANDFILL COMPANY
     THROUGH CORPORATION SERVICE COMPANY
                                                               EBR CK# 1318 - $106.08
     501 LOUISIANA AVENUE
     BATON ROUGE LA 70802


    PARISH OF JEFFERSON

    You are hereby summoned to comply with the demand contained in the PETITION FOR
    DAMAGES AND INJUNCTIVE RELIEF of which a true and correct copy accompanies this
    citation, or make an appearance either by filing a pleading or otherwise, in the 24th Judicial
    District Court in and for the Parish of Jefferson, State of Louisiana, within FIFTEEN (15)
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    CALENDAR days afte~nome ~e~onelon'Cour~hofilse:2D6D~rbeignal~~/:C~fe(~efN6s3
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This service was requested by attorney S ELIZA JAMES and was issued by the Clerk of Court
on the 12th day of April, 2019.


                                                   /s/ Lanie B. Bryant
                                                   Lanie B. Bryant, Deputy Clerk of Court for
                                                   Jon A. Gegenheimer, Clerk of Court



                                                    SERVICE INFORMATION

 (101) CITATION: PETITION FOR DAMAGES AND INJUNCTIVE RELIEF;                                      190412-5338-6

Received:                Served:                     Returned:

Service was made:
         _ Personal                        _ Domicilary

Unable to serve:
          _ Not at this address            _ Numerous attempts          times
          _ Vacant                         _ Received too late to serve
          _ Moved                          _ No longer works at this address
          _ No such address                _ Need apartment / building number
              Other

Service: $                  Mileage: $                      Total: $

Completed by:                                                           #
                          Deputy Sheriff
Parish of:




                              Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna LA 70053
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       24Tn JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                               STATE OF LOUISIANA

           NO.:~~ ~`
                  --' 3 C)-1 ~~   ~J
                                                                     DIVISION: L

RICKEY CALLIGAN; ABENI ALEXANDER, in her individual capacity and as parent of her
minor child, AUBREE ALEKANDER; BREJEANNE ANDERSON; CHANDRA AUGUST;
    MABLE IRENE BRADLEY; KIEOKA BARCONEY, in her individual capacity and as
 parent of her minor children, MARAHJ BARCONEY and JORDAN TAYLOR; VICTORIA
 BARNES; SHAKITA BATES, in her individual capacity and on behalf of her minor children:
     LEE BATES and KYRON BATES; LEON BRADLEY, SR.; KIZZIE CAGE, in her
        individual capacity and on behalf of her minor children, DARRELL ROBINSON,
DONTRELL EDGERSON, DESTINI TRICE and DANEY CAGE; RICKEY CALLIGAN;
JESSICA CAMPBELL, in her individual capacity and on behalf of her minor child, JOURNIE
  CAMPBELL; MISTY CAPO, in her individual capacity and as parent of her minor children,
      VINCENT CAPO IV and KAITLIN CAPO; MARK CHAMPAGNE; JEANELLE
  CROCKETT; JEANIE CROCKETT, in her individual capacity and as parent of her minor
   child BRITTANY CROCKETT; TIMOTHY DAIGLE, in his individual capacity and as
    parent of his minor child DESIRAE DAIGLE; DERRICK DANDRIDGE; CORNEAL
 DAWSON; CORNELL DELANEY, JR.; DUSTIN DELAUNE; ALYSIA DIMAGGIO, in
     her individual capacity and as parent of her minor child, ALEXANDER MEDINA, JR.;
        CHERYL DUFRENE; MARYBETH EATON; THOMAS EATON; DONALD
      EDGERSON; DANIELLE FERRELL; EVAN FRAZIER; GEORGE GAMBINO;
   KIMBERLY GAMBINO; RHONDA GLANTON; LERONIESHA HARTFORD, in her
     individual capacity and as parent of her minor children, SAIGE HARTFORD, CHASE
 HARTFORD, and CHARM HARTFORD; LISA HAWHINS; DONALD HENRY; ISIAH
      HILL; SHEILA THOMPSON JAMES; JHI JASMIN; ANDRE JOLIVETT, in his
  individual capacity and as parent of his minor child, ZANAI COLLINS; AISHA JONES, in
 her individual capacity and as parent of her minor child JO'VONTA JONES; ERIC JONES;
LEO JONES; HELENA JEFFERSON; CHAYLA LESTRICK; BRITTANY LIGHTELL;
  BRUCE LIGHTELL; ELIZABETH LOWE; LAUREN LOWE, in her individual capacity
   and as parent of her minor child, CHARLOTTE LOWE; KATHI MAGRI; AUGUSTA
 MARTIN; DEBRA MARTIN; NICOLE MCINNIS, in her individual capacity and as parent
of her minor children, EMMERSON MCINNIS and JAKE MCINNIS; RAY PENDELTON;
    JALISA PINKLEY, in her individual capacity and as parent of her minor child, MIALA
 PINKLEY; WILEY PINKLEY; RESHAUN RICHARDSON; KIM RILEY; CHARLES
       ROBERTSON; REBECCA ROTH; JAVON SINGLETON; J.C. SINGLETON;
   MOZELLA SINGLETON; ROSALYN SINGLETON, in her individual capacity and on
     behalf of her minor children, JOSHUA JOHNSON and AMIAYA JASON; DWIGHT
     SOLOMON; VELLIS TILLMAN; ALICIA TOLEDANO; JAHREMY TROTTER;
 DEMETRICE VALL; CARLETTA WALKER; FRANCINE WALKER; and REBECCA
  WELLS, in her individual capacity and as parent of her minor children, ADDYSON WELLS
                                     and JOSEPH WELLS.


 LOUISL&NA REGIONAL LANDFILL COMPANY (LRLC), f/k/a IESI LA LANDFILL
   CORPORATION; WASTE CONNECTIONS BAYOU, INC., f/k/a/ PROGRESSIVE
 WASTE SOLUTIONS OF LA, INC; WASTE CONNECTIONS US, INC; APTIM CORP;
   PARISH OF JEFFERSON; ABC CORP; DEF CORP; GHI CORP; JKL CORP; and
                             MNO CORP.
FILED:
                                         DEPUTY CLERK


              PETITION FOR DAMAGES AND INJUNCTIVE RELIEF




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       This action arises from the continuing, significant and unabated harm suffered by each of

the named Petitioners as a result of the ongoing — and admitted — failure of each of the Defendants

to ensure that the design, operation and maintenance of the Jefferson Parish Landfill (the "J.P.

Landfill") complies with applicable environmental laws and adequately protects Petitioners'

human health and environment. At all relevant times, the J.P. Landfill and has persistently emitted

harmful and toxic odors and chemicals into the surrounding areas, including where each of the

Petitioners resides.

        These unlawful, harmful and toxic releases have caused Petitioners substantial loss of the

use and enjoyment of their homes and immovable properry, and have caused physical harms

including, among other things: difficulties breathing, coughing, nausea, burning eyes, ears, noses

and throats, dizziness loss of appetite and lethargy, as well as fear, anguish, discomfort and

inconvenience. These emissions also have caused diminution in the value of Petitioners' homes.

       Accordingly, Petitioners seek redress from the Defendants for the direct and consequential

injury and damage they have suffered and will continue to suffer as a direct result of the releases

of noxious odors and chemicals from the J.P. Landfill.

       Petitioners are:

       RICKEY CALLIGAN, an individual of full age of majority residing at 8701 Steamboat

Lane, River Ridge, LA 70123.

       ABENI ALEXANDER, an individual of full age of majority residing at 352 Plantation

Dr., Kenner, LA 70062 and owner of a leasehold interest in said premises, in her individual

capacity and as parent of her minor child, AUBREE ALEXANDER.

       BREJEANNE ANDERSON, an individual of full age of majority residing at 1332 South

Dilton Street Metairie, LA 70003.

       CHANDRA AUGUST, an individual of full age of majority residing at 261 Capitol Dr.,

Avondale, LA 70084 and owner of said immovable property.

       MABLE IRENE BRADLEY, an individual of full age of majority residing at 612 S.

Upland Ave., River Ridge LA 70123 and owner of a leasehold interest in said premises.




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       HIEOKA BARCONEY, an individual of fall age of majority residing at 400 Federal Dr.,

Avondale, LA 70094, in her individual capacity and as parent of her minor children, MARAHJ

BARCONEY and JORDAN TAYLOR.

       VICTORIA BARNES, an individual of full age of majority residing at 10950 Jefferson

Hwy., Apt. B 14, River Ridge, LA 70123 and owner of a leasehold interest in said premises.

       SHAHITA BATES, an individual of full age of majority residing at 10950 Jefferson Hwy.,

Apt J4, River Ridge, LA 70123, and owner of a leasehold interest in said premises, in her

individual capacity and on behalf of her minor children: LEE BATES and KYRON BATES.

       LEON BRADLEY, SR., an individual of full age of majority residing at 612 S. Upland

Ave., River Ridge, LA 70123 and owner of a leasehold interest in said premises.

       KIZZIE CAGE, an individual of full age of majority residing at 863 3ra St., Kenner, LA

70062, in her individual capacity and on behalf of her minor children, DARRELL ROBINSON,

DONTRELL EDGERSON, DESTINI TRICE and DANEY CAGE.

       JESSICA CAMPBELL, an individual of full age of majority residing at 861 Reverend

Richard Wilson Dr., Kenner, LA 70062, in her individual capacity and on behalf of her minor

child, JOURNIE CAMPBELL.

       MISTY CAPO, an individual residing at 116 Gardenia Lane, Westwego, LA 70094 and

owner of a leasehold interest in said premises, in her individual capacity and as parent of her minor

children, VINCENT CAPO IV and KAITLIN CAPO.

       MARK CHAMPAGNE, an individual residing at 120 Daffodil Lane, Waggaman, LA and

owner of said immovable property.

       JEANELLE CROCKETT, an individual of full age of maj ority residing at 7916 Warsaw

St., Metairie, LA 70003.

       JEANIE CROCKETT, an individual of full age of maj ority residing at 7916 Warsaw St.,

Metairie, LA 70003, in her individual capacity and as parent of her minor child BRITTANY

CROCKETT.

       TIMOTHY DAIGLE, an individual of full age of majority residing at 100 4 O'Clock

Lane, Westwego, LA 70094, in his individual capacity and as parent of his minor child DESIRAE

DAIGLE.


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       DERRICK DANDRIDGE, an individual of full age of majority residing at 346 Azalea

Dr., Westwego, LA70094.

       CORNEAL DAWSON, an individual of full age of majority residing at 518 Wilker Neal

Ave., River Ridge, LA 70123.

       CORNELL DELANEY, JR., an individual of full age of majority residing at 21 Dolores

Dr., Waggaman, LA 70094.

       DUSTIN DELAUNE, an individual of full age of majority residing at 109 Roux Lane,

Westwego, LA 70094.

       ALYSIA DIMAGGIO, an individual of full age of majority residing at 49 Judith St.,

Waggaman, LA 70094, in her individual capacity and as parent of her minor child, ALEXANDER

MEDINA, JR.

       CHERYL DUFRENE, an individual of full age of majority residing at 8933 Camille Ct.,

River Ridge, LA 70123 and owner of said immovable property.

       MARYBETH EATON, an individual of full age of majority residing at 625 Hester Ave.,

River Ridge, LA 70123 and owner of said immovable property.

       THOMAS EATON, an individual of full age of majority residing at 625 Hester Ave.,

River Ridge, LA 70123 and owner of said immovable properry.

       DONALD EDGERSON, an individual of full age of majority residing at 11104 Newton

St., Apt A, River Ridge, LA 70123.

       DANIELLE FERRELL, an individual of full age of majority residing at 11100 Newton

St., Apt B, River Ridge, LA 70123 and owner of a leasehold interest in said premises.

       EVAN FRAZIER, an individual of full age of majority residing at 23 Sharen Place,

Westwego, LA 70094.

       GEORGE GAMBINO, an individual of full age of majority residing at 29 Chalstrom

Dr., River Ridge, LA 70123 and owner of said immovable property.

       KIMBERLY GAMBINO, an individual of full age of majority residing at 29 Chalstrom

Dr., River Ridge, LA 70123.

       RHONDA GLANTON, an individual of full age of majority residing at 636 Azalea Dr.,

Westwego, LA 70094 and owner of a leasehold interest in said premises.


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       LERONIESHA HARTFORD, an individual of full age of majority residing at 204

Wilker Neal Ave., Apt A, River Ridge, LA 70123, in her individual capacity and as parent of her

minor children, SAIGE HARTFORD, CHASE HARTFORD, and CHARM HARTFORD.

       LISA HAWKINS, an individual of full age of majority residing at 33 Clifford Ct.,

Waggaman, LA 70094 and owner of a leasehold interest in said premises.

       DONALD HENRY, an individual of full age of majority residing at 140 Rosalie Dr.,

Apt. C, Avondale, LA 70094 and owner of a leasehold interest in said premises.

       ISIAH HILL, an individual of full age of majority residing at 611 South Bengal Rd.,

River Ridge, LA 70123 and owner of said immovable properry.

       SHEILA THOMPSON JAMES, an individual of full age of majority residing at 412

Wilker Neal Ave., River Ridge, LA 70123 and owner of said immovable property.

       JHI JASMIN, an individual of full age of majority residing at 617 Wilker Neal Ave.,

River Ridge, LA 70123.

       ANDRE JOLIVETT,.an individual of full age of majority residing at 218 Marion Court

River Ridge, LA 70123, and owner of a leasehold interest in said premises, in his individual

capacity and as parent of his minor child, ZANAI COLLINS.

       AISHA JONES, an individual of full age of majority residing at 33 Clifford Ct.,

Waggaman, LA 70094 and owner of a leasehold interest in said premises, in her individual

capacity and as parent of her minor child JO'VONTA JONES.

       ERIC JONES, an individual of full age of majority residing at 33 Clifford Court,

Waggaman, LA 70094.

       LEO JONES an individual of full age of majority residing at 321 S. Upland St., River

Ridge, LA 70123 and owner of said immovable property.

       HELENA JEFFERSON, an individual of full age of majority residing at 624 Wilker

Neal Ave., Apt. B, River Ridge, LA 70123.

       CHAYLA LESTRICK, an individual of full age of majority residing at 2 Jasmine Lane,

Waggaman, LA 70094.

       BRITTANY LIGHTELL, an individual of full age of majority residing at 51 Winifred

St., Waggaman, LA 70094.




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       BRUCE LIGHTELL, an individual of full age of majority residing at 51 Winifred St.,

Waggaman, LA 70094 and owner of said immovable property.

       ELIZABETH LOWE, an individual of full age of majority residing at 604 Hester Ave.,

River Ridge, LA 70123, and owner of said immovable property.

       LAUREN LOWE, an individual of full age of majority residing at 10120 Saint Paul

Ave., River R.idge, LA 70123 and owner of said immovable property, in her individual capacity

and as parent of her minor child, CHARLOTTE LOWE.

       KATHI MAGRI, an individual of full age of majority residing at 10004 Hyde Pl., River

Ridge, LA 70123 and owner of said immovable property.

       AUGUSTA MARTIN, an individual of full age of majority residing at 514 Folse St.,

River Ridge, LA 70123.

       DEBRA MARTIN, an individual of full age of majority residing at 514 Folse St., River

Ridge, LA 70123 and owner of a leasehold interest of said premises.

       NICOLE MCINNIS, an individual of full age of majority residing at 710 Randolph Av.,

Harahan, LA 70123 and owner of said immovable property, in her individual capacity and as

parent of her minor children, EMMERSON MCINNIS and JAKE MCINNIS.

       RAY PENDELTON, an individual of full age of majority residing at 824 Wilker Neal

Ave., Metairie, LA 70003 and owner of a leasehold interest in said premises.

       JALISA PINKLEY, an individual of full age of majority residing at 511 Wilker Neal

Ave., River Ridge, LA 70123, in her individual capacity and as parent of her minor child,

MIALA PINKLEY.

       WILEY PINKLEY, an individual of full age of majority residing at 511 Wilker Neal

Ave., River Ridge, LA 70123, and owner of said immovable properry.

       RESHAUN RICHARDSON, an individual of full age of majority residing at 624

Wilker Neal Ave., Apt.B, River Ridge, LA 70123 and owner of a leasehold interest in said

premises.

       KIM RILEY, an individual of full age of majority residing at'208 Jeffer Dr., Waggaman,

LA 70094 and owner of said immovable property.




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       CHARLES ROBERTSON, an individual of full age of majority residing at 11104

Newton, Apt. B, River Ridge, LA 70123 and owner of a leasehold interest in said premises.

       REBECCA ROTH, an individual of full age of majority residing at 100 4 O'Clock

Lane, Westwego, LA 70094 and owner of said immovable properry.

       JAVON SINGLETON, an individual of full age of majority residing at 609 Dandelion

Dr., Waggaman, LA 70094.

       J.C. SINGLETON, an individual of full age of majority residing at 609 Dandelion Dr.,

Waggaman, LA 70094 and owner of said immovable properry.

       MOZELLA SINGLETON, an individual of full age of majority residing at 609 Dandelion

Dr., Waggaman, LA 70094.

       ROSALYN SINGLETON, an individual of fixll age of majority residing at 609 Dandelion

Dr., Waggaman, LA 70094 and owner of said immovable property, in her individual capacity and

on behalf of her minor children, JOSHUA JOHNSON and AMIAYA JASON.

       DWIGHT SOLOMON, an individual of full age of majority residing at 120 Rosalie Dr.,

Avondale, LA 70094 and owner of a leasehold interest in said premises.

       VELLIS TILLMAN, an individual of full age of majority residing at 8721 Milan St.,

Metairie, LA 70003.

       ALICIA TOLEDANO, an individual of full age of majority residing at 17 Jay Place,

Waggaman, LA 70094 and owner of a leasehold interest in said premises.

       JAHREMY TROTTER, an individual of full age of majority residing at 3632 Afton Lane

Avondale, LA 70094.

       DEMETRICE VALL, an individual of full age of majority residing at 1309 Dilton St.,

Apt. 3, Metairie, LA 70003 and owner of a leasehold interest in said premises.

       CARLETTA WALKER, an individual of full age of majority residing at 723 Coleman

Place, Kenner, LA 70062 and owner of said immovable properry.

       FRANCINE WALKER, an individual of full age of majority residing at 847 Rev. Richard

Wilson Dr., 5B, Kenner, LA 70062 and owner of a leasehold interest in said premises.




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       REBECCA WELLS, an individual of full age of majority residing at 153 Rebel Ave.,

River Ridge, LA 70123 and owner of said immovable properly, in her individual capacity and as

parent of her minor children, ADDYSON WELLS and JOSEPH WELLS.

                                               I.

       Made Defendants herein are:

       a. LOUISIANA REGIONAL LANDFILL COMPANY (LRLC), f/k/a IESI LA

          LANDFILL CORPORATION (IESI"), a foreign corporation domiciled in Delaware

          authorized to do and doing business in this Parish and State. On information and belief,

          LRLC is a wholly owned subsidiary of Defendant Waste Connections Bayou, Inc., Inc.,

          which in turn was acquired by Defendant Waste Connections US, Inc. On information

          and belief, Defendant LRLC is controlled by Defendants Waste Connections Bayou,

          Inc., and/or Waste Connections, US, Inc., and is the "alter ego" of those Defendants,

          operating without autonomy and only pursuant to the direction, policies and procedures

          of its parent corporations;

       b. WASTE CONNECTIONS BAYOU, INC., f/k/a/ PROGRESSIVE WASTE

          SOLUTIONS OF LA, INC., a foreign corporation authorized to do and doing business

          in this Parish and State;

       c. WASTE CONNECTIONS US, INC., a foreign corporation authorized to do and

          doing business in this Parish and State; and

      d. APTIM CORP., a foreign corporation domiciled in Delaware authorized to do and

          doing business in this Parish and State;

      e. PARISH OF JEFFERSON, a Louisiana municipal parish in and political subdivision

          of the State of Louisiana (the "Parish";

      f. ABC CORPORATION, a foreign or domestic insurance company whose identity is

          unknown to the Petitioners, who upon information and belief wrote a policy of

          insurance coverage for Defendant LOUISIANA REGIONAL LANDFILL

          COMPANY (LRI.C), F/K/A IESI LA LANDFILL CORPORATION ("IESI"),

          that may provide coverage for acts, occurrences, and/or omissions more specifically

          described herein;


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       g. DEF CORPORATION a foreign or domestic insurance company whose identity is

           unknown to the Petitioners, who upon information and belief wrote a policy of

           insurance coverage for Defendant, WASTE CONNECTIONS BAYOU, INC., f/k/a/

           PROGRESSIVE WASTE SOLUTIONS OF LA, INC. that may provide coverage

           for acts, occurrences, and/or omissions more specifically described herein;

       h. GHI CORPORATION a foreign or domestic insurance company whose identity is

           unknown to the Petitioners, who upon information and belief wrote a policy of.

           insurance coverage for Defendant, WASTE CONNECTIONS BAYOU, INC., f/Wa/

           PROGRESSIVE WASTE SOLUTIONS OF LA, INC., that may provide coverage

           for acts, occurrences, and/or omissions more specifically described herein;

       i. JHI., CORPORATION a foreign or domestic insurance company whose identity is

            unknown to the Petitioners, who upon information and belief wrote a policy of

            insurance coverage for Defendant, APTIM CORP, that may provide coverage for acts,

            occurrences, and/or omissions more specifically described herein;

        j. MNO CORPORATIONS foreign or domestic insurance company whose identity is

            unknown to the Petitioners, who upon information and belief wrote a policy of

            insurance coverage for Defendant, PARISH OF JEFFERSON, that may provide

            coverage for acts, occurrences, and/or omissions more specifically described herein.

                                                  H.

                                  JURISDICTION AND VENUE

        Venue is proper in accordance with La. R.S. 13:5104(B), which states, in part, that "[a]ll

suits filed against a political subdivision of the state ... shall be instituted before the district court

of the judicial district in which the political subdivision is located or in the district court having

jurisdiction in the parish in which the cause of action arises." Venue is further proper as to all other

defendants as the wrongful conduct giving rise to the Petitioner's claims occurred within the

jurisdictional limits of Jefferson Parish, State of Louisiana.



                                                FACTS




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       The Parish is the owner of the Jefferson Parish Landfill (the "J.P. Landfill"), located at

5800 Highway 90 West in Avondale, Jefferson Parish, LA.

                                              IV.

       At all relevant times; the J.P. Landfill has been used as a Type I/II landfill permitted to

accept municipal and commercial solid waste, non-hazardous industrial waste, trash, construction

debris, vegetative waste, dewatered municipal wastewater sludge, and compatible non-hazardous

industrial waste pursuant to the Louisiana Environmental Quality Act, La. R.S. 30:2001, et seq.

(the "Act") as well as federal laws and regulations implemented by the United States

Environmental Protection Agency ("USEPA").

                                               V.

       The J.P. Landfill is authorized to operate pursuant to and only in accordance with the terms

and conditions of, among other things, Standard Permit P-0297R1(the "Standard Permit") as

issued, approved, and subject to periodic review and renewal by the Louisiana Department of

Environmental Quality ("LDEQ") pursuant to the Act. The Standard Permit was most recently

renewed by the LDEQ on or about January 22, 2010.

                                              VI.

       On or about May 17, 2012, the Parish entered into a contract with the Defendant IESI (since

renamed the Louisiana Regional Landfill Company) under which IESI agreed, among other things,

to "manage all tasks of the operation, management and maintenance" of the J.P. Landfill (the "IESI

Operating Contract"). Among other things, the IESI Operating Contract provides that:

       (a) Operation of the J.P. Landfill will be conducted "in strict compliance and conformity

           with all Federal, State and local laws, ordinances, and regulations, including the rules

           and regulations of the USEPA, LDEQ, and all State of Louisiana agencies, and in

           accordance with the Permit Documents."

       (b) "IESI shall be responsible for compliance with all Federal, State and local regulations,

           laws and ordinances in its performance of the Service/Work associated with the

           operation [and maintenance] of the Landfill."

       (c) IESI is required to "provide all labor, equipment, materials and incidentals to assume

           all daily operations of the Landfill."




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       (d) The Parish Engineer has the authority to "decide any and all questions as to ... the

           manner of performance and rate of progress of the Services/Work ... the interpretation

           of the Contract Documents, and all questions as to the acceptable Completion" of the

           Contract "in his reasonable and good faith opinion." The Parish Engineer is furrther

           authorized to "suspend operations at any time when the Service/Work, in his good faith

           and reasonable opinion, is not being carried out in conformity with the Contract

           Documents and all permits."

                                             VII.

       Defendant APTIM is and at all relevant times has been a co-operator of the gas and leachate

collection system of the J.P. Landfill.

                                            VIII.

       Jefferson Parish, in addition to being an owner of the J.P. Landfill, is and at all relevant

times has been a co-manager and co-operator of the J.P. Landfill with IESI/LRLP and APTIM.

                                              IX.

       The Parish has admitted that improper operation of the J.P. Landfill is a major source of

the odors suffered by Petitioners as well as the adverse consequences thereof. At a public press

conference on July 23, 2018, Parish President Mike Yenni stated that:

       (a) The J.P. Landfill's system designed to "contain and deodorize landfill gases" has not

           been in "proper working order."

       (b) The landfill's leachate collection system has not been operated properly.

       (c) "Properly operated landfills do not operate persistent off-site odors and corrective

           actions ... are essential."

       (d) The Parish has notified IESI that it is in breach of its contract to properly operate the

           J.P. Landfill.

                                               X.

       At the same press conference, Parish Sheriff Mark Conley stated that the J.P. Landfill gas

collection system has been collecting only twenty percent (20%) of the gas emitted from landfill

operations, whereas a properly operating system would collect ninety-seven to ninety-eight percent

of gas emissions, "[s]o that is why the Parish president is stressing that we realize we have


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problems ... right now, a lot of our priority, in the name of public safety and our police powers, is

to address the existing system, get it operational, and to pull as much gas out of that landfill as we

can."



        At the same press conference, Parish Councilman Paul Johnson stated that the odor from

the J.P. Landfill

        "has gotten really bad in the past for our five months ... we are all going to experience odors

        from the landfill because it's a landfill. But, not those we have been having for the past

        three or five months. It's been really bad. I have been woken up at night with my nose

        burning and couldn't breathe at three or four o'clock in the morning. This has happened

        to me more than one time ... we know the landfill is causing problems and we know it is a

        big source of problems...."

                                                    XII.

        At the same press conference, Doctor Joseph Cantor, Medical Director and Administrator

for Region 1 of the Louisiana Department of Health, warned that when the odors are at "a high

level, residents should, if they are able to, leave the area and particularly if they have certain

chronic conditions which put them at increased risk mainly pulmonary disease and asthma

COPD."1]

                                                   XIII.

        On or about June 22, 2018, the LDEQ issued a Compliance Order to the Parish which,

among other things, found that the Parish has violated its Landfill Permit and applicable

environmental regulations by (i) failing to provide daily cover and (ii) failing to properly operate

the system that is intended to collect leachate — the liquid brew that drains from a landfill and

carries with it numerous harmful chemicals.

                                                    XIV.

        The LDEQ inspectors found areas of pooled leachate and leachate flowing downhill from

the pooled leachate.


1 A video recording of the July 23 press conference can be accessed at
!Lffps://www.facebook.com/NOLAnews/videos/10155793116437060/ (last visited Aug. 4, 2018).


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         The United States Environmental Protection Agency ("EPA") has established general

screening levels for various pollutants.                  These screening levels are chemical-specific

concentrations for individual contaminants in air that may warrant further investigation or site

cleanup.2 A chronic screening level addresses potential chronic exposure to a chemical.

                                                    XVI.

         Air samples collected by the LDEQ in the communities of River Ridge, Harahan and

Waggaman between July 20, 2018 through approximately July 28, 2018 were found to contain

numerous chemical compounds at concentrations that exceed EPA's chronic screening levels,

including acrolein, 1, 2-dichloroethane, benzene, carbon tetrachloride, and naphthalene. All of

these compounds are multimodal toxicants, in that they are potential or actual human carcinogens

and also have other toxic effects. The air samples collected by LDEQ also contained hydrogen

sulfide at concentrations that exceed EPA's chronic screening levels. Hydrogen sulfide is a

potentially toxic compound. All of these compounds are typically found in the gases generated by

landfills like the Jefferson Parish Landfill.

                                                   XVII.

        In a report dated August 15, 2018, prepared for the Parish by its environmental consultant,

Carson Environmental Consulting ("CEC"), CEC made several fmdings, including, among other

things, that there are numerous deficiencies in "the landfill gas condensate and leachate collection

pumping systems[,]" and that the infrastructure for these systems requires immediate improvement

"to meet the Parish's performance objectives." In addition, CEC concluded that improved

operation and maintenance of the J.P. Landfill requires the Parish's "focused attention."

                                                        XX.

         On information and belief, on or about December 5, 2018 the Commissioner of the LDEQ

informed the Parish that there is "no doubt" in his mind that the JP Landfill is the primary source

the odors experienced by residents of the communities in which Petitioners reside.

                                                        XXI.



z https://www.epa.gov/risk/regional-screening-levels-rsls-users-guide (last visited, Nov. 21, 2018).


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       On information and belief, Defendant ABC Corporation has issued a policy of insurance

to Defendant Louisiana Regional Landfill Company that covers the acts and omissions alleged

herein. Petitioners will amend this Petition to identify ABC Corporation once its identity is known.



       On information and belief, Defendant DEF Corporation has issued a policy of insurance to

Defendant Waste Connections Bayou, Inc. that covers the acts and omissions alleged herein.

Petitioners will amend this Petition to identify DEF Corporation once its identity is known.

                                              XXIII.

       On information,and belief, Defendant GHI Corporation has issued a policy of insurance to

Defendant Waste Connections US, Inc. that covers the acts and omissions alleged herein.

Petitioners will amend this Petition to identify GHI Corporation once its identity is known.



       On information and belief, Defendant JKL Corporation has issued a policy of insurance to

Defendant Aptim Corporation that covers the acts and omissions alleged herein. Petitioners will

amend this Petition to identify JKL Corporation once its identity is known.



       On information and belief, Defendant MNO Corporation has issued a policy of insurance

to Defendant Parish of Jefferson that covers the acts and omissions alleged herein. Petitioners will

amend this Petition to identify JKL Corporation once its identity is known.



                           PROXIMATE CAUSE AND BAD ACTS

       The Defendants' failure to properly design, operate and maintain the J.P. Landf ll,

including its gas and leachate collection systems, have caused harmful, noxious and repulsive

odors and chemicals to be released from the J.P. Landfill into the surrounding environment on and

in to Petitioners' homes and immovable properry, resulting in Petitioners' continuing exposure to

these odors and chemicals.

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       These odors and chemicals have also caused these Petitioners to suffer physical and other

harm including, but not limited to difficulties breathing, coughing, nausea, burning eyes, ears,


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noses and throats, dizziness, loss of appetite, fatigue and lethargy, as well as fear, anguish, anxiety

and mental pain and suffering.

                                              XXVIII.

       Defendants' actions and omissions with respect to the design, operation and maintenance

of the J.P. Landfill are the direct and proximate cause of the injuries and harm suffered by each of

the Petitioners as alleged above.

                                              XXVIX.

       Defendants' actions and omissions as outlined above also have caused a diminution in the

value of Petitioners' immovable property.
                                                -.
                                                /.~:CI

       These odors have been pervasive and persistent. They have continued to the present and

are likely to continue for the foreseeable future. The emissions constitute a continuing tort.



       Defendants' acts and omissions in owning, designing, operating and/or maintaining the J.P.

Landfill as described above constitute an unreasonable interference with each of the Petitioners'

comfortable use and enjoyment of their homes.

                                               XXXII. .

       Defendants are liable to the Petitioners for a11 damages they have suffered, including bodily

harm, diminution of property value and fear, anguish, and mental pain and suffering, on account

of nuisance.



       These physical invasions of noxious odors and chemicals constitute a trespass causing

Petitioners to suffer physical harm, diminution in property value and rental value, inconvenience,

loss of enjoyment of property, as well as fear, anguish and mental pain and suffering.



       The emissions of these harmful odors and chemicals have been pervasive and persistent

and constitute a continuing tort.

                                                  XXXVI.




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          The Defendants' illegal actions and omissions in owning and operating the J.P. Landfill

continue to this day and, unless enjoined by this Court, will continue for the indefmite future.

Accordingly, Petitioners are entitled to a permanent injunction ordering the Defendants to abate

the continuing nuisance and cease the trespasses caused and created by the J.P. Landfill, including

the emission of noxious odors and chemicals, and to take all necessary reasonable actions required

to accomplish same.



          Each of the Defendants had a duty to Petitioners to exercise reasonable care in the design,

ownership and/or operation of the Landfills, including without limitation the duty to comply with

applicable environmental laws and regulations and otherwise to ensure that the Landfills were

operated in a manner that does not jeopardize their health, immovable property, environment, and

quality of life.

                                                XXXVIII.

          Each of the Defendants breached such duties . of care to the Petitioners by, among other

things:

          i.       Failing to properly design, operate and maintain the J.P. Landfill, thus allowing

                   noxious and harmful odors and chemicals to be released from the J.P. Landfill and

                   introduced in the atmosphere and surrounding neighborhoods;

          ii.      Failing to take careful and prudent precautionary measures to ensure that these

                   releases would not occur;

          iii.     Failing to design, operate and maintain the J.P. Landfill in a manner that does not

                   cause harm to others and, in particular, its neighbors;

          iv.      Failing to comply with applicable regulations governing the design, operation and

                   maintenance of the J.P. Landfill;

          V.       Being inattentive and careless in the overall design, operation and maintenance of

                   the J.P. Landfill;

          vi.      Failing to remediate and repair the failures in design, operation and maintenance of

                   the J.P. Landfill as they became known to the Defendants;




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       vii.    Any and all other acts of negligence which may be revealed between now and the

               time of trial.



       The Defendants' failure to comply with their duties of care to the Petitioners were and are .

a cause in fact and a legal cause of Petitioners' injuries, and each of the Petitioners has suffered

damages as a result thereof, including physical harm, diminution in property value and fear,

anguish and mental pain and suffering as well as loss of use and enjoyment of their immovable

property and diminution in the value of said property.
                                                 -.
                                                 F~

       The Parish's ownership and operation of the J.P. Landfill has caused substantial damage to

the value of Petitioners' respective interests in their immovable properry.

                                                XLI.

       The Parish knew, or in the exercise of reasonable care, should have known, that its failure

to properly design, operate and maintain the J.P. Landfill would cause damage to Petitioners, and

such damage could have been prevented by the exercise of reasonable care. The Parish, as owner

of the J.P. Landfill, failed to exercise such reasonable care.



       In committing the acts and omissions described above, the Defendants have breached their

contractual obligations, of which Petitioners are third party beneficiaries, arising under the

contracts between the Parish and"all other Deferidants herein pertaining to the design, operation

and maintenance of the J.P. Landfill.

                                               XLIII.

       In committing the foregoing acts and omissions, Defendants have violated, inter alia, Civil

Code Articles 667, 669, 2315, 2316, and 2317.1, which has caused and continues to cause each of

the Petitioners damages including nuisance damages; physical harm and mental fear, anguish, pain

and suffering; and diminution in properry value.



       Further, Petitioners' interest is their immovable properry is a property right protected by

the Louisiana Constitution.


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                                                   XLV.

            Petitioners' interest in their real property has been taken and damaged by the actions of

Jefferson Parish as set forth above.

                                                  XLVI.

            Such taking and damage was for a public purpose — to wit, the operation of a public landfill

for the purpose of handling and disposing of waste generated by the citizens of Jefferson Parish

and others.

                                                  XLVII.

            The Parish is liable to the Petitioners for damages caused by the Parish's unconstitutional

taking, of their immovable property without paying just compensation pursuant to Article I, Section

4(B) of the Louisiana Constitution.

                                                 XLVIII.

            The Parish's taking of Petitioners' property without just compensation constitutions a

deprivation of their properry without due process of law pursuant to Article I, Section 2 of the

Louisiana Constitution.



            The Parish is liable to the Petitioners for damages caused by the Parish's violation of

Petitioners' due process rights.

                                                     L.
                                   REOUEST FOR TRIAL BY JURY

            PETITIONERS REQUEST A JURY TRIAL AS TO ALL CLAIMS TRIABLE BY

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                                                    LI.

                                        PRAYER FOR RELIEF

            WHEREFORE, Petitioners pray that: .

                   (a) Judgment be entered declaring each of the Defendants jointly, severally and in

                       solido liable to each of the Petitioners for all damages (and awarding all such

                       damages), including physical and bodily harm, loss of use and enjoyment of




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           their homes, diminution in property value, lost wages, medical expenses and

           mental pain and suffering;

       (b) Judgment be entered against the Parish declaring it liable for inverse

           condemnation, and awarding to each of the Petitioners just compensation for

           the unconstitutional taking of their interests in real properry and/or a deprivation

           of due process;

        (c) Judgment be entered against all Defendants for all additional damages as are

           just and reasonable under the circumstances, including but not limited to tlie

           cost of alternative housing and medical testing;

        (d) The Defendants be permanently enjoined and ordered to abate the nuisances

           and trespasses, and to take all reasonable and necessary measures to cease the

           harmful emissions from the J.P. Landfill.

        (e) The Defendants be required to provide medical monitoring for all Petitioners as

           appropriate;

        (f) Prejudgment and post judgment interest on all dainages be awarded;

        (g) Petitioners be awarded all costs for prosecution of this action and attorney fees;

        (h) Damages be awarded for all other injuries that may be proved at trial; and

        (i) This Court award such other and further relief as it may deem just and proper.

                                                Respectfully submitted,

                                                FORREST CRESSEY & JAMES, LLC




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                                                OF COUNSEL:
                                                Barry S. Neuman (Pro Hac Vice application
                                                to be submitted)
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                                                                 24TH JUDICIAL DISTRICT COURT
                                                                     PARISH OF JEFFERSOPJ, LA
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PLEASE SERVE:
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Baton Rouge, LA 70802

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Corporation Service Company
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WASTE CONNECTIONS US, INC.
Through its Agent for Service
Via long arm through its Agent
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PARISH OF JEFFERSON
Through its Agent for Service
Parish Attorney for the Parish of Jefferson
1221 Elmwood Park Blvd., Suite 701
Jefferson, LA 70123

ABC CORP.
Address unknown at this time.

DEF CORP.
Address unknown at this time.

GHI CORP.
Address unknown at this time.

JKL CORP.
Address unknown at this time.

MNO CORP.
Address unknown at this time.




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                                             24TH JUDICIAL DISTRICT COURT
                                                 PARISH OF JEFFERSON
                                                  STATE OF LOUISIANA

REGENIA GRIFFIN                                                                 Case: 794-011 Div: "A"
VERSUS                                                                          P 1 REGENIA GRIFFIN
LOUISIANA REGIONAL LANDFILL COMPANY (LRLC)

To: LOUISIANA REGIONAL LANDFILL COMPANY
THROUGH ITS AGENT FOR SERVICE                                                   EBR CK#1320
CORPORATION SERVICE COMPANY                                                     $106.08
501 LOUISIANA AVENUE
BATON ROUGE LA 70802


PARISH OF JEFFERSON

You are hereby summoned to comply with the demand contained in the PETITION FOR
DAMAGES AND INJUNCTIVE RELIEF of which a true and correct copy accompanies this
citation, or make an appearance either by filing a pleading or otherwise, in the 24th Judicial
District Court in and for the Parish of Jefferson, State of Louisiana, within FIFTEEN (15)
CALENDAR days after the service hereof, under penalty of default.


This service was requested by attorney S ELIZA JAMES and was issued by the Clerk of Court
on the 10th day of April, 2019.


                                                   /s/ Giselle A Leglue
                                                   Giselle A Leglue, Deputy Clerk of Court for
                                                   Jon A. Gegenheimer, Clerk of Court



                                                    SERVICE INFORMATION

 (101) CITATION: PETITION FOR DAMAGES AND INJUNCTIVE RELIEF;                                      190410-4883-6

Received:                Served:                     Returned:

Service was made:
         _ Personal                        _ Domicilary

Unable to senre:
          _ Not at this address            _ Numerous attempts          times
          _ Vacant                         _ Received too late to serve
          _ Moved                          _ No longer works at this address
          _ No such address                _ Need apartment / building number
              Other

Service: $                  Mileage: $                      Total: $

Completed by:                                                          #
                          Deputy Sheriff
Parish of:




                              Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna LA 70053
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                         24TH JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                   STATE OF LOUISIANA

                            NO.: ~ ~                                                   DIVISION:
                                                    ~
                   REGENIA GRIFFIN; GEORGE ALLAIN, III; SHIRLEY ALLAIN; WILLIAM BEL;
                     LLOYD BICKHAM; MAURICE BICKHAM; WILLIE BOATNER; CORNELIUS
                     BRIDGETT; KAYLA BROOKS; ARTHUR BROWN; BERNICE BROWN; ERIC
                    BROWN, in his individual capacity and as parent of his minor child, MELISSA BROWN;
                 MICHAEL BROWN; KAREN BRUCE, in her individual capacity and as parent of her minor
                    child, JULIAN MOTION ;KEEA BRUCE, in her individual capacity and as parent of her
                  minor child, KE'DARRIUS BRUCE; THADDEUS CAMMON; CALVIN CARTER, SR.;
                     LORA CARTER, in her individual capacity and on behalf of her minor children JOHN
                     SMITH, KEDRICK SMITH, and TRE'AVALLIE SMITH; ORAH CHAIRS; JEAN
                     CLAY; KAYLA COLEMAN; KELLY COLEMAN; KRYSTAL COLEMAN, in her
                individual capacity and as parent of her minor children, MAKIYAH COLEMAN and KALIAL
                COLEMAN; JARRIE CROSLEY; CHERLY EARL, in her individual capacity and as parent
                of her minor children, CE'VANNE URSIN and CANYON SUNDAY; LINDA FREDERICK,
                  in her individual capacity and as parent of her minor child, BLAKE BAILEY, JR,;THAREN
                   FREDRICK; JARMAL GABRIEL; THURSTON GOLSTON, JR.; LULA GOSLTON-
                 STEWART; DONALD GRAY; VALENCIA GRAY, in her individual capacity and as parent
                    of her minor child, CAILEM GRAY; JAMAL GREEN, in his individual capacity and as
                   parent of his minor child, JAMEISHA CARTER; TIARA GREEN; DARREN GRIFFIN;
                JINNILYNN GRIFFIN; JOURDAN GRIFFIN, in her individual capacity and as parent of her
                    minor child, COLE DOMANGUE; LEROY GUILLARD, JR.; RONALD HAMPTON;
                      ELIZABETH HARGRAVE; ANTOINE HARRIS; LIONEL HARRIS;VALERIE
                HARRIS; LERONIESHA HARTFORD, in her individual capacity and as parent of her minor
                      children, SAIGE HARTFORD, CHASE HARTFORD, and CHARM HARTFORD;
                  CYNTHIA ISIDORE, in her individual capacity and as parent of her minor child, NATORY
                    ISIDORE;CHRIS JACKSON, in his individual capacity and as parent of his minor child
                    MIRACLE JACKSON; JARVIS JACKSON; TEDRICK JACKSON, in his individual
                    capacity and as parent of his minor child, KENNEDY JACKSON; ALEXIS JOHNSON;
                   AMANDA JOHNSON; BONALYN JOHNSON; JACQUELINE JOHNSON; JAVINE
                    JOHNSON; JEFFERY JOHNSON; CHRISTINA JONES; KEVIN KNOX; JOELLE
                  LONG, in her individual capacity and as parent of her minor children, KAISON LONG and
                    KAMILLE JONES; ANTHONY MURPHY; VANESSA MURPHY; BRET NELSON;
                  HILARY NELSON; RONNIE PIERRE, SR.; MARY ROGERS; JAMES SIMMONS; in
                 her individual capacity and as parent of her minor child, SAVANNAH SMITH; JONATHAN
                 TATE; JUSTIN THOMAS; ORDELIA THOMAS; DELICE WALKER, in her individual
                       capacity and on behalf of her minor children, ZAREYAN WALKER and ZYWREN
                WALKER; NICHOLE WALKER, in her individual capacity and as parent of her minor child,
                                      MARCO T. ROWELL; and JANICE WILKINSON.
                                                           VERSUS
                 LOUISL4NA REGIONAL LANDFILL COMPANY (LRLC), f/k/a IESI LA LANDFILL
                   CORPORATION; WASTE CONNECTIONS BAYOU, INC., f/k/a/ PROGRESSIVE
                WASTE SOLUTIONS OF LA, INC; WASTE CONNECTIONS US, INC; APTIM CORP;
                   PARISH OF JEFFERSON; ABC CORP; DEF CORP; GHI CORP; JKL CORP; and
                                             MNO CORP.
                FILED:
                                                         DEPUTY CLERK


                                PETITION FOR DAMAGES AND INJUNCTIVE RELIEF
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                         This action arises from the continuing, significant and unabated harm suffered by each of

                the named Petitioners as a result of the ongoing — and admitted — failure of each of the Defendants

                to ensure that the design, operation and maintenance of the Jefferson Parish Landfill (the "J.P.

                Landfill") complies with applicable environniental laws and adequately protects Petitioners'

                human health and environment. At all relevant times, the J.P. Landfill and has persistently emitted

                harniful and toxic odors and chemicals into the surrounding areas, including where each of the

                Petitioners resides.

                         These unlawful, harmful and toxic releases have caused Petitioners substantial loss of the

                use and enjoyment of their homes and immovable property, and have caused physical harms

                including, among other things: difficulties breathing, coughing, nausea, burning eyes, ears, noses

                and throats, dizziness loss of appetite and lethargy, as well as fear, anguish, discomfort and

                inconvenience. These emissions also have caused diminution in the value of Petitioners' homes.

                         Accordingly, Petitioners seek redress from the Defendants for the direct and consequential               ~
                                                                                                                                  a
                                                                                                                                  ~
                injury and damage they have suffered and will continue to suffer as a direct result of the releases               a

                of noxious odors and chemicals from the J.P. Landfill.

                         Petitioners are:

                         REGENIA GRIFFIN, an individual of full age of majority residing at 612 Filmore S.,

                Kenner, LA 70062 and owner of said immovable property.

                         GEORGE ALLAIN, III, an individual of full age of majority residing at 1344 South Elm

                St., Metairie, LA 70003 and owner of said immovable property.

                         SHIRLEY ALLAIN, an individual of full age of majority residing at 1344 South Elm St.,

                Metairie, LA 70003 and owner of said immovable property.

                         WILLIAM BELL, an individual of full age of majority residing at 1250 Dillard Dr.,

                Avondale, LA 70094 and owner of said immovable property.

                         LLOYD BICKHAM, an individual of full age of majority residing at 627 Avondale

                Garden Rd., Westwego, LA 70094 and owner of said immovable property.

                         MAURICE BICKHAM, an individual of full age of majority residing at 627 Avondale

                Garden Rd., Westwego, LA 70094 and owner of said immovable property.

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                        WILLIE BOATNER, an individual of full age of majority residing at 429 Wilker Neal

                River Ridge, LA 70123.

                        CORNELIUS BRIDGETT, an individual of full age of majority residing at 312 Judiciary

                Dr., Avondale, LA 70094.

                        KAYLA BROOKS, an individual of full age of majority residing at 1650 Wakefield Dr.,

                Marrero, LA 70072.

                        ARTHUR BROWN, an individual of full age of majority residing at 408 Upland Ave.,

                River Ridge, LA 70123.

                        BERNICE BROWN, an individual of full age of majority residing at 295 Capital Dr.,

                Avondale, LA 70094.

                        ERIC BROWN, an individual of full age of majority residing at 295 Capital Dr.,

                Avondale, LA 70094 in his individual capacity and as parent of his minor child, MELISSA

             BROWN.

                        MICHAEL BROWN, an individual of full age of majority residing at 31 Richelle St.,

                Westwego, LA 70094.

                        KAREN BRUCE, an individual of full age of majority residing at 11100 Newton St., Apt

                C River Ridge, LA 70123 and owner of a leasehold interest in said premises, in her individual

                capacity and as parent of her minor child, JULIAN MOTION.

                        KEEA BRUCE, an individual of full age of majority residing at 11100 Newton St., Apt C

                River Ridge, LA 70123 and owner of a leasehold interest in said premises, in her individual

                capacity and as parent of her minor child, KE'DARRIUS BRUCE.

                        THADDEUS CAMMON, an individual of full age of majority residing at 1320 S.

                Meadow St., Metairie, LA 70003 and owner of a leasehold interest in said premises.

                        CALVIN CARTER, SR. an individual of full age of majority residing at 181 Bishop Dr.,

             Avondale, LA 70094 and owner of said immovable property.

                        LORA CARTER, an individual 'of full age of majority residing at 181 Bishop Dr.,

             Avondale, LA 70094 in her individual capacity and on behalf of her minor children JOHN

             SMITH, KEDRICK SMITH, and TRE'AVALLIE SMITH.

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                               ORAH CHAIRS, an individual of full age of majority residing at 429 Wilker Neal Ave,

                     River Ridge., LA 70123.

                               JEAN CLAY, an individual of full age of majority residing at 714 S. Bengal Rd., Metairie,

                     LA 70003 and owner of said immovable property.

                               KAYLA COLEMAN, an individual of full age of majority residing at 640 Pat Dr.,

                    Avondale, LA 70094 and owner of a leasehold interest in said immovable property.

                               KELLY COLEMAN, an individual of full age of majority residing at 20 Dolores Dr.,

                    Waggaman, LA 70094 and owner of said immovable property.

                               KRYSTAL COLEMAN, an individual of full age of majority residing at 640 Pat Dr.,

                    Avondale, LA 70094 and owner of a leasehold interest in said premises, in her individual capacity

                    and as parent of her minor children, MAKIYAH COLEMAN and KALIAL COLEMAN.

                               JARRIE CROSLEY, an individual of full age of majority residing at 181 Bishop Drive,
                                                                                                                                        U)
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                    Avondale, LA 70094.                                                                                                 ~
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                               CHERLY EARL, an individual of full age of majority residing at 8301 Bern St., Metairie,

                    LA 70003, in her individual capacity and as parent of her minor children, CE'VANNE URSIN

                    and CANYON SUNDAY.

                               LINDA FREDERICK, an individual of full age of majority residing at 116 Rosalie Dr.,

                    Avondale, LA 70094, in her individual capacity and as parent of her minor child, BLAKE

                    BAILEY, JR.

                               THAREN FREDRICK, an individual of full age of majority residing at 116 Rosalie Dr.,

                    Avondale, LA 70094.

                               JARMAL GABRIEL, an individual of full age of majority residing at 512 Avondale

                    Garden Rd., Avondale, LA 70094.

                               THURSTON GOLSTON, JR, an individual of full age of majority residing at 8000

                    Macon St. Metairie, LA 70003 and owner of said immovable property.

                               LULA GOSLTON-STEWART, an individual of full age of majority residing at 613

                    Filmore St., Kenner, LA 70052 and owner of said immovable property.

                               DONALD GRAY, an individual of full age of majority residing at 3301 W. Esplanade

   S~hoF T~ve., Apt N, 20328 Metairie, LA 70002 and owner of a leasehold interest in said premises.
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                        VALENCIA GRAY, an individual of full age of majority residing at 3301 W. Esplanade

                Ave., Apt N, 20328 Metairie, LA 70002 and owner of a leasehold interest in said premises, in

                her individual capacity and as parent of her minor child, CAILEM GRAY. ,.

                        JAMAL GREEN, an individual of full age of majority residing at 314 Avonadale

                Garden Rd., Avondale, LA 70094 and owner of a leasehold interest in said premises, in his

                individual capacity and as parent of his minor child, JAMEISHA CARTER.

                        TIARA GREEN, an individual of full age of majority residing at 20 Winifred St.,

                Westwego, LA 70094.

                        DARREN GRIFFIN, an individual of full age of majority residing at 31 Judith St.,

                Westwego, LA 70094 and owner of said immovable property.

                        JINNILYNN GRIFFIN, an individual of full age of majority residing at 31 Judith St.,

                Westwego, LA 70094 and owner of said immovable property.

                        JOURDAN GRIFFIN, an individual of full age of majority residing at 53 Lucille St.,

               Waggaman, LA 70094 and owner of said imniovable property, in her individual capacity and as

               parent of her minor child, COLE DOMANGUE.

                        LEROY GUILLARD, JR., an individual of full age of majority residing at 703 Richard

               Ave., River Ridge, LA 70123.

                        RONALD HAMPTON, an individual of full age of majority residing at 1309 South

               Dilton St., Metairie, LA 70003 and owner of a leasehold interest in said premises.

                        ELIZASETH HARGRAVE, an individual of full age of majority residing at 307

               Audubon Ct., Kenner, LA, 70062 and owner of said imniovable property.

                        ANTOINE HARRIS, an individual of full age of majority residing at 404 Hanson Pl.,

               Kenner, LA 70062.

                        LIONEL HARRIS, an individual of full age of majority residing at 117 Rosalie Dr.,

               Avondale, LA 70094 and owner of a leasehold interest in said premises.

                        VALERIE .HARRIS, an individual of full age of majority residing at 403 Farrar Ave.,

               Kenner, LA 70062 and owner of a leasehold interest in said premises.




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                      LERONIESHA HARTFORD, an individual of full age of majority residing at 204

              Wilker Neal Ave., Apt A, River Ridge, LA 70123, in her individual capacity and as parent of her

              minor children, SAIGE HARTFORD, CHASE HARTFORD, and CHARM HARTFORD

                      CYNTHIA ISIDORE, an individual of full age of majority residing at 2308 Rev.

              Richard Wilson Dr., Kenner, LA 70062 and owner of a leasehold interest in said premises, in her

              individual capacity and as parent of her minor child, NATORY ISIDORE.

                      CHRIS JACKSON, an individual of full age of majority residing at 1457 South Laurel

              St., Metairie, LA 70003 and owner of a leasehold interest in said premises, in his individual

              capacity and as parent of his minor child VIIRACLE JACKSON.

                      ERNEST JACKSON, an individual of full age of majority residing at 400 Federal Dr.,

              Avondale, LA 70094.

                      JARVIS JACKSON, an individual of full age of majority residing at 617 Wilker Neal

              Ave., River Ridge, LA 70123.

                      TEDRICK JACKSON, an individual of full age of majority residing at 346 Azalea

              Dr.,Waggaman, LA 70094 and owner of a leasehold interest in said premises, in his individual

              capacity and as parent of his minor child, KENNEDY JACKSON.

                      ALEXIS JOHNSON, an individual of full age of majority residing at 616 Starrett Rd.,

              Apt B River Ridge, LA 70123.

                      AMANDA JOHNSON, an individual of full age of majority residing at 616 Starrett Rd.,

              Apt B River Ridge, LA 70123 and owner of a leasehold interest in said imniovable property.

                      BONALYN JOHNSON, an individual of full age of majority residing at 315 Citrus Rd.,

              River Ridge, LA 70123.

                      JACQUELINE JOHNSON, an individual of full age of majority residing at 11112

             Newton St., Apt. A River Ridge, LA 70123 and owner of a leasehold interest in said premises.

                      JAVINE JOHNSON, an individual of full age of majority residing at 325 Georgetown

              Dr., Avondale, LA 70094.

                      JEFFERY JOHNSON, an individual of full age of majority residing at 722 Starrett Rd.,

              River Ridge, LA 70123 and owner of a leasehold interest in said premises.




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                          CHRISTINA JONES, an individual of full age of majority residing at 833 N.

                 Cumberland St., Metairie, LA 70003 and owner of a leasehold interest in said premises.

                          KEVIN KNOX, an individual of full age of majority residing at 7805 Monett St.,

                 Metairie, LA 70003 and owner of a leasehold interest in said premises.

                          JOELLE LONG, an individual of full age of majority residing at 2424 Reverend

                 Richard Wilson Dr., Kenner, LA 70062 and owner of a leasehold interest in said premises, in her

                 individual capacity and as parent of her minor children, KAISON LONG and KAMILLE

                 JONES,

                          ANTHONY MURPHY; an individual of full age of majority residing at 720 S.

                 Cumberland St., Metairie, LA 70003.

                          VANESSA MURPHY, an individual of full age of majority residing at 720 S.

                 Cumberland St., Metairie, LA 70003.
                                                                                                                                  to
                          ERET NELSON, an individual of full age of majority residing at 861 Reverend Richard                 g
                                                                                                                              ¢
                                                                                                                              ~
                 Wilson Dr., Kenner, LA 70062.                                                                                    ~

                          HILARY NELSON, an individual of full age of majority residing at 861 Reverend

                 Richard Wilson Dr., Kenner, LA 70062 and owner of a leasehold interest in said premises.

                          RONNIE PIERRE, SR., an individual of full age of majority residing at 9025 Milan St.,

                 Metairie, LA 70003 and owner of a leasehold interest in said premises.

                          MARY ROGERS, an individual of full age of majority residing at 133 Hanson Pl.,

                 Kenner, LA 70062 and owner of a leasehold interest in said premises.

                          JA1bIES SIIVIMONS, an individual of full age of majority residing at 627 Avondale

                 Garden Rd., Westwego, LA 70094.

                          SUSAN SMITH, an individual of full age of capacity residing at 565 Bellview St., River

                 Ridge, LA 70123 and owner of a leasehold interest in said premises, in her individual capacity

                 and as parent of her minor child, SAVANNAH SMITH.

                          JONATHAN TATE, an individual of full age of majority residing at 21 Richelle St.,

                 Waggaman, LA 70094.

                          JUSTIN THOMAS, an individual of full age of rnajority residing at 10950 Jefferson Hwy,

   s~hoF Miver Ridge, LA 70123 and owner of a leasehold interest in said premises.
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                              ORDELIA THOMAS, an individual of full age of majority residing at 333 Coretta Dr.,

                   Westwego, LA 70094 and owner of said immovable property.

                              DELICE WALKER, an individual of full age of majority residing at 723 Coleman

                   Place, Kenner, LA 70062 in her individual capacity and on behalf of her minor children,

                    ZAREYAN WALKER and ZYWREN WALKER.

                              NICHOLE WALKER, an individual of full age of majority residing at 850 Rev. Richard

                   Wilson Dr., Apartment 1D, Kenner, LA 70062 and owner of a leasehold interest in said premises,

                    in her individual capacity and as parent of her minor child, MARCO T. ROWELL.

                              JANICE WILKINSON, an individual of full age of majority residing at 1332 S. Dilton

                   St., Metairie, LA 70003 and owner of said immovable property.

                              Made Defendants herein are:

                              a. LOUISIANA REGIONAL LANDFILL COMPANY (LRLC), f/lt/a IESI LA
                                                                                                                                       co
                                                                                                                                       w
                                 LAiNDFILL CORPORATION (IESI"), a foreign corporation domiciled in Delaware                            ~
                                                                                                                                       a
                                                                                                                                       ~
                                 authorized to do and doing business in this Parish and State. On information and belief,

                                 LRLC is a wholly owned subsidiary of Defendant Waste Connections Bayou, Inc., Inc.,

                                 which in turn was acquired by Defendant Waste Connections US, Inc. On information

                                 and belief, Defendant LRLC is controlled by Defendants Waste Connections Bayou,

                                 Inc., and/or Waste Connections, US, Inc., and is the "alter ego" of those Defendants,

                                 operating without autononiy and only pursuant to the direction, policies and procedures

                                 of its parent corporations;

                              b. WASTE CONNECTIONS BAYOU, INC., f/k/a/ PROGRESSIVE WASTE

                                 SOLUTIONS OF LA, INC., a foreign corporation authorized to do and doing business

                                 in this Parish and State;

                              c. WASTE CONNECTIONS US, INC., a foreign corporation authorized to do and

                                 doing business in this Parish and State; and

                              d. APTIM CORP., a foreign corporation domiciled in Delaware authorized to do and

                                 doing business in this Parish and State;

                              e. PARISH OF JEFFERSON, a Louisiana niunicipal parish in and political subdivision

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                      £ ABC CORPORATION, a foreign or domestic insurance company whose identity is

                          unknown to the Petitioners, who upon information and belief wrote a policy of

                          insurance coverage for Defendant LOUISIANA REGIONAL LANDFILL

                          COMPANY (LRLC), F/K/A IESI LA LANDFILL CORPORATION ("IESI"),

                          that may provide coverage for acts, occurrences, and/or omissions more specifically

                          described herein;

                      g. DEF CORPORATION a foreign or domestic insurance company whose identity is

                          unknown to the Petitioners, who upon information and belief wrote a policy of

                          insurance coverage for Defendant, WASTE CONNECTIONS BAYOU, INC., f/k/a/

                          PROGRESSIVE WASTE SOLUTIONS OF LA, INC. that may provide coverage

                          for acts, occurrences, and/or omissions more specifically described herein;

                      h. GHI CORPORATION a foreign or domestic insurance company whose identity is
                                                                                                                               co
                          unknown to the Petitioners, who upon information and belief wrote a policy of                        ui
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                          insurance coverage for Defendant, WASTE CONNECTIONS BAYOU, INC., f/k/a/                          a

                          PROGRESSIVE WASTE SOLUTIONS OF LA, INC., that may provide coverage

                          for acts, occurrences, and/or omissions more specifically described herein;

                      i. JKL CORPORATION a foreign or domestic insurance company whose identity is

                          unknown to the Petitioners, who upon information and belief wrote a policy of

                          insurance coverage for Defendant, APTIM CORP, that may provide coverage for acts,

                          occurrences, and/or omissions more specifically described herein;

                      ,j. MNO CORPORATIONS foreign or domestic insurance company whose identity is

                          unknown to the Petitioners, who upon information and belief wrote a policy of

                          insurance coverage for Defendant, PARISH OF JEFFERSON, that may provide

                          coverage for acts, occurrences, and/or omissions more specifically described herein.

                                                                 I.

                                                JURISDICTION AND VENUE

                      Venue is proper in accordance with La. R.S. 13:5104(B), which states, in part, that "[a]11

              suits filed against a political subdivision of the state ... shall be instituted before the district court

           ~f the judicial district in which the political subdivision is located or in the district court having
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                jurisdiction in the parish in which the cause of action arises." Venue is further proper as to all other

                defendants as the wrongful conduct giving rise to the Petitioner's claims occurred within the

                jurisdictional limits of Jefferson Parish, State of Louisiana.

                                                                 II.

                                                               FACTS

                         The Parish is the owner of the Jefferson Parish Landfill (the "J.P. Landfill"), located at

                5800 Highway 90 West in Avondale, Jefferson Parish, LA.



                         At all relevant times, the J.P. Landfill has been used as a Type I/II landfill permitted to

                accept municipal and comniercial solid waste, non-hazardous industrial waste, trash, construction

                debris, vegetative waste, dewatered municipal wastewater sludge, and compatible non-hazardous

                industrial waste pursuant to the Louisiana Environniental Quality Act, La. R.S. 30:2001, et seq.
                                                                                                                              ~
                (the "Act") as well as federal laws and regulations implemented by the United States                          ~
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                Environmental Protection Agency ("USEPA").                                                                    ~
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                                                                IV.                                                           W
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                         The J.P. Landfill is authorized to operate pursuant to and only in accordance with the terms         ~
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                and conditions of, among other things, Standard Permit P-0297R1(the "Standard Permit") as                     ~
                                                                                                                              a
                issued, approved, and subject to periodic review and renewal by the Louisiana Department of                   >
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                Environmental Quality ("LDEQ") pursuant to the Act. The Standard Permit was most recently                     o
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                renewed by the LDEQ on or about January 22, 2010.                                                              4;
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                         On or about May 17, 2012, the Parish entered into a contract with the Defendant IESI (since          o
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                renamed the Louisiana Regional Landfill Company) under which IESI agreed, among other things,                 N
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                to "manage all tasks of the operation, management and maintenance" of the J.P. Landfill (the "IESI            o
                                                                                                                               v
                Operating Contract"). Among other things, the IESI Operating Contract provides that:                          LL
                                                                                                                              w
                         (a) Operation of the J.P. Landfill will be conducted "in strict compliance and conformity            ~
                                                                                                                              N
                            with all Federal, State and local laws, ordinances, and regulations, including the rules

                            and regulations of the USEPA, LDEQ, and all State of Louisiana agencies, and in

  S~hQF Nll                 accordance with the Permit Documents."


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                        (b).."IESI shall be responsible for compliance with all Federal, State and local regulations,

                            laws and ordinances in its performance of the Service/Work associated with the

                           operation [and maintenance] of the Landfill."

                        (c) IESI is required to "provide all labor, equipment, materials and incidentals to assume

                           all daily operations of the Landfill."

                        (d) The Parish Engineer has the authority to "decide any and all questions as to ... the

                           manner of performance and rate of progress of the Services/Work ... the interpretation

                           of the Contract Documents, and all questions as to the acceptable Completion" of the

                           Contract "in his reasonable and good faith opinion." The Parish Engineer is further

                           authorized to "suspend operations at any time when the Service/Work, in his good faith

                           and reasonable opinion, is not being carried out in conformity with the Contract

                           Documents and all perniits."
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                                                               VI.                                                           ~
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                        Defendant APTIM is and at all relevant times has been a co-operator of the gas and leachate

                collection system of the J.P. Landfill.



                        Jefferson Parish, in addition to being an owner of the J.P. Landfill, is and at all relevant

                times has been a co-manager and co-operator of the J.P. Landfill with IESI/LRLP and APTIM

                                                             VIII.

                        The Parish has admitted that improper operation of the J.P. Landfill is a major source of

                the odors suffered by Petitioners as well as the adverse consequences thereof. At a public press

                conference on July 23, 2018, Parish President Mike Yenni stated that:

                        (a) The J.P. Landfill's system designed to "contain and deodorize landfill gases" has not

                           been in "proper working order."

                        (b) The landfill's leachate collection system has not been operated properly.

                        (c) "Properly operated landfills do not operate persistent off-site odors and corrective

                           actions ... are essential."

                        (d) The Parish has notified IESI that it is in breach of its contract to properly operate the

                           J.P. Landfill.


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                                                                    IX.

                        At the same press conference, Parish Sheriff Mark Conley stated that the J.P. Landfill gas

               collection system has been collecting only twenty percent (20%) of the gas emitted from landfill

               operations, whereas a properly operating system would collect ninety-seven to ninety-eight percent

               of gas emissions, "[s]o that is why the Parish president is stressing that we realize we have

               problems ... right now, a lot of our priority, in the name of public safety and our police powers, is

               to address the existing system, get it operational, and to pull as much gas out of that landfill as we

               can."

                                                                     X.

                        At the same press conference, Parish Councilman Paul Johnson stated that the odor from

               the J.P. Landfill

                        "has gotten really bad in the past for our five months ... we are all going to experience odors
                                                                                                                              co
                        from the landfill because it's a landfill. But, not those we have been having for the past            ~
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                        three or five months. It's been really bad. I have been woken up at night with my nose                ~
                                                                                                                              ~
                        burning and couldn't breathe at three or four o'clock in the morning. This has happened
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                        to me more than one time ... we know the landfill is causing problems and we know it is a             ~
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                        big source ofproblems...."                                                                            ~

                                                                    XI.

                        At the same press conference, Doctor Joseph Cantor, Medical Director and Administrator

               for Region 1 of the Louisiana Department of Health, warned that when the odors are at "a high

               level, residents should, if they are able to, leave the area and particularly if they have certain

               chronic conditions which put them at increased risk mainly pulmonary disease and asthma

               COPD."' ]



                        On or about June 22, 2018, the LDEQ issued a Compliance Order to the Parish which,

               among other things, found that the Parish has violated its Landfill Permit and applicable

               environmental regulations by (i) failing to provide daily cover and (ii) failing to properly operate



      1, ofi r 1 A video recording of the July 23 press conference can be accessed at
                                                    s'video.s.%;,015579311fi4370fi0t (last visited Aug. 4, 2018).

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                 the system that is intended to collect leachate — the liquid brew that drains from a landfill and

                 carries with it numerous harmful chemicals.



                          The LDEQ inspectors found areas of pooled leachate and leachate flowing downhill from

                 the pooled leachate.



                          The United States Environmental Protection Agency ("EPA") has established general

                 screening levels for various pollutants.             These screening levels are chemical-specific

                 concentrations for individual contaminants in air that may warrant further investigation or site

                 cleanup.2 A chronic screening level addresses potential chronic exposure to a chemical.



                          Air samples collected by the LDEQ in the communities of River Ridge, Harahan and
                                                                                                                                U)
                 Waggaman between July 20, 2018 through approximately July 28, 2018 were found to contain                       W
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                 numerous chemical compounds at concentrations that exceed EPA's chronic screening levels,                      ~
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                 including acrolein, 1, 2-dichloroethane, benzene, carbon tetrachloride, and naphthalene. All of                W
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                 these compounds are multimodal toxicants, in that they are potential or actual human carcinogens              ~
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                 and also have other toxic effects. The air samples collected by LDEQ also contained hydrogen                   ~
                                                                                                                                ~

                 sulfide at concentrations that exceed EPA's chronic screening levels. Hydrogen sulfide is a                    >
                                                                                                                                0
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                 potentially toxic compound. All of these compounds are typically found in the gases generated by              ~
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                 landfills like the Jefferson Parish Landfill.

                                                                 XVI.

                          In a report dated August 15, 2018, prepared for the Parish by its environmental consultant,

                 Carson Environmental Consulting ("CEC"), CEC made several findings, including, among other

                 things, that there are numerous deficiencies in "the landfill gas condensate and leachate collection

                 pumping systems[,]" and that the infrastructure for these systems requires immediate improvement

                 "to meet the Parish's performance objectives." In addition, CEC concluded that iniproved

                 operation and maintenance of the J.P. Landfill requires the Parish's "focused attention."




     4~oF c~-https://www.epa.gov/risk/regional-screening-levels-rsls-users-guide (last visited, Nov. 21, 2018).
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                       On information and belief, on or about December 5, 2018 the Commissioner of the LDEQ

               informed the Parish that there is "no doubt" in his mind that the JP Landfill is the primary source -

               the odors experienced by residents of the communities in which Petitioners reside.

                                                              .~A
                       On information and belief, Defendant ABC Corporation has issued a policy of insurance

               to Defendant Louisiana Regional Landfill Company that covers the acts and omissions alleged

               herein. Petitioners will amend this Petition to identify ABC Corporation once its identity is known.

                                                             .~;i"
                                                             ►

                       On information and belief, Defendant DEF Corporation has issued a policy of insurance to

              Defendant Waste Connections Bayou, Inc. that covers the acts and omissions alleged herein.

               Petitioners will amend this Petition to identify DEF Corporation once its identity is known.



                       On information and belief, Defendant GHI Corporation has issued a policy of insurance to

              Defendant Waste Connections US, Inc. that covers the acts and omissions alleged herein.

              Petitioners will amend this Petition to identify GHI Corporation once its identity is known.

                                                             XXIV.

                       On information and belief, Defendant JKL Corporation has issued a policy of insurance to

              Defendant Aptim Corporation that covers the acts and omissions alleged herein. Petitioners will

              amend this Petition to identify JKL Corporation once its identity is known.

                                                             XXV.

                       On information and belief, Defendant MNO Corporation has issued a policy of insurance

              to Defendant Parish of Jefferson that covers the acts and omissions alleged herein. Petitioners will

              amend this Petition to identify JKL Corporation once its identity is known.



                                          PROXIMATE CAUSE AND BAD ACTS

                       The Defendants' failure to properly design, operate and maintain the J.P. Landfill,

              including its gas and leachate collection systems, have caused harmful, noxious and repulsive

  se;?~hQF Ndors and chemicals to be released from the J.P. Landfill into the surrounding environment on and


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                 in to Petitioners' homes and imrnovable property, resulting in Petitioners' continuing exposure to

                 these odors and chemicals.



                          These odors and chemicals have also caused these Petitioners to suffer physical and other

                 harm including, but not limited to difficulties breathing, coughing, nausea, burning eyes, ears,

                 noses and throats, dizziness, loss of appetite, fatigue and lethargy, as well as fear, anguish, anxiety

                 and mental pain and suffering.



                          Defendants' actions and omissions with respect to the design, operation and maintenance

                 of the J.P. Landfill are the direct and proximate cause of the injuries and harm suffered by each of

                 the Petitioners as alleged above.

                                                                XXVIX.
                                                                                                                               ~
                          Defendants' actions and omissions as outlined above also have caused a diminution in the             ~
                                                                                                                               Q
                                                                                                                               ~
                 value of Petitioners' immovable property.                                                                     Q



                          These odors have been pervasive and persistent. They have continued to the present and

                are likely to continue for the foreseeable future. The emissions constitute a continuing tort.



                          Defendants' acts and omissions in owning, designing, operating and/or maintaining the J.P.

                Landfill as described above constitute an unreasonable interference with each of the Petitioners'

                comfortable use and enjoyment of their homes.



                          Defendants are liable to the Petitioners for all damages they have suffered, including bodily

                harm, diminution of property value and fear, anguish, and mental pain and suffering, on account

                of nuisance.

                                                                   /.•~NNli~

                          These physical invasions of noxious odors and chemicals constitute a trespass causing

                Petitioners to suffer physical harm, diminution in property value and rental value, inconvenience,

  s4hoF ~Uss of enjoyment of property, as well as fear, anguish and mental pain and suffering.

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                       The emissions of these hamiful odors and chemicals have been pervasive and persistent

             and constitute a continuing tort.



                       The Defendants' illegal actions and omissions in owning and operating the J.P. Landfill

             continue to this day and, unless enjoined by this Court, will continue for the indefinite future.

             Accordingly, Petitioners are entitled to a permanent injunction ordering the Defendants to abate

             the continuing nuisance and cease the trespasses caused and created by the J.P. Landfill, including

             the emission of noxious odors and chemicals, and to take all necessary reasonable actions required

             to accomplish same.

                                                               ~

                       Each of the Defendants had a duty to Petitioners to exercise reasonable care in the design,

             ownership and/or operation of the Landfills, including without limitation the duty to comply with

             applicable environmental laws and regulations and otherwise to ensure that the Landfills were

             operated in a manner that does not jeopardize their health, immovable property, environment, and

             quality of life.

                                                               XXXVIII.

                       Each of the Defendants breached such duties of care to the Petitioners by, among other ..

             things:

                       i.         Failing to properly design, operate and maintain the J.P. Landfill, thus allowing

                                  noxious and harmful odors and chemicals to be released from the J.P. Landffll and

                                  introduced in the atmosphere and surrounding neighborhoods;

                       ii.        Failing to take careful and prudent precautionary measures to ensure that these

                                  releases would not occur;

                       iii.       Failing to design, operate and maintain the J.P. Landfill in a manner that does not

                                  cause harm to others and, in particular, its neighbors;

                       iv.        Failing to comply with applicable regulations governing the design, operation and

                                  maintenance of the J.P. Landfill;




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                       V.        Being inattentive and careless in the overall design, operation and maintenance of

                                 the J.P. Landfill;

                       vi.       Failing to remediate and repair the failures in design, operation and maintenance of

                                 the J.P. Landfill as they became known to the Defendants;

                       vii.      Any and all other acts of negligence which may be revealed between now and the

                                 time of trial.

                                                               XXXIX.

                       The Defendants' failure to comply with their duties of care to the Petitioners were and are

              a cause in fact and a legal cause of Petitioners' injuries, and each of the Petitioners has suffered

              damages as a result thereof, including physical harni, diminution in property value and fear,

              anguish and mental pain and suffering as well as loss of use and enjoynient of their imniovable

              property and diminution in the value of said property.

                                                                 XL.

                       The Parish's ownership and operation of the J.P. Landfill has caused substantial darnage to

              the value of Petitioners' respective interests in their immovable property.

                                                                Y.M.

                       The Parish knew, or in the exercise of reasonable care, should have known, that its failure

              to properly design, operate and maintain the J.P. Landfill would cause damage to Petitioners, and

              such damage could have been prevented by the exercise of reasonable care. The Parish, as owner

              of the J.P. Landfill, failed to exercise such reasonable care.

                                                                XLII.

                       In comniitting the acts and omissions described above, the Defendants have breached their

              contractual obligations, of which Petitioners are third party beneficiaries, arising under the

              contracts between the Parish and all other Defendants herein pertaining to the design, operation

              and maintenance of the J.P. Landfill.

                                                               /:41111A

                       In committing the foregoing acts and omissions, Defendants have violated, inter alia, Civil

              Code Articles 667, 669, 2315, 2316, and 2317.1, which has caused and continues to cause each of
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                    the Petitioners damages including nuisance damages; physical harm and mental fear, anguish, pain

                   and suffering; and diminution in property value.

                                                                    XLIV.

                             Further, Petitioners' interest is their ininiovable property is a property right protected by

                   the Louisiana Constitution.

                                                                    XLV.

                             Petitioners' interest in their real property has been taken and damaged by the actions of

                    Jefferson Parish as set forth above.

                                                                    XLVI.

                             Such taking and damage was for a public purpose — to wit, the operation of a public landfill

                    for the purpose of handling and disposing of waste generated by the citizens of Jefferson Parish

                   and others.

                                                                    • 1►~1 I ~
                                                                   /.4

                             The Parish is liable to the Petitioners for damages caused by the Parish's unconstitutional

                    taking of their immovable property without paying just conipensation pursuant to Article I, Section

                    4(B) of the Louisiana Constitution.

                                                                   XLVIII.

                             The Parish's taking of Petitioners' property without just compensation constitutions a

                    deprivation of their property without due process of law pursuant to Article I, Section 2 of the

                    Louisiana Constitution.

                                                                    XLIX.

                             The Parish is liable to the Petitioners for damages caused by the Parish's violation of

                    Petitioners' due process rights.

                                                                      L.
                                                    REOUEST FOR TRIAL BY JURY

                             PETITIONERS REQUEST A JURY TRIAL AS TO ALL CLAIMS TRIABLE BY

                    JURY.

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                           WHEREFORE, Petitioners pray that:

                                 (a) Judgnient be entered declaring each of the Defendants jointly, severally and in

                                     solido liable to each of the Petitioners for all damages (and awarding all such

                                     damages), including physical and bodily harm, loss of use and enjoyment of

                                     their homes, diminution in property value, lost wages, medical expenses and

                                     mental pain and suffering;

                                 (b) Judgment be entered against the Parish declaring it liable for inverse

                                     condemnation, and awarding to each of the Petitioners just compensation for

                                     the unconstitutional taking of their interests in real property and/or a deprivation

                                     of due process;

                                 (c) Judgment be entered against all Defendants for all additional damages as are

                                     just and reasonable under the circumstances, including but not limited to the

                                     cost of alternative housing and medical testing;

                                 (d) The Defendants be permanently enjoined and ordered to abate the nuisances

                                     and trespasses, and to take all reasonable and necessary measures to cease the

                                     harmful emissions from the J.P. Landfill.

                                 (e) The Defendants be required to provide medical monitoring for all Petitioners as

                                     appropnate;

                                 (f) Prejudgment and post judgment interest on all damages be awarded;

                                 (g) Petitioners be awarded all costs for prosecution of this action and attorney fees;

                                 (h) Damages be awarded for all other injuries that may be proved at trial; and

                                 (i) This Court award such other and further relief as it may deem just and proper.

                                                                        Itespectfully submitted,


                                                                        FORREST CRESSEY & JAMES, LLC

                                                                        /s/ S. Eliza Janies

                                                                        Byron Forrest (La. Bar No. 35481)                      ~
                                                                        Nicholas Cressey (La. Bar No. 35725)
                                                                        S. Eliza James (La. Bar No. 35182)
                                                                        One Canal Place
                                                                        365 Canal Street, Suite 1475
    1    OF
                                                                        New Orleans, Louisiana 70130
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                                                                   OF COUNSEL:
                                                                   Barry S. Neuman (Pro Hac Vice application
                                                                   to be subnutted)
                                                                   Erik Bolog
                                                                   C. Allen Foster
                                                                   Adrian Sneed
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                                                                   Suite 450N
                                                                   Washington, DC 20036
                                                                   (202) 659-6800
               PLEASE SERVE:
               LOUISIAi~TA REGIONAL LANDFILL COMPANY
               Through its Agent for Service
               Corporation Service Conipany
               501 Louisiana Avenue
               Baton Rouge, LA 70802

               WASTE CONNECTIONS BAYOU; INC.
               Through its Agent for Service
               Corporation Service Company
               501 Louisiana Ave.
               Baton Rouge, LA 70802

               WASTE CONNECTIONS US, INC.
               Through its Agent for Service
               Via long arm through its Agent
               Corporation Service Company
               251 Little Falls Drive
               Wilmington, DE 19808

               APTIM CORP.
               Through its Agent for Service
               CT Corporation System
               3867 Plaza Tower Dr.
               Baton Rouge, LA 70816

               PARISH OF JEFFERSON
               Through its Agent for Service
               Parish Attorney for the Parish of Jefferson
               1221 Elniwood Park Blvd., Suite 701
               Jefferson, LA 70123

               ABC CORP.
               Address unknown at tlais tiine.

               DEF CORP.
               Address unlnzown at this titne.

               GHI CORP.
               Addf-ess unknown at this tifne.
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              JKL CORP.
              Address unknown at this time.

              MNO CORP.
              Addf-ess unknown at this time.




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 (101) CITATION: PETITION FOR DAMAGES;                                                             190402-3435-3

                                          24TH JUDICIAL DISTRICT COURT
                                              PARISH OF JEFFERSON
                                               STATE OF LOUISIANA

 MARY ANN WINNINGKOF, CURTIS ADAMS, HEATHER
ADAMS, SARAH ADAMS, TABITHA ADAMS, DEVIN
ALEXANDER, DIONNE ALEXANDER, LIONEL
ALEXANDER, ANNA ALEXIE, JUANITA AHYSEN,
RICHARD AHYSEN, SEDONIA AUGUSTINE, DABNIS
BELL, DARIUS BELL, JARED BELL, JOURNI BELL,
MILDRED BELL, STEPHANIE THOMAS BELL,
STEPHANIE THOMAS, AARON BRADLEY, SHIQUITA
BROOKS, ADAM BROSN, KEVIN BROOKS, WILLIE
FAYE BROOKS, PATRICK BURNETT, SARAH
BURNETT, KATE BURNETT, MICHAQEL BURNETT,
PATRICK BURNETT, JOHNNY CHATMAN, KEVIN                                         Case: 793-784 Div: "M"
CHIRLOW JR, CHERYL CLARK, JENAE CLARK,                                         P 1 MARY ANN WINNINGKOF
MARCUS WILLIAMS JR, ALYSIA COLLINS, LINDA ANN
CORLEY, LYNDAYLE HUMPHREY, SKY HAWKINS,
YOLAND DIXON, GREGORY JACON, RASHAD DIXON,
CRAYONNA DIXON
  versus
LOUISANA REGIONAL LANDFILL COMPANY, IESI LA
LANDFILL CORPORATION, WASTE CONNECTIONS
BAYOU INC, PROGRESSIVE WASTE SOLUTIONS OF
LA INC, WASTE CONNECTIONS US INC, APTIM CORP,
PARISH OF JEFFERSON, ABC CORP, DEF CORP, GHI
CORP, JKL CORP, MNO CORP

 To: WASTE CONNECTIONS US INC
 THROUGH CORPORATION SERVICE COMPANY
                                                                               LA Long Arm
 251 LITTLE FALLS DRIVE
 WILMINGTON DE 19808


PARISH OF JEFFERSON

You are hereby summoned to comply with the demand contained in the PETITION FOR
DAMAGES of which a true and correct copy accompanies this citation, or make an appearance
either by filing a pleading or otherwise, in the 24th Judicial District Court in and for the Parish of
Jefferson, State of Louisiana, within 30 THIRTY CALENDAR days after the return of service
hereof, under penalty of default.


This service was requested by attorney S ELIZA JAMES and was issued by the Clerk of Court
on the 2nd day of April, 2019.


                                              /s/ Rod A Schouest
                                              Rod A Schouest, Deputy Clerk of Court for
                                              Jon A. Gegenheimer, Clerk of Court



                                                 SERVICE INFORMATION

 (101) CITATION: PETITION FOR DAMAGES;                                                             190402-3435-3
Received:                Served:                Returned:

Service was made:
         _ Personal                       Domicilary

Unable to senre:
          _ Not at this address      _ Numerous attempts          times
          _ Vacant                   _ Received too late to serve
          _ Moved                    _ No longer works at this address
          _ No such address          _ Need apartrnent / building number
              Other

Service: $                  MWbqi&a$ F. Donelon Courthort5ml; a00 Derbigny St. : Gretna LA 70053
Page 1 of 2
                                                               1749
                  Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 373 of 434
j~




     Completed by:
                           Deputy Sheriff
     Parish of:




                               Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna LA 70053
     Page 2 of 2
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                                   a
            Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 374 of 434




                        PETITION PQR DAMAGES;                                                190402-3435-3

                                        24TH JUDICIAL DISTRICT COURT
                                            PARISH OF JEFFERSON
                                             STATE OF LOUISIANA

 MARY ANN `dNINNINGKOF, CURTIS ADAMS, HEATHER
ADAMS, SARAH ADAMS, TABITHA ADAMS, DEVIN
ALEXANDER, DIONNE ALEXANDER, LIONEL
ALEXANDER, ANNA ALEXIE, JUANITA AHYSEN,
RICHARD AHYSEN, SEDONIA AUGUSTINE, DABNIS
BELL, DARIUS BELL, JARED BELL, JOURNI BELL,
MILDRED BELL, STEPHANIE THOMAS BELL,
STEPHANIE THOMAS, AARON BRADLEY, SHIQUITA
BROOKS, ADAM BROSN, KEVIN BROOKS, WILLIE
FAYE BROOKS, PATRICK BURNETT, SARAH
BURNETT, KATE BURNETT, MICHAQEL BURNETT,
PATRICK BURNETT, JOHNNY CHATMAN, KEVIN        Case: 793-784 Div: "M"
CHIRLOW JR, CHERYL CLARK, JENAE CLARK,        P 1 MARY ANN WINNINGKOF
MARCUS WILLIAMS JR, ALYSIA COLLINS, LINDA ANN
CORLEY, LYNDAYLE HUMPHREY, SKY HAWKINS,
YOLAND DIXON, GREGORY JACON, RASHAD DIXON,
CRAYONNA DIXON
  versus
LOUISANA REGIONAL LANDFILL COMPANY, IESI LA
LANDFILL CORPORATION, WASTE CONNECTIONS
BAYOU INC, PROGRESSIVE WASTE SOLUTIONS OF
LA INC, WASTE CONNECTIONS US INC, APTIM CORP,
PARISH OF JEFFERSON, ABC CORP, DEF CORP, GHI
CORP, JKL CORP, MNO CORP

 To: WASTE CONNECTIONS US INC
THROUGH CORPORATION SERVICE COMPANY
                                                                          LA Long Arm
251 LITTLE FALLS DRIVE
WILMINGTON DE 19808


PARISH OF JEFFERSON

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'DAMAGES of which a true and correct copy accompanies this citation, or make an ,appearan'i:e:
either by filing a pleading or otherwise, in the 24th Judicial District Court in aiid fo,r the Parish cf
Jefferson, State of Louisiana, within 30 THIRTY CALENDAR days after the reti.;rn of service
hereof, under penalty of default.


This service was requested by attorney S ELIZA JAMES and was issued by the Clerk of Court
on the 2nd day of April, 2019.


                                            /s/ Rod A Schouest
                                            Rod A Schouest, Deputy Clerk of Court for
                                            Jon A. Gegenheimer, Clerk of Couit



                                              SERVICE INFORMATION

 (101) CITATION: PETITION FOR DAMAGES;                                                       190402-3435-3

Received:               Served:               Returned:

Service was made:
             Personal                   Domicilary

Unable to senre:
          _ Not aYthis address     _ Numerous attempts          times
          _ Vacant                 _ Received too late to serve
          _ Moved                  _ No longer works at this address
          _ No such address        _ Need apartment / building number
              Other

Service: $                 MWbW$ F. Donelon Courthopml; 800 Derbigny St. : Gretna LA 70053
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Completed
                      Deputy Sheriff
Parish of:




                          Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna LA 70053
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                                                                    FILEDF P. RECORD 04j'02,?201 909:S2y-143
                                                                    S tie I IeV 1A A-la wterer-, COf (_IERK
                                                                    JEFFP,P-:,QN PAPER, LA.




        24"T" JUDTIAL DISTRICT COURT FOR THE PAPJSH OF JEFFERSON

                                   STATE OFL.OUISIANA.

            No.. 7 9 3 '? 8 4                                           DIVISION:

             MARY ANN WINNINGKOF; CURTIS ADAMS;HEATHER ADAMS,, in her
individuatcapacity- AhA on behalf of heir ml or children, SARAH ADAMS ANIYTABITHA
    ADAMS; DEVIN- ALEXANDER; DIONNE ALEXANDER; LIONEL ALEXANDE                      L!,10%
  ANNA ALEXIE.- JU-ANITA AHYSEN-j RICHARD AHYSEN; SEDONIA AUGUSTINE-
  DABNIS BELL; DAMUS BELL; JARED BELL, in his individual capacity and. As parent
   of his minor childJOURNI BELL-MILDRED BELL;STEPHANiE THOMAS:AELL;
      AAR Ng.it"LEY-, SHIQUITA.BROOKS,,,ADAMBRO$N';KEVIN.BROQKS
 WILLIEVAYE 13ROOKS; PATRICK BURNETT; SARAli BU—RNETT,,in her individual
capacity and as goont of her minor children, "TE BURNE TT, MICHAQEL BURNETT.
                                          .
  a.nd PATRICK BURNETT; JOHNNY CHATMAN; KEVIN CHIRLOWI JR.; CHERYL
   CLARK; JENAE,:CLARK, in her individual capacity iiid as.parent of herminor child,
      MARCUS W'ILLIAMS, JR.; ALYSIA COLLINS.; LINDA ANN CORLEY, in.her
 individual capadty...aad hais parent of her minor childrenLYNDAYLE HUMPHREY and
SKY HAWKINS- YOLAND DIXON, in her individual capacity and as parent of her minor
   children, GREGORY JACOB, RASHAD DIXONAND CRAYONNA DIXON; KEVIN
 DRAKE; ESTIN EDWARDS; VERONICA EDWARDS; SAMUEL FISHER; ANNETTE
      FORD; EDWARD FORD, SR.; LAWRENCE GILBERT; MAGNOLIA GREEN;
DEVORAHAMPTON; D*EVONTA HARRIS;LIZ HERNZNDI EZ; WILLIAM HERVEY;
EDITH IRVIN - ALFRED JACKSON; ANDREW JACKSON, SR.; ANDREW JACKSON
     J1L;.DEBORAHJOHNSON; QUENTIN JOHNSON; RAWIN KENNEDY; I3-ULIE
   KETCHENS, in he'r individual capacity, an&as parent of her minor children, J ULISSA
   CELEST   ,INE;aud,JAESEAN CELESTENE; CAMERON       I        KIMBLE; BERNIE LEWIS;,
  SHERPJKLEW,1S-,GAVIN MAHL;,.ALEXAN D. ER MITHCELL; KATIE MITCHELL;
  TAKITA. NICKERSON, in.,her individual capacity and as parent of 'her minor.childi-en,
 RAYVIN'KENNEDY JIL:and RY-AN KENNEDY; JULIANK RAYBURN, in het                I capacity
                                                                                  I
    as.parent-of her aii.uor.children,,ADFLAIDE.'jEATONI,.AILINE,EATON'sn'd LlfC ILE
EATON; DOLORES RICHARD; JOCYLEN RO                           AUX4MARK.kO9IC7.HA'VX, in his
                                                         PA,ANGtL kOUICHAUX; RAQUEL
                                            ... linor C,h'id
  individual capacity' andas parent Qf.- hisbi
  ROBICHAUX; DANA SCALLAN, i1whor.individual capacity.and a& pikrent of her minor
                    _Ey.9C.ALLAN;, RANOOPH SCAL. LAN; DAVENIE-SHA SCOTT;
        ohlld, SY'D N
MARGARET THOMAS; ROBERTTHOMAS; ERNISTH TRICHE; ERNEST TRICHE t
  JIL; DEBORAH., URSIN, in her individiial capacity and as parent of her minor children,
ZANIAR URSIN -AND .CRAPELLE UR$IN; KYLEIGH:VOL.PI; . DAVID WARD; JESSE
                                 WELLS; and ANN WILLIAMS;,

                                           VERSUS

 LOUISIANA RE-GIONAL
              .       LANDFILL, COMPANY (LRLC), f/Wa IESI LALANDFILL
   CO.RPORATI0 X, WAST E CONNECTIONS BAYOU, M., VWal PROGRESSIVE
 WASTE SOLUTIONS -OF LA, INC; WASTE CONNECTIONS. US,INC;1 APTIM CORP;
  PARISH, OF JEFFERSON; ABC CORPI DEF CORP-9 GRI CORP; JKL CORP; and
                              .MNO CORP.
FILED:
                                          DEPUTY CLERK


                PETMON FOR DAMAGES ANI) INJUNCTIVE RELItF

       This. action adses from the continuing, significant and unabated harm sufferedby each of

the named Petitioners as aTesult of the ongoing — and admitted — failure of eacb of tht Defendants


                                                i




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to ensure that the design; operation and mai_ntenance of the Jefferson Parish La.ndfill (the "J.P.

Landf`ill") cornplies with• applicable erivironinental laws and adequately protects Petitioners'

human:health_ and environrimerit: At a11 relevantaimes, the J.P. Laridfill and has persistently emitted

harmfut and toxic odors and. chemicals into the surrounding areas, including where each of the

Petitioners resides'.

        These unlawfiil,. harmful and toxie releases have caused Petitioners substantial loss of the

use and.. enjoyment of their homes arid inlrnovable. property, and have caused physical harms

including, amoiig other:tliings: difficulties; bze.athing, coughing, nausea, burning.eyes, ears, noses

and throats;. dizzsness; Ioss .of appetite and,letfiargy, as well as fear, anguish,, discomfort and

inconvenience. These :emissions also_.have .caused diztiinution in the value o£ Petitioiiers' homes.

       Accord'ingly; Petitioners seek redress from the Defendants for the direct and consequential

injury .and damage 4hey have suffered and. will eontinue to suffer as a direct result of the releases

of noxious odors arid chemicals frorn the 7.P. Landfill.

       Petitioners are:

       1VIARY .ANN WINNINGKOFF, an individual of full age of majority residing at 47

Donelon.Dr, Harahan, L. A. 70123, and owner of said immovable property.
                                                                ;
      CURTIS ADAMS, an individual.of full age of majority resrding at.2029 Generes Dr.,

River Ridge„ LA 701:23 and owner of said;immovable property.

       HEATHERADAIVIS; an individu.al of fuil age'of majority residing.;at 2029 Generes Dr.,

ri'ver Ridge; LA 70123: and owner of said inimovable property; in her individual .capacity arid as'

parent of her minor cbildren, SARAH ADAMS and TABITHA ADAMS.
                                                                                                       ..
       DEVII~T ALEXAND.ER, an individual of full age of majority :residing at 617 Wilker Neal

Ave.; River Ridge; LA 7.0123.
       DIONNE: ALEXANDER, an izidividual of ful.l age of majority.residing .at 617 Wilker

Neal Ave:, River.Ridge, LA 70123 and owner of said immovable property.

        LIONEL ALEXANDER, an i.ndividual of full age of rnajority residing at 617 Wilker Neat

Ave.., River Ftidge,, LA 70123.

        ANNA ALEXIE, an individual of full age of majority residing at 37 Morning Glory,

Waggamaii, LA 70094:.


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        ,JUANI.TA AHYSEN, anindivia I of full, ag.6 6f majority residing at 41-7 Dandelion Dt.,

 Wagg4mo,     1,A 76034 andowner ofsaid immovabla poperty.

        RICB[ARD'-.A,*H'YSEN, an individual.of full age of maj brity residing: at 417 DAtidelion Dr.,

 Waggani4n,. 'LA, 70094 Afid owner of sEiid inirn6vabl.e, property.

        SEDONIA AV
                . , GUSTINE I, an 'mdividual of'full age of majority residing at 137 Rosalie

Dr., Avondale, LA., 76.6.04 and ownet of said fininovable ptoperty.

        DA-BNIS BELL, an individual of fWl age of majority residing at 37 Imogene St Westwego,

LA. 70094

        DARIU,S IREL-tiEb.individuai:of full age ofindjor1hytesidin - at371mogene St
                                                                                  W.e* '"e90,

LA 10094

        JARED. BELL,, an individual of full age of majority residing at 52 Winifred St.,

Waggariian, L.A 700,94.i.n..his individual capacity anO as parent of his minor ohild JOURNI 8ELL.

        MILPRED BELL, an individual of fall age of majority residing at 125 Dillard Dr.,

W&stweg,o,.,'LA 70094.

        STEPHANIE THOMAS BELL, an indiv,idual of full age of majotity residingat 37

Imogene'SL, Wagganian, LA 70094.

        AARON BR-ADLEY, an individiial of full:age of mqj'on
                                                           - *ty,ivsid ing at 61.2 Upland Ave,,,

River Ridge,.LA 70123,- and owner of a leas6hollcl inte.rest in said, premises.

        SHIQUITA BROOKS, an individual of fuU age of majon'ty residing- at 312 Drelegate

Drive: Avondale, LA .70 , 094.

        ADAM BROWN, an individual of full age of majority.residing at 31 Richellle Street,

Westwegd,. LA 70694.:

       KEVIN. BROOKS, an individual of full age of majority residing at 20 Winifred Si,

Waggainan, LA 70094.

       WILLIE FAYE BROOKS, an individual of full age of majotity residing at 20 Winifred

St., Waggamm, LA, 70094, and owner,of said imfnovable property.

        PATRICK BURNETT, an individual of. fWl age of majority residing at 508 Park Ridge

Drive, River Ridge, LA 70123
                          23 and owner of said immovable property.




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        SARAH'BURNETT, an individualof       I
                                                        a—Re of majority r'esiding at:508 Park Ridge

]Drivc, Rivcr'1;Udg0,LA 7.0.1.23 and owoor of sI aidirmn-ovable property,. in her indi'vidual capacity

and as parent ofher.min.or:childre'n, KATE BURNETT9 MICHAEL BURNETT, and PATRICK

BURNETT..

        JOHNNY CHATMAN, an individual.of full age of maj'ority. residing
                                                                '        at 8021:Monett St

Metairie LA 70003aiid,owner of said immovable property.

       KE,V1N:C0M0W JR., art'individual of full age of majority residing at 444 Liska St.,

Waggaman.LA 70094.

       CHERY-L'CLARK1 an indivi dual of fuH age of majority residing at 423 Wi Iker Neat Ave.

River Ridgq, L-A 101:21and owner of said inimovable property.

       JENAE CLARK, an individual of full age of majority te si'd"'
                                                                 ing at 423 Wilker Neal Ave,

River Ridge, LA 70:05, in her individuat capacity and as parent of her m'mor child, MARCUS

WIL.LIAMS'9 JIL.-

       ALYSIA. COLLINS, an indiVidual-of full ageof niaiotity rtgidirig at 21 Riohelle St.,

Wagganiati, LA'700.04.,

       LINDA ANN C, ORLEY, an individual of full age of majoiity residiilg at 26 Jasmine Lane

Waggam'anLA-100.94 and owner of a Wase.h6ld.intetest in said premises, in.her individudl:capacity

and on behalf ofho.mi.nor children,.LYNDAYL.E HUMPHREY and SKY HAWKINS.

       YOLANDA DIXON, an individual of full, age of majority residingat 89 Clifford Ct

Waggaman., La 76094 and owner of a leasehold.i.n.terest- in said premises,   in
                                                                                  her individual. capacity

and.on behalf ofhpp   minor   children, GREGORY JACOB, RASHAD DIXON and CAAY-ONNA,

DIXON.

       X",I)RAKE ati individudpf 'full age of majority residingat 433 TaylofSt:.,Kdnner,
LA 70062-,I And oWner -df said immovable property.

       DESTIN'EDWARDS, an indiVidual. offWl:age of majority residing at 845 Reverend

Richard Wilson Dr. 94E.Kenner, LA 70062.

       VERON1CAEDWARDS,.:an iodiyidual of full age of majodty residing at 845- Reverand

.Richard Wilgofl 10r j Apt. 4E, Kenner, LA 700621, and owner - 6f a, leaschold interest in said

prenuses.


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        SAMUEIL                    . ''. 1 4lof full age~ of majority residing at 52 Winifted St.,
                                  individu

Waggamai-4 LA70004.

        ANNETTE-FQRD,:an individual 0 f4ll ,499 Pf mai ority
                                                          ,', re siding at .16 Clifford Ct.,

Waggaman,LA 70094 and,,owner oft leasehold interest in said premises.
                                            :
        EDWARID Wkh; SIL, an individqal:6f.full age of majority residing at 16 Cli..fford Ct.,

Waggaman,LA 70094 and owner of a leaschold interest insaid premises.

        LAWRENCE GILBERT, an iftdividual of full age of majbrity residing at 850 Reverend

Richard, Wilson Rd Apt 3A, Kenner, LA 70062, and owner of a leasehold interest in said

prenuses,

        MAGNOLIA GitEEN, an- individual.of,ftill age of majprity residing gt 312 Delegate

Dti've Avotidalo, LA. 70094 and owner,.of a leaseholdinterest in sai;d preniises.

        DEVORA HAMPTON, an in'diAdual of fall age of majority residinp- at 809 S.

Cumberland, Me%iri'e, LA 70003.

        DEVONTA.AARRIS an individuai of full age of majority rcsiding at 707 Richard Ave.,

River 14dge,LA 70123.

       LIZ HERNAND,EZ an individual of full agq of majority residing at 721 Randolph Road,

Haralian,,LA 701-23.; Jn heTcapacity as paretit of her rriihor child, SOPHIA HERNANDEZ.

        WILLIAM litRVEY, anindividual of fuli age of majority residing at 305 S. Bengal,

Fiver Ridge,_LA 70(1- .'-
                       3,:

       EDITH JRVIN,dri -individuil:%.of fiii1agie of majority residixig: at $63 Reverand Richard

Wilson Dr, Api. 7,A,,kenner,LA 700

        ALFREDJACKSON. an individual of fuU age of majority residing ati $13. S. Bengal,

FUver Ridge,LA 10123, and owner of said Immovable property.

        ANDREW JACKSON,SR., an individual of full, ageof raajority, residing at .1 24 Pr-dirie

View, Ct.. Avohdale; LA 70094, and owner of said. immovable property.

        ANDREW JACKSON JR.9 an individual of full age of majority residing at 124 Prairie

View U4, Avondalei. LA 70094.
                                                     I
                J OKNSON,an individual of full age of majority residing- at 1 14.17. Jefferson
        DE90RAH i
                      ,
Highway Apartment 0,:Ftiver Ridge LA 70123,.and owner of a leaschold intorest in said premises.


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       QUENTIN 4OHNSON M mdividual of fLdl age of majlority~xes- iaimg at'114171 1,efferson

Highway Apditmeiit D,.River Ridge.LA 10121

       RAYVIN KEN NED Y, an, individual, of fall 4ge pf majority regiding at. 409 Avondale

GardetiRoadi'Westwego, LA 70094 and owner;of said:immovable property.

       JULIE KETCHEN9, an individual of full ag.d of majority residiiig at 24 Rosa Street,

W'aggaman,L, A 70994, and owner of sgid immovable property, in her individual capacity and as

parent of her. minotl6ildreh, J-ULISSA CELESTME zind JAESEAN CELESTINE.

                                                          , residing at 1325 S. Dilt'on St
       CAMERONKIMBLE, an individual of full age of majority

Metaitie LIA. 700031~

       gtkNIE, LEWIS, an indiyidiial. of ffill age of majority residing at 20 Winifred St.,

Waggaman,LA 7009.4.

       SHERRM LEWIS, an individual of full agq of majority residing at 226 Coleman Place

kenner, LA and owner of a leasehold interest in said immovable property.
        -
                                                                                                  '
       GAVIN'AtkH—L,,ari individual-of full age of majority r'esiding at 9125 5th S.t., Rivet Rid9Q,

La 70123.

       ALIRXA1tIDER MITCHELL, an individual olf fufl age of rnajority'residi-ng at 204

Hanson Avenue, Kenner, IA 70062;atia owner 6f said immovable premises.

       XATIE'NtiTCIIELL, an individual. of fUll age of majority residing at 204 Hanson Ave

Kenner LA 7100624:

       TAKITA NICKERSON, an individual offullage of, majority tesiding at 409 Avondale

Oard'e'n Roaa,* We:$iwego, LA 70094 aqd. owner of sa.id immovable. property, in her individual

capacit_yand on. behalfofher minor chiidreh,:RAYV1N KENNEDY JR and RYAN.KE.

       juLuNE RAV~BURN, an ihdividiial. of full age of. m6- jority residing 'at '513-Hester

Avetitio,'Riyalid' 'LA, 70.123,and wner ofsaid immovable,pr efty iri.hdrcztpaclty'asparerit

of her ndAor childrdn, ADELAIDE EATON, ALINE. EATONaud, LUCILEEI ATON.

       DOLORES
          I   : RICHARD, an individual, of f4ll qgeof maj onty, residing at 404 HANSON

Place,, Kenner, LA799.026

       JOCYLEN ROBICHAUX, an individuatof full age of majority residingat 420.Dandelion

Dr., Waggarnan; LA 70094, and owner of said immovable property.


                                                 Di




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       MARK ROWCHAUX,'an individudl of full age- of majotity fesiding at 42.0 Dandelion

Dn, Wqggaman, LA,1094, in his individual: capacity and as parent of his minor child, ANGEL

ROBICHAUX.

       RAQIUEL.A"CWAUX,0411 nd."
                               NJ,'du4IoffV1 age of m di.
                                                       oritv~ residing 4t 420 Dandelion

Dr., Waggman;L, A;70094.,
                                                               .I
       DANA SCALLAN,:an individUAI. bf MI: age:of mAjority residi ng,at- 33 RicheIIc,-S*t.-,

Waggamaii-LA 70,094:and owner of said immovable property;, in herindividual capacity and as

Parent ofher minor child,, SYDNEY SCAL11 -N.
                                         A

       RANDOLP SCALLAN,an ffidividual of ftffl age of mqjority residing at 33 R-ichelle

St., Wa.9 gaman LA 70094 and owner of saidirnmovabte property.

       DAVENIESHA SCOTT,an individual of ftill age of maJority residing at. 629 S.

Cumberlaftd St.,J.kiyer Ridge, LA 70123.
                                                                          .
       MARGARET' THOMAS, an individual of full age of maj,prity residing at 112'Mark

Twainbr.0231, River Ikidge,LA 70123', and owner of a leaseholdinterest in said immovable

property.

       ROBERT THOMAS,an individual of full age of majority residing at 333 Coretta Dr.,

Westwego,LA 70004.

       ERNE$T TRICHE an individual off-all ageof majority residing at 208 Glen Della.Drive,

Avondale,,LA 7,0094.

       ERNESTTWHE,JFL, an individual lof., ful, qge of majority residing At 208 Glen Della

Drive, Avo,ndale,;, Lk .70094 and owner of said immovable property..

       DEBORAH URSIN,an individualo.ffiill age o majority residing at 500 Cumberland St.,

                        in her individualcapacity.and as parent of-her minor childten.,.'.ZA XIAH

URSIN:and,CHAP-ELLE URSIN.

       KYLEiGff VOILPI, an individu.4.1 of full age of majority residing at 31 Richelle Street,

Westwego,LA 70094.

       DAWD WARD an ind'ividual.'of full 4ge of majority residing.at 809 S. Ciinibertand,

Metairie, LA -70003 and owner of said imnlovabl'e property,




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                 .
       JE SSIE WZ,ELS an individual offQ age af'majority
                                                  J i residin2 at 511. Filmore. St.j Kenner
La. 70062 and. Qwner,ofa leasehold interest in said pr&m ises.

       ANN. WILUkW, an individual of, full, 4ge of majority residing, at 644 Compro mise St.,

apt. C, Kenner.,LA.7006Z;.and owner of a1easehold interest in said premises.

                                                  L,

       Made Defendants herein are::

       a. L,OUISIANA REGIONAL LANDFILL COMPANY (LRLC), VWik IESI LA

           LANDFULCORPORATION (IESIO)l a foreign, corporation dcfnadiled in Delaware

           authoriz,ed1 tod
                          .o and doing business in ihis Parish and State.. On information dnd belief,

           LRLCJs:a:WhOlIy owned subsidiary ofDefendant Waste Conriections Bayou, 1=, Inc.,

           which in'turn was acquirW by Defendant Waste Connections US,Inc. On inforination

           and beliet Defendant LRLC: is: controlled by Defendants Waste, Connections Bayou,

          Inc., a-hd/dr 'Waste Connectioris, US,Inc., aiid is the "alter ego" of those.Defendants,

           operati..ng wi ou tau
                               tonomy,and Qnly pursuant to the direction, policies and proced
                                                                                            ur es

          ,of its parent corporations;


       b. WASTE CQNNECTIONS BAYQU, INC., Ma/ PROGRESSIVE WASTE

          SOLUTTON&OF LA,INC.,a foreign cotpotatioti aut horized to. do and do'mg business

           M*Ithis,kaAsh and State;

       Ci W
          .. ANTE        . ECTIONS'VS, IN,C~~a fOreign corporation: aiithorizied tb. 40 and-
                       0'M
                         —

           dbing busihess in this Parish aft&State; aiia

       d. APTIM tORP., a foreign oorppT4tiqn domiciled in Delaware authorized to do and

           doing b,zisiness in this Parish- and State'

       e.PARISH OFJEFFEPISON,a Louisiana municipal parish in and political, subdivision

           of the ...tp.ofLoui.
                             si ap
                                a#he, "Tarish";.

       f.: ABC,CQRPORA . TION.,a,.-foreign ot domekic insUraricd COMP44Y whose identity is
                                                           ition And belkf WrOld, 1 policy Of
           uiilcriown to 1ho 'Petitioners-, wlio upon inform
          ,         .; coverap-c for Defendant LOUISIANA REGIONAL LANDFILL
              msuran
                   .w
                                                                        ?),
              COMPANY,(LRLC), F/K/A .19-S! LA.LANDFILL CORPORATION.(4ESP




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            that may provide coverage f6r acts, occurrences, and/or omissions more specifically.

            described 'herein;

        g.DEF CORPORATION a, foreign or domestic insurance company whose identity is

            unknown,to the Petitiotiets, who. upon Information and belief wrote apotiby of

            iqsotaM coverage for Defdqd           WASU CONNECTIONS IIAYOU, INC
                                                                            .C., fWa/

            MGM$IYE. WASTE SOLUTIONS OF LA, INC. that thay pr6vide coverage

            for actst,,,-oceurreftces, and/or billssions, more specifically described herein-,
                                                                                            9



        h.GHl CORPORATION a foreigip or domestic insurance company whose identity is

            unknown to the Petitioners,,, who upon information and "belief wrote, a polic.y of

            irfsurzinco coyeTage for Defendant, WASTE CONNECTIONS BAYOU, INC.,f/k/a/

            PROGRESSIYE WASTE SOLUTIONS OF LA, INC., that may provide coverage

           for acts~1 . occurrences, and/or omissionsI .more specifically described hereiiq;

       i, jkL CORPORAfION a.fo.Teign or domestic insurance company whose identity is

                                                                          -ote A. pgllcy of
            unknown-16 the Petitioners,, who upon information and belief wr

            insuraned.-coverAge for Defendant, APTIM CORP, that may provide,coverage for acts,

            occurrences, and/or omission-s more specifi'cally described hereiii;

       j. MN0 CORPORATIONS fo.reign.ordoinesticinsuranoecompitnywh,ose'id,eniityis
            uftknownjo the Petitioners,, who upon information and belief wrote a policy of

           insurance. coverage for Defendant,, PARISH OF JEFFERSON, that may provide

            coveragd for acts, occurrences, and/or omissions more specifically described horein.




                                   JURISDICTION AND, VENUE
                        I    , ,
        Vcnud; is ptope rin aecordance with. La. R.S. 13:5104(B), wWph states, in part, that,'!'[a]1l

suits filedagainst apolitipal subdivisionof the state ..., shall be instituted before the, district, court

ofthejudicialdistdct i m.-Whichthepolitiedl subdivision is located or in the district courti having

jufisdictioninth parish in which. thecause ofaction arlse§." Venue isfutther proper astoallother
                                                                                           '

                                           rise to the Petitioner's claims -occurreed within the
                                        g- ti
defendants as the wron.9ful conduct givit'

jukisdidi6nal lithits'ofIefferson Parishl State of Louisiana.


                                                    Z



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                                              FACT
        Th . P . i h.
          e lars, is:thoowner of ihe leffersoil ParishLandffll ,(the 'JT, Lan iflIlocated at

 5 800 Highway, 90 West. in Avondalei Jefferson. Parish, LA.



        A:tAll, relevant tiines, the J.P: L-andfill has been used as a Type I/It landfill permitted to

accept municipal. and. commercial solid wast4i, non-hazardous industrial waste, trash,:construcfion

                 e wasto dewatered municipal was eWater
                                                 t      slu dge,, and compatible, nori-hazardous
                                                                                       .
industrial wasie pursuant to the Louisiarta Enviromnental Quality Aot, La. R.S. 30-2001          seq.
(the "Act") as well tis 'fcderal la .:and' regulations irnplemented by the U, nited States

Etivitoninoiital Protection A9f-ney ("USEPAI.

                                                V.

        The J.P. tan011is authorized to pperate pursuant to .and orily in accordance with the terms

-and conditflions of, gmong:other things, Standard Permit M297RI(the "Standard Permit") as

issued, approv
             .ed,:and subject to periodic revie
                                             i w and renewal'by the Louisiana Dep artment of

Environmental QuaAity "LDEQ") pursuant to the Act, The Standard Permit was most recently

renewed by the L.DgQ* on or about January 22, 2010.



        Owo,tabout::May 17,2012, thel)arish entered into a contract wiih the Dei6ndantIESI; (since

renamed the-Louisiana Regional Landfill. Compaty) uni der which IESI. agreod;arhong o-ther ihings,.

to"maha9 e-all.tasks", tho.,operation, mariagement a4d maintenance" of the J.P. Landfilt(the "IESI

.Operating Contra.dt.",). Among other things, t-he IESI Operating Contract pr'ovides that

       (a), Operatidn of the J.P. Landfill Will be conducted "in 8tiict compfianceanid conformity

           with itll Vodoraj, State and1ocal laws, ordinances, and regulations, iiicluding the rules
                                                                            I
           and regulqtions; of the USEPA, Lbto, ana all State of Louisiana agencies4 and. in

           accurdance withthe Pennit.Documents."

        (b) "IE$1 sW be: respo nsible forvoibqplianco vAth afl Federal, State and local regulgionsi

            laws and ordinances i,n :its,. petfoxmanc.p:of the. Service./Work, associated with the

            opeiation pd.niaintenaript] of, ijie Landfill."

                                                 1.0




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        (c) IESI is: required to "provide, all labor, equipment, materials and incidentals .to assume

            all daily operations of the Landfill."

        (d) Tlie Parisli Engineer has the authority to "decide any and all questions as to ... the

            manner of performance and rate of progress of the Services/Work ... t.he interpTetation

           of the Contract Documents; :and all questions as to. the acceptable Completion":of the

            Contract- "in his reasonable and good faith opinion." The. Parish Engineer is. furfher

           authorized`to "suspend ogerations at any time when the. Service/Work, in his good faith

           and reasonable opinion, is not _being carried out in .conformity with the Contract

           Docurrients and all permits."

                                              1

       Defendant APTIIVI is and at all relevant tirnes has been a co-operator of the gas and leachate

collection system of the J.P. Landfill,

                                             VIII.

       Jefferson Parish; in addition to. being an owner of the J.P. Landfill, is and at all relevant

times has been a co-manager and co-operator of the J.P. Landfill with IESULRLP and APTIM:

                                               TX.

       The Parish has admitted that improper operation of the J.P. Landfill .is a rnajor so.urce of

tfie odors suffered by Petitioners as well as the adverse consequences thereof. At a pubi'ic, press

conference on July. 23, 2018, Parish President.Mike Yenni stated that:

       (a) The J.P. Landfill's system designed to "contain and deodorize landfill gases" has not

           been iti "proper working order."

       (b) The landfiil's leachate colleetion system.has not been operated properly..

       (c)' "Properly operated landfills do not operate persistent off-site odors and corrective

           actions..:are essential."

       (d) The Parish has notitied IESI that it is in breach of its contract to properly operate t e

           J.P. Landfill,

                                                  X.

       At the same press conference, Parish Sheriff Mark Conley stated that the J.P, Landfill gas

collection system has been collecting only twenty percent (20%) of the gas emitted from landfill


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operations, whereas.aproperly operating system would collect ninety-seven to ninety-eight percent

of gas emissions, "[s]o that is why ,the Parish president is stressing that we realize we have

problems...right now, a lot of our priority, in the name of public safety and our police powers, is

to address the existing systern, get it operational, and to pull as much gas out of that landfill as we



                                                 XI.

        At the same press conference, :.Parish Councilman Paul Johnson stated that the odor from

the J.P. Landfill

       "has gotten really bad in the past for our five inonths... we are all going to experience odors

       from the laridf 11 because it's a landfill: But; not those we have been having for the past

       three or fve months. It's been really bad: I have been woken up at night with my, nose

       burning and couldn't breathe at three or four o'clock in the morning. This has happened

       to me more: #han one time ... we know the landfill is causing problems and we know it is a

       big source of.problems...."



       At the same.press conference, Doctor Joseph Cantor, Medical Director and Administrator

for Region l of the Louisiana Department of Health, warned that when the odors are at "a high

level, residents should, if they 'are able to, leave the area and particularly .if they have certain

chronic conditions which put them at increased risk mainly pulmonary disease and asthma

COPD."']

                                              XIiI..

       On or .about June. 22, 2018, the LDEQ issued .a Compliance Order to the Parish which,

among other things, found that the Parish has violated its Landfill Permit and .applicable

environmental regulations by (i) failing to: provide daily cover and (ii) failiiig to properly, operate

the system that is intended to collect leachate — the liquid brew that drains from a landfill and

carries with it.nurrierous harmful chem'rcals:

                                              XIV.



' A video recor'ding of the Jul'y :23 press conference cen be accessed at
https•//www facebook com/NOLAnews/videos/101557931164370601 (last visited Aug. 4; 2018).


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         The LDEQ inspeetors found areas of pooled leachate a.nd leachate flowing downhill from

the pooleci leachate.

                                                      XV.

         The United States Environmental Protectiori Agency ("EPA") lias established general

screening levels .for various pollutants.                 These screening levels are chemical-specific

concentrations for individual contaminants in air that may warrant furtheT investigation or site

cleanup.' A chronic screening level addresses potential chronic exposure to a chem.ical.,


                            .:
         Air sampl'es collected by the LDEQ` ui the communities of River Ridge, I-Iarahan and

Waggaman. between July 20, 2018 through approxiinately July 28, 2018 were found 'to: contain

numerous chemical compounds at concentrations; that .exceed EPA's chronic screeriing levels,

including ,acrolein,, 1, :2-dichloroethane;. beri'zene; car.bon. tetrachloride, and naphthalene. All of

these compounds are .multimodal toxicants; in that they are potential or actual hzunan carciriogens

and also have other toxic effects. The air samples collected by LDEQ also contained hydrogen

sulfide at concentratioris that exceed EPA's chronic screening levels. Hydrogen sulfide is a

potentially toxic compound. A11 of these compounds are typically found in the gases generated by

landfills like the Jefferson Parish Landfill.

                                                   XVII.

        In a report dated August 1.5, 2018, prepared for the Parish. by its environrriental consultant,

Carson Environme.ntal Consulting ("CEC"); CEC made several findings, including, among other

things, that tliere are numerous deficiencies in "the landfill gas condensate and leachate collection

pumping systems[,]".and that the infrastructure for these systems requires immediate improvement

"to ine.et the Parfsh's _ performance objectives." In addition, CEC concf uded that improved

operation and maintenance of the J.P. Landfill requ'ires the Parish's "focused attention."

                                                        XX.




~ https:/hvww.epa:gov/risklregional-screening=revels-rsls-users-guide (last visited, Nov. 21, 2018):


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        On information and belief, on or about December 5, 2018 the Commissioner ofthe LDEQ

iriformed the Parish that there is "no doubt" in his mind that the JP Landfill is the primary source

the odors experienced by residents of the communities in which Petitioners reside.

                                               ~~

        On information and .belief, Defendant ABC Corporation has issued a potiey of insurance

to Defendant Louisiana Regional Landfill Company that covers the acts and omissions alleged

herein. Petitioners'will amend this Petition to identify ABC Corporation. once its identity is known.

                                               XXII.

       On inf .o.rination. and belief, Deferidant DEF Corporation has issued a policy:of insurance to

Defendant Waste Connections Bayou, Inc. that covers the acts and omissions alleged herein.

Petitioners will amend this Petition to identify DEF Corporation once its identity is known.



       On information and belief, Defendant GHI Corporation has issued a policy of insurance to

Defendant Waste Connections US, Ine, that covers the acts and omissions alleged herein.

Petitioners will amend this Petition to identify GHI Corporation once its identity is known.



       On information.end belief, Defendant JKL Corporation has issued a-policy of insurance to

Defendant Aptim Corporation that covers the acts and omissions alleged herein. Petitioners will

amend this Petition to identify JKL Corporation once its identity is known.



       On information. and belief, Defendant IvINO Corporation has issued a policy of i4surance

to Defendant Parisli of Jefferson that covers the acts and omissions alleged herein. Petitioners will

amend this:Petition; to identify JKL Corporat'ion once its identity is known.

                                              XXVI.

                           PROXIMATE CAUSE Alo1D BAD ACTS

       The Defendaiits' :failure to properly design, operate and maintain, the J.P. Landfill,

including its gas :and leachate collection systems, have caused harmful, noxious and repulsive

odors and chemicals to be released from the J.P. Landfill into thesurrounding environmenton and




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in to Petitioners' horries and immovable property, resulting in Petitioners' continuing exposure to

these odors and cheniicals.

                                               XXVIL.

        These odors and chemicals have also caused these Petitioners to suffer physical and other

harin including, but 'not. limited to difficulties br.eathing, coughing, nausea, liurning eyes, ears, .

noses and throats, dizziness, loss of appetite, fatigue and lethargy, as well as fear, ariguish, anxiety

and mental.pain and suffering.



                                               XXVIII.

        Defend:ants' actions and omissions with. respect to the design, operation and maintenance

of the J.P. Landfill: afe, thedirect and proximate: cause of the inj:uries and harm suffered by each of

the Pefitioners as alleged: ab:ove.



        Defeiidants' actions and omissions as.outlined above also.have caused a diminution in the

value of Petitioners' 'iminovable property.

                                                 .~~
        T'hese odors have been pervasive and persistent. They have continued to the present and

are likely to continue.for the foreseeable future. The emissions constitute a coritinuing tort,



        Defendant"s' acts and omissions in owning, designing, operating and/or maintainirig the J.P.

Landfill as described above constitute an unreasonabie interference with each of the Petitioners'

comfortable use and enjoyinent of their hoines:



        Defendants.are liable to the Petitioriers for all dainages they have suffered; includiiig bodily

harm; diminution of property value and fear;, anguish, and menta.i pain and suffering, :on account

of nnisance.,
                                                   XXXIII.




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          These physical invasions of noxious odors and chemicals constitute a trespass causing

Petitioners to suffer physical harm, diminution in property value and rental value, inconvenience,

loss of enjoyment of property; as well as fear, anguish and mental pain and suffering.

                                                       XXXV.

          The emissions of these hartnful odors and chemicals have been pervasive and persistent

and constitute.a cnritinuing tort.

                                                      XXXVI.

          The DefendanCs' illegal actions and omissions in owning and operating the J.P. .Landfill

continue to this day :and, unless enjoined by this .Court, will continue for the indefinite future.

Accordingly, Petitioners are entitled to a perinanent iiijunction ordering the Defendants to abate

the continuing nuisanee-and cease the trespasses caused and created by the J.P. Landfill, including

the emiss'ion of iioxious. odors and cheinicals, and to take all necessary reasonable actions.required

to accomplish same.



          Each of the Defendants had a duty to Petitioners to exercise reasonable care in the design,

ownership and/or operation of the Landfills, including without limitation the duty to coinply with

applieable environmental laws and regulations and otherwise to ensure that the Landf lls were

operated in a manner'that does not jeopardize their health, immovable property, environment, and

quality of life.

                                                 XXXVIII.

          Each of the: Deferidants breached such duties of care to the Petitioners by, among other

things:

          i.       Failing. to properly design, operate and maintain the J.P. Landfill, thus allowing
                   noxious and harmful odors and chemicals to be released from the J.P. Landfill. and

                   introdueed. in the atmosphere and surrounding neighborhoods;

          ii.      Failing to take careful and prudent precautionary measures to ensure that these

                   releaseswould not occur;

          iii:.    .Failirig. to. design, operate arid maintain the J.P. Landfill in a mannei that does not

                   cause'harm to, others and,, in particular, its neighbors;


                                                      16.




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        iv.      Fai'ling to comply with applicable regulations governing the design, operation and

                mauitenance of the J.P. Landfill;

        v:      Being ;inattentive and careless-in the overall design, operation and maintenance of

                the J.P:.La,ndfill; .

        vi.     Failing to remediate and repair the failures in design, operation and maintenance of

                the J.P: Landfill as they becarne lcnovA+n:to the Defendants;

        vii.    Any,and a11 other acts of negligence which may be revealed between now and the

                tima ot';trial:

                                               XXXIX:.

        Tlie Defendants' failure to comply with their duties of care to the Petitioners were and are

a cause in faet and a legal: cause of Petitioners' injuries,. and each of the Petitioners has suffered
                     .                              .
damages as a result 'thereof; including pliysical harm, dirninution in property value and fear,

anguish and ntental pain and suffering as well as loss of use and enjoyment of tlieir inirnovable

property and diiniiiution in the value of said.pro.perty.

                                                 XL.

        The Parish's ownership and operation of the J.P. Landfill has caused.substaritial damage to

the value of Petirioners' respective iriterests in their immovable property.

                                                 XLI.
        T'he Parisli knew, or .in the exercise of reasonable care, should have known, that.its failure

to-properly design, operate and maintain the J.P. Landfill would cause damage to Petitioners, and

such darriage could have been prevented by the exercise of reasonabie care., The Parish, as owner

of the J.P. Landfill;failed to exercise such reasonable care.

                                                XLII.

        In committing the acts and omissioris described above, the De.fendants have breached their

eontra.etual .obligatioris; of which Petitioners are third party beneficiaries, arising under the

contracts between the Parish and all other Defendants herein pertaining to. the de5ign, operation

and maintenarice of the J..P. Landfilt..

                                                XI.IIT::



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        In c,omrnitting the foregoing ac.ts and omissions, Defendants have violated; inter alia, Civil

Code Articles 667, 669,.2315, 2316, and 231.7.1, which has caused and continues to cause each of

the Petitioners damages including nuisance damages; physical harm and mental fear, anguish, pain

and suffering; and dirninution in property value.

                                               XLIV.

       Further, Petitioners' interest is their immovable property is a property right protected by

the Louisiana Constitution.

                                               .XLV.

       Petitioners' interest in their real property has been. taken and damaged by the acti'ons of

Jefferson Parish as set forth above.

                                               XLVI.

       Such taking; and damage was for a public purpose — to wit, the operation of a publie landfill

for the purpose of handling and disposing of waste generated by the citizens of Jefferson Parish

and others.

                                              XLVIL

       The Parish is liable to the Petitioners for damages caused by the Parish's unconstitutional

taking oftheir i.nunovable property w'ithout paying just compensation pursuant to Article I, Section

4(B) of the, Louisiana Constitution.

                                              XLVIII.

       The Parish's taking of Petitioners' property without just compensation coristitutions a

deprivation of their property without due process of law pursuant to Article I, Section 2 of the

Louisiana Constitution.

                                               XLIX.

       The Parish is liable to ihe Petitioners for damages caused by the Parish's violation of

Petitioners' due process rights.

                                                 L.

                               RE UEST FOR TRIAL BY JURY

        PETITIONER,.S REQUEST A JURY TRIAL AS TO ALL. CLAIIVIS TRIABLE BY

JURY:


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                                           LI.

                               PRAYER FOR RELIEF

   WIIEREFO12E, Petitioners pray that:

         (a) Judgrnent be entered declaring each of the Defendants jointly, severally and in

             solicio liable to each of the Petitioners for al.l. damages (and awarding all such

             damages), ineludi,ng physical and bodily harm, loss of use and enjoyment of

             theii homes, diminution in property value, lost wages, medical expenses and

             merital pain and suffering;

         (b) Judgment be entered against the P.arish declaring it liable for :inverse

             condemnation, and. awarding to each of the Petitioners just compensation for

            the unconstitutional tal.ing of their interests in real property and/or a deprivation

             of due process;

         (c) Judgment be entered against all Defendants for al.l additional damages as are

            just and reasonable under the circumstances, including but not limited to the

            cbst of alternative housing and medical testing;

         (d) The Defendants be permanently _enjoined and ordered to. abate the .nuisances

            and trespasses, and to take all reasonable and necessary measures to cease the

             liarmful emissions.froin the J.P. Landfill.

         (e) T'he Defendants be required to provide medical monitoring for all Petitioners as

            appropriate;

         (f) Prejudgment and post judgment interest on a11 damages be awarded;

         (g) P.etitioners be awarded all costs fo.r prosecution of this action and attorney fees;

         (h) Darnages be awarded for all other .injuries th.at may be proved at trial; and

         (i) This Court award such other and further relief as it may deem just and proper.
                                                 Respectfully submitted,



                                                  FORREST CRESSEY & JAMES, LLC



                                                  Byro For—re—st       a No.35481)


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                                                   Nicholas Cressey (La. Bar No. 35725)
                                                   S. Eliza James (La. Bar No.. 35182)
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                                                   OF COUNSEL:
                                                   Barry S. Neuman (Pro Hac Vice application
                                                   to be submitted) .
                                                   Erik Bolog
                                                   C. Allen Foster
                                                   Adrian Sneed
                                                   WHITEFORD TAYLOR.PRESTON,,LLP
                                                   1800 M Street, NW
                                                   Suite 450N
                                                   Washington, DC 20036
                                                   (202) 659-6800
PLEASE SERVE::

LOUISIANA REGIONAL LANDFILL COMPANY
Through its Agent.for• Service
Corporation Service Coinpany
501 Loiiisiana Avenue
Baton Rouge, LA 70802

WASTE CONNECTIONS BAYOU, INC.
Through its Agent for Service
Corporation Service, Company
501 Louisiana Ave.                                             A TRU13 +CUd"l OF : rIL JRIGINAL
                                                               ON FILE IN TIT.J O. ICE.
Baton Rouge, LA 70802
                                                                        DF_P JTY CLcFiK
WASTE CONNECTIONS US, INC.                                    24TH TUDIGIAL DISTRICT COURT
Through its Agent for.Service                                     PAR-I9H oF d.EFFC-~RSON. j,A-
Via long arm througli its Agent
Corporation.Service Company
251 Little Falls Drive
Wilmington, DE 19808:

APTIM CORP.
Througli its Agent for Service
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, LA 7081:6

PARISH OF JEFFERS4N
Through its Agent for Service
Parish Attorney for the Parish of Jefferson
1221 Elrriwood Park Blvd., Suite 701
Jefferson, LA 70123

ABC CORP.
Address unknown at thas time.



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DEF CORP.
Address unknown at this time.

GHI CORP.
Address unknown at this tfine.

JKI. CORP.
Address unknown at this time.

MNO CORP.
Address urilinown at this time.




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 397 of 434
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                                           ORIGINID'NEWA          (504)605-077/                      SHIP DATE: 05APR19                 .
                                          ELRAJAMES                                                  ACTWGT:
                                                                                                     CAD:113509922/INE174102
                                          365CANALSTREET
                                          SUfTE 1475
                                          NEWORLEANS,LA70130                                         BILLSENDER
                                          UNRED STATES US

                                          TD WASTE CONNECTIONS US INC
                                             THROUGH CORP SERVICE COMPANY
                                             251 LITTLE FALLS DRIVE
                                                                                                                                  e         ~
                                                WILMINGTON DE 19808
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              Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 409 of 434




                                                                                                                        DLN / ALL
                                                                                                     Transmittal Number: 19880615
Notice of Service of Process                                                                            Date Processed: 05/31/2019

Primary Contact:           Patrick J Shea
                           Waste Connections Inc.
                           3 Waterway Square Place
                           Ste 110
                           The Woodlands, TX 77380

Electronic copy provided to:                   Megan Hodapp
                                               Aaron Rubin
                                               Denise Bachmeyer
                                               Robert Cloninger
                                               Tammy Aaron
                                               Jason Antrican
                                               John Perkey
                                               Alan Christensen
                                               Thomas Jennings
                                               Toni Parker
                                               Lisa Wysocki
                                               Kevin Henson
                                               Kenneth Davis

Entity:                                       Waste Connections US, Inc.
                                              Entity ID Number 1721382
Entity Served:                                Waste Connections US Inc
Title of Action:                              Mary Paul vs. Louisiana Regional Landfill Company (LRLC), f/k/a IESI LA Landfill
                                              Corporation
Document(s) Type:                             Citation/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 Jefferson Parish District Court, LA
Case/Reference No:                            795-404 A
Jurisdiction Served:                          Delaware
Date Served on CSC:                           05/29/2019
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Federal Express
Sender Information:                           S. Eliza James
                                              504-605-0777

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




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            Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 410 of 434
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     „o»CI.A.IoNPE,I.IoNFOROAMAGESANoIN,UNC,IVERELEF                                  19052=16454
     +                            24TH JUDICIAL DISTRICT COURT
                                      PARISH OF JEFFERSON
'                                      STATE OF LOUISIANA

    MARY PAUL, FRANK MCKNIGHT, ISABELLE
    MCKNIGHT, LILY GRACE MCKNIGHT, STACEY HOBBS,
    TRINITY CLARK, AYSIA CLARK, MARIYAH CLARK,
    DANITRE ABBOTT, COBY ABBOTT, CARTER
    LAWRENCE, JOHN AUGILLARD, KESEAN COUSIN,
    KEVON COUSIN, JOYCE AUGILLARD, KEISION
    WAYNE AUGILLARD, KIERA AUGILLARD, KEION
    BARDELL, NATHANIEL BORSKEY, BRIANA GIBSON,
    JORDAN GIBSON, JOUVANDA BLAKE, BRIANNA
    TAYLOR, BRANDON TAYLOR, BRYAN BLAKE, DANNY
    BOSWELL JR, DONNA BUTLER, SCOREY HOLMES,
    GINA CARTER, ISAHA DINET, JORDAN DINET,
    KEDRICK MORGAN, LORENA CARTER, JAMES
    CARTER, JARELL CARTER, BRIAN CHISHOLM, EDITH
    CHISHOLM, ALICIA COLLINS, LLOYD DANIELS,
    TIFFANY DURANT, MONROE GARDNER, NANCY
    JOHNSON, SEMAJ JOHNSON, WILLIAM PARKER
    JOHNSON III, JOSEPH CORNELL, KIARA KEASLEY,
    CURTIS JOHNSON, JOYCE LEE, GENEVA LOCKETT,
    NORA LONDON, JAWON MCGEE, NATASHA
    MCGLOTHEN, JANET MCKEEL, TYRONE MCKINLEY,
    MARIYA MERRICKS, VINCENT MITCHELL, ADRIENNE
                                                  Case: 795-404 Div: "A"
    GABRIEL MOILANEN, PHILLIP MONROE, ESSENCE
                                                  P 1 MARY PAU L
    MORGAN, LON DYN BURNS, LEI LONNI BURNS,
    DELLA MOSLEY, EDNA REED, JOSEPH RIDGLEY,
    MARION RIDGLEY, DEBORAH SAVAGE, DEBORAH
    COLLINS, CHARLIE BROWN, LARRY SAVAGE,
    ROLAND SCHIPPLEIN, ANDREW SECTION, JOYCE
    SIMON, LATOYA SINGLETON, CLARENCE SMITH,
    LASHANDRA SMITH, CHRISTIAN EVANS, JAQUAN
    EVANS, KAJON SMITH, NAJAE SMITH, LEROY SMITH,
    RAYFIELD SMITH, MYKELL STEWARD, RHONDA
    STEWARD, MARKEZ WHITE, MARY SUMMERALL,
    VICTORIA SYLVE, BRIAN WALKER JR, BRIAN
    WALKER III, MELANIE WARD, ANNIE WASHINGTON,
    GREANNA WASHINGTON, EMMA WHITE, LLOYD
    WHITE JR
      versus
    LOUISIANA REGIONAL LANDFILL COMPANY, IESI LA
    LANDFILL CORPORATION, WASTE CONNECTIONS
    BAYOU INC, PROGRESSIVE WASTE SOLUTIONS OF
    LA INC, WASTE CONNECTIONS US INC, APTIM CORP,
    PARISH OF JEFFERSON, ABC CORPORATION, DEF
    CORPORATION, GHI CORPORATION, JKL
    CORPORATION, MNO CORPORATION

    To: WASTE CONNECTIONS US INC
    THROUGH ITS AGENT FOR SERVICE
    VIA LONG ARM THROUGH ITS AGENT
                                                               LA Long Arm
    CORPORATION SERVICE COMPANY
    251 LITTLE FALLS DRIVE
    WILMINGTON, DE 19808


    PARISH OF JEFFERSON

    You are hereby summoned to comply with the demand contained in the PETITION FOR
    DAMAGES AND INJUNCTIVE RELIEF of which a true and correct copy accompanies this
    citation, or make an appearance either by filing a pleading or otherwise, in the 24th Judicial
    District Court in and for the Parish of Jefferson, State of Louisiana, within THIRTY (30)
    CALENDAR days afteirh the ~e~urn of se~vice f~~~~o~ u~n~ercpe~nal~y~o$~3default.
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    Page 1 of 2



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             Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 411 of 434




    This service was requested by attorney S ELIZA JAMES and was issued by the Clerk of Court
    on the 22nd day of May, 2019.


                                                       /s/ Giselle A Leglue
'                                                      Giselle A Leglue, Deputy Clerk of Court for
                                                       Jon A. Gegenheimer, Clerk of Court



                                                        SERVICE INFORMATION

      (101) CITATION: PETITION FOR DAMAGES AND INJUNCTIVE RELIEF;                                    190522-1645-4

    Received:                Senred:                     Returned:

    Service was made:
             _ Personal                        _ Domicilary

    Unable to serve:
              _ Not at this address            _ Numerous attempts          times
              _ Vacant                         _ Received too late to serve
              _ Moved                          _ No longer works at this address
              _ No such address                _ Need apartment / building number
                  Other

    Service: $                  Mileage: $                      Total: $

    Completed by:                                                          #
                              Deputy Sheriff
    Parish of:




                                 Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna LA 70053
    Page 2 of 2



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             Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 412 of 434
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       „a„C.A.IoNPE,I,IoNFoaoaMAGEsalloNJUNC.VERELIEF                                       190522-16454
                                   24TH JUDICIAL DISTRICT COURT
                                       PARISH OF JEFFERSON
                                        STATE OF LOUISIANA

       MARY PAUL, FRANK MCKNIGHT, ISABELLE
      MCKNIGHT, LILY GRACE MCKNIGHT, STACEY HOBBS,
      TRINITY CLARK, AYSIA CLARK, MARIYAH CLARK,
      DANITRE ABBOTT, COBY ABBOTT, CARTER
      LAWRENCE, JOHN AUGILLARD, KESEAN COUSIN,
      KEVON COUSIN, JOYCE AUGILLARD, KEISION
      WAYNE AUGILLARD, KIERA AUGILLARD, KEION
      BARDELL, NATHANIEL BORSKEY, BRIANA GIBSON,
      JORDAN GIBSON, JOUVANDA BLAKE, BRIANNA
      TAYLOR, BRANDON TAYLOR, BRYAN BLAKE, DANNY
      BOSWELL JR, DONNA BUTLER, SCOREY HOLMES,
      GINA CARTER, ISAHA DINET, JORDAN DINET,
      KEDRICK MORGAN, LORENA CARTER, JAMES
      CARTER, JARELL CARTER, BRIAN CHISHOLM, EDITH
      CHISHOLM, ALICIA COLLINS, LLOYD DANIELS,
      TIFFANY DURANT, MONROE GARDNER, NANCY
      JOHNSON, SEMAJ JOHNSON, WILLIAM PARKER
      JOHNSON III, JOSEPH CORNELL, KIARA KEASLEY,
      CURTIS JOHNSON, JOYCE LEE, GENEVA LOCKETT,
      NORA LONDON, JAWON MCGEE, NATASHA
      MCGLOTHEN, JANET MCKEEL, TYRONE MCKINLEY,
      MARIYA MERRICKS, VINCENT MITCHELL, ADRIENNE
                                                    Case: 795-404 Div: "A"
      GABRIEL MOILANEN, PHILLIP MONROE, ESSENCE
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      DELLA MOSLEY, EDNA REED, JOSEPH RIDGLEY,
      MARION RIDGLEY, DEBORAH SAVAGE, DEBORAH
      COLLINS, CHARLIE BROWN, LARRY SAVAGE,
      ROLAND SCHIPPLEIN, ANDREW SECTION, JOYCE
      SIMON, LATOYA SINGLETON, CLARENCE SMITH,
      LASHANDRA SMITH, CHRISTIAN EVANS, JAQUAN
      EVANS, KAJON SMITH, NAJAE SMITH, LEROY SMITH,
      RAYFIELD SMITH, MYKELL STEWARD, RHONDA
      STEWARD, MARKEZ WHITE, MARY SUMMERALL,
      VICTORIA SYLVE, BRIAN WALKER JR, BRIAN
      WALKER III, MELANIE WARD, ANNIE WASHINGTON,
      GREANNA WASHINGTON, EMMA WHITE, LLOYD
      WHITE JR
        versus
      LOUISIANA REGIONAL LANDFILL COMPANY, IESI LA
      LANDFILL CORPORATION,. WASTE CONNECTIONS
      BAYOU INC, PROGRESSIVE WASTE SOLUTIONS OF
      LA INC, WASTE CONNECTIONS US INC, APTIM CORP,
      PARISH OF JEFFERSON, ABC CORPORATION, DEF
      CORPORATION, GHI CORPORATION, JKL
      CORPORATION, MNO CORPORATION

      To: WASTE CONNECTIONS US INC
     THROUGH ITS AGENT FOR SERVICE
     VIA LONG ARM THROUGH ITS AGENT
                                                                    LA Long Arm
     CORPORATION SERVICE COMPANY
     251 LITTLE FALLS DRIVE
     WILMINGTON, DE 19808


     PARISH OF JEFFERSON

     You are hereby summoned to comply with the demand contained in the PETITION FOR
     DAMAGES AND INJUNCTIVE RELIEF of which a true and correct copy accompanies this
     citation, or make an appearance either by filing a pleading or otherwise, in the 24th Judicial
     District Court in and for the Parish of Jefferson, State of Louisiana, within THIRTY (30)
     CALENDAR days aft%the ~e~urn of se~vice h~~~~o~ un~erGpe~nal~y~c~~default.
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    Page 1 of 2



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            Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 413 of 434


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    This service was requested by attorney S ELIZA JAMES and was issued by the Clerk of Court
    on the 22nd day of May, 2019.


                                                        /s/ Giselle A Leglue
                                                        Giselle A Leglue, Deputy Clerk of Court for
                                                        Jon A. Gegenheimer, Clerk of Court



                                                         SERVICE INFORMATION

     (101) CITATION: PETITION FOR DAMAGES AND INJUNCTIVE RELIEF;                                         190522-1645-4
    Received:                 Served:                     Returned:

    Service was made:
             _ Personal                         _ Domicilary

    Unable to serve:
              _ Not at this address             _ Numerous attempts          times
                 _ Vacant                       _ Received too late to serve
                 _ Moved                        _ No longer works at this address
                 _ No such address              _ Need apartment / building number
                    Other

    Service: $                   Mileage: $                      Total: $

    Completed by:                                                            #
                               Deputy Sheriff
    Parish of:




                                     Thomas F. Donelon Courthouse : 200 Derbigny St. : Gretna LA 70053
    Page 2 of 2



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                                                                                        -̀S7~5



                 24Tn JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                         STATE OF LOUISIANA

                     NO                                                   DIVISION:
                       .:--R E-) _ L~ (~~
             MARY PAUL; FRANK MCKNIGHT,~in hlis individual capacity and as parent of his minor
           children, ISABELLE MCKNIGHT and LILY GRACE MCKNIGHT; STACEY HOBBS, in
              her individual capacity and as a parent of her minor children, TRINITY CLARK, AYSIA
            CLARK, and MARIYAH CLARK; DANITRE ABBOTT, in her individual capacity and as
                 parent of her minor children COBY ABBOTT and CARTER LAWRENCE; JOHN
                AUGILLARD, in his individual capacity and as parent of his minor children KESEAN
                   COUSIN and KEVON COUSIN; JOYCE AUGILLARD; KEISION WAYNE
          AUGILLARD; KIERA AUGILLARD; KEION BARDELL, in his individual capacity and as
            parent of his minor children, NATHANIEL BORSKEY, BRIANA GIBSON, and JORDAN
          GIBSON; JOUVANDA BLAKE, in her individual capacity and as parent of her minor children
           BRIANNA TAYLOR, BRANDON TAYLOR, and BRYAN BLAKE; DANNY BOSWELL,
           JR; DONNA BUTLER, in her individual capacity and as parent of her minor child, SCOREY
             HOLMES; GINA CARTER, in her individual capacity and as parent of her minor children,
              ISAHA DINET, JORDAN DINET, and KEDRICK MORGAN; LORENA CARTER;
              JAMES CARTER; JARELL CARTER; BRIAN CHISHOLM; EDITH CHISHOLM;
             ALICIA COLLINS; LLOYD DANIELS; TIFFANY DURANT, in her individual capacity
               and as parent of her minor child MONROE GARDNER; NANCY JOHNSON; SEMAJ
                JOHNSON; WILLIAM PARKER JOHNSON, III; JOSEPH CORNELL; KIARA                         m
                                                                                                    w
           KEASLEY, in her individual capacity and as parent of her minor child, CURTIS JOHNSON;    ~
            JOYCE LEE; GENEVA LOCKETT; NORA LONDON; JAWON MCGEE; NATASHA                            ~
             MCGLOTHEN; JANET MCKEEL; TYRONE MCKINLEY; MARIYA MERRICKS;
             VINCENT MITCHELL; ADRIENNE GABRIEL MOILANEN; PHILLIP MONROE;
                ESSENCE MORGAN; in her individual capacity and as parent of her nunor children,
          LON'DYN BURNS and LEI'LONNI BURNS; DELLA MOSLEY; EDNA REED; JOSEPH
            RIDGLEY; MARION RIDGLEY; DEBORAH SAVAGE, in her individual capacity and as
              legal guardian of DEBORAH COLLINS and CHARLIE BROWN; LARRY SAVAGE;
                  ROLAND SCHIPPLEIN; ANDREW SECTION; JOYCE SIMON; LATOYA
          SINGLETON; CLARENCE SMITH; LASHANDRA SMITH, in her individual capacity and
          as a parent of her minor children, CHRISTIAN EVANS, JAQUAN EVANS, KA.JON SMITH,
              and NAJAE SMITH; LEROY SMITH; RAYFIELD SMITH; MYKELL STEWARD;
           RHONDA STEWARD, in her individual capacity and as parent of her minor child, MARKEZ
            WHITE; MARY SUMMERALL; VICTORIA SYLVE; BRIAN WALKER, JR.; BRIAN
                    WALKER, III; MELANIE WARD, ANNIE WASHINGTON; GREANNA
~                         WASHINGTON; EMMA WHITE; and LLOYD WHITE, JR.. .

P'                                               VERSUS

          LOUISIANA REGIONAL LANDFILL COMPANY (LRLC), f/k/a IESI LA LANDFILL
     ~     CORPORATION; WASTE CONNECTIONS BAYOU, INC., f/k/a/ PROGRESSIVE
          WASTE SOLUTIONS OF LA, INC; WASTE CONNECTIONS US, INC; APTIM CORP;
           PARISH OF JEFFERSON; ABC CORP; DEF CORP; GHI CORP; JKL CORP; and
                                      MNO CORP.


          FILED: '
                                                               DEPUTY CLERK


                        PETITION FOR DAMAGES AND INJUNCTIVE RELIEF




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            This action arises from the continuing, significant and unabated harm suffered by each of

     the named Petitioners as a result of the ongoing — and admitted — failure of each of the Defendants

     to ensure that the design, operation and maintenance of the Jefferson Parish- Landfill (the "J.P.
                                                                                               ~

     Landfill") complies with applicable environmental laws and adequately protects Petitioners'

     human health and environment. At all relevant times, the J.P. Landfill and has persistently emitted

     harmful and toxic odors and chemicals into the surrounding areas, including where each of the

     Petitioners resides.

             These unlawful, harmful and toxic releases have caused Petitioners substantial loss of the

     use and enjoyment of their homes and immovable property, and have caused physical harms

     including, among other things: difficulties breathing, coughing, nausea, buming eyes, ears, noses

     and throats, dizziness loss of appetite and lethargy, as well as fear, anguish, discomfort and

     inconvenience. These emissions also have caused diminution in the value of Petitioners' homes.
                                                                                                           cn
            Accordingly, Petitioners seek redress from the Defendants for the direct and consequential     ui
                                                     .                                                     a
                                                                                                           ~
     injury and damage they have suffered and will continue to suffer as a direct result of the releases   ~
                                                                                                           J
     of noxious odors and chemicals from the J.P. Landfill.                                                ~
                                                                                                           N
            Petitioners are:                                                                               ~

            MARY PAUL, an individual of full age of majority residing at 717 Richard Ave., River

     Ridge, LA 70123 and owner of said immovable property.

            FRANK MCKNIGHT, an individual of full age of majority residing at 612 Hester Ave.,

     River Ridge, LA 70123 and owner of said immovable property, in his individual capacity and as

     parent of his minor children, ISABELLE MCKNIGHT and LILY GRACE MCKNIGHT.

            STACEY HOBBS, an individual of full age of niajority residing at 1324 Hickory Ave.,

     Harahan, LA 70123 and owner of a leasehold interest in said premises, in her individual capacity

     and as a parent of her minor children, TRINITY CLARK, AYSIA CLARK, and MARIYAH

     CLARK.

            DANITRE ABBOTT, an individual of full age of majority residing at 3120 Phoenix St.,

     Apt. C, Kenner, LA 70062 and owner of a leasehold interest in said premises, in her individual

     capacity and as parent of her minor children, COBY ABBOTT and CARTER LAWRENCE.




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        JOHN AUGILLARD, an individual of full age of majority residing at 209 N Sibley St.,

 Metairie, LA 70003 and owner of said immovable property, in his individual capacity and as parent

 of his minor children, KESEAN COUSIN and KEVON COUSIN.

        JOYCE AUGILLARD, an individual of full age of majority residing at an individual of

 full age of majority residing at 209 N Sibley St., Metairie, LA 70003 and owner of said immovable

 property.

        KEISION WAYNE AUGILLARD, an individual of full age of majority residing at an

 individual of full age of maj ority residing at 209 N Sibley St Metairie, LA 70003.

        KIERA AUGILLARD, an individual of full age of majority residing at an individual of

 full age of majority residing at 209.N Sibley St Metairie, LA 70003.

         KEION BARDELL, an individual of full age of majority residing at 44 Megehee Ct.,

 Waggaman, LA 70094 and owner of a leasehold interest in said premises, in his individual capacity
                                                                                                     ~
 and as parent of his minor children, NATHANIEL BORSKEY, BRIANA GIBSON, and                          ~
                                                                                                     Q
                                                                                                     ~
 JORDAN GIBSON.                                                                                      ~

        JOUVANDA BLAKE, an individual of full age of majority residing at 839 Lander St.,

 Bridge City, LA 70094 and owner of a leasehold interest in said prernises, in her individual

 capaci.ty and as parent behalf of her minor children, BRIANNA TAYLOR, BRANDON

 TAYLOR, and BRYAN BLAKE.

        DANNY BOSWELL, JR., an individual of full age of majority residing at 213 Rosebud

 St., Apt. B Metairie, LA 70005 and owner of a leasehold interest in said premises.

        DONNA BUTLER, an individual of full age of majority residing at 328 South Upland

 Ave., River Ridge, LA. 70123 and owner of said immovable property, in her individual capacity

 and as parent of her minor child, SCOREY HOLMES.

        GINA CARTER, an individual of full age of majority residing at 6624 Benedict Dr,

1Vlarrero, LA 70072 in her individual capacity and on behalf of her minor children, ISAHA

 DINET, JORDAN DINET, and KEDRICK MORGAN.

        JAMES CARTER, an individual of full age of majority residing at 6624 Benedict Dr.,

 Marrero, LA 70072.



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        JARELL *CARTER, an individual of full age of majority residing at 80 Clifford Ct.,

 Waggaman, LA 70094 and owner of a leasehold interest in said premises.

        LORENA CARTER, an individual of full age of majority residing at 6624 Benedict Dr„

 Marrero, LA 70072.

        BRIAN CHISHOLM, an individual of full age of majority residing at 334 Providence

 Lane, Kenner, LA 70062.

        EDITH CHISHOLM, an individual of full age of majority residing at 334 Providence

 Lane, Kenner, LA 70062.

        ALICIA COLLINS, an individual of full age of majority residing at 934 Belleville St.,

 Algiers, LA 70114 and owner of a leasehold interest in said premises.
                                      s

        LLOYD DANIELS, an individual of full age of majority residing at 228 Della Lane,

 Avondale, LA 70094.

        TIFFANY DURANT, an individual of full age of majority residing at 231 5th St., Bridge       w
                                                                                                    ~
                                                                     .                              a
                                                                                                    ~
 City, LA 70094 and owner of said premises, in her individual capacity and on behalf of her minor   Q

 child, MONROE GARDNER.

        NANCY JOHNSON, an individual of full age of majority residing at 712 Starrett Rd.,

 River Ridge, LA 70123' and owner of a leasehold interest in said premises.

        SEMAJ JOHNSON, an individual of full age of majority residing at 112 Marie Drive,

 Avondale, LA 70094.

        WILLL4IVI PARKER JOHNSON, III, an individual of full age of majority residing at

 341 Providence Lane, Apt. A, Kenner, LA 70062 and owner of a leasehold interest in said

 premises.

        JOSEPH CORNELL, an individual of full age of majority residing at 1005 S. Bengal Rd.,

 Metairie, LA 70003 and owner of said immovable property.

        KIARA KEASLEY, an individual of full age of majority residing at 1324.S. Dilton St.,

 Metairie, LA 7000,3 in her individual capacity and as parent of her minor child, CURTIS

 JOHNSON.

        JOYCE LEE, an individual of full age of majority residing at 521 S. Bengal St., River

 Ridge, LA 70123 and owner of said inunovable property.


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        GENEVA LOCKETT, an individual of full age of majority residing at 863 Reverend

 Richard Wilson Drive, Apt 7E, Kenner, LA 70062.

        NORA LONDON, an individual of full age of majority residing at 7928 Macon St.,

 Metairie, LA 70003 and owner of said immovable property.

        JAWON MCGEE, an individual of full age of majority residing at 18 Sharen Place,

 Westwego, LA 70094.

        NATASHA MCGLOTHEN, an individual of full age of maj ority residing at 1305 Lincoln

 Ave., Marrero, LA 70072 and owner of a leasehold interest in said premises.

        JANET MCKEEL, an individual of full age of majority residing at 537 George St.,

 Avondale, LA 70094.

        TYRONE MCKINLEY, an individual of full age of majority residing at 18 Sharen Place,

 Westwego, LA 70094 and owner a leasehold interest in said premises.
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        MARIYA MERRICKS, an individual of fu11 age of majority residing at 10950 Jefferson     ~
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 Hwy., Apt S5, River Ridge, LA 70123.                                                          ~

        VINCENT MITCHELL, an individual of full age of majority residing at 11104 Newton

 St., Apt C, River Ridge, LA 70123 and owner of a leasehold interest in said premises.

        ADRIENNE GABRIEL MOILANEN, an individual of full age of majority residing at

 512 Avondale Garden Road, Avondale, LA 70094.

        PHILLIP MONROE, an individual of full age of majority residing at 124 Prairie View

 Court, Avondale, LA 70094 and owner of said immovable property.

        ESSENCE MORGAN, an individual of full age of majority residing at 318 Pollock Place,

Kenner, LA 70062, in her individual capacity and as parent of her minor children, LON'DYN

BURNS and LEI'LONNI BURNS.

        DELLA MOSLEY, an individual of fu11 age of majority residing at 627 1/2 Webster St.,

Apt B, Kenner, LA 70062 and owner of a leasehold interest in said premises.

       EDNA REED, an individual of full age of majority residing at 509 George Street,

Avondale, LA 70094 and owner of said immovable property.

       JOSEPH RIDGLEY, an individual of full age of majority residing at 516 South

Cumberland St., River Ridge, LA 70123 and owner of a leasehold interest in said premises.


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        MARION RIDGLEY, an individual of full age of majority residing at 1457 S Laurel St.,

 Metairie,'LA 70003.

        DEBORAH SAVAGE, a.n individual of full age of majority residing at 21 Richelle St.,

 Westwego, LA 70094 and owner of a leasehold interest in said premises, in her individual capacity

 and as legal guardian of DEBORAH COLLINS and CHARLIE BROWN.

        LARRY SAVAGE, an individual of full age of majority residing at 21 Richelle St.,

 Westwego, LA 70094 and owner of a leasehold interest in said premises.

        ROLAND. SCHIPPLEIN, an individual of full age of majority residing at 256 Azalea St.,

 Waggaman, LA 70094 and owner of said inunovable property.

        ANDREW SECTION, an individual of full age of majority residing at 537 George St.,

 Avondale, LA 70094 and owner of said immovable property.

        JOYCE SIMON, an individual of fall age of majority residing at 859 Rev. Richard Wilson
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 Dr., Apt. 9A, Kenner, LA 70062 and owner of a leasehold interest in said prernises.                 ui
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        LATOYA SINGLETON, an individual of full age of majority residing at 124 Dillard Dr., '       Q

 Avondale, LA 70094.

        CLARENCE SMITH, an individual of full age of majority residing at 226 Coleman Place,

 Kenner, LA 70062 and owner of a leasehold interest in said premises.

        LASHANDRA SMITH, an individual of full age of majority residing at 317 Church St.

 Avondale, LA 70094 in her individual capacity and as a parent of her minor children,

 CHRISTIAN EVANS, JAQUAN EVANS, KAJON SMITH, and NAJAE SMITH.

        LEROY SMITH, an individual of full age of majority residing at 10950 Jefferson

 Highway, Apt Y10, River Ridge, LA 70123 and owner of a leasehold interest in said immovable

 property.

        RAYFIELD SMITH, an individual of full age of majority residing at 1224 Webster Street

 Kenner, LA 70062 and owner of said immovable property.

        MYKELL STEWARD, an individual of full age of majority residing at 18 Sharen Place,

 Westwego, LA 70094.




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        RHONDA STEWARD, an individual of full age of rnajority residing at 18 Sharen Place,

 Westwego, LA 70094 owner a leasehold interest in said premises, in her individual capacity and

 as parent of her minor child, MARKEZ WHITE,

        MARY SUNIlI2ERALL, an individual of full age of majority residing at 1100 Newton St.,

 Apt. A, River Ridge, LA 70123 and owner of a leasehold interest in said premises.

        VICTORIA SYLVE, an individual of full age of majority residing at 261 Capitol Dr.,

 Avondale, LA 70084.

        BRIAN WALKER, JR., an individual of full age of majority residing at 328 S. Upland

 Ave., River Ridge LA. 70123.

        BRL4N WALKER, III, an individual of full age of majority residing at 328 S. Upland

 Ave., River Ridge, LA 70123.

        MELANIE WARD, an individual of full age of rnajority residing at 116 Rosalie Dr.,

 Avondale, LA 70094 and owner of a leasehold interest in said premises.

        ANNIE WASHINGTON, an individual of full age of majority residing at 1320 S

 Meadow St., Metairie, LA 70003 and owner of a leasehold interest in said premises.

        GREANNA WASHINGTON, an individual of full age of majority residing at 1320 S.

 Meadow Street, Metairie, LA 70003 and owner of a leasehold interest in said premises.

        EMMA WHITE, an individual of full age of majority residing at 11036 Newton St., Apt

 A, River Ridge, LA 70123 and owner of a leasehold interest in said premises.

        LLOYD WHITE, JR., an individual of full age of majority residing at 444 Liska St.,

 Waggaman, LA 70094 and owner of said imrnovable property.

                                               I.

        Made Defendants herein are:

        a. LOUISIANA REGIONAL LANDFILL COMPANY (LRLC), f/k/a IESI LA

           LANDFILL CORPORATION (IESI"), a foreign corporation domiciled in Delaware

           authorized to do and doing business in this Parish and State. On information and belief,

           LRLC is a wholly owned subsidiary of Defendant Waste Connections Bayou, Inc., Inc.,

           which in turn was acquired by Defendant Waste Connections US, Inc. On information

           and belief, Defendant LRLC is controlled by Defendants Waste Connections Bayou,


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         Inc., and/or Waste Connections, US, Inc., and is the "alter ego" of those Defendants,

         operating without autonomy and only pursuant to the direction, policies and procedures

         of its parent corporations;

      b. WASTE CONNECTIONS BAYOU, INC., f/k/a/ PROGRESSIVE WASTE

         SOLUTIONS OF LA, INC., a foreign corporation authorized to do and doing business

         in this Parish and State;

      c. WASTE CONNECTIONS US, INC., a foreign corporation authorized to do and

         doing business in this Parish and State; and

      d. APTIM CORP., a foreign corporation domiciled in Delaware authorized to do and

         doing business in this Parish and State;

      e. PARISH OF JEFFERSON, a Louisiana municipa( parish in and political subdivision

         of the State of Louisiana (the "Parish";
                                                                                                  y
      f. ABC CORPORATION, a foreign or domestic insurance company whose identity is               w
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         unknown to the Petitioners, who upon' information and belief wrote a policy of           ~
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         insurance coverage for Defendant LOUISIANA REGIONAL LANDFILL                             W
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         COMPANY (LRLC), F/K/A IESI LA LANDFILL CORPORATION ("IESI"),                             ;
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         that may provide coverage for acts, occurrences, and/or omissions more specifically
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         described herein;                                                                        ;
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      g. DEF CORPORATION a foreign or domestic insurance company whose identity is
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         unlrnown to the Petitioners, who upon information and belief wrote a policy of           d
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         insurance coverage for Defendant, WASTE CONNECTIONS BAYOU, INC., f/k/a/                  ~
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         PROGRESSIVE WASTE SOLUTIONS OF LA, INC. that may provide coverage                        M
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         for acts, occurrences, and/or omissions more specifically described herein;              o
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      h. GHI CORPORATION a foreign or domestic insurance company whose identity is                o
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        unlrnown to the Petitioners, who upon information and belief wrote a policy of
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        insurance coverage for Defendant, WASTE CONNECTIONS BAYOU, INC., f/k/a/                   w
                                                                                                  v
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        PROGRESSIVE WASTE SOLUTIONS OF LA, INC., that may provide coverage

        for acts, occurrences, and/or omissions more specifically described herein;




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         i. JIKL CORPORATION a foreign or domestic insurance company whose identity is

              unlrnown to the Petitioners, who upon information and belief wrote a policy of

              insurance coverage for Defendant, APTIM CORP, that may provide coverage for acts,

              occurrences, andlor omissions more specifically described herein;

        J. MNO CORPORATIONS foreign or domestic insurance company whose identity is

              unknown to the Petitioners, who upon information and belief wrote -a policy of

              insurance coverage for Defendant, PARISH OF JEFFERSON, that may provide

              coverage for acts, occurrences, and/or omissions more specifically described herein.

                                                   II.

                                   JURISDICTION AND VENUE

        Venue is proper in accordance with La. R.S. 13:5104(B), which states, in part,.that "[a]ll

 suits filed against a political subdivision of the state ... shall be instituted before the district court
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 of the judicial district in which the political subdivision is located or in the district court having       ~
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 jurisdiction in the parish in which the cause of action arises." Venue is further proper as to all other     Q

 defendants as the wrongful conduct giving rise to the Petitioner's claims occurred within the

 jurisdictional limits of Jefferson Parish, State of Louisiana.



                                                 FACTS

        The Parish is the owner of the Jefferson Parish Landfill (the "J.P. Landfill"), located at

 5800 Highway 90 West in Avondale, Jefferson Parish, LA.

                                                 Mi~

        At all relevant times, the J.P. Landfill has been used as a Type I/II landfill permitted to

 accept municipal and commercial solid waste, non-hazardous industrial waste, trash, construction

 debris, vegetative waste,. dewatered municipal wastewater sludge, and compatible non-hazardous

 industrial waste• pursuant to the Louisiana Environmental Quality Act, La. R.S. 30:2001, et seq.

 (the "Act") as well as federal laws and regulations implernented by the United States

 Environmental Protection Agency ("USEPA"),

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        The J.P. Landfill is authorized to operate pursuant to and only in accordance with the terms

 and conditions of, arnong other things, Standard Permit P-0297R1(the "Standard Permit") as

 issued, approved, and subject to periodic review and renewal by the Louisiana Department of

 Environmental Quality ("LDEQ") pursuant to the Act. The Standard Permit was most recently

 renewed by the LDEQ on or about January 22, 2010.

                                               LW

        On or about May 17, 2012, the Parish entered into a contract with the Defendant IESI (since

 renamed the Louisiaria Regional Landfill Company) under which IESI agreed, among other things,

 to "manage all tasks of the operation, management and maintenance" of the J.P. Laridfill (the "IESI

 Operating Contract"). Among other things, the IESI Operating Contract provides that:

        (a) Operation of the J.P. Landfill will be conducted "in strict compliance and conformity

            with all Federal, State and local laws, ordinances, and regulations, including the rules
                                                                                                       w
            and regulations of the USEPA, LDEQ, and all State of Louisiana agencies, and iri           w
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            accordance with the Permit Documents."                                                     ~

        (b) "IESI shall be responsible for compliance with all Federal, State and local regulations,   ui
                                                                                                       co
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            laws and ordinances in its performance of the Service/Work associated with the             ~
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            operation [and maintenance] of the Landfill."                                              ~
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        (c) IESI is- required to."provide all labor, equipment, materials and incidentals to assume    >

            all daily operations of the Landfill."

        (d) The Parish Engineer has the authority to "decide any and all questions as to ... the

            manner of performance and rate of progress of the Services/Work ... the interpretation

           of the Contract Documents, and all questions as to the acceptable Completion" of the

           Contract "in his reasonable and good- faith opinion." The Parish Engineer is further

           authorized to "suspend operations at any time when the Service/Work, in his good faith

           and reasonable opinion, is - not being carried out in conformity with the Contract

           Documents and all permits."

                                              VII.

       Defendant APTIM is and at all relevant times has been a co-operator of the gas and leachate

collection system of the J.P. Landfill.


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                                               VIII.
         Jefferson Parish, in addition to being an owner of the J.P. Landfill, is and at all relevant

 times has been a co-manager and co-operator of the J.P. Landfill with IESI/LRLP and APTIM.

                                                 IX.

         The Parish has admitted that improper operation of the J.P. Landfill is a major source of

 the odors suffered by Petitioners as well as the adverse consequences thereof. At a public press

 conference on July 23, 2018, Parish President Mike Yenni stated that:

         (a) The J.P. Landfill's system designed to "contain and deodorize landfill gases" has not

             been in "proper working order."                  ~

         (b) The landfill's leachate collection system has not been operated properly.

         (c) "Properly operated landfills do not operate persistent off-site odors and corrective

             actions ... are essential."
                         .                                                                                 y
         (d) The Parish has notified IESI that it is in breach of its contract to properly operate the .   ui
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             J.P. Landfill.                                                                                -,

                                                  X.

         At the same press conference, Parish Sheriff Mark Conley stated that the J.P. Landfill gas

 collection system has been collecting only twenty percent (20%) of the gas emitted from landfill

 operations, whereas a properly operating system would collect ninety-seven-to ninety-eight percent

 of gas emissions, "[s]o that is why the Parish president is stressing that we realize we have

 problems ... right now, a lot of our priority, in the name of public safety and our police powers, is

 to address the existing system, get it operational, and to pull as much gas out of that landfill as we

 can."

                                                 XI.

         At the same press conference, Parish Councilman Paul Johnson stated that the odor from

 the J.P. Landfill

         "has gotten really bad in.the past for our five months ... we are all going to experience odors

         from the landfill because it's a landfill. But, not those we have been having for the past

         three or five months. It's been really bad. I have been woken up at night with my nose

         burning and couldn't breathe at three or four o'clock in the morning. Th'is has happened


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          to me more than one time ... we know the landfill is- causing problems and we know it is a

          big source of problems...."



          At the same press conference, Doctor Joseph Cantor, Medical Director and Administrator

 for Region 1 of the Louisiana Department of Health, wamed that when the odors are at "a high

 level, residents should; if they are able to, leave the area and particularly if they have certain

 chronic conditions which put them at increased risk mainly pulmonary disease and asthma

 COPD."']

                                                            ~11 m
                                                            ~'


          On or about June 22, 2018, the LDEQ issued a Compliance Order to the Parish which,

 among other things, found that the Parish has violated its Landfill Permit and applicable

 environmental regulations by (i) failing to provide daily cover and (ii) failing to properly operate

 the system that is intended to collect leachate — the liquid brew that drains from a landfill and

 carries with it numerous harmful chemicals.

                                                            XIV.

          The LDEQ inspectors found areas of pooled leachate and leachate flowing downhill from

 the pooled leachate.

                                                             XV.

          The United States Environmental Protection Agency ("EPA") has established general

 screening levels for various pollutants.                         These screening levels are chemical-specific

 concentrations for individual contaminants in air that may warrant further investigation or site

 cleanup.? A chronic screening level addresses potential chronic exposure to a chemical.

                                                            XVI.

          Air samples collected by the LDEQ in the communities of River Ridge, Harahan and

 Waggaman between July 20, 2018 through approximately July 28, 2018 were found to contain

 numerous chemical compounds at concentrations that exceed EPA's chronic screening levels,




 ' A video recording of the July 23 press conference can be accessed at
Iittps/i-vy_v~~,_v..Cacebc?ok;com,rVOLAncws!vicleos/101557931164-370G0/ (IastvisitedAug.4,2018).
Z https:i/v,tvlv.e{~a.gov/r.isklre~i.rnaal.-s~xee~:ir~-levels-:rils-uscrs-   (lastvisited, Nov. 21, 2018).


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 including acrolein, 1, 2-dichloroethane, benzene, carbon tetrachloride, and naphthalene. All of

 these cotnpounds are multimodal toxicants, in that they are potential or actual human carcinogens

 and also have other toxic effects. The air samples collected by LDEQ also contained hydrogen

 sulfide at concentrations that exceed EPA's chronic screening levels. Hydrogen sulfide is a

 potentially toxic compound. All of these compounds are typically found in the gases generated by

 landfzlls like the Jefferson Parish Landfill.



        In a report dated August 15, 2018, prepared for the Parish by its environmental consultant,

 Carson Environmental Consulting ("CEC"), CEC made several f ndings, including, among other

 things, that there are numerous deficiencies in "the landfill gas condensate and leachate collection

 pumping systems[,]" and that the infrastructure for these systems requires immediate improvement

 "to meet the Parish's performance objectives." In addition, CEC concluded that improved
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 operation and maintenance of the J.P. Landfill requires the Parish's "focused attention."              ~
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        On information and belief, on or about December 5, 2018 the Commissioner of the LDEQ

 informed the Parish that there is "no doubt" in his mind that the JP Landfill is the primary source

 the odors experienced by residents of the communities in which Petitioners reside. ;
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        On information and belief, Defendant ABC Corporation has issued a policy of insurance

 to Defendant Louisiana Regional Landfill Company that covers the acts and omissions alleged

 herein. Petitioners will amend this Petition to identify ABC Corporation once its identity is known.

                                                 XXII.                            .

        On information and belief, Defendant DEF Corporation has issued a policy of insurance to

 Defendant Waste Connections Bayou, Inc. that covers the acts and omissions alleged herein.

 Petitioners will amend this Petition to identify DEF Corporation once its identity is known.



        On information and belief, Defendant GHI Corporation has issued a policy of insurance to

 Defendant Waste Connections US, Inc. that covers the acts and omissions alleged herein.

 Petitioners will amend this Petition to identify GHI Corporation once its identity is known.


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         On information and belief, Defendant JKL Corporation has issued a policy of insurance to

 Defendant Aptim Corporation that covers the acts and omissions alleged herein. Petitioners will

 amend this Petition to identify JKL Corporation once its identity is known.



         On information and belief, Defendant MNO Corporation has issued a policy of insurance

 to Defendant Parish of Jefferson that covers the acts and omissions alleged herein. Petitioners will

 amend this Petition to identify JKL Corporation once its identity is known.



                              PROXIMATE CAUSE AND BAD ACTS

        The Defendants' failure to properly design, operate and maintain the J.P. Landfill,

 including its gas and leachate collection systems, have caused harmful, noxious and repulsive
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 odors and chemicals to be released from the J.P. Landfill into the surrounding environment on and         ~
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 in to Petitioners' homes and immovable property, resulting in Petitioners' continuing exposure to         a

 these odors and chemicals.



        These odors and chemicals have also caused these Petitioners to suffer physical and other

 harm including, but not limited to difficulties breathing, coughing, nausea, burning eyes, ears,

 noses and throats, dizziness, loss of appetite, fatigue and lethargy, as well as fear, anguish, anxiety

 and mental pain•and suffering.

                                               XX'VIII.

        Defendants' actions and omissions with respect to the design, operation and maintenance

 of the J.P. Landfill are the direct and proximate cause of the injuries and harm suffered by each of

 the Petitioners as alleged above.

                                               XXVIX.

        Defendants' actions and omissions as outlined above also have caused a diminution in the

value of Petitioners' immovable property.




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        These odors have been pervasive and persistent. The.y have continued to the present and

 are likely to continue for the foreseeable future. The emissions constitute a continuing tort.



        Defendants' acts and omissions in owning, designing, operating and/or maintaining the J.P.

 Landfill as described above constitute an unreasonable interference with each of the Petitioners'

 comfortable use and enjoyment of their homes.

                                               XXXII.

        Defendants are liable to the Petitioners for all damages they have suffered, including bodily

 harm, diminution of property value and fear, anguish, and mental pain and suffering, on account

 of nuisance.

                                                  XXXIII.

        These physical invasions of noxious odors and chemicals constitute a trespass causing
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 Petitioneis to suffer physical harm, diminution in property value and rental value, inconvenience,     ~
         .                                                                                              a
                                                                                                        '
 loss of enjoyment of property, as well as fear, anguish and mental pain and suffering.                 Q



        The emissions of these harmful odors and chemicals have been pervasive and persistent

 and constitute a continuing tort.



        The Defendants' illegal actions and omissions in owning and operating the J.P. Landfill

 continue to this day and, unless enjoined by this Court, will continue for the indefinite future.

Accordingly, Petitioners are entitled to a permanent injunction ordering the Defendants to abate

 the continuing nuisance and cease the trespasses caused and created by the J.P. Landfill, including

the emission of noxious odors and chemicals; and to take all necessary reasonable actions required

to accomplish same.

                                             XXXVII.

        Each of the Defendants had a•duty to Petitioners to exercise reasonable care in the design,

ownership and/or operation of the Landfills, including'without limitation the duty to comply with

applicable environmental laws and regulations and otherwise to ensure that the Landfills were




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         operated in a manner that does not jeopardize their health, immovable property, environment, and

         quality of life.

                                                         XXXVIII.

                   Each of the Defendants breached such duties of care to the Petitioners by, among other

    `    things:

                   i.       Failing to properly design, operate and maintain the J.P. Landfill, thus allowing

                            noxious and harmful odors and chemicals •to be released from the J.P. Landfill and

                            introduced in the atmosphere and surrounding neighborhoods;

                   ii.      Failing to take careful and prudent precautionary measures to ensure that these

                            releases would not occur;

                   iii.     Failing to design, operate and maintain the J.P. Landfill in a manner that does not

                            cause harm to others and, in particular, its neighbors;
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                   iv.      Failing to comply with applicable regulations governing the design, operation and      ui
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                            maintenance of the J.P. Landfill;                                                      ~

                   V.       Being inattentive and careless in the overall design, operation and maintenance of

                            the J.P. Landfill;

                   vi.      Failing to remediate and repair the failures in design, operation and maintenance of

                            the J.P. Landfill as they became known to the Defendants;

                   vii.     Any and all other acts of negligence which rnay be revealed between now and the

                            time of trial.

                                                          XXXIX.

                   The Defendants' failure to comply with their duties of care to the Petitioners were and are
i

         a cause in fact and a legal cause of Petitioners' injuries, and each of the Petitioners has suffered

         damages as a result thereof, including physical -harm, diminution in property value and fear,

         anguish and mental pain and suffering as well as Ioss of use and enjoyment of their immovable

         property and diminution in the value of said property.

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                   The Parish's ownership and operation of the J.P. Landfill has caused substantial damage to

        the value of Petitioners' respective interests in their immovable property.


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                                                 XLI.

        The Parish knew, or in the exercise of reasonable care, should have known, that its failure

 to properly design, operate and maintain the J.P. Landfill would cause damage to Petitioners, and

 such damage could have been prevented by the exercise of reasonable care. The Parish, as owner

 of the J.P. Landfill, failed to exercise such reasonable care.

                                                 XLII.

        In committing the acts and omissions described above, the Defendants have breached their

 contractual obligations, of which Petitioners are third party beneficiaries, arising under the

 contracts between the Parish and all other Defendants herein pertaining to the design, operation

 and maintenance of the J.P. Landfill.

                                                XLIII.

        In committing the foregoing acts and omissions, Defendants have violated, fnter alia, Civil
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 Code Articles 667, 669, 2315, 2316, and 2317.1, which has caused and continues to cause each of       LU
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                                                                                                       ~
 the Petitioners.damages including nuisance damages; physical harm and mental fear, anguish, pain      a

 and suffering; and diminution in property value.



        Further, Petitioners' interest is their immovable property is a property right protected by

 the Louisiana Constitution.

                                                XLV.

        Petitioners' interest in their real property has been taken and damaged by the actions of

 Jefferson Parish as set forth above.

                                                XI.,VI.

        Such taking and damage was for a public purpose — to wit, the operation of a public landfill

 for the purpose of handling and disposing of waste generated by the citizens of Jefferson Parish

and others.

                                               XLVII.

        The Parish is liable to the Petitioners for damages caused by the Parish's unconstitutional

 taking of their immovable property without paying just compensation piirsuant to Article I, Section

4(B) of the Louisiana Constitution.


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                                               XLVIII.

         The Parish's taking of Petitioners' property without just compensation constitutions a

 deprivation of their property without due process of law pursuant to Article I, Section 2 of the

 Louisiana Constitution.

                                                 XLIX.

         The Parish is liable to the Petitioners for damages caused by the Parish's violation of

 Petitioners' due process rights.

                                                   L.
                                REOUEST FOR TRIAL BY JURY

         PETITIONERS REQUEST A JURY TRIAL AS TO ALL CLAIMS TRIABLE BY

 JURY.

                                                  LI.

                                      PRAYER FOR RELIEF

         WHEREFORE, Petitioners pray that:

                (a) Judgment be entered declaring each of the Defendants j ointly, severally and in

                    solido liable to each of the Petitioners for all damages (and awarding all such

                    damages), including physical and bodily harm, loss of use and enjoyment of

                    their homes, diminution in property value, lost wages, medical expenses and

                    mental pain and suffering;

                (b) Judgment be entered against the Parish declaring it liable for inverse

                    condemnation, and awarding to each of the Petitioners just compensation for

                    the unconstitutional taking of their interests in real property and/or a deprivation

                   of due process;

                (c) Judgment be entered against all Defendants for all additional damages as are

                   just and reasonable under the circumstances, including but not limited to the

                   cost of alternative housing and medical testing;

               (d) The Defendants be permanently enjoined and ordered to abate the nuisances

                   and trespasses, and to take all reasonable and necessary measures to cease the

                   harmful emissions from the J.P. Landfill.


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           (e) The Defendants be required to provide medical monitoring for all Petitioners as

              appropriate;

           (f) Prejudgment and post judgment interest on all damages be awarded;

           (g) Petitioners be awarded all costs for prosecution of this action and attomey fees;

           (h) Damages be awarded for alt other injuries that may be proved at trial; and

           (i) This Court award such other and further relief as it may deem just and proper.

                                                 Respectfully submitted,


                                                 FORREST CRESSEY & JAMES, LLC

                                                 /s/ S. Eliza James

                                                 Byron Forrest (La. Bar No. 35481)
                                                 Nicholas 'Cressey (La. Bar No. 35725)
                                                 S. Eliza James (La, Bar No. 35182)
                                                 One Canal Place
                                                 365 Canal Street, Suite 1475                      w
                                                 New Orleans, Louisiana 70130                      w
                                                                                                   ~
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                                                 to be submitted)
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                                                 (202) 659-6800




             (SERVICE INSTRUCTIONS ON FOLLOWING PAGE.)




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Case 2:19-cv-11133-SM-MBN Document 1-9 Filed 06/10/19 Page 433 of 434




 PLEASE SERVE:

 LOUISIANA REGIONAL LANDFILL COMPANY
 Through its Agent for Service
 Corporation Service Company
 501 Louisiana Avenue
 Baton Rouge, LA 70802

 WASTE CONNECTIONS BAYOU, INC.
 Through its Agent for Service
 Corporation Service Company
 501 Louisiana Ave.
 Baton Rouge, LA 70802

 WASTE CONNECTIONS US, INC.
 Through its Agent for Service
 Via long arm through its Agent'
 Corporation Service Company
 251 Little Falls Drive
 Wilmington, DE 19808

 APTIM CORP. -
 Through its Agent for Service
 CT Corporation System
 3867 P1aza.Tower Dr.
 Baton Rouge, LA 70816

 PARISH OF JEFFERSON
 Through its Agent for Service
 Parish Attorney for the Parish of Jefferson
 1221 Elmwood Park Blvd., Suite 701
 Jefferson, LA 70123 -

 ABC CORP.
 Address unknown at thfs time.

 DEF CORP.
 Address unknown at thfs time.

 GHI CORP.
 Address unknown at this time.

 JKL CORP.
 Address unknown at this time.

 MNO CORP.
 Address uiaknown at thfs time.




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                                            BEVERIDGE & DIAMOND, PC                                            ~
         I                                  AGENT, CORP..SERVICE COMPANY
                                            251 LITTLE FALLS DRIVE                                             ~
                                            WILMINGTON DE 19808
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